Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 1 of 302 PAGEID #: 928

                                                                              1




           · · · ·IN THE UNITED STATES DISTRICT COURT
           · · · · FOR THE SOUTHERN DISTRICT OF OHIO
           · · · · · · · · EASTERN DIVISION

           · · · · · · · · · · - - - - -


           Karl Shaw,· · · · · · · ·:

           · · · ·         Plaintiff,· · · ·:
           · · · ·         · · · · · · · · · ·Case No. 2:18-cv-483
           · · · ·         vs.· · · · · · · : Judge Graham
           · · · ·         · · · · · · · · · ·Magistrate Judge Vascura
           City of         Columbus,· · · · :
           et al.,
           · · · ·         · · · · · · · · ·:
           · · · ·         Defendants.
           · · · ·         · · · · · · · · ·:


           · · · · · · · · · · - - - - -

           · VIDEOTAPED DEPOSITION OF KIMBERLEY K. JACOBS

           · · · · · · · · · · - - - - -


           ·   ·   ·   ·   ·Taken at Spectrum Reporting LLC
           ·   ·   ·   ·   · 400 S. Fifth Street, Ste. 201
           ·   ·   ·   ·   · · · ·Columbus, OH 43215
           ·   ·   ·   ·   · · ·May 20, 2019, 9:34 a.m.


           · · · · · · · · · · - - - - -

           ·   ·   ·   ·   ·   · ·Spectrum Reporting LLC
           ·   ·   ·   ·   ·   400 S. Fifth Street, Ste. 201
           ·   ·   ·   ·   ·   · · Columbus, Ohio 43215
           ·   ·   ·   ·   ·   614-444-1000 or 800-635-9071
           ·   ·   ·   ·   ·   · www.spectrumreporting.com

           · · · · · · · · · · - - - - -




               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 2 of 302 PAGEID #: 929

                                                                              2


 ·1· · · · · · · · · ·A P P E A R A N C E S

 ·2
 · ·   · ON BEHALF OF PLAINTIFF:
 ·3
 · ·   ·   ·   ·   ·The Gittes Law Group
 ·4·   ·   ·   ·   ·723 Oak Street
 · ·   ·   ·   ·   ·Columbus, OH 43205-1011
 ·5·   ·   ·   ·   ·By Frederick M. Gittes, Esq. and
 · ·   ·   ·   ·   · · ·Jeffrey P. Vardaro, Esq.
 ·6
 · ·   · · · ·and
 ·7
 · ·   ·   ·   ·   ·Walton & Brown, LLP
 ·8·   ·   ·   ·   ·395 East Broad Street, Ste. 200
 · ·   ·   ·   ·   ·Columbus, OH 43215
 ·9·   ·   ·   ·   ·By Sean L. Walton, Esq.

 10
 · ·   · ON BEHALF OF DEFENDANTS:
 11
 · ·   ·   ·   ·   ·Columbus City Attorney's Office
 12·   ·   ·   ·   ·77 North Front Street, 4th Floor
 · ·   ·   ·   ·   ·Columbus, OH 43215
 13·   ·   ·   ·   ·By Richard N. Coglianese, Esq.

 14
 · · · ALSO PRESENT:
 15
 · · · · · ·Michael Lane - Videographer
 16· · · · ·Karl Shaw

 17

 18

 19

 20

 21

 22

 23

 24


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 3 of 302 PAGEID #: 930

                                                                              3


 ·1· · · · · · · · · · · · ·Monday Morning Session

 ·2· · · · · · · · · · · · · May 20, 2019, 9:34 a.m.

 ·3· · · · · · · · · · · · ·- - - - -

 ·4· · · · · · · · · S T I P U L A T I O N S

 ·5· · · · · · · · · · · · ·- - - - -

 ·6· · · · ·It is stipulated by counsel in attendance that

 ·7· · the deposition of Kimberley K. Jacobs, a Defendant

 ·8· · herein, called by the Plaintiff for

 ·9· · cross-examination, may be taken at this time by

 10· · the notary pursuant to notice and subsequent

 11· · agreement of counsel that said deposition may be

 12· · reduced to writing in stenotypy by the notary,

 13· · whose notes may thereafter be transcribed out of

 14· · the presence of the witness; that proof of the

 15· · official character and qualification of the notary

 16· · is waived.

 17· · · · · · · · · · · · ·- - - - -

 18

 19

 20

 21

 22

 23

 24


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 4 of 302 PAGEID #: 931

                                                                              4


 ·1· · · · · · · · · · · · ·I N D E X

 ·2· · Examination By· · · · · · · · · · · · · · · · · Page

 ·3· · Mr. Gittes - Cross· · · · · · · · · · · · · · · · ·5

 ·4
 · · · Plaintiff's Exhibits· · · · · · · · · · · · · · Page
 ·5
 · · · Exhibit 5· - Memorandum to Jacobs from· · · · · ·110
 ·6· · · · · · · · ·Williams, 9/5/14

 ·7·   · Exhibit 6· - Routing Sheet for Correspondence,· ·116
 · ·   · · · · · · · ·9/10/14
 ·8
 · ·   · Exhibit 19 - Memo to Jacobs from Moore,· · · · · 167
 ·9·   · · · · · · · ·1/23/15

 10·   · Exhibit 20 - Routing Sheet for Correspondence,· ·170
 · ·   · · · · · · · ·1/23/15
 11
 · ·   · Exhibit 35 - Informational Summary #68· · · · · ·220
 12
 · ·   · Exhibit 38 - Memo to Knight from Decker,· · · · ·219
 13·   · · · · · · · ·9/28/15

 14·   · Exhibit 41 - Routing Sheet for Correspondence,· ·159
 · ·   · · · · · · · ·10/14/15
 15
 · ·   · Exhibit 54 - Routing Sheet for Correspondence,· ·235
 16·   · · · · · · · ·3/9/17

 17·   · Exhibit 55 - Memo to Bodker from Weaver,· · · · ·235
 · ·   · · · · · · · ·2/9/18
 18
 · ·   · Exhibit 57 - McFadden Charges, 5/17/18· · · · · ·256
 19
 · ·   · Exhibit 58 - Columbus Dispatch Article, 5/4/18· ·234
 20

 21

 22· · (Original exhibits returned to Mr. Gittes.)

 23

 24


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                           YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 5 of 302 PAGEID #: 932

                                                                              5


 ·1· · · · · · · ·THE VIDEOGRAPHER:· The following

 ·2· · deposition of Kimberley Jacobs is being taken on

 ·3· · May 20th, 2019 at 400 South Fifth Street, Suite

 ·4· · 201, Columbus, Ohio, in the case of Karl Shaw

 ·5· · verse City of Columbus, et al., in the United

 ·6· · States District Court, Southern District of Ohio,

 ·7· · Eastern Division, case No. 2:18-cv-483.· The court

 ·8· · reporter is Mary Bradley and the videographer is

 ·9· · Michael Lane.· This deposition is being recorded

 10· · by Spectrum Reporting LLC.

 11· · · · · · · ·We're on the record at 9:34.· Will

 12· · counsel please announce their presence.

 13· · · · · · · ·MR. GITTES:· This is Fred Gittes

 14· · representing the plaintiff.

 15· · · · · · · ·MR. VARDARO:· Jeff Vardaro for the

 16· · plaintiff.

 17· · · · · · · ·MR. WALTON:· Sean Walton for the

 18· · plaintiff.

 19· · · · · · · ·MR. COGLIANESE:· Rich Coglianese on

 20· · behalf of defendants City of Columbus and Chief

 21· · Jacobs.

 22· · · · · · · ·MR. GITTES:· And for the record,

 23· · Officer Shaw is present.

 24· · · · · · · · · · · · ·- - - - -


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                           YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 6 of 302 PAGEID #: 933

                                                                              6


 ·1· · · · · · · · · · KIMBERLEY K. JACOBS

 ·2· · being first duly sworn, testifies and says as

 ·3· · follows:

 ·4· · · · · · · · · · ·CROSS-EXAMINATION

 ·5· · BY MR. GITTES:

 ·6· · Q.· · · · ·Would you tell us your name, please.

 ·7· · A.· · · · ·Kimberley K. Jacobs.

 ·8· · Q.· · · · ·And given what this case is about, is

 ·9· · it all right if I refer to you as Chief?

 10· · A.· · · · ·Certainly.· Retired.

 11· · Q.· · · · ·Chief, I imagine, but I want -- don't

 12· · want to rely on my imagination, you've been in

 13· · depositions before?

 14· · A.· · · · ·I have.

 15· · Q.· · · · ·About how many times would you say?

 16· · A.· · · · ·Someplace between 10 and 20, I would

 17· · assume.

 18· · Q.· · · · ·Were any of those in cases involving

 19· · you personally?

 20· · A.· · · · ·Yes.

 21· · Q.· · · · ·How many of them?

 22· · A.· · · · ·I have no idea.

 23· · Q.· · · · ·Were all of them related to your work

 24· · as a police officer?


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                           YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 7 of 302 PAGEID #: 934

                                                                              7


 ·1· · A.· · · · ·Yes.

 ·2· · Q.· · · · ·All right.· Did any of them involve any

 ·3· · form of claim related to discrimination or

 ·4· · retaliation?

 ·5· · A.· · · · ·Possibly.· I don't -- I don't recall.

 ·6· · I mean, the allegations are about my role as

 ·7· · chief, and so sometimes that might have been part

 ·8· · of the allegations, but I don't recall

 ·9· · specifically.

 10· · Q.· · · · ·Well, I hate to take the time, but it

 11· · would be helpful if, as best you can remember, you

 12· · let us know the earliest or oldest case that you

 13· · can recall involving you.

 14· · A.· · · · ·I don't know.· I mean, I was in law

 15· · enforcement for 39 years.· And I'm not sure.· Are

 16· · you talking when I've been personally sued, or are

 17· · you talking about when I've been personally

 18· · accused of some particular action?

 19· · Q.· · · · ·Let's just take it personally sued

 20· · first, keep it simple.· First time you can

 21· · remember.· I'm asking you for whatever you can

 22· · remember.

 23· · A.· · · · ·I don't know.· I was chief for seven

 24· · years.· Before that, I might have been deposed for


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                           YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 8 of 302 PAGEID #: 935

                                                                              8


 ·1· · some other reason, but I would assume it was in

 ·2· · the last seven years, but I can't remember a

 ·3· · particular case.

 ·4· · Q.· · · · ·Okay.· Were -- and that's very helpful.

 ·5· · · · · · · ·Have you -- do you -- sitting here

 ·6· · today, as best you can remember, were you ever

 ·7· · sued before you became the chief?· You?

 ·8· · A.· · · · ·Named in a lawsuit?

 ·9· · Q.· · · · ·Named in a lawsuit, correct.

 10· · A.· · · · ·The potential is there.· I can't recall

 11· · a particular case that I would have been named in

 12· · prior to being chief.

 13· · Q.· · · · ·Okay.· Were you -- did you do law

 14· · enforcement work outside of Columbus?

 15· · A.· · · · ·No.

 16· · Q.· · · · ·Okay.· Do you recall -- and I'll break

 17· · it down timewise -- any case that involved

 18· · allegations based on your conduct as a police

 19· · officer in Columbus?· I'm focusing before you were

 20· · chief.· Any case before you were chief that was

 21· · based in part or whole on your conduct or alleged

 22· · conduct as a police officer?

 23· · A.· · · · ·I don't recall any such case.

 24· · Q.· · · · ·Okay.· Prior to your being chief, did


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                           YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 9 of 302 PAGEID #: 936

                                                                              9


 ·1· · you ever have a judgment against you in any case?

 ·2· · A.· · · · ·I'm not aware of any.

 ·3· · Q.· · · · ·Okay.· Prior to becoming chief, was any

 ·4· · case settled by the city that involved in whole or

 ·5· · part allegations related to your conduct as an

 ·6· · officer?

 ·7· · A.· · · · ·None that I am 2aware of.

 ·8· · Q.· · · · ·Fair enough.· Now, let's focus on the

 ·9· · years after you became chief.· You became chief in

 10· · '79; is that right?

 11· · A.· · · · ·No.· 2012.

 12· · Q.· · · · ·2012, yeah.

 13· · · · · · · ·You became a police officer sometime in

 14· · the '70s?

 15· · A.· · · · ·October of 1979 I joined the division.

 16· · Q.· · · · ·Okay.· Since you were the chief in

 17· · 2012, can you remember any case in which claims

 18· · were made against you personally, excluding this

 19· · lawsuit --

 20· · A.· · · · ·I know --

 21· · Q.· · · · ·-- from your behavior as chief or your

 22· · authority as chief?

 23· · A.· · · · ·I know that I have been named in

 24· · lawsuits personally and professionally, but as far


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                           YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 10 of 302 PAGEID #: 937

                                                                              10


 ·1· · as my own behavior, no.· Most of the time it's for

 ·2· · behavior that somebody else has done under my

 ·3· · tenure as chief.

 ·4· · Q.· · · · ·Okay.· How would you classify this

 ·5· · case?· Is it personal or is it what you just

 ·6· · described?

 ·7· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead

 ·8· · and answer.

 ·9· · A.· · · · ·I don't recall that there's a specific

 10· · allegation against me for a certain behavior of

 11· · mine, other than the failure to take a particular

 12· · action, I believe.· But I don't -- I don't recall

 13· · any specific behavior that I have been accused of

 14· · in this particular lawsuit.

 15· · Q.· · · · ·Okay.· That's -- I'm just trying to get

 16· · an understanding of what you meant when you

 17· · described.· So this is -- this case, your view of

 18· · it is it's not a suit against you because of your

 19· · conduct, it's more related to your status as the

 20· · chief and your responsibility --

 21· · A.· · · · ·That's --

 22· · Q.· · · · ·-- for others?

 23· · A.· · · · ·That is the way that I understand it.

 24· · Q.· · · · ·Okay.· That's fair enough.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 11 of 302 PAGEID #: 938

                                                                              11


 ·1· · A.· · · · ·I haven't reviewed any of the paperwork

 ·2· · lately, so I --

 ·3· · Q.· · · · ·Okay.· When you -- so you don't recall

 ·4· · any of the specific cases since you became chief

 ·5· · in which you were sued either in your official

 ·6· · capacity or personally?

 ·7· · A.· · · · ·Well, I -- are you talking about suit

 ·8· · or depositions?

 ·9· · Q.· · · · ·Suit.

 10· · A.· · · · ·I know that there's a number of

 11· · lawsuits with my name on them.· I can't name them

 12· · all.· I know that there's some pending ones and

 13· · then there's some others that I believe had gone

 14· · to court.· What -- what --

 15· · Q.· · · · ·I mean, do you remember any of them?

 16· · A.· · · · ·Federal?· State?

 17· · Q.· · · · ·Any.

 18· · A.· · · · ·I know that I was sued -- well, by

 19· · Officers Zimmerman and Lazar --

 20· · Q.· · · · ·Okay.

 21· · A.· · · · ·-- that is still pending.· I know that

 22· · there's a lawsuit that's been filed by Lieutenant

 23· · McFadden --

 24· · Q.· · · · ·Okay.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 12 of 302 PAGEID #: 939

                                                                              12


 ·1· · A.· · · · ·-- in state court.· I'm not sure how

 ·2· · far it went, but Representative Kent, I think

 ·3· · filed a suit against me.· I've been named in a

 ·4· · number of -- of suits involving the use of deadly

 ·5· · force.· The family of Henry Green.· The family of

 ·6· · Tyree King.· The family of the man who was shot on

 ·7· · the east side in 2012.· So there's probably a

 ·8· · number of those cases.· My name is almost always

 ·9· · on the lawsuits involving the use of deadly force.

 10· · So there might be a multitude of those.· I just

 11· · don't know all of them.

 12· · Q.· · · · ·Have any of the cases you've described,

 13· · and I'm not trying to cut you off, but involved

 14· · claims of discrimination?

 15· · A.· · · · ·Yeah, the one from Lieutenant

 16· · McFadden --

 17· · Q.· · · · ·Okay.

 18· · A.· · · · ·-- I believe includes a claim of

 19· · discrimination.· Some of the deadly force ones

 20· · might, but --

 21· · Q.· · · · ·Yeah, I'll put those aside.

 22· · A.· · · · ·Okay.

 23· · Q.· · · · ·I understand that.

 24· · · · · · · ·You mentioned two other officers who


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 13 of 302 PAGEID #: 940

                                                                              13


 ·1· · had a case pending?

 ·2· · A.· · · · ·Zimmerman and Lazar.

 ·3· · Q.· · · · ·What's that about?

 ·4· · A.· · · · ·Good question.· They were accused of

 ·5· · misconduct while on duty and they felt that

 ·6· · internal affairs had mishandled the evidence.· And

 ·7· · in that particular case, I made a decision not to

 ·8· · include the evidence that was under question.· And

 ·9· · so I think that -- I don't know that it involves

 10· · discrimination.· I think it's more of an evidence

 11· · kind of a thing.· But I don't know if there was a

 12· · gender thing involved in that particular one or

 13· · not.· I don't -- I don't think so.

 14· · Q.· · · · ·Any others that you can recall sitting

 15· · here today where you were -- you were named while

 16· · you were chief?· Let's exclude use of force cases.

 17· · Mainly interested in employment cases.

 18· · A.· · · · ·There might be others, I don't know.

 19· · I've disciplined a lot of officers and they might

 20· · have filed a suit.· You know, a lot of times the

 21· · lawsuits are handled by the city attorney's office

 22· · and I may or may not have much of a role in them.

 23· · Some of them are settled right away, so...

 24· · Q.· · · · ·Do you recall any specific suit -- any


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 14 of 302 PAGEID #: 941

                                                                              14


 ·1· · suits that you were specifically named in either

 ·2· · personally or as chief that either went to trial

 ·3· · and resulted in a judgment against the city or

 ·4· · you?· Let's do that first.

 ·5· · A.· · · · ·I --

 ·6· · Q.· · · · ·While you were chief?

 ·7· · A.· · · · ·I don't know the time period, but I

 ·8· · know that some officers in the campus area were

 ·9· · accused of excessive force.· There may or may not

 10· · have been an allegation of discrimination.· And it

 11· · did go to court.· And this is the Hines case.· It

 12· · did go to court.· And the ruling was that one of

 13· · the officers used excessive force and there was a

 14· · finding against him.· The other officers were not

 15· · found to be guilty of excessive force.· I believe

 16· · there was a ruling that the city owed $30,000 or

 17· · something in court costs or lawyer's costs, I'm

 18· · not sure which.· I think the city tried to fight

 19· · back on that ruling and lost, I think.

 20· · · · · · · ·I think there was another settlement

 21· · case with an officer that punched somebody in the

 22· · face, broke his jaw, and so that was a settlement.

 23· · It wasn't a court decision.

 24· · Q.· · · · ·Okay.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 15 of 302 PAGEID #: 942

                                                                              15


 ·1· · A.· · · · ·But as far as I know, that is the only

 ·2· · one that went to court and had a ruling against

 ·3· · the city.· I was not personally involved in that

 ·4· · particular case other than being chief.

 ·5· · Q.· · · · ·Now, let's ask the same question about

 ·6· · settlements.

 ·7· · A.· · · · ·I'm not even -- okay.

 ·8· · Q.· · · · ·Any settlements of cases while you were

 ·9· · the chief which either involved just the city or

 10· · other command staff or you?

 11· · A.· · · · ·There were a number of settlements.

 12· · Q.· · · · ·Do you remember any where you were

 13· · involved?· You had been named?

 14· · A.· · · · ·Not specifically.· Sometimes I'm named

 15· · and sometimes I'm not.

 16· · Q.· · · · ·No, I understand.

 17· · A.· · · · ·I -- I sometimes was involved in the

 18· · discussions about settlement, not always, but

 19· · sometimes just because it impacted whether or not

 20· · policies were violated or not, and I had an

 21· · opinion about that.· But I don't know which ones

 22· · of those I was named in.

 23· · Q.· · · · ·Well, even if you don't know, can you

 24· · recall specific cases that got settled?· Again,


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 16 of 302 PAGEID #: 943

                                                                              16


 ·1· · I'm focusing, if I -- to make it clear, on

 ·2· · employment cases, not use of force cases.

 ·3· · A.· · · · ·Oh.· As far as lawsuits, no, I don't

 ·4· · recall any specific one, because there's a -- you

 ·5· · know, in addition to the lawsuits, there's the

 ·6· · arbitrations that I go to, and so I can't recall

 ·7· · which ones were arbitrations and which ones were

 ·8· · lawsuits specifically.· If you had a list, I might

 ·9· · be able to --

 10· · Q.· · · · ·Yeah, I was hoping --

 11· · A.· · · · ·I'm sure it's public record --

 12· · Q.· · · · ·-- you might have one in your head.

 13· · A.· · · · ·-- somewhere, right?

 14· · Q.· · · · ·It should be public record as far as I

 15· · know.

 16· · · · · · · ·Now, something that's not necessarily

 17· · public record, have you had charges of

 18· · discrimination filed with the Ohio Civil Rights

 19· · Commission or the EEOC based on your allegations

 20· · of your conduct?

 21· · A.· · · · ·Yes.

 22· · Q.· · · · ·Okay.· Tell me what you can remember of

 23· · those.

 24· · A.· · · · ·Well, the first one that I recall was


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 17 of 302 PAGEID #: 944

                                                                              17


 ·1· · back in the 1990s.· I was a commander at the

 ·2· · communications bureau, and there was a charge

 ·3· · filed against me by -- wow, I -- I think it was

 ·4· · based on my age, because they said who was under

 ·5· · 40, and I really wasn't under 40, but I took it as

 ·6· · a compliment that they thought I was under 40.

 ·7· · But it was an age-based charge that I made a

 ·8· · decision about I think my recommendations for

 ·9· · promotion.

 10· · Q.· · · · ·Okay.· Was that resolved or dismissed

 11· · or what happened with that?

 12· · A.· · · · ·I think there was a finding of no

 13· · probable cause.

 14· · Q.· · · · ·Okay.· Any others?

 15· · A.· · · · ·Yeah, I know that there's been others.

 16· · I don't know any specifics.

 17· · Q.· · · · ·Okay.· Do you remember any other

 18· · charges involving the Columbus Police Department

 19· · during a time you were chief where -- again,

 20· · employment related, in which probable cause was

 21· · found?· Putting -- excluding --

 22· · A.· · · · ·This is --

 23· · Q.· · · · ·-- Officer Shaw's.

 24· · A.· · · · ·-- the only one that I'm aware of.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 18 of 302 PAGEID #: 945

                                                                              18


 ·1· · Q.· · · · ·Okay.· So I've talked to you about

 ·2· · trials.· Let's talk about depositions.· You've

 ·3· · mentioned you have testified in depositions.

 ·4· · Could you give me a guesstimate of how many times

 ·5· · you've been deposed?

 ·6· · A.· · · · ·I said previously I think it's

 ·7· · somewhere between 10 and 20.

 ·8· · Q.· · · · ·Oh, okay.· I missed that.

 ·9· · · · · · · ·I thought you said something about a

 10· · hundred times.· Is that trials?· Have you

 11· · testified in a trial?

 12· · · · · · · ·MR. COGLIANESE:· Objection.

 13· · A.· · · · ·I didn't say anything about a hundred.

 14· · Q.· · · · ·Okay.· How many times would you say

 15· · you've testified in a trial, criminal or civil?

 16· · A.· · · · ·Oh, very, very rarely.· I was in a

 17· · civil trial as a police officer about a traffic

 18· · accident.

 19· · Q.· · · · ·You don't have to list what they were

 20· · about, I'm just curious --

 21· · A.· · · · ·Okay.

 22· · Q.· · · · ·-- how many times.· And I know it's an

 23· · estimate.

 24· · A.· · · · ·In a trial, a criminal trial or civil


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 19 of 302 PAGEID #: 946

                                                                              19


 ·1· · trial?

 ·2· · Q.· · · · ·Both.

 ·3· · A.· · · · ·Very few.

 ·4· · Q.· · · · ·So 10 times maybe, guesstimate?

 ·5· · A.· · · · ·Yeah, I would say less than that.

 ·6· · Q.· · · · ·Okay.· Well, let's -- before I keep

 ·7· · going, because I've already been throwing

 ·8· · questions at you, I would just kind of like to go

 ·9· · over some procedures during the deposition for the

 10· · rest of the day.

 11· · · · · · · ·I know you've been through them, but I

 12· · just want to make sure -- I don't know when the

 13· · last time you were deposed was.

 14· · · · · · · ·First of all, I will probably

 15· · necessarily be asking you most, if not all, the

 16· · questions today.

 17· · A.· · · · ·Okay.

 18· · Q.· · · · ·Do you understand that if I ask you a

 19· · question and you don't understand it for any

 20· · reason, that you can tell me you don't understand

 21· · it and I will try to clarify the question or

 22· · rephrase it until you're -- you feel you can

 23· · answer it?

 24· · A.· · · · ·I do.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 20 of 302 PAGEID #: 947

                                                                               20


 ·1· · Q.· · · · ·And will you try to do that for us

 ·2· · today?

 ·3· · A.· · · · ·(Indicates affirmatively.)

 ·4· · Q.· · · · ·And it's better if you speak.

 ·5· · A.· · · · ·Correct.

 ·6· · Q.· · · · ·Okay.· If I -- if you do answer a

 ·7· · question that I've asked you and you don't

 ·8· · indicate that you're confused or don't follow the

 ·9· · question, I'm going to assume that you've

 10· · understood it unless you tell me otherwise.· Fair

 11· · enough?

 12· · A.· · · · ·I agree.

 13· · Q.· · · · ·Okay.· This is not a memory contest.                     I

 14· · know many, many people who have better memories

 15· · than me, so I know what it's like to try to

 16· · remember things covering years.· So do you

 17· · understand that as we go through today, if you

 18· · realize you made a mistake an hour later or any

 19· · time later, you forgot something or you got

 20· · something wrong, that you can interrupt me, even

 21· · in the middle of a question, to let me know you

 22· · realized you omitted something or you've

 23· · remembered something?

 24· · A.· · · · ·I understand.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 21 of 302 PAGEID #: 948

                                                                              21


 ·1· · Q.· · · · ·And will you do that for us as we go

 ·2· · through?

 ·3· · A.· · · · ·I will.

 ·4· · Q.· · · · ·This is going to be a full, long day.

 ·5· · It's not my intention to torture anybody,

 ·6· · including myself, so feel free to take a break or

 ·7· · let me know.· I just ask that you don't do it in

 ·8· · the middle of a question.

 ·9· · A.· · · · ·I agree.

 10· · Q.· · · · ·All right.· Are you on any medications

 11· · or other drugs that would affect your ability to

 12· · testify truthfully and accurately today?

 13· · A.· · · · ·No.

 14· · Q.· · · · ·Do you have any health problems that

 15· · would affect your ability to testify truthfully

 16· · and accurately today?

 17· · A.· · · · ·No.

 18· · Q.· · · · ·Do you know of any reason, personal or

 19· · otherwise, that you would not be able to testify

 20· · truthfully and accurately today?

 21· · A.· · · · ·No.

 22· · Q.· · · · ·Have you had a chance to meet with your

 23· · counsel, either your own personal counsel or the

 24· · city attorney's office about this case?


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 22 of 302 PAGEID #: 949

                                                                              22


 ·1· · A.· · · · ·I have met with the city attorney's

 ·2· · office.

 ·3· · Q.· · · · ·And about how many times have you met

 ·4· · with them since it got filed?· Again, a

 ·5· · guesstimate.

 ·6· · A.· · · · ·On this particular case?

 ·7· · Q.· · · · ·This particular case.

 ·8· · A.· · · · ·I would say less than a handful.

 ·9· · Q.· · · · ·Okay.· And when was the last time you

 10· · met with them?

 11· · A.· · · · ·I believe it was before I retired, so

 12· · sometime before February.

 13· · Q.· · · · ·Okay.· Did you review any records

 14· · before coming today?

 15· · A.· · · · ·I have reviewed a summary, but that's

 16· · been probably two or three months ago.

 17· · Q.· · · · ·Okay.· When you say, "a summary," what

 18· · are you referring to?

 19· · A.· · · · ·Of the investigation of Eric Moore.

 20· · Q.· · · · ·Okay.

 21· · A.· · · · ·The summary.

 22· · Q.· · · · ·So you looked at a portion of the IAB

 23· · file called the summary?· Is that what's it's

 24· · called?


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 23 of 302 PAGEID #: 950

                                                                              23


 ·1· · A.· · · · ·Well, the investigation is quite

 ·2· · extensive, and I just reviewed the summary pages.

 ·3· · Q.· · · · ·Right.· I mean, the file has a section

 ·4· · called --

 ·5· · A.· · · · ·Yeah.

 ·6· · Q.· · · · ·-- summary?

 ·7· · A.· · · · ·Summary of investigation, yes.

 ·8· · Q.· · · · ·Right.· Had you read the IAB packet

 ·9· · when you were at the police department as chief?

 10· · A.· · · · ·I don't believe that I've ever read the

 11· · entire investigation.

 12· · Q.· · · · ·Okay.· So, in general, when you get IAB

 13· · investigations, you don't read them in their

 14· · entirety?

 15· · A.· · · · ·Not at all.· That's not what I

 16· · testified to.

 17· · Q.· · · · ·Okay.

 18· · A.· · · · ·This was an extensive investigation

 19· · that filled boxes, or a box.· Generally I did

 20· · review most investigations from beginning to end,

 21· · but this one was quite lengthy.· And what I

 22· · decided upon was departmental charges, not lesser

 23· · discipline, so, you know, I reviewed the parts

 24· · that I thought were pertinent to the charges that


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 24 of 302 PAGEID #: 951

                                                                              24


 ·1· · were brought.

 ·2· · Q.· · · · ·So does the length of the IAB packet

 ·3· · determine whether you read the entire packet?

 ·4· · A.· · · · ·No, it's not the length.

 ·5· · Q.· · · · ·Okay.· So what -- what -- during your,

 ·6· · was it 12 years or 13 --

 ·7· · A.· · · · ·As chief?

 ·8· · Q.· · · · ·As chief.

 ·9· · A.· · · · ·No, it was seven.

 10· · Q.· · · · ·Seven years.· Okay.· During your seven

 11· · years as chief, did you have -- how did you decide

 12· · which ones to read through and which ones not to?

 13· · A.· · · · ·I read through most of them entirely --

 14· · Q.· · · · ·Okay.

 15· · A.· · · · ·-- if it resulted in departmental

 16· · charges.· I mean, many, many internal affairs

 17· · investigations never reach me.· The ones that are

 18· · recommended for departmental charges are the ones

 19· · that are brought to me.· And in general, I read

 20· · all of them.· But based on my schedule and what I

 21· · felt I needed to know about a particular thing, I

 22· · would make a decision if I had to read something

 23· · cover to cover.· And to the best of my

 24· · recollection, I don't recall reading this


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 25 of 302 PAGEID #: 952

                                                                              25


 ·1· · particular investigation cover to cover.

 ·2· · Q.· · · · ·Okay.· So if I'm understanding you

 ·3· · correctly, and please tell me if I'm not, most IAB

 ·4· · files that came to you, you did read them?· Not

 ·5· · all of them, but most you actually did?

 ·6· · A.· · · · ·That is -- that is what I believe I can

 ·7· · accurately testify to, correct.

 ·8· · Q.· · · · ·And you particularly would make a

 ·9· · point, if I understood correctly, of reading those

 10· · where formal charges were recommended?

 11· · A.· · · · ·I generally didn't see internal affairs

 12· · investigations unless formal departmental charges

 13· · were recommended.

 14· · Q.· · · · ·Okay.· I didn't follow that.

 15· · · · · · · ·Maybe we should -- let me just kind of

 16· · have you explain for all of us, and anybody who

 17· · sees this depo, the way this works.· I know there

 18· · are things called chain of command investigations?

 19· · A.· · · · ·Uh-huh.

 20· · Q.· · · · ·And I know there are internal affairs

 21· · bureau investigations.· What determines -- can you

 22· · explain the difference and what the process is?

 23· · A.· · · · ·Sure.· Internal affairs investigates

 24· · all citizen complaints.· So if somebody calls in


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 26 of 302 PAGEID #: 953

                                                                              26


 ·1· · and says an officer was rude or an officer took a

 ·2· · bribe, it goes to internal affairs, it's

 ·3· · investigated by internal affairs.· That is a

 ·4· · citizen complaint if it comes from somebody

 ·5· · outside the division or even our citizen -- or

 ·6· · civilian employees by definition.

 ·7· · · · · · · ·Internal affairs also investigates

 ·8· · allegations of serious misconduct that might be

 ·9· · leveled by internal members of the division of

 10· · police.· So if a sergeant believes that an officer

 11· · was not turning in all of the property that was

 12· · required of them to do, serious, it would be sent

 13· · to internal affairs for investigation.

 14· · · · · · · ·However, if an officer does something

 15· · more minor like fails to wear their hat, comes to

 16· · work late, that would be described as a chain of

 17· · command investigation, still an internal

 18· · investigation, but it's being conducted by the

 19· · chain of command.· And so that would be conducted

 20· · generally by the immediate supervisor and then be

 21· · sent up.

 22· · · · · · · ·In addition to that, if an officer uses

 23· · force, like a TASER, that's investigated by the

 24· · chain of command and sent up through the chain.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 27 of 302 PAGEID #: 954

                                                                              27


 ·1· · Depending on what the allegation is is somewhat

 ·2· · determinant of where that investigation's going to

 ·3· · be decided upon.· So if a use of force is say

 ·4· · handcuffing and maybe with a minor injury, a

 ·5· · sergeant can sign off on a particular use of force

 ·6· · level.

 ·7· · · · · · · ·However, a TASER needs a higher level

 ·8· · of chain of command review.· And then most

 ·9· · investigations that would be of some type of

 10· · misconduct would be reviewed up through the deputy

 11· · chief of the particular officer involved.· The

 12· · deputy chief, if they believe that the officer was

 13· · rude to somebody, they can approve a reprimand and

 14· · that would be the end of the investigation.                    I

 15· · would never see that particular investigation.· It

 16· · would be sent to internal affairs, the discipline

 17· · would be issued and it would move on.

 18· · · · · · · ·However, if the deputy chief reviewed

 19· · that and felt that the officer had say used

 20· · excessive force or had committed some type of

 21· · misconduct that rose to the level of serious

 22· · misconduct, critical misconduct according to the

 23· · contract, then the deputy chief would recommend to

 24· · me whether or not the officer should receive a


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 28 of 302 PAGEID #: 955

                                                                              28


 ·1· · written reprimand or departmental charges.

 ·2· · · · · · · ·And if it's a written reprimand, then I

 ·3· · can approve that.· A piece of paper is issued,

 ·4· · goes in their file.· If it's departmental charges,

 ·5· · then that gets sent to the professional standards

 ·6· · bureau lieutenants for review and -- just cause

 ·7· · review, and then they would tell me what they

 ·8· · think and then I could decide if I believe

 ·9· · departmental charges were appropriate.

 10· · · · · · · ·And if so, then I would schedule a

 11· · hearing and bring the officer in and see what the

 12· · defense is basically.· And then I would make a

 13· · recommendation of discipline that the officer

 14· · could either accept if it was a leave forfeiture

 15· · or I could recommend a suspension, which would

 16· · then be heard by the Director of Public Safety.

 17· · Q.· · · · ·Okay.· Please bear with me, because I'm

 18· · not sure I quite fully understand all of that.

 19· · A.· · · · ·Okay.

 20· · Q.· · · · ·First of all, is there something called

 21· · an administrative investigation, or is that the

 22· · same as chain of command?

 23· · A.· · · · ·There's -- there's administrative and

 24· · criminal investigations.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 29 of 302 PAGEID #: 956

                                                                              29


 ·1· · Q.· · · · ·Okay.

 ·2· · A.· · · · ·So everything that's being conducted by

 ·3· · internal affairs --

 ·4· · Q.· · · · ·Chain of command?

 ·5· · A.· · · · ·-- chain of command that -- that is

 ·6· · something that we don't anticipate a criminal

 ·7· · charge for --

 ·8· · Q.· · · · ·Okay.

 ·9· · A.· · · · ·-- would be called an administrative

 10· · investigation.

 11· · · · · · · ·But sometimes an allegation would come

 12· · in saying, I believe that this officer stole my

 13· · necklace or something along those lines, or raped

 14· · me.· And depending on the situation, the evidence,

 15· · we might be able to pull body camera video and

 16· · immediately find out what happened and not conduct

 17· · a criminal investigation.· But there are times

 18· · when we have to conduct a criminal investigation

 19· · of the allegation.· And so that would be put into

 20· · the hands of either a detective or a supervisor.

 21· · And occasionally internal affairs has been charged

 22· · to do a criminal investigation as well.

 23· · · · · · · ·So that's the difference.· Criminal and

 24· · administrative are whether or not we anticipate


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 30 of 302 PAGEID #: 957

                                                                              30


 ·1· · this particular investigation being looked at by

 ·2· · our legal advisers and/or the prosecutor's office.

 ·3· · Q.· · · · ·Prosecutor's office?· Okay.

 ·4· · · · · · · ·So if I -- please help me make sure I

 ·5· · have this right.· Depending on whether something

 ·6· · is viewed as critical misconduct, serious --

 ·7· · A.· · · · ·Uh-huh.

 ·8· · Q.· · · · ·-- a sergeant or a lieutenant or one of

 ·9· · the other commanders in a chain of command can

 10· · investigate it, decide what to do about it or

 11· · make -- decide what to recommend to you should be

 12· · done about it, up to and including a written

 13· · reprimand or even charges?

 14· · A.· · · · ·Departmental charges?

 15· · Q.· · · · ·Huh?

 16· · A.· · · · ·You mean departmental charges?

 17· · Q.· · · · ·Departmental charges, yeah.

 18· · A.· · · · ·I would say that those decisions aren't

 19· · made in a vacuum.· Generally if it's conduct of a

 20· · critical nature, there are discussions that are

 21· · being held as to, you know, to make sure that they

 22· · don't just issue a disciplinary action and not

 23· · look at it in a more serious light.· Most of those

 24· · that would be considered for critical misconduct


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 31 of 302 PAGEID #: 958

                                                                              31


 ·1· · would be sent to internal affairs for

 ·2· · investigation.

 ·3· · Q.· · · · ·Okay.· But at the initial stage, this

 ·4· · is what I'm trying to understand, something's

 ·5· · happened, it's something more than not wearing

 ·6· · your hat, but it's, you know, the officer didn't

 ·7· · beat anybody up or -- as far as is alleged didn't

 ·8· · steal money from somebody, but there's an issue.

 ·9· · The initial judgment about whether it's a chain of

 10· · command matter is made by the sergeant or the

 11· · lieutenants involved?

 12· · A.· · · · ·Or commanders.

 13· · Q.· · · · ·Or commanders?

 14· · A.· · · · ·Yeah.

 15· · Q.· · · · ·Okay.

 16· · A.· · · · ·That's often the case, yes.

 17· · Q.· · · · ·And if they -- they feel that it isn't

 18· · what's -- I'll ask you more about the term, but

 19· · isn't critical misconduct or something serious,

 20· · the normal practice is they look into it, which

 21· · might involve some follow up by the sergeant or

 22· · somebody else in the chain and come up with a

 23· · recommendation?

 24· · A.· · · · ·Yeah.· Unless it's one of those things


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 32 of 302 PAGEID #: 959

                                                                              32


 ·1· · that internal -- you know, we have directives and

 ·2· · the directives say which things should be

 ·3· · investigated by internal affairs.· So if it

 ·4· · doesn't fall into that particular one, then the

 ·5· · chains of command have some discretion over what

 ·6· · they investigate before it would be sent to

 ·7· · internal affairs.

 ·8· · Q.· · · · ·So other than those that are listed, do

 ·9· · you remember what that directive is or what it's

 10· · called?

 11· · A.· · · · ·I used to know the number.· We changed

 12· · the numbers.

 13· · Q.· · · · ·All right.

 14· · A.· · · · ·It used to be 310, now it is in I

 15· · believe chapter 8 or 9, but it's --

 16· · Q.· · · · ·It's like a laundry list of --

 17· · A.· · · · ·Yeah.

 18· · Q.· · · · ·-- these go to IAB?

 19· · A.· · · · ·Correct.· Correct.

 20· · Q.· · · · ·So if it's not in that list and it's

 21· · not what's viewed as critical misconduct, it goes

 22· · up.· And then ultimately, if they're going to do a

 23· · serious -- what I use as serious, what level do

 24· · they have to get your approval if it's a chain of


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 33 of 302 PAGEID #: 960

                                                                              33


 ·1· · command investigation, before they actually take

 ·2· · the action?

 ·3· · A.· · · · ·A deputy chief can decide that it's

 ·4· · going to go to internal affairs.· They don't have

 ·5· · to get my approval.

 ·6· · Q.· · · · ·No, what I mean, at what level can they

 ·7· · actually issue the punishment?· If it's short of

 ·8· · departmental charges, but they feel something

 ·9· · needs to be done, let's say like a written

 10· · reprimand?

 11· · A.· · · · ·So nobody can issue anything higher

 12· · than a DCC, which is the first formal level of

 13· · discipline, without getting my approval.

 14· · Q.· · · · ·Oh, okay.

 15· · A.· · · · ·So if it's a written reprimand or

 16· · departmental charges, they have to seek the

 17· · chief's approval.

 18· · Q.· · · · ·And then if it's something --

 19· · A.· · · · ·Unless it was based on progressive

 20· · discipline.

 21· · Q.· · · · ·So they don't have to get your approval

 22· · if there's been a prior discipline at a lower

 23· · level?

 24· · A.· · · · ·Correct.· If they had received a DCC


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 34 of 302 PAGEID #: 961

                                                                              34


 ·1· · and that was still able to be viewed within its

 ·2· · time period, we're allowed to progress a DCC

 ·3· · within nine months.· They could progress it to a

 ·4· · written reprimand without seeking my approval.

 ·5· · Q.· · · · ·So there's a lookback --

 ·6· · A.· · · · ·Yes.

 ·7· · Q.· · · · ·-- of nine months and that --

 ·8· · A.· · · · ·Administrative use.

 ·9· · Q.· · · · ·An administrative use?· Okay.

 10· · · · · · · ·Now, if it's determined by the people

 11· · in the chain involved that this is a critical

 12· · misconduct, they just forward it over to IAB or do

 13· · they have to go through you for that?

 14· · A.· · · · ·It can go through the deputy chief or

 15· · it can come through me.· There's -- a deputy chief

 16· · can approve it being sent to internal affairs

 17· · without my approval, so...

 18· · Q.· · · · ·So something could be investigated at

 19· · IAB and you wouldn't even know it's going on?

 20· · · · · · · ·MR. COGLIANESE:· Objection.

 21· · A.· · · · ·That is absolutely the case, because

 22· · I'm not aware of all the citizen complaints that

 23· · they receive.· And, yes, there could be something

 24· · being investigated by internal affairs that was


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 35 of 302 PAGEID #: 962

                                                                              35


 ·1· · sent there by the chain of command that I wouldn't

 ·2· · be aware of.

 ·3· · Q.· · · · ·Okay.· And in your experience during

 ·4· · your seven years, would that include officer

 ·5· · complaints about serious misconduct of other

 ·6· · officers?

 ·7· · A.· · · · ·I would say that if it didn't ever rise

 ·8· · to the level that somebody chose to tell me, then,

 ·9· · yes, there's a possibility that an investigation

 10· · could have ensued and maybe no evidence was found

 11· · to support that, and I might not have ever been

 12· · advised of that.· I did allow deputy chiefs who

 13· · were acting while I was gone to make some

 14· · decisions, so they could have, you know, been

 15· · investigated without any knowledge on my part,

 16· · yes.

 17· · Q.· · · · ·You mean initiated?

 18· · A.· · · · ·They could have been initiated,

 19· · investigated and/or closed without my knowledge.

 20· · Q.· · · · ·If you weren't there?

 21· · A.· · · · ·If I wasn't there or if it never got to

 22· · the level of discipline.· If they investigated it

 23· · and nobody told me about it, then it could have

 24· · gone into the record books without my knowledge.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 36 of 302 PAGEID #: 963

                                                                              36


 ·1· · Q.· · · · ·Can you explain to us what critical

 ·2· · misconduct is?

 ·3· · A.· · · · ·Well, this is the subject of lots of

 ·4· · arbitrations.· But it is conduct for which we

 ·5· · believe that a documented constructive counseling

 ·6· · level of discipline is not appropriate for.· So

 ·7· · it's egregious behavior.· It's something that

 ·8· · could damage our ability to trust the officer.

 ·9· · It's -- it's, you know, oftentimes it's, you know,

 10· · people say right away, like insubordination, you

 11· · know, is critical misconduct because you failed to

 12· · follow on order or something along those lines.

 13· · · · · · · ·It's -- it's more this body of evidence

 14· · that we have over the years of what has been given

 15· · a DCC or counseling or written reprimands or more.

 16· · For many years there was a standing policy that an

 17· · accidental discharge was going to be a written

 18· · reprimand.· So that's critical misconduct.· You

 19· · know, firearm goes off even accidentally, we

 20· · consider that to be critical misconduct because of

 21· · the dangers that are associated with that.

 22· · · · · · · ·But the division has -- has called some

 23· · things critical misconduct -- for some time,

 24· · police pursuits that went, you know, like 90 miles


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 37 of 302 PAGEID #: 964

                                                                              37


 ·1· · per hour, 100 miles per hour were called critical

 ·2· · misconduct.· That went to an arbitration and they

 ·3· · said no, it's not.· So there's always been some

 ·4· · debate about what critical misconduct equates to,

 ·5· · and there is no bright line.

 ·6· · · · · · · ·It's a feeling of what the chief at the

 ·7· · time believes is egregious enough to not reprimand

 ·8· · that person and only have that reprimand be on

 ·9· · their record for nine more months basically.

 10· · Something that we think should hold that officer

 11· · accountable to, you know, not repeating that type

 12· · of behavior for at least three years, if not more.

 13· · Q.· · · · ·So you mentioned insubordination.· What

 14· · about lying during the course of an investigation

 15· · or -- to a superior officer?

 16· · A.· · · · ·What's the question?

 17· · Q.· · · · ·Is that critical misconduct?

 18· · A.· · · · ·Absolutely.

 19· · Q.· · · · ·Okay.· Is -- what about discrimination?

 20· · A.· · · · ·I would -- I would consider most cases

 21· · of discrimination to be critical misconduct, yes.

 22· · Q.· · · · ·Do you -- and what about threats of

 23· · violence?

 24· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 38 of 302 PAGEID #: 965

                                                                              38


 ·1· · A.· · · · ·I would say that depends on the

 ·2· · circumstances.

 ·3· · Q.· · · · ·Okay.· Why -- when would a threat of

 ·4· · violence not be critical misconduct in your mind?

 ·5· · A.· · · · ·What was the environment in which it

 ·6· · was spoken?· Who was it spoken to?· Was it being

 ·7· · told as a joke?· Was it being told very seriously?

 ·8· · Was it with a weapon in hand?· Was it -- you know,

 ·9· · did the opportunity, means and everything else

 10· · lead somebody to believe that it was actually

 11· · going to happen?· Or was it imminent?· You know,

 12· · officers hear threats against them every single

 13· · day and --

 14· · Q.· · · · ·From other officers?

 15· · A.· · · · ·No.· From -- from the public.

 16· · Q.· · · · ·What about do you consider critical

 17· · misconduct for one officer to threaten another

 18· · officer with violent act?

 19· · A.· · · · ·I -- as I described, yeah, I believe it

 20· · all depends on the context.

 21· · Q.· · · · ·Okay.· So I gather that if an officer

 22· · claims that they were just joking, under those

 23· · circumstances, it's okay to threaten another

 24· · officer with a violent act?


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 39 of 302 PAGEID #: 966

                                                                              39


 ·1· · · · · · · ·MR. COGLIANESE:· Objection.

 ·2· · A.· · · · ·That's not what I testified to.

 ·3· · Q.· · · · ·No, I'm asking you.

 ·4· · A.· · · · ·Oh.· No, it's not good enough to just

 ·5· · say I was joking.· You know, we -- you would have

 ·6· · to understand what the circumstances were and --

 ·7· · Q.· · · · ·Well, you said if they have the

 ·8· · means --

 ·9· · · · · · · ·MR. COGLIANESE:· Chief, were you done

 10· · answering that question?

 11· · Q.· · · · ·I'm sorry.· I didn't mean to interrupt

 12· · you.· Go ahead.

 13· · A.· · · · ·There's a lot of context involved in --

 14· · in whether or not somebody says I was joking and

 15· · whether or not we believe that.· So, no, I'm not

 16· · going to say that if they claim I was joking,

 17· · that's the end of it.· It certainly depends on

 18· · evidence and context, what witnesses have to say,

 19· · whether there were witnesses and various other

 20· · things.

 21· · Q.· · · · ·And let me make it clear to you, I

 22· · don't mean to interrupt you, and if you're not

 23· · finished, just let me know.· It's fine for Rich to

 24· · say it --


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 40 of 302 PAGEID #: 967

                                                                              40


 ·1· · A.· · · · ·I understand.

 ·2· · Q.· · · · ·-- but I would rather have you just

 ·3· · tell me I wasn't done --

 ·4· · A.· · · · ·I understand.

 ·5· · Q.· · · · ·-- so I know you have more to say.

 ·6· · · · · · · ·Also, I want to make sure you

 ·7· · understand that I, again, don't expect memories to

 ·8· · be perfect.· So if you don't know something or you

 ·9· · don't remember, you can just tell me.

 10· · A.· · · · ·I understand.

 11· · Q.· · · · ·I don't -- I won't take it that you're

 12· · doing anything but telling me you can't remember,

 13· · all right?

 14· · A.· · · · ·I understand.

 15· · Q.· · · · ·Okay.· You mentioned that one of the

 16· · factors you would look at -- you mentioned joking,

 17· · that's why I came back to it.· You also said

 18· · whether they have the means.· Now, when it comes

 19· · to officers, don't they -- unless they're

 20· · suspended, don't they always have the means to do

 21· · harm to somebody?

 22· · A.· · · · ·Well, when I said that, I meant are

 23· · they with the person that they are threatening?

 24· · You know, do they -- if they say I'm going to, you


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 41 of 302 PAGEID #: 968

                                                                              41


 ·1· · know, do something and that isn't physically

 ·2· · within the realm of doing in the next minutes or

 ·3· · so, but it would take some, you know, time,

 ·4· · distance and thought to make it happen, that's

 ·5· · what I was referring to.· But it doesn't make or

 ·6· · break the decision.· It's just part of the

 ·7· · decision-making process.

 ·8· · · · · · · ·And I don't consider officers to be

 ·9· · anybody -- any different.· Everybody has access to

 10· · weapons.· And whether we've suspended somebody or

 11· · not doesn't mean that they don't have access to a

 12· · weapon.· So I don't ever consider somebody that's

 13· · suspended to be less of a threat, per se, than

 14· · somebody that hasn't been suspended.

 15· · Q.· · · · ·In criminal cases that you've been

 16· · involved with or that you know about, the fact

 17· · that somebody doesn't tell their intended victim

 18· · that they're going to, you know, beat them up or

 19· · kill them, but tells somebody else, is still

 20· · considered evidence of intent, isn't it?

 21· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

 22· · A.· · · · ·If somebody made a threat towards

 23· · somebody, they could be criminally charged with

 24· · menacing, correct, whether they're there or not.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 42 of 302 PAGEID #: 969

                                                                              42


 ·1· · Q.· · · · ·Whether the target is there or not?

 ·2· · A.· · · · ·Correct.

 ·3· · Q.· · · · ·What were the -- what were the -- you

 ·4· · mentioned -- I asked you about discrimination

 ·5· · being critical misconduct.· Do you -- you said

 ·6· · most forms.· Can you exempt -- give me an example

 ·7· · of a form of discrimination that would not be

 ·8· · critical conduct?

 ·9· · A.· · · · ·I would say that -- speaking from

 10· · personal experience that there were a lot of

 11· · sexist comments made towards me in my career, and

 12· · whether or not they were brought to the attention

 13· · of management, they weren't always viewed as a

 14· · disciplinary action.· So that's a form of

 15· · discrimination.· And depending on the person who

 16· · heard that particular comment or whatever else, if

 17· · they chose to ignore it or not report it, then it

 18· · might not rise to that particular level of

 19· · discipline.

 20· · · · · · · ·Some people say, I don't want anything

 21· · to happen.· They report it, but they don't want

 22· · anything to happen.· And so I would say that there

 23· · are times when -- when some things of a

 24· · discriminatory nature have occurred that don't


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 43 of 302 PAGEID #: 970

                                                                              43


 ·1· · reach the point of critical misconduct for a

 ·2· · number of reasons.· So it depends on, again, the

 ·3· · circumstances and, you know, the information that

 ·4· · we know.

 ·5· · Q.· · · · ·So is it -- was it your policy while

 ·6· · you were chief that if people didn't report sexist

 ·7· · or racist or other forms of discriminatory

 ·8· · comments, it would not be viewed as critical

 ·9· · misconduct?

 10· · A.· · · · ·Are you saying did I enact a policy of

 11· · that nature?

 12· · Q.· · · · ·No.· I mean, is that -- is that what

 13· · you're telling me, that based on your own

 14· · experience and while you were the chief, if a

 15· · person like you experienced didn't report the

 16· · sexist comments or didn't report racist comments,

 17· · then later awareness of the comments by you or

 18· · some other managing officer, it would not be

 19· · critical misconduct?

 20· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

 21· · A.· · · · ·Again, it would still matter on what

 22· · the particular situation is.· I'm not -- is that

 23· · my phone?

 24· · Q.· · · · ·Yeah, I just couldn't figure out what


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 44 of 302 PAGEID #: 971

                                                                              44


 ·1· · it was.· I don't care now that I know what it is.

 ·2· · A.· · · · ·Okay.

 ·3· · Q.· · · · ·I'm sorry.· I'm sorry, you were saying?

 ·4· · A.· · · · ·I can't make a blanket statement and

 ·5· · say that, you know, some discriminatory comment or

 ·6· · action wouldn't be critical misconduct.· It all

 ·7· · depends on the circumstances.· And, you know, I

 ·8· · certainly didn't have a policy that we were going

 ·9· · to ignore any of that.

 10· · · · · · · ·I taught EEO and sexual harassment

 11· · classes to recruits for years and told them that

 12· · they need to make complaints of that.· That they

 13· · don't ever need to suffer any type of

 14· · discriminatory behavior.· I insisted that it be

 15· · taught in the first week of recruit class, because

 16· · I didn't want what had happened to me to happen to

 17· · them.· So I feel very strongly about reporting

 18· · discriminatory behavior, and encouraged people to

 19· · report it.· And also described how they can, you

 20· · know, address it.

 21· · · · · · · ·So I wouldn't say there was any type of

 22· · policy during my tenure as chief that said, it's

 23· · not critical misconduct.· But I will say that, you

 24· · know, each situation is judged on its own merits,


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 45 of 302 PAGEID #: 972

                                                                              45


 ·1· · and that applies to practically everything, you

 ·2· · know, excessive force, you know, could be anywhere

 ·3· · from shooting and killing someone to putting

 ·4· · handcuffs on too tight.· They're not going to

 ·5· · receive the same level of punishment.

 ·6· · Q.· · · · ·So if I -- are you done?

 ·7· · A.· · · · ·Yes.

 ·8· · Q.· · · · ·So if I understood what you said, a

 ·9· · failure of someone to report sexist, racist,

 10· · ageist or other kinds of conduct from other

 11· · officers, at least was a factor, as far as you're

 12· · concerned, in whether or not the racist, sexist or

 13· · ageist comment would be considered critical

 14· · misconduct?

 15· · A.· · · · ·How would I know about it if it wasn't

 16· · reported?

 17· · Q.· · · · ·Because someone said something to

 18· · somebody else, but the person to whom the comments

 19· · were directed or about whom it were made never

 20· · complained about it.

 21· · · · · · · ·MR. COGLIANESE:· Objection.

 22· · A.· · · · ·No, that is not what I testified to.

 23· · Q.· · · · ·Okay.· Then explain to me what the

 24· · failure or decision of someone who is the target


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 46 of 302 PAGEID #: 973

                                                                              46


 ·1· · of racist, sexist or ageist comments, how does it

 ·2· · matter whether they report it or fail to report it

 ·3· · themselves?

 ·4· · A.· · · · ·It's just information.· It depends on

 ·5· · what the circumstances are.

 ·6· · Q.· · · · ·So can you give me an example of where

 ·7· · someone didn't report a racist -- you know, let's

 ·8· · say a racist slur and you factored in the fact

 ·9· · that they hadn't reported it in deciding whether

 10· · it was critical misconduct?

 11· · A.· · · · ·I can't give you an example of that.

 12· · Q.· · · · ·Okay.· Now, just briefly in light of

 13· · your reference to the training.· Tell me about

 14· · your -- your -- actually, I'm going to just kind

 15· · of switch totally, just to get it out of the way

 16· · real quickly.

 17· · · · · · · ·Are you employed now since your

 18· · retirement?

 19· · A.· · · · ·I'm not employed by the City of

 20· · Columbus now.

 21· · Q.· · · · ·No.· I mean employed at all?

 22· · A.· · · · ·I do not have any income besides the

 23· · pension that I receive.

 24· · Q.· · · · ·Okay.· Are you doing any volunteer work


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 47 of 302 PAGEID #: 974

                                                                              47


 ·1· · for any organization?

 ·2· · A.· · · · ·I -- I consider myself to be doing some

 ·3· · volunteer work for the Columbus Police Foundation.

 ·4· · Q.· · · · ·Okay.· And what's the Columbus Police

 ·5· · Foundation?

 ·6· · A.· · · · ·It's a charitable group that supports

 ·7· · programs from the division of police.· They have

 ·8· · been the supporters of buying tourniquets for

 ·9· · division members, of -- of providing the funds to

 10· · allow us to take five charter bus fulls of

 11· · division personnel to Washington, D.C. for a

 12· · three-day trip to visit the Holocaust Museum and

 13· · the African-American -- or the National African

 14· · American Museum of History and Culture for

 15· · learning experiences and how to prevent

 16· · discrimination.

 17· · · · · · · ·They have also supported some of the

 18· · meals for some of our recruiting events and some

 19· · of our community dialogue events.· What else have

 20· · they bought?· They're also helping to raise funds

 21· · for us to maybe put together some type of an

 22· · engagement center maybe on wheels where we can

 23· · have better interaction with our community

 24· · members.· So at this point in time, I've just done


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 48 of 302 PAGEID #: 975

                                                                              48


 ·1· · a little bit of fundraising for them and continue

 ·2· · to stay in touch with our donors.

 ·3· · Q.· · · · ·And are you on the board?

 ·4· · A.· · · · ·No, I'm not.

 ·5· · Q.· · · · ·Okay.· Any other organizational work

 ·6· · you're doing?

 ·7· · A.· · · · ·No.

 ·8· · Q.· · · · ·Do you have any plans or are you

 ·9· · involved in any discussions about becoming a

 10· · consultant related to police investigation?

 11· · A.· · · · ·I have already had discussions about

 12· · becoming a consultant, but I turned that

 13· · opportunity down.

 14· · Q.· · · · ·Okay.· So at the present moment, you

 15· · have no specific plans regarding other kinds of

 16· · work, whether it's as a consultant, independent

 17· · contractor or employee?

 18· · A.· · · · ·I didn't say that.

 19· · Q.· · · · ·Oh.

 20· · A.· · · · ·I have been discussing with the

 21· · foundation whether or not they want to hire me

 22· · part-time as an executive director.

 23· · Q.· · · · ·Oh, okay.

 24· · · · · · · ·Any other leads in the offering that


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 49 of 302 PAGEID #: 976

                                                                              49


 ·1· · you're considering discussing?

 ·2· · A.· · · · ·Board membership.

 ·3· · Q.· · · · ·I'm talking about paid gigs at this

 ·4· · point.

 ·5· · A.· · · · ·Oh, no.· No, paid gigs.

 ·6· · Q.· · · · ·Okay.

 ·7· · A.· · · · ·Other than that foundation executive

 ·8· · director possibility, but that's still --

 ·9· · Q.· · · · ·Okay.

 10· · A.· · · · ·-- being discussed and is --

 11· · Q.· · · · ·Do you have any family members who are

 12· · in law enforcement?

 13· · A.· · · · ·I do.

 14· · Q.· · · · ·And who are they?

 15· · A.· · · · ·My son Peter.

 16· · Q.· · · · ·And where does he do his work?

 17· · A.· · · · ·He's employed by the division of

 18· · police, Columbus Division of --

 19· · Q.· · · · ·Columbus Division of Police?

 20· · A.· · · · ·Uh-huh.

 21· · Q.· · · · ·Okay.· And how long has he been a

 22· · police officer?

 23· · A.· · · · ·Since January of 2013.

 24· · Q.· · · · ·Okay.· And what -- anybody else in the


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 50 of 302 PAGEID #: 977

                                                                              50


 ·1· · extended family that's in law enforcement?

 ·2· · A.· · · · ·No.

 ·3· · Q.· · · · ·Okay.· And what -- is your son on

 ·4· · patrol?

 ·5· · A.· · · · ·Yes.

 ·6· · Q.· · · · ·Okay.· When you came on the department,

 ·7· · I believe we said earlier '79, I don't want to

 ·8· · assume anything, did you go to patrol after going

 ·9· · through the academy?

 10· · A.· · · · ·I did.

 11· · Q.· · · · ·And how long did you do patrol?

 12· · A.· · · · ·Until -- well, I -- as a patrol

 13· · officer, I was on the street until 1987.

 14· · Q.· · · · ·Okay.

 15· · A.· · · · ·And then I got promoted to sergeant,

 16· · and I was a patrol sergeant on the street for most

 17· · of '88, I believe.· But then I got a job

 18· · inside still assigned to patrol, but in the

 19· · administrative office.· And that was until late

 20· · November -- or I believe November of 1991 when I

 21· · became a lieutenant and I went back to patrol.

 22· · Q.· · · · ·What were you doing in the

 23· · administrative office for patrol?

 24· · A.· · · · ·Scheduling officers to fill the holes


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 51 of 302 PAGEID #: 978

                                                                              51


 ·1· · for the vacancies that we had due to sickness or

 ·2· · vacation or training or whatever it might be.                     I

 ·3· · answered the complaint line for almost four years.

 ·4· · Q.· · · · ·Citizen complaint line?

 ·5· · A.· · · · ·The citizen complaint line, eight hours

 ·6· · a day, five days a week.· I scheduled officers for

 ·7· · training purposes.· I scheduled them for big

 ·8· · events, made sure that we had enough people

 ·9· · scheduled to go wherever we needed them to.· I did

 10· · that for almost four years.

 11· · Q.· · · · ·And where were you assigned as a

 12· · lieutenant as patrol?

 13· · A.· · · · ·Initially on patrol, zone three.· I had

 14· · a rotating shift.· I had two nights on third

 15· · shift, Thursday and Friday, Saturday was

 16· · unassigned, and then Sunday and Monday was on

 17· · second shift.· And I did that until early 2000 --

 18· · or early 1993 when I got a job on first shift for

 19· · the first time working for Deputy Chief Lanata as

 20· · his administrative lieutenant in charge of the

 21· · patrol office, and I was assigned to him.· It was

 22· · still technically patrol, but it was in an office,

 23· · until late 1995.

 24· · Q.· · · · ·And then what happened?


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 52 of 302 PAGEID #: 979

                                                                              52


 ·1· · A.· · · · ·And then I got promoted to commander,

 ·2· · and I went to the communications bureau.· And I

 ·3· · was there until early 2001.· And in early 2001, I

 ·4· · was assigned to internal affairs and stayed there

 ·5· · until I think April or May, maybe, of 2005.· So I

 ·6· · was there for about four years.

 ·7· · Q.· · · · ·So you were the commander of IAB?

 ·8· · A.· · · · ·Internal affairs.

 ·9· · Q.· · · · ·For four or five years?

 10· · A.· · · · ·Yeah.· And that was when we made the

 11· · whole reorganizational change from just

 12· · investigating serious misconduct allegations to

 13· · investigating all citizen complaints as well.

 14· · Q.· · · · ·Okay.

 15· · A.· · · · ·I implemented that change.

 16· · Q.· · · · ·And then what happened?

 17· · A.· · · · ·In 2005, I was assigned to patrol zone

 18· · four and -- as the commander.· And that was

 19· · downtown, Short North, campus, Clintonville and

 20· · everything northwest Columbus.· I was there until

 21· · mid 2006 when I was assigned to the training

 22· · bureau as their commander.· And I was there for

 23· · three years till late 2009 when I was promoted to

 24· · deputy chief and I went back to patrol.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 53 of 302 PAGEID #: 980

                                                                              53


 ·1· · Q.· · · · ·So 2009 you're back on patrol as the --

 ·2· · A.· · · · ·Not on patrol, but in patrol.

 ·3· · Q.· · · · ·No, I mean assigned to patrol?

 ·4· · A.· · · · ·Yes.· Yes.· I was assigned to the

 ·5· · patrol east subdivision initially.· And then when

 ·6· · we reorganized that, it was the patrol south

 ·7· · subdivision, until I think early 2011.

 ·8· · Q.· · · · ·When you became --

 ·9· · A.· · · · ·No.

 10· · Q.· · · · ·No.· Where were you when you --

 11· · A.· · · · ·I became the administrative deputy

 12· · chief in 2011 and I was the administrative deputy

 13· · chief for about a year before I became the chief

 14· · of police.

 15· · Q.· · · · ·Okay.· Now, let's talk a little bit

 16· · since you've mentioned the academy.· Tell me about

 17· · your own training -- well, let me -- let me switch

 18· · it up.· I'm sorry.

 19· · · · · · · ·You were on the department when the POE

 20· · case went to trial, do you --

 21· · A.· · · · ·POER?

 22· · Q.· · · · ·Yeah.· Right, POER.· Police Officers

 23· · for Equal Rights?

 24· · A.· · · · ·I don't know what year that was.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 54 of 302 PAGEID #: 981

                                                                               54


 ·1· · Q.· · · · ·Okay.· Do you remember the case?

 ·2· · A.· · · · ·I don't remember specifics.· I remember

 ·3· · that POER was an employment group within the

 ·4· · division of police, Police Officers for Equal

 ·5· · Rights.· I don't remember what -- what the case

 ·6· · was, you know.· I was, I believe, maybe an officer

 ·7· · at that time.

 ·8· · Q.· · · · ·So just sitting here today, you don't

 ·9· · remember reading about it or hearing about it on

 10· · the department?

 11· · A.· · · · ·Oh, I can't say that, no.· I --

 12· · Q.· · · · ·I'm just asking what you remember.

 13· · A.· · · · ·I believe it was allegations of

 14· · discrimination from --

 15· · Q.· · · · ·Right.

 16· · A.· · · · ·-- you know, against the division of

 17· · police.· I know that -- and I don't know which

 18· · ones are which, because I know that

 19· · African-Americans sued the city for hiring

 20· · purposes and won that.· I know that women sued the

 21· · city for discrimination in hiring and won that.                     I

 22· · coached a woman that got out of the academy and

 23· · immediately had seniority over me, because of the

 24· · back seniority that she had gotten, because she


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 55 of 302 PAGEID #: 982

                                                                              55


 ·1· · had tried to be hired and was turned down.

 ·2· · · · · · · ·And then I know that there were rules

 ·3· · in place -- in fact, before I got hired, we were

 ·4· · taking the entry test and there was a white list

 ·5· · and a black list, and we had to have enough

 ·6· · African-Americans on the list prior to starting a

 ·7· · class.

 ·8· · · · · · · ·And then I know -- and I don't -- I

 ·9· · don't know if this was the POER case or not, but I

 10· · know that there were allegations about

 11· · discrimination in promotions, and that was I know

 12· · in the mid '80s, I believe, that that was

 13· · resolved.· There were promotions that took place

 14· · prior to me becoming promoted to sergeant from the

 15· · list that were, I believe, a result of either a

 16· · settlement or win in a case.· I just don't know if

 17· · that was the POER case, so -- but I know that we

 18· · promoted like 30 African-Americans, I believe, in

 19· · July of '87, I believe as a result of a lawsuit.

 20· · I just don't know if it was a settlement or if it

 21· · was some type of a decision from the court.

 22· · Q.· · · · ·Do you -- do you -- again, I'm just

 23· · asking you what you remember.

 24· · A.· · · · ·Uh-huh.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 56 of 302 PAGEID #: 983

                                                                              56


 ·1· · Q.· · · · ·Do you recall that the -- and I'll fess

 ·2· · up, I was involved in those --

 ·3· · A.· · · · ·I know.

 ·4· · Q.· · · · ·-- cases, so I remember them a little

 ·5· · better than most people.· Do you recall that the

 ·6· · POE -- POER case also involved allegations of a

 ·7· · hostile work environment based on race?· Did you

 ·8· · ever know that?· Besides promotions?

 ·9· · A.· · · · ·It -- it might have been something that

 10· · I knew at the time.

 11· · Q.· · · · ·Okay.

 12· · A.· · · · ·I -- as I said, I don't remember the

 13· · specifics.· You know, I remember the hiring and

 14· · promotion part being big factors.· The hostile

 15· · work environment part I might have had some

 16· · knowledge of because I believe Officer

 17· · Stubblefield was involved in the lawsuit.· And

 18· · while I was in the academy, I went on a ride-along

 19· · and apparently while I was at the substation,

 20· · somebody made some type of a threat against him or

 21· · is alleged to have made a threat against him, and

 22· · I got called into internal affairs, I believe

 23· · while I was still in the academy, to see if I had

 24· · heard anything about that.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 57 of 302 PAGEID #: 984

                                                                              57


 ·1· · · · · · · ·So I would -- I would certainly

 ·2· · consider that investigation of hostile work

 ·3· · environment.· I just don't know if it was related

 ·4· · to the lawsuit or not.

 ·5· · Q.· · · · ·Okay.· And were you aware at any time

 ·6· · during the pendency of that case that another

 ·7· · issue that was litigated was about assignments?

 ·8· · Allegations that black officers were excluded from

 ·9· · certain units like SWAT and the detective bureau?

 10· · A.· · · · ·I don't recall having that recollection

 11· · as an officer.· You know, you're kind of isolated

 12· · at times from what's going on.· But I -- I do know

 13· · that a job description manual was created in the

 14· · late '80s because of inequities, if you will,

 15· · about how people got assignments.· I don't know if

 16· · they were based on race or not.

 17· · · · · · · ·I was asked if I wanted a job on first

 18· · shift, and I was like, I don't have the seniority

 19· · to get a job on first shift.· And they're like,

 20· · yeah, but we want women on first shift.· I'm like,

 21· · well, I'm going to wait until I have the

 22· · seniority.

 23· · · · · · · ·So, you know, I know that -- that

 24· · people felt that there were inequities with regard


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 58 of 302 PAGEID #: 985

                                                                              58


 ·1· · to assignments, and I believe that that was one of

 ·2· · the reasons why the job description manual became

 ·3· · a thing I think in 1989.

 ·4· · Q.· · · · ·Do you recall that as a result of that

 ·5· · lawsuit, the judge -- Judge Duncan at the time --

 ·6· · A.· · · · ·Yes.

 ·7· · Q.· · · · ·-- does that sound familiar?· Issued a

 ·8· · number of orders, including the promotion that

 ·9· · you've mentioned, but also issued orders about not

 10· · Judge Duncan, actually Judge Graham later took

 11· · over the case, issued orders about creating an EEO

 12· · office and a whole new set of rules related to

 13· · assignments and other things.· Do you recall that?

 14· · A.· · · · ·I don't recall that that was a result

 15· · of --

 16· · Q.· · · · ·Okay.

 17· · A.· · · · ·-- anything.· I remember that it seemed

 18· · like all of a sudden we had an EEO office,

 19· · Mr. Apple was --

 20· · Q.· · · · ·Yep.

 21· · A.· · · · ·-- in charge of EEO, and I think

 22· · Mr. Wheeler.· But I -- like I said, I don't recall

 23· · that it was specifically as a result of the

 24· · lawsuit or whether or not it was a settlement or


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 59 of 302 PAGEID #: 986

                                                                              59


 ·1· · whether it was an agreement.

 ·2· · Q.· · · · ·Did you hear during these years I'm

 ·3· · talking about, that lawsuit was pending for quite

 ·4· · awhile if you remember?

 ·5· · A.· · · · ·I don't remember when it was filed --

 ·6· · Q.· · · · ·Okay.

 ·7· · A.· · · · ·-- or when it was settled, no.

 ·8· · Q.· · · · ·But did you hear police officers that

 ·9· · you were working with or around making negative

 10· · comments about the case or about the people who

 11· · filed the case?

 12· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

 13· · A.· · · · ·Nothing specific, no.

 14· · Q.· · · · ·Okay.· Did you hear people grumbling --

 15· · you know, when I say, "people," I'm talking about

 16· · officers being -- expressing, criticizing that

 17· · some individuals got promoted over them even with

 18· · less seniority as you experienced because of the

 19· · case?

 20· · · · · · · ·MR. COGLIANESE:· Objection.

 21· · A.· · · · ·Do I remember people express --

 22· · criticizing others for being promoted over them?

 23· · Q.· · · · ·Just expressing they were upset that

 24· · that was happening?


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 60 of 302 PAGEID #: 987

                                                                              60


 ·1· · A.· · · · ·Again, I can't remember anything

 ·2· · specific.· I -- I believe that, yeah, there

 ·3· · were -- you know, there was some resentment of

 ·4· · either POER as a group or some of the decisions

 ·5· · that were being made just because of people's

 ·6· · strong feelings about seniority.

 ·7· · Q.· · · · ·Okay.· None of them were -- none of the

 ·8· · comments were about race; that blacks were using

 ·9· · the race card or taking advantage of their race to

 10· · get advantage?

 11· · A.· · · · ·I cannot remember anything specific

 12· · along those lines.

 13· · Q.· · · · ·One way or the other?· Or are you

 14· · telling me you never heard anything like that?

 15· · A.· · · · ·I would say that I don't recall any --

 16· · anything specific at all.· You know, people talked

 17· · about a lot of stuff in roll calls or whatever,

 18· · but I would say that -- and this is -- this is one

 19· · of the things that I have talked about for years

 20· · is that, you know, you surround yourself with good

 21· · people and you don't hear stuff like that.· You

 22· · know, people didn't use profanity around me very

 23· · much because they knew that I didn't like it.· And

 24· · so I wasn't privy to a lot of conversations.                    I


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 61 of 302 PAGEID #: 988

                                                                              61


 ·1· · didn't get invited to the poker games that my

 ·2· · fellow officers attended.· I didn't get invited to

 ·3· · a lot of social activities, because I was a woman

 ·4· · and they didn't want me hanging around, or I was a

 ·5· · goody two shoes and they didn't want me hanging

 ·6· · around or whatever.· But I don't remember a lot of

 ·7· · discussion about resentment towards particular

 ·8· · individuals as much as just that feeling of -- of,

 ·9· · you know, seniority not being as big a factor.

 10· · · · · · · ·I believe that there was a lot of -- of

 11· · discussion among the city and others about whether

 12· · or not seniority points were even going to be used

 13· · in the sergeant's test that I took, and that

 14· · delayed the final list, because they had said it

 15· · wasn't going to count, then they added it back in.

 16· · And I think that might have been related to the

 17· · lawsuits because those other promotions happened

 18· · in 1987 as well.

 19· · Q.· · · · ·Did you -- why did you decide not to --

 20· · I think you indicated you had a chance to get to

 21· · the first shift and you chose not to take it?

 22· · A.· · · · ·I did not believe that I had earned

 23· · enough seniority to get there.· It was important

 24· · to me that -- that people didn't view me as a


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 62 of 302 PAGEID #: 989

                                                                              62


 ·1· · female police officer, you know?· I should be an

 ·2· · officer that does their job and does it well, and

 ·3· · I didn't want any special privileges coming to me

 ·4· · because I was a woman.· And that was the reason

 ·5· · why the position was offered to me.

 ·6· · Q.· · · · ·And so I take it that you were

 ·7· · concerned that other women who might have chosen

 ·8· · otherwise might face that attitude from male

 ·9· · officers?

 10· · A.· · · · ·I wouldn't say that that was

 11· · necessarily part of my decision-making.· It was

 12· · just it wasn't right for me.

 13· · Q.· · · · ·Okay.· Well, I thought I understood you

 14· · to say that you didn't want officers to view you

 15· · as a woman police officer, and taking a position

 16· · because of a court order which contravened

 17· · seniority was one of the concerns you have is that

 18· · you would be viewed differently?

 19· · A.· · · · ·I don't remember testifying anything at

 20· · all related to a court order.· I just decided that

 21· · I didn't want to get that assignment because I was

 22· · a woman.

 23· · Q.· · · · ·Okay.

 24· · A.· · · · ·It didn't have anything to do with


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 63 of 302 PAGEID #: 990

                                                                              63


 ·1· · court orders or anything else.

 ·2· · Q.· · · · ·I gotcha.

 ·3· · A.· · · · ·Okay.

 ·4· · Q.· · · · ·But you didn't want to get -- you

 ·5· · didn't want to be viewed as someone who was --

 ·6· · A.· · · · ·Using my gender.

 ·7· · Q.· · · · ·-- getting -- of using your gender?

 ·8· · Yeah.

 ·9· · · · · · · ·During the years from '79 into the

 10· · '90s, did you ever observe or hear racial epithets

 11· · at the Columbus Police Department?

 12· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

 13· · A.· · · · ·By other division personnel or --

 14· · Q.· · · · ·Yes.

 15· · A.· · · · ·-- by -- I don't know.· Potentially.

 16· · And, again, that would -- that would be -- was it

 17· · somebody repeating something that they had heard

 18· · or been told?

 19· · Q.· · · · ·It could be either in your presence or

 20· · someone repeating what they had been told, or

 21· · graffiti in the bathrooms or racist graffiti or

 22· · racist graffiti in the training academy, any kind

 23· · of things like that?

 24· · · · · · · ·MR. COGLIANESE:· Objection.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 64 of 302 PAGEID #: 991

                                                                              64


 ·1· · A.· · · · ·I don't recall anything specifically

 ·2· · like that.

 ·3· · Q.· · · · ·Okay.· Do you recall anything not

 ·4· · specific at a -- that related to race and that was

 ·5· · negative about black personnel?

 ·6· · A.· · · · ·I can't say that I haven't, I just

 ·7· · don't remember that there were instances where

 ·8· · people were referring to African-Americans in

 ·9· · racially derogatory terms about other division

 10· · personnel.· It could have happened in my presence,

 11· · but I don't -- I don't ever recall, you know, that

 12· · being something that happened.

 13· · · · · · · ·It -- it seemed to me that -- I don't

 14· · know if it was because I wasn't included in some

 15· · things that they, you know, thought that maybe I

 16· · would tell on them if they used those kinds of

 17· · terms around me, because I had stood up for

 18· · myself.· And maybe they thought that maybe they

 19· · shouldn't use those kinds of terms, but I can't

 20· · say that I -- I never heard those terms and

 21· · certainly might have investigated, not personally,

 22· · but might have investigated as, you know, the

 23· · commander of internal affairs other allegations to

 24· · that effect, but I just don't recall anything


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 65 of 302 PAGEID #: 992

                                                                              65


 ·1· · specific.

 ·2· · Q.· · · · ·And when you mentioned that your

 ·3· · sergeant's promotion was delayed because of the

 ·4· · court -- you know, of the black officers ordered

 ·5· · to be -- you know, lists being created for

 ·6· · promotion of black sergeants --

 ·7· · A.· · · · ·I don't think that's what I testified

 ·8· · to.

 ·9· · · · · · · ·MR. COGLIANESE:· Objection.

 10· · Q.· · · · ·Oh, you didn't?

 11· · A.· · · · ·I think I testified to there was a

 12· · debate on whether or not they were going to add

 13· · seniority points to my list or not.· And they put

 14· · out a list that had the rankings without seniority

 15· · points, and I was higher on that list.· But they

 16· · decided then to put seniority points back in and I

 17· · sank a little bit down.· I still got promoted in

 18· · the first group, but I don't know that that was

 19· · related to the lawsuit or not.

 20· · Q.· · · · ·So your promotion was not delayed?

 21· · A.· · · · ·I didn't say that.

 22· · Q.· · · · ·Okay.

 23· · A.· · · · ·I believe it was delayed, because I

 24· · think that there was debate and a slowness in


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 66 of 302 PAGEID #: 993

                                                                              66


 ·1· · preparing the final list because of that question

 ·2· · of whether or not there were going to be seniority

 ·3· · points added to the list or not.· And then

 ·4· · ultimately they were added.· And there was a list

 ·5· · that existed prior to, so you would think that

 ·6· · that might have been the reason for the delay.

 ·7· · · · · · · ·I just don't know if the delay was

 ·8· · caused by the lawsuit or the fact that 30 people

 ·9· · got promoted, I believe it was 30, you know,

 10· · months prior to the promotion ceremony.· But like

 11· · I said, I just don't know what was going on behind

 12· · the scenes on all of that.

 13· · Q.· · · · ·But in terms of where you ranked in

 14· · scoring or when you were promoted didn't affect

 15· · you?· I mean, it might have happened some weeks

 16· · later than expected, but you still --

 17· · A.· · · · ·The first time they promoted from the

 18· · list, I got promoted.

 19· · Q.· · · · ·Okay.

 20· · A.· · · · ·It was a very large group from people

 21· · that were on the list as well.

 22· · Q.· · · · ·During your years in patrol, did you --

 23· · did you hear white officers using racial epithets

 24· · at any time when they were making arrests or


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 67 of 302 PAGEID #: 994

                                                                              67


 ·1· · talking to suspects?

 ·2· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

 ·3· · A.· · · · ·I suppose the potential is there for

 ·4· · that.

 ·5· · Q.· · · · ·But sitting here today, you can't tell

 ·6· · me one way or the other whether you actually had

 ·7· · occasions when you heard that kind of language?

 ·8· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

 ·9· · A.· · · · ·You're talking about almost 40 years

 10· · ago, and, no, I don't remember any particular

 11· · incidents where that occurred.

 12· · Q.· · · · ·And I take it you never reported such

 13· · an incident if you did hear it?

 14· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

 15· · A.· · · · ·I don't recall ever reporting hearing

 16· · that kind of language being used towards a

 17· · suspect.

 18· · Q.· · · · ·Prior to being in IAB, but while you

 19· · were on patrol and an officer, did you ever report

 20· · another officer for misconduct?· Not once you were

 21· · a sergeant, but before you were a sergeant?

 22· · A.· · · · ·I know that I reported a use of force

 23· · that I don't believe that the officer reported to

 24· · my sergeant.· I was a witness.· A guy -- this is


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 68 of 302 PAGEID #: 995

                                                                              68


 ·1· · when we didn't have screens between the front seat

 ·2· · and backseat, so partners were required to ride in

 ·3· · the backseat.· And the suspect in this particular

 ·4· · case went for my partner's gun, even though he was

 ·5· · handcuffed, and so my partner's struggling to

 ·6· · maintain control of his weapon.· I got out, I'm

 ·7· · struggling to make sure that we get him under

 ·8· · control.· We put out a 10-3, officer in trouble.

 ·9· · And another officer showed up.

 10· · · · · · · ·And as we were dragging the guy out of

 11· · the backseat, this officer came up and kicked the

 12· · suspect in the face, and it was a big hubbub, you

 13· · know, because of the potential for my partner to

 14· · have been killed or myself.· And I don't know if

 15· · the officer that kicked this guy in the face

 16· · reported it to his sergeant, but I reported it to

 17· · the sergeant and made sure that I gave my

 18· · statement to that effect.· I don't know what

 19· · happened to that.· It might have been determined

 20· · that it was within policy for all I know, because

 21· · the guy was definitely a threat, even though he

 22· · was handcuffed.

 23· · Q.· · · · ·I take it -- anything else that you

 24· · reported?


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 69 of 302 PAGEID #: 996

                                                                              69


 ·1· · A.· · · · ·Not that I recall.

 ·2· · Q.· · · · ·And I take it you've explained why

 ·3· · you -- I -- at least I believe I recall you

 ·4· · testified that you had heard sexist comments

 ·5· · during your years on the department?

 ·6· · A.· · · · ·Yes.

 ·7· · Q.· · · · ·Did you ever report any of them?

 ·8· · A.· · · · ·Not officially, no.

 ·9· · · · · · · ·And I have told the story many times in

 10· · my speeches and when I teach a class on sexual

 11· · harassment that when I was at the substation in

 12· · front of my entire crew basically at a table like

 13· · this, I was standing and one of my co-workers

 14· · walked up and pinched me on my butt and hey, Kim,

 15· · you losing weight?

 16· · · · · · · ·And I was offended by him touching me

 17· · in such a private place.· And I told him not to

 18· · ever touch me again.· And oh, oh, I didn't mean

 19· · anything.· And I said, just don't touch me again.

 20· · My sergeant was there, he witnessed it, or at

 21· · least could have, but he didn't ever say anything

 22· · to me about it, and I never made an official

 23· · complaint about it.

 24· · Q.· · · · ·Did you have other incidents of


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 70 of 302 PAGEID #: 997

                                                                              70


 ·1· · inappropriate comments or touching?

 ·2· · A.· · · · ·Sexist comments, yes.· There were other

 ·3· · sexist comments, including some that were made by

 ·4· · higher ranking people than me.

 ·5· · Q.· · · · ·Did you --

 ·6· · A.· · · · ·And I was discriminated against, in my

 ·7· · opinion, by higher ranking people.

 ·8· · Q.· · · · ·And did you report it?

 ·9· · A.· · · · ·I did.

 10· · Q.· · · · ·When?

 11· · A.· · · · ·To my boss.

 12· · Q.· · · · ·Who was?

 13· · A.· · · · ·At the time it happened, my boss was

 14· · Deputy Chief Tony Lanata.

 15· · Q.· · · · ·So this was later in your career?

 16· · A.· · · · ·This was in the '90s.

 17· · Q.· · · · ·Okay.

 18· · A.· · · · ·Yeah.

 19· · Q.· · · · ·Did anything happen?

 20· · A.· · · · ·No.· The offending person was the chief

 21· · of police.

 22· · Q.· · · · ·Is that Joseph back then?

 23· · A.· · · · ·No, Jackson.

 24· · Q.· · · · ·Jackson?· Okay.


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 71 of 302 PAGEID #: 998

                                                                              71


 ·1· · · · · · · ·Any -- any others after that?

 ·2· · A.· · · · ·I -- I believe that there have been

 ·3· · comments made about me being gay by some division

 ·4· · personnel.· I was told by the FOP president that

 ·5· · there might be a vote of no confidence because I

 ·6· · was gay after I got promoted to chief.· Apparently

 ·7· · that didn't happen, but I was told that somebody

 ·8· · was strongly opposed to the fact that I was gay

 ·9· · and promoted.· So I know that comments about

 10· · gender and sexual orientation have been said about

 11· · me, but I -- I don't know how many.· I don't know

 12· · when all -- you know, all of them occurred.· But,

 13· · yes, I've been the recipient either directly or

 14· · indirectly of such comments.

 15· · Q.· · · · ·And in most of those instances, it

 16· · sounds like you did not make formal complaints

 17· · about them?

 18· · A.· · · · ·Correct.

 19· · Q.· · · · ·Okay.· I gather as somebody who's done

 20· · EEO training, you've talked with people about why

 21· · they might not want to file complaints?

 22· · A.· · · · ·Can you explain what you mean?

 23· · Q.· · · · ·Black officers and women, why they

 24· · might be hesitant to file complaints about other


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 72 of 302 PAGEID #: 999

                                                                              72


 ·1· · officers' racial or sexual comments?

 ·2· · A.· · · · ·The question is whether or not I have

 ·3· · discussed why they might be hesitant?

 ·4· · Q.· · · · ·Yes.

 ·5· · A.· · · · ·I wouldn't say that the training delved

 ·6· · too deeply into that.· The training was mostly

 ·7· · that you shouldn't put up with discriminatory

 ·8· · behavior and that you should report it, here's the

 ·9· · different ways that you can report it.· We

 10· · probably touched on, you know, whether or not you

 11· · decide to not report it and then the consequences

 12· · of that, but the consequences weren't ever

 13· · described as being more pro don't -- don't report

 14· · it.

 15· · Q.· · · · ·No, I -- and I'm sorry if I'm not being

 16· · clear.· I'm not asking whether you ever

 17· · discouraged people.

 18· · A.· · · · ·Okay.

 19· · Q.· · · · ·I'm asking you:· Do you as a woman and

 20· · a gay person understand why some gay people and

 21· · some women and some blacks would be very hesitant

 22· · about making a formal complaint about slurs,

 23· · comments, racist jokes, sexist jokes when they're

 24· · working with other officers on patrol or in other


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 73 of 302 PAGEID #: 1000

                                                                              73


  ·1· · dangerous assignments?

  ·2· · · · · · · ·MR. COGLIANESE:· Objection.

  ·3· · A.· · · · ·I understand why some people are

  ·4· · hesitant to report, yes.· That's a variety of

  ·5· · reasons.

  ·6· · Q.· · · · ·Yeah.· And they include concern about

  ·7· · retaliation, right?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·I am sure that that is some of the

  10· · considerations that some people give to reporting

  11· · or not.

  12· · Q.· · · · ·Isn't another thing that you -- you

  13· · understand about some people in these situations

  14· · and the thought about yourself is you don't want

  15· · to be viewed as a black person or a woman, you

  16· · want to, as much as you can, just be seen as a

  17· · police officer?

  18· · · · · · · ·MR. COGLIANESE:· Objection.

  19· · A.· · · · ·I don't know that -- I mean, I -- I

  20· · guess you don't want people to think that you

  21· · complain about every little thing that happens to

  22· · you.· But when it boils right down to it, what are

  23· · you going to stand up for?· And the two things

  24· · that I thought were the most egregious that


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 74 of 302 PAGEID #: 1001

                                                                              74


  ·1· · happened to me, I dealt with very strongly in my

  ·2· · opinion.· I didn't let it go unnoticed.                  I

  ·3· · addressed it.

  ·4· · · · · · · ·The one that happened later on in my

  ·5· · career as a lieutenant and coming from the chief

  ·6· · of police, I demanded that what was being

  ·7· · determined be changed or else I would file

  ·8· · something more official, and it was changed.

  ·9· · They -- they gave me an order not to ride around

  10· · with the only other female lieutenant because it

  11· · looked strange, but all of the other male

  12· · supervisors were allowed to ride around together.

  13· · But it was just me and Lieutenant Kerins that

  14· · weren't going to be allowed to right around

  15· · together.

  16· · · · · · · ·And I said, if you only order the two

  17· · of us not to ride in the same vehicle together,

  18· · you are individually singling us out because we're

  19· · women, and, you know, that needs to be changed.

  20· · Within 24 hours, the order went out that no

  21· · supervisors were allowed to ride around together.

  22· · So I didn't have to make any formal complaint

  23· · because the order was changed.

  24· · Q.· · · · ·Okay.· My question is:· What are some


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 75 of 302 PAGEID #: 1002

                                                                              75


  ·1· · of the reasons you understand that women or black

  ·2· · officers or officers with other differences might

  ·3· · not file a complaint?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.

  ·5· · A.· · · · ·There are -- there are a variety of

  ·6· · reasons why they might not.· Retaliation is one of

  ·7· · them.· Wanting to fit in is one of them.· Wanting

  ·8· · to handle it themselves is one of them.· You know,

  ·9· · not thinking it's a big deal is one of them or

  10· · whatever.· But, yes, there's certainly a variety

  11· · of reasons why some people wouldn't make a formal

  12· · complaint.

  13· · Q.· · · · ·Now, when you have -- what training

  14· · have you had on EEO?· As opposed to doing

  15· · training, what training have you had?

  16· · A.· · · · ·Whatever the city has required.                   I

  17· · instituted that we were going to do EEO training

  18· · on a regular basis when I was the chief, but we've

  19· · been accredited by the commission on accreditation

  20· · for law enforcement agencies since 1999.· And part

  21· · of the practices, the standards that we meet are,

  22· · I believe it was either biennial or triennial

  23· · training required on EEO.· So since 1996ish, I've

  24· · attended all of those trainings that were required


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 76 of 302 PAGEID #: 1003

                                                                              76


  ·1· · by the city.· And then as chief, I required it to

  ·2· · be done more frequently.

  ·3· · · · · · · ·And then -- that's within the division.

  ·4· · And then the city also instituted EEO training

  ·5· · that they required, I think mid managers or

  ·6· · commanders on up to attend as well, so what the

  ·7· · city's offered.· Back in the day when Mr. Apple

  ·8· · was doing training, I went to all of that.

  ·9· · Q.· · · · ·So let's -- let's kind of focus on the

  10· · '90s.· So you would have been what rank

  11· · starting --

  12· · A.· · · · ·I was --

  13· · Q.· · · · ·-- in 1990?

  14· · A.· · · · ·I was a sergeant in 1990.· I got

  15· · promoted to lieutenant in November of '91.

  16· · Q.· · · · ·Okay.· Let's start at '91.· In '91, how

  17· · many times would you have had EEO training?

  18· · A.· · · · ·Whatever Mr. Apple might have done.                    I

  19· · do remember going to a class that was required of

  20· · all, I think mid managers, maybe on up, I'm not

  21· · sure which, that the city paid an outside trainer

  22· · to do.· And it was the most insulting training

  23· · that I've ever taken part of.

  24· · · · · · · ·The instructor did not control the


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 77 of 302 PAGEID #: 1004

                                                                              77


  ·1· · class.· There were both fire and police

  ·2· · supervisors there.· I was a lieutenant at the

  ·3· · time, so this is probably '92, '93, something like

  ·4· · that.· And it was -- I believe it was either one

  ·5· · day or two days.

  ·6· · · · · · · ·But the instructor had different

  ·7· · exercises, one of them was a long list of

  ·8· · leadership traits.· And it said, is this a male

  ·9· · trait, female trait or both sexes?· And had

  10· · everybody answer that.· And then he asked people

  11· · to shout out which ones were male and which ones

  12· · were female.· And the comments that were being

  13· · tossed out were amazingly sexist.

  14· · · · · · · ·One said that, can you imagine a woman

  15· · having PMS in the war room making decisions about,

  16· · you know, what war plan we're going to have?· Or

  17· · tramping through the jungle and needing to put a

  18· · tampon in?· And another one was a chart that

  19· · talked about derogatory terms for ethnicity,

  20· · gender, race, religion.· You know, it said, you

  21· · know, list these derogatory terms that have been

  22· · given for all these different things, and people

  23· · were just shouting out these terms.

  24· · · · · · · ·And, you know, they said like Italian


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 78 of 302 PAGEID #: 1005

                                                                              78


  ·1· · and somebody would yell Wop.· You know, and they

  ·2· · would say, Irish, and they would say, you know,

  ·3· · drunk, you know.· And it was like this free for

  ·4· · all, just say what you're thinking.· And the

  ·5· · instructor was encouraging some of this behavior

  ·6· · basically.

  ·7· · · · · · · ·But they got to female and the way that

  ·8· · this was shouted out was, in particular, I believe

  ·9· · like said with some emphasis, not just Wop, but

  10· · cunt.· And I took great offense to that particular

  11· · thing.

  12· · · · · · · ·A number of the fire guys during the

  13· · break apologized for the other firefighters'

  14· · transgression, if you will.· Some of the police

  15· · guys that, you know, weren't too sure that they

  16· · liked, you know, me being a lieutenant I think

  17· · even were like defending me, you know.· So that

  18· · was EEO training, if you will, cultural

  19· · sensitivity training that had the actual opposite

  20· · effect.· I left there feeling like the fire

  21· · department was a bunch of sexists.

  22· · Q.· · · · ·Did you complain about it?

  23· · A.· · · · ·I didn't make an official complaint to

  24· · anybody.· I let people know how terrible I thought


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 79 of 302 PAGEID #: 1006

                                                                              79


  ·1· · it was.· But it was mandated by either the chief

  ·2· · of police or maybe even above the chief of police.

  ·3· · It might have been something that Mr. Apple had

  ·4· · suggested and had the city hire for.· I don't

  ·5· · know.

  ·6· · Q.· · · · ·Okay.· Did subsequent trainings, it

  ·7· · sounds like you had them every year in the '90s

  ·8· · and going into the 2000s?

  ·9· · A.· · · · ·No, I wouldn't say that in the '90s.

  10· · Q.· · · · ·No?· Okay.

  11· · A.· · · · ·I said as chief, after 2012 I asked our

  12· · training bureau to do EEO training every year.

  13· · Q.· · · · ·Okay.· But I'm trying to find out:· As

  14· · of the time you became the chief, you had been

  15· · through a few EEO trainings --

  16· · A.· · · · ·Oh, sure.

  17· · Q.· · · · ·-- a lot of EEO trainings, I mean, give

  18· · me --

  19· · A.· · · · ·Yeah, I mean --

  20· · Q.· · · · ·-- once a year or twice a year?

  21· · A.· · · · ·I -- I would have to go back and look

  22· · what the standard was at the time, but the

  23· · division became accredited for the first time in

  24· · 1999, but it was a three-year lookback.· And so,


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 80 of 302 PAGEID #: 1007

                                                                              80


  ·1· · you know, 1996, '97 we would have had to have EEO

  ·2· · training at least once every three years, if not

  ·3· · every other year.

  ·4· · Q.· · · · ·Okay.· And those trainings were all day

  ·5· · or half a day or --

  ·6· · A.· · · · ·No, it could have been an hour or two.

  ·7· · Q.· · · · ·Okay.

  ·8· · A.· · · · ·It didn't mandate how long, it just

  ·9· · said you have to have EEO training.· In addition

  10· · to that, I went to, you know, outside training

  11· · like in the late '90s for the police executive

  12· · leadership college.· And I don't remember

  13· · specifically, but I'm sure that some of the

  14· · outside training courses that I attended also

  15· · talked about EEO issues.

  16· · Q.· · · · ·Okay.· Did you save the materials from

  17· · any of those courses or does the department have

  18· · them that you know?

  19· · A.· · · · ·I might still have some.· I know that

  20· · when we reorganized internal affairs, we had paid

  21· · for instructors from -- there were like

  22· · contractors for IACP that came in and did 40 hours

  23· · of training.· And I believe that they might have

  24· · conducted some training on how to conduct EEO


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 81 of 302 PAGEID #: 1008

                                                                              81


  ·1· · investigations so, you know, at least on a

  ·2· · periphery there was discussion about EEO stuff and

  ·3· · maybe sexual harassment at that time, too.

  ·4· · Q.· · · · ·Could you look and see what you have

  ·5· · and let Rich know --

  ·6· · A.· · · · ·Sure.

  ·7· · Q.· · · · ·-- what you have?· Okay.

  ·8· · · · · · · ·MR. COGLIANESE:· Hey, Fred, can we take

  ·9· · a break at some point?

  10· · · · · · · ·MR. GITTES:· Oh, no, we're not allowed

  11· · to take breaks.

  12· · · · · · · ·MR. COGLIANESE:· We've been going for

  13· · about an hour and 45.

  14· · · · · · · ·MR. GITTES:· At what point?

  15· · · · · · · ·MR. COGLIANESE:· Within the next 15 or

  16· · so.

  17· · · · · · · ·MR. GITTES:· Let's just take it now.

  18· · · · · · · ·THE WITNESS:· Yeah, that's fine.

  19· · · · · · · ·THE VIDEOGRAPHER:· We are off the

  20· · record.· The time is 11:13.

  21· · · · · · · ·(A recess is taken.)

  22· · · · · · · ·THE VIDEOGRAPHER:· This marks the

  23· · beginning of media number two.· We're back on the

  24· · record.· The time is 11:22.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 82 of 302 PAGEID #: 1009

                                                                              82


  ·1· · Q.· · · · ·Chief, I think we were just talking

  ·2· · about EEO training.· And my impression is that it

  ·3· · doesn't happen every year; every other year maybe,

  ·4· · sometimes every three years depending on what time

  ·5· · period we're talking about historically?

  ·6· · · · · · · ·MR. COGLIANESE:· Objection.

  ·7· · A.· · · · ·Yeah, I don't have the documents in

  ·8· · front of me to show what has been offered within

  ·9· · the division.· But, yes, there are times when

  10· · we've done it every year for the last number of

  11· · years and then there are times where it wasn't

  12· · happening as frequently.

  13· · Q.· · · · ·And in more recent years has the

  14· · training been multiple days, a day or hour-,

  15· · two-hour programs?

  16· · A.· · · · ·I would say it comes in less than a

  17· · full day of -- of the segment.· I believe the city

  18· · offered two hours.· I think the division has been

  19· · either one or two hours out of it.

  20· · Q.· · · · ·Do you go -- oh, I'm sorry.· I didn't

  21· · mean to interrupt.

  22· · A.· · · · ·What's the question?

  23· · Q.· · · · ·Do you go still?

  24· · A.· · · · ·Absolutely.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 83 of 302 PAGEID #: 1010

                                                                              83


  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·I attended all the training that was

  ·3· · mandatory.

  ·4· · Q.· · · · ·So you've had training in retaliation,

  ·5· · what that means legally?

  ·6· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·7· · A.· · · · ·I'm sure it was discussed in at least

  ·8· · some of those offerings.

  ·9· · Q.· · · · ·And you've heard of the phrase tangible

  10· · -- a tangible employment action?· Have you ever

  11· · heard that phrase before?

  12· · A.· · · · ·Potentially.

  13· · Q.· · · · ·Can you tell me what it means to you?

  14· · · · · · · ·MR. COGLIANESE:· Objection.

  15· · A.· · · · ·In legal terms I don't know --

  16· · Q.· · · · ·No, I mean just --

  17· · A.· · · · ·-- the words.· But tangible would be

  18· · something that is, you know, you can see what

  19· · happened.· You know, it's not how somebody felt,

  20· · it's somebody -- somebody didn't get promoted or

  21· · something like that.

  22· · Q.· · · · ·Okay.· And independent of federal and

  23· · state law prohibiting discrimination and

  24· · retaliation, CPD has its own policies prohibiting


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 84 of 302 PAGEID #: 1011

                                                                              84


  ·1· · discrimination, does it not?

  ·2· · A.· · · · ·Yes.

  ·3· · Q.· · · · ·Okay.· And do you expect your officers

  ·4· · to abide by all three, policy, state law, federal

  ·5· · law?

  ·6· · A.· · · · ·Yes.

  ·7· · Q.· · · · ·And I'm gathering from how you've

  ·8· · described your own experience, you take those

  ·9· · policies and laws seriously?

  10· · A.· · · · ·I do.

  11· · Q.· · · · ·And you expect your officers to do the

  12· · same?

  13· · A.· · · · ·I do.

  14· · Q.· · · · ·And are -- while you were chief, did

  15· · you expect your commanders, sergeants, lieutenants

  16· · to enforce policies and laws concerning

  17· · discrimination and retaliation?

  18· · A.· · · · ·Yes.· Well, as -- within their power

  19· · to.

  20· · Q.· · · · ·Yes.· Sure.

  21· · A.· · · · ·I mean, they -- they didn't get to make

  22· · a lot of decisions about what enforcing means, you

  23· · know, but as far as reporting it or investigating

  24· · it --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 85 of 302 PAGEID #: 1012

                                                                              85


  ·1· · Q.· · · · ·Right.

  ·2· · A.· · · · ·-- yes.

  ·3· · Q.· · · · ·Well, nothing gets enforced unless

  ·4· · somebody reports it or somehow else it's

  ·5· · discovered, right?

  ·6· · A.· · · · ·Correct.· Correct.

  ·7· · Q.· · · · ·So it is a priority for your officers

  ·8· · if they're aware of discrimination to report it?

  ·9· · A.· · · · ·Yes.

  10· · Q.· · · · ·And if individuals become aware, let's

  11· · say a lieutenant feels a commander is

  12· · discriminating against somebody else, not the

  13· · lieutenant, they're obligated to report it, aren't

  14· · they?

  15· · A.· · · · ·If they believe that a rule violation

  16· · has occurred, correct, their required to report

  17· · it.

  18· · Q.· · · · ·Well, and besides a rule violation,

  19· · violation of federal and state discrimination

  20· · laws --

  21· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  22· · Q.· · · · ·-- should be reported if they're aware

  23· · of it?

  24· · · · · · · ·MR. COGLIANESE:· Objection.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 86 of 302 PAGEID #: 1013

                                                                              86


  ·1· · A.· · · · ·Yes.· So our policies closely match the

  ·2· · laws and, you know, it's to follow policy and the

  ·3· · law, so -- as they understand the law.

  ·4· · Q.· · · · ·Okay.· Well, they get training on the

  ·5· · law --

  ·6· · A.· · · · ·Correct.

  ·7· · Q.· · · · ·-- not just the policy, right?

  ·8· · A.· · · · ·Yes.

  ·9· · Q.· · · · ·Would -- I don't want to go back to our

  10· · earlier discussion about your practices as

  11· · regarding IAB investigations except that I do want

  12· · to understand one thing.· Do all IAB

  13· · investigations have summaries?

  14· · · · · · · ·MR. COGLIANESE:· Objection.

  15· · Q.· · · · ·I mean while you were chief anyway?

  16· · A.· · · · ·I can't think of an actual

  17· · investigation that wouldn't have a summary.· And

  18· · it would depend on what you call an investigation.

  19· · There are complaints that get called in that

  20· · aren't an actual allegation of misconduct.· It

  21· · gets written up and it's --

  22· · Q.· · · · ·I'm going to interrupt you --

  23· · · · · · · ·MR. COGLIANESE:· Hold on.

  24· · Q.· · · · ·-- if it's okay.· I don't want us to


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 87 of 302 PAGEID #: 1014

                                                                              87


  ·1· · get sidetracked, because I want to focus now as

  ·2· · much as I can on this case.

  ·3· · A.· · · · ·Okay.

  ·4· · Q.· · · · ·I'm only --

  ·5· · · · · · · ·MR. COGLIANESE:· But if you need to

  ·6· · finish your answer, by all means.

  ·7· · A.· · · · ·An actual investigation generally would

  ·8· · have a summary.

  ·9· · Q.· · · · ·Okay.· And was it your practice during

  10· · your years as chief to at least read the summaries

  11· · if the case was coming to you for some kind of

  12· · decision or action?

  13· · A.· · · · ·Yes.

  14· · Q.· · · · ·Okay.· And then sometimes you would

  15· · read more?

  16· · A.· · · · ·Yes.

  17· · Q.· · · · ·Were there cases where you would read

  18· · the summary and based on reading the summary, you

  19· · might spot check a particular exhibit or a

  20· · particular interview?

  21· · A.· · · · ·Yes.

  22· · Q.· · · · ·Was the Moore case one of those?· Eric

  23· · Moore?

  24· · A.· · · · ·What's the question?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 88 of 302 PAGEID #: 1015

                                                                              88


  ·1· · Q.· · · · ·Where you read the summary and spot

  ·2· · checked individual parts of the investigation?

  ·3· · A.· · · · ·In that particular case, I don't even

  ·4· · know if I read the entire summary prior to that.

  ·5· · I -- when I reviewed it more recently, because

  ·6· · this case was brought to me years ago, I saw

  ·7· · things in the summary more recently that I don't

  ·8· · recall having seen before.· But I don't know if

  ·9· · there were things in that particular summary that

  10· · I then referenced an actual transcript or

  11· · something like that.· I have no idea if I did that

  12· · or not.· I -- this was years ago.

  13· · Q.· · · · ·Again, it's okay to just say you don't

  14· · remember.

  15· · · · · · · ·Have you read the actual complaint,

  16· · lawsuit in this case?

  17· · A.· · · · ·I don't know.

  18· · Q.· · · · ·Don't remember one way or the other?

  19· · A.· · · · ·I don't remember one way or the other.

  20· · Q.· · · · ·Okay.· You -- we talked about this

  21· · earlier, there was a probable cause finding by the

  22· · Ohio Civil Rights Commission.· You do remember

  23· · that, right?

  24· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 89 of 302 PAGEID #: 1016

                                                                              89


  ·1· · A.· · · · ·I remember that there was an initial

  ·2· · finding of no probable cause.

  ·3· · Q.· · · · ·Right.

  ·4· · A.· · · · ·And then there was a reconsideration.

  ·5· · And then it came back with a finding of probable

  ·6· · cause.· And that we then had an attempt at

  ·7· · mediation, I believe mediation or settlement, I'm

  ·8· · not sure which.

  ·9· · Q.· · · · ·You mean -- never mind, go ahead.

  10· · A.· · · · ·And then a lawsuit was filed.

  11· · Q.· · · · ·Okay.· Okay.

  12· · A.· · · · ·I think that's the order.

  13· · Q.· · · · ·Did you attend the mediation you're

  14· · talking about?

  15· · A.· · · · ·I went to the office in the state

  16· · office tower of the Ohio Civil Rights Commission

  17· · and there was a mediator there, Pam Gordon was the

  18· · city attorney, and I'm not sure who else was

  19· · present, but --

  20· · Q.· · · · ·Okay.· Have you -- did you read the

  21· · reconsideration decision by -- that was issued by

  22· · the commission?

  23· · A.· · · · ·I don't recall.

  24· · Q.· · · · ·Okay.· Have you ever -- during the time


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 90 of 302 PAGEID #: 1017

                                                                              90


  ·1· · you were chief, did you ever order a review or

  ·2· · analysis to determine if there were disparities in

  ·3· · the discipline issued to black or -- based on race

  ·4· · in chain of command and IAB investigations?

  ·5· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·6· · A.· · · · ·Not that I recall.

  ·7· · Q.· · · · ·Have you ever -- have you heard during

  ·8· · your years as the chief, any complaints from

  ·9· · officers, particularly black officers, that I --

  10· · that -- about disparate discipline?· When I refer

  11· · to "disparate discipline," do you understand what

  12· · I'm referring to?

  13· · A.· · · · ·I do.

  14· · Q.· · · · ·Okay.· Did you hear from any office --

  15· · black officers during your years as chief any

  16· · complaints about disparate discipline?

  17· · A.· · · · ·Yes.

  18· · Q.· · · · ·Okay.· I am as -- one last thing I am a

  19· · little unclear on is:· Does the internal affairs

  20· · bureau as part of its responsibilities for

  21· · investigating employment complaints within the

  22· · division, does it investigate EEO employment

  23· · complaints?

  24· · A.· · · · ·It is charged with investigating those.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 91 of 302 PAGEID #: 1018

                                                                              91


  ·1· · We have -- we have now in the last number of years

  ·2· · asked for our human resources personnel to assist

  ·3· · with some of those investigations, and at times

  ·4· · have consulted with the human resources department

  ·5· · and/or their personnel and/or the Director of

  ·6· · Public Safety's offices, HR manager -- officer --

  ·7· · HR officer about some EEO investigations.

  ·8· · Q.· · · · ·Do you know Ms. Van Pelt?

  ·9· · A.· · · · ·I do.

  10· · Q.· · · · ·And how long have you known her?

  11· · A.· · · · ·Probably since she's been employed.

  12· · Don't know if I knew her before that.· She used to

  13· · attend the church that I attend, and so there's a

  14· · possibility that she -- that I met her at church

  15· · rather than at work, but I know at least since

  16· · she's been employed there.

  17· · Q.· · · · ·Were you -- were you involved in her

  18· · hiring?

  19· · A.· · · · ·Not personally.

  20· · Q.· · · · ·Okay.· And do you consider her a

  21· · friend?

  22· · A.· · · · ·Yeah.

  23· · Q.· · · · ·Okay.· Do you socialize at times

  24· · outside of work?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 92 of 302 PAGEID #: 1019

                                                                              92


  ·1· · A.· · · · ·She lives in my neighborhood, so, you

  ·2· · know, there are times when I stop while I'm

  ·3· · walking the dogs and say, hi, how are you doing?

  ·4· · Q.· · · · ·Okay.

  ·5· · A.· · · · ·Have a conversation.· She doesn't

  ·6· · attend my church anymore.

  ·7· · Q.· · · · ·Okay.· How about Ms. Guyton?

  ·8· · A.· · · · ·What's the question?

  ·9· · Q.· · · · ·Do you know that person?

  10· · A.· · · · ·Absolutely.

  11· · Q.· · · · ·How long?

  12· · A.· · · · ·Since probably 1995 or '96.· She was

  13· · the union representative for the dispatchers when

  14· · I became the commander at the communications

  15· · bureau.· And so whenever I started dealing with

  16· · the union matters back then is when I would have

  17· · met her.

  18· · Q.· · · · ·And what's -- what was -- what's her

  19· · status now?

  20· · A.· · · · ·She is the HR officer for the

  21· · department of building and zoning services.

  22· · Q.· · · · ·What was her last position in the

  23· · department?

  24· · A.· · · · ·HR manager over the human resources


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 93 of 302 PAGEID #: 1020

                                                                              93


  ·1· · bureau.

  ·2· · Q.· · · · ·So was she over Van Pelt?

  ·3· · A.· · · · ·Yes.

  ·4· · Q.· · · · ·How many other people are in HR at CPD,

  ·5· · at least while you were chief?

  ·6· · A.· · · · ·There was the HR manager and then two

  ·7· · HR analysts, I believe, and then several others

  ·8· · that work in employee benefits.· And just the

  ·9· · personnel office, I don't know, maybe like eight

  10· · or nine, and then the industrial hygienist.· So

  11· · maybe 10ish at the most.

  12· · Q.· · · · ·Okay.

  13· · A.· · · · ·Because I don't know if you -- payroll

  14· · is actually under the business office.

  15· · Q.· · · · ·Okay.· So Ms. Guyton is -- were you

  16· · friends?

  17· · A.· · · · ·Yes.

  18· · Q.· · · · ·Socialize outside of work sometimes?

  19· · A.· · · · ·Yes.

  20· · Q.· · · · ·Okay.· When you say that HR would get

  21· · involved with IAB investigations of EEO matters,

  22· · did they actually sit in on interviews, conduct

  23· · interviews for or with the IAB sergeants or you --

  24· · A.· · · · ·For --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 94 of 302 PAGEID #: 1021

                                                                              94


  ·1· · Q.· · · · ·How did they get involved?

  ·2· · A.· · · · ·-- investigations of officers --

  ·3· · Q.· · · · ·Yes, officers.

  ·4· · A.· · · · ·-- or investigations of civilian

  ·5· · employees?

  ·6· · Q.· · · · ·Officers.

  ·7· · A.· · · · ·I don't think that they participated in

  ·8· · the interviews.

  ·9· · Q.· · · · ·So they would just be consulted about

  10· · questions?

  11· · A.· · · · ·Asked to review information, asked to

  12· · determine whether or not they felt like the

  13· · complainant and the -- you know, the person

  14· · accused should be separated, you know, to follow

  15· · what the recommendations are from U.S. EEOC with

  16· · regard to leaving people in the same area.

  17· · Q.· · · · ·The internal affairs bureau, you

  18· · indicated you made changes to it.· Can you very

  19· · briefly tell me what changes you made?

  20· · A.· · · · ·Well, I was implementing the changes to

  21· · internal affairs, if that's what you mean.

  22· · Q.· · · · ·Implementing what changes?

  23· · A.· · · · ·Are you talking about back in the 19 --

  24· · or 2001 time period?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 95 of 302 PAGEID #: 1022

                                                                                95


  ·1· · Q.· · · · ·No, I thought -- maybe my confusion.                     I

  ·2· · thought you were talking about as chief?

  ·3· · A.· · · · ·No, I don't think so.· When I

  ·4· · referenced reorganizing internal affairs, that was

  ·5· · back in 2001 --

  ·6· · Q.· · · · ·Oh.

  ·7· · A.· · · · ·-- when the city made a lot of changes

  ·8· · based on the lawsuit that had been filed --

  ·9· · Q.· · · · ·Yeah.

  10· · A.· · · · ·-- and the Department of Justice

  11· · investigation.

  12· · Q.· · · · ·Okay.· Thank you.

  13· · · · · · · ·When did you first meet -- or did you

  14· · ever personally meet Eric Moore?

  15· · A.· · · · ·I've run into him throughout my career.

  16· · Q.· · · · ·Okay.· Did you ever --

  17· · A.· · · · ·I don't know when the first time was.

  18· · Q.· · · · ·Did you ever work with him?

  19· · A.· · · · ·I don't recall any assignment where we

  20· · would have been in the same unit, no.

  21· · Q.· · · · ·You were never his direct supervisor?

  22· · A.· · · · ·No.

  23· · Q.· · · · ·And as far as you recall, he was never

  24· · your direct supervisor?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 96 of 302 PAGEID #: 1023

                                                                              96


  ·1· · A.· · · · ·No.

  ·2· · Q.· · · · ·Okay.· How about Lieutenant Brust?

  ·3· · A.· · · · ·What's the question?

  ·4· · Q.· · · · ·Do you know him?

  ·5· · A.· · · · ·Oh, yeah.

  ·6· · Q.· · · · ·Have -- do you socialize with him

  ·7· · outside?

  ·8· · A.· · · · ·No.

  ·9· · Q.· · · · ·Okay.· How -- when -- as best you can

  10· · recall, when would you have first had met or had

  11· · dealings with Lieutenant Brust?

  12· · A.· · · · ·Whenever our paths would have crossed

  13· · with regard to assignments.· He works a lot of

  14· · special duty, so I might have run into him at a

  15· · football game or something like that first.                   I

  16· · don't know when the first time was, but I don't

  17· · remember ever working in the same unit or maybe

  18· · even bureau.· Maybe -- well, no, he might have

  19· · been in the training -- no, I don't think so.· So

  20· · I don't --

  21· · Q.· · · · ·Okay.

  22· · A.· · · · ·He might have been in my subdivision at

  23· · some point in time, but I don't --

  24· · Q.· · · · ·Never directly supervised or


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 97 of 302 PAGEID #: 1024

                                                                              97


  ·1· · supervisee --

  ·2· · A.· · · · ·Not to my knowledge.

  ·3· · Q.· · · · ·-- or coordinating together?

  ·4· · A.· · · · ·Correct.

  ·5· · Q.· · · · ·Same thing about Sergeant Williams, do

  ·6· · you know him?· How do you know him?· Did you

  ·7· · work --

  ·8· · A.· · · · ·Sergeant Doug Williams?

  ·9· · Q.· · · · ·Doug Williams, yes.

  10· · A.· · · · ·Yes, I know him.· I don't believe that

  11· · I've ever worked with him in the same unit peer to

  12· · peer or as supervisor.

  13· · Q.· · · · ·Okay.· You don't consider him a

  14· · personal friend outside of work?

  15· · A.· · · · ·No.

  16· · Q.· · · · ·Okay.· Did you ever have occasion to

  17· · discipline him?

  18· · A.· · · · ·Yes.

  19· · Q.· · · · ·And did he raise any disagreements with

  20· · you about the discipline?

  21· · A.· · · · ·Yes.

  22· · Q.· · · · ·Okay.

  23· · A.· · · · ·He took at least one of the decisions

  24· · that I had to arbitration.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 98 of 302 PAGEID #: 1025

                                                                              98


  ·1· · Q.· · · · ·Okay.· How about Gary Cameron, how long

  ·2· · have you known him?

  ·3· · A.· · · · ·Well, I know that he worked at the

  ·4· · training academy when I was there.· That might

  ·5· · have been our first time working together.· That

  ·6· · would have been in 2006?· Yeah, 2006.

  ·7· · Q.· · · · ·Was he your supervisor there?

  ·8· · A.· · · · ·No.· I was his.

  ·9· · Q.· · · · ·Okay.· And other than your supervising

  10· · him at the training academy, any other connection

  11· · work wise beyond being in the same department or

  12· · division?

  13· · A.· · · · ·No.

  14· · Q.· · · · ·Okay.· Socialize with him outside of

  15· · work?

  16· · A.· · · · ·No.

  17· · Q.· · · · ·And how about now Chief Quinlan, when

  18· · did you -- when did you first meet him?· Have you

  19· · worked with him?· Do you consider him a friend?

  20· · Those same questions.

  21· · A.· · · · ·I might have met him prior to, but I do

  22· · know that when I went to being the patrol

  23· · commander zone four, so this would have been '05,

  24· · I believe, but he was the third shift lieutenant


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 99 of 302 PAGEID #: 1026

                                                                              99


  ·1· · on zone four, and so I was his direct supervisor

  ·2· · at that time.· And then subsequent to that, I've

  ·3· · pretty much known him ever since.· And, yeah, I

  ·4· · would consider him to be a friend.

  ·5· · Q.· · · · ·You ever socialize outside of work?

  ·6· · A.· · · · ·We've attended social events at the

  ·7· · same time, same place, but I haven't like gone out

  ·8· · with just specifically him or his wife.

  ·9· · Q.· · · · ·Or your families, right?

  10· · A.· · · · ·Correct.· Correct.· Mostly those were

  11· · law enforcement --

  12· · Q.· · · · ·Related?

  13· · A.· · · · ·-- events.

  14· · Q.· · · · ·Yes, I understand.

  15· · A.· · · · ·Yes.

  16· · Q.· · · · ·And Lieutenant Echenrode?

  17· · A.· · · · ·I've never worked with him in the same

  18· · unit.· I don't believe that I've ever directly

  19· · supervised him, but I've known him for a long

  20· · time.

  21· · Q.· · · · ·In the department context?

  22· · A.· · · · ·Correct.· Correct.

  23· · Q.· · · · ·Not a personal friend?

  24· · A.· · · · ·No.· Correct.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 100 of 302 PAGEID #: 1027

                                                                             100


  ·1· · Q.· · · · ·And how about Jennifer Knight, same

  ·2· · questions?

  ·3· · A.· · · · ·Don't know when I first ran into her.

  ·4· · It's -- I don't know when.· I haven't been her

  ·5· · supervisor --

  ·6· · Q.· · · · ·Oh, you haven't?

  ·7· · A.· · · · ·-- directly that I recall.

  ·8· · Q.· · · · ·Okay.

  ·9· · A.· · · · ·I've never worked with her in the same

  10· · unit.· I'm trying to figure out when our paths

  11· · would have crossed for the first time.· But she's

  12· · the sister-in-law of one of my deputy chiefs that

  13· · I've known for a long time.

  14· · Q.· · · · ·Which one is that?

  15· · A.· · · · ·Tim Becker.

  16· · Q.· · · · ·Have you ever disciplined Jennifer

  17· · Knight or been involved with discipline related to

  18· · her work in the internal affairs bureau?

  19· · A.· · · · ·Oh, I oversaw her, yeah.· I was her

  20· · direct supervisor when she was in internal

  21· · affairs.· I had -- I don't think that I've

  22· · officially disciplined her.

  23· · Q.· · · · ·Okay.· And Ken Decker, what's your

  24· · knowledge about him, interactions --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 101 of 302 PAGEID #: 1028

                                                                             101


  ·1· · A.· · · · ·Yeah.

  ·2· · Q.· · · · ·-- relationship?

  ·3· · A.· · · · ·All work related.· I've never worked in

  ·4· · the same unit or supervised him directly, but I

  ·5· · have seen him on a number of incidents, because as

  ·6· · an investigator, when I have hearings, the

  ·7· · investigator comes into the hearings, so I've seen

  ·8· · him on any number of occasions.· He's also part of

  ·9· · the pipes and drums band, so seen him that context

  10· · as well.

  11· · Q.· · · · ·Are you?

  12· · A.· · · · ·No.

  13· · Q.· · · · ·Okay.· Is there -- I don't know what to

  14· · call it, but can you unofficially discipline

  15· · somebody, I guess, coach them or criticize them

  16· · say, don't do that again?

  17· · A.· · · · ·Can you?

  18· · Q.· · · · ·Yeah.

  19· · A.· · · · ·Absolutely.

  20· · Q.· · · · ·Did you ever do that with Jennifer

  21· · Knight?

  22· · A.· · · · ·Yes.

  23· · Q.· · · · ·Okay.· And what was it about?· If it

  24· · happened on more than one occasion, tell me that,


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 102 of 302 PAGEID #: 1029

                                                                             102


  ·1· · but --

  ·2· · A.· · · · ·One that I specifically remember was

  ·3· · that I believe that something that she directed

  ·4· · was a violation of the contract.· And that was not

  ·5· · providing a record of an interview that the FOP

  ·6· · had asked for and she decided to not list it as an

  ·7· · interview.· She said it was spontaneous, it wasn't

  ·8· · long, and it didn't amount to anything.· So I --

  ·9· · she said, I don't call it a record.· And I looked

  10· · into it more and I called it a record.· And I

  11· · said, you should have provided that.· And told her

  12· · that I thought that was a violation of the

  13· · contract.

  14· · Q.· · · · ·Wasn't she removed from internal

  15· · affairs?

  16· · A.· · · · ·She was reassigned.

  17· · Q.· · · · ·But wasn't it -- was it as a result of

  18· · some alleged misconduct?

  19· · A.· · · · ·Are you asking me why I reassigned her?

  20· · Q.· · · · ·Yes.

  21· · A.· · · · ·Because I'm the one that reassigns

  22· · people.· That is not exactly the reasoning that I

  23· · would describe as to why.· I want to have complete

  24· · trust in my internal affairs commander.· And if


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 103 of 302 PAGEID #: 1030

                                                                             103


  ·1· · you are going to, in my opinion, violate the

  ·2· · contract and then basically argue that I was wrong

  ·3· · about that, then you don't have enough -- I don't

  ·4· · have enough trust in you to do that.

  ·5· · · · · · · ·I have said for as many years as I

  ·6· · remember that I never knowingly violated the

  ·7· · contract.· And because internal affairs deals with

  ·8· · contractual issues on a regular basis and the FOP,

  ·9· · I needed to know that my internal affairs

  10· · commander would follow the rules of the contract.

  11· · And she didn't see or agree with me on that

  12· · particular issue.· And so that was the biggest

  13· · determining factor as to why she was reassigned.

  14· · Q.· · · · ·Isn't one of your priorities to -- I

  15· · mean, that you make clear to everybody who works

  16· · for you that you will not tolerate being

  17· · untruthful to you?

  18· · A.· · · · ·Absolutely.

  19· · Q.· · · · ·Okay.· Wasn't she -- and if -- again,

  20· · I'm just asking for your best memory.· Wasn't she

  21· · involved in a situation where she was overheard by

  22· · witnesses making dismissive comments about a

  23· · complaint from an employee, I don't believe it was

  24· · a uniformed employee, who was making a complaint


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 104 of 302 PAGEID #: 1031

                                                                             104


  ·1· · that IAB was supposed to look into and before it

  ·2· · was even looked into, she was making dismissive

  ·3· · comments about it?· Does that ring a bell with

  ·4· · you?

  ·5· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·6· · A.· · · · ·You would have to be more specific for

  ·7· · me to be able to respond appropriately.

  ·8· · Q.· · · · ·Do you know an officer named Falacia

  ·9· · Dragin?

  10· · A.· · · · ·I do.

  11· · Q.· · · · ·Okay.· Do you recall any kind of a

  12· · complaint or events involving Knight related to

  13· · her?

  14· · A.· · · · ·I know that Falacia filed a grievance,

  15· · I believe it was against a sergeant, I think

  16· · alleging discrimination.· He had told her to do a

  17· · certain task.· She refused to do it.· I believe

  18· · she was disciplined, and then she filed a

  19· · grievance about the discipline.· And there were --

  20· · there were complaints, I believe, that Commander

  21· · Knight had talked about that case as if it didn't

  22· · have merit or something like that.· I asked some

  23· · questions about what was heard, seen, told, all of

  24· · that, and did not feel that there was enough


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 105 of 302 PAGEID #: 1032

                                                                             105


  ·1· · information to take formal disciplinary action on

  ·2· · that particular thing.

  ·3· · Q.· · · · ·Did you counsel her about what you

  ·4· · found out?

  ·5· · A.· · · · ·I told her how imperative it was that

  ·6· · the IA commander appears to be impartial to all

  ·7· · investigations, and that she shouldn't be talking

  ·8· · about any cases.· The way that it was explained

  ·9· · was that it wasn't about, you know, what was

  10· · alleged.· And I didn't have proof to sustain real

  11· · misconduct, but, yes, I counseled her about the

  12· · importance of the internal affairs commander

  13· · being -- you know, treating things confidentially,

  14· · not talking about cases and then appearing to be

  15· · impartial.

  16· · Q.· · · · ·What was the interview that Officer

  17· · Knight, I guess was she a lieutenant then?

  18· · Captain?

  19· · A.· · · · ·Commander.

  20· · Q.· · · · ·Commander.· What was the interview that

  21· · Commander Knight claimed was not an interview?

  22· · A.· · · · ·That was out of an investigation of an

  23· · officer that -- let me make sure that I've got

  24· · this one right.· An officer was accused of and he


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 106 of 302 PAGEID #: 1033

                                                                             106


  ·1· · was charged three different times, so this is why

  ·2· · I'm -- the first time he was accused of harassing

  ·3· · recruits when he was an instructor.· The second

  ·4· · time I think that he was accused of not following

  ·5· · orders.· And then the third time he was accused

  ·6· · of -- of harassing a fellow worker and saying

  ·7· · inappropriate things.

  ·8· · · · · · · ·And so I think Commander Knight

  ·9· · decided, and I might have been involved in that

  10· · decision to do simultaneous interviews of the

  11· · officer and his girlfriend.· In one of these

  12· · cases, I think the second or the third case, we

  13· · believe that he had made up a false call.

  14· · · · · · · ·He had been ordered to not see this

  15· · particular girlfriend while he was on duty.· And I

  16· · believe that he made up a false call or had his

  17· · girlfriend make up a false call so that they could

  18· · see each other while he was on duty.· Because he

  19· · was married and he was seeing her while he was at

  20· · work rather than, you know, during his time off.

  21· · · · · · · ·And so I believe the decision was that

  22· · they were going to do simultaneous interviews of

  23· · him and the girlfriend.· And when they knocked on

  24· · the girlfriend's door, they talked to her briefly,


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 107 of 302 PAGEID #: 1034

                                                                             107


  ·1· · but she declined to come in for an interview, I

  ·2· · believe, and shut the door.· But it was a long

  ·3· · enough discussion and they recorded it, that it

  ·4· · was a record in my opinion.

  ·5· · Q.· · · · ·Okay.· Thank you.

  ·6· · · · · · · ·Can you tell me -- first of all, when

  ·7· · did -- when did you first and how did you first

  ·8· · become aware of the overtime allegations -- you

  ·9· · know, faking overtime from Officer Sorrell

  10· · concerning Eric Moore?

  11· · A.· · · · ·Officer Sorrell made allegations, I

  12· · believe, to his chain of command that Sergeant

  13· · Moore had given him permission to take a city

  14· · phone or something along those lines, and Sorrell

  15· · admitted to his own behavior with regard to that.

  16· · He admitted to this behavior.

  17· · · · · · · ·And so we started an investigation.

  18· · And at some point, I think Officer Sorrell then

  19· · added more allegations against Sergeant Moore.

  20· · And it just kept multiplying the number of

  21· · allegations that Officer Sorrell did.

  22· · · · · · · ·And then as it was being investigated,

  23· · I think just more information came out.· There

  24· · were a lot of interviews, obviously.· And at some


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 108 of 302 PAGEID #: 1035

                                                                             108


  ·1· · point in time, they told me that there might have

  ·2· · been overtime abuse as well, but I don't believe

  ·3· · that that was part of the initial allegations, so

  ·4· · sometime after that first --

  ·5· · Q.· · · · ·So I will represent to you that in

  ·6· · August of '14, some overtime allegations were

  ·7· · brought up by Officer Sorrell based on documents

  ·8· · we've gotten from the city and the IAB file.

  ·9· · A.· · · · ·To the chain of command?

  10· · Q.· · · · ·Yeah.

  11· · A.· · · · ·Okay.

  12· · Q.· · · · ·Do you -- do you know or can you tell

  13· · me whether you were made aware of those in August

  14· · or September of 2014?

  15· · A.· · · · ·Probably.

  16· · Q.· · · · ·Probably?

  17· · A.· · · · ·Yes.

  18· · Q.· · · · ·Okay.· Can you remember who it was who

  19· · told you about them?

  20· · A.· · · · ·I would assume it would have been

  21· · either the deputy chief over that subdivision

  22· · or --

  23· · Q.· · · · ·Was that Gray at the time, 2014, late

  24· · 2014?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 109 of 302 PAGEID #: 1036

                                                                             109


  ·1· · A.· · · · ·Maybe.

  ·2· · Q.· · · · ·Who else might it have been?

  ·3· · A.· · · · ·Well, I can't remember where they were

  ·4· · assigned at the time.· If they were in SRB.· So it

  ·5· · could have been, I think maybe Deputy Chief

  ·6· · Quinlan might have been over --

  ·7· · Q.· · · · ·Okay.

  ·8· · A.· · · · ·-- that subdivision --

  ·9· · Q.· · · · ·All right.

  10· · A.· · · · ·-- at the time.· So I don't know if it

  11· · came from that subdivision or --

  12· · Q.· · · · ·Okay.· Then do you -- at some point

  13· · later, do you remember being made aware of race --

  14· · a racist threat by Eric Moore?

  15· · · · · · · ·MR. COGLIANESE:· Objection.

  16· · Q.· · · · ·Allegations of a racist threat?

  17· · A.· · · · ·I remember being told that there was a

  18· · possibility of a racist -- or a threat against

  19· · another officer, yes.

  20· · Q.· · · · ·And how did you become aware of that?

  21· · A.· · · · ·I'm sure by some verbal means.

  22· · Q.· · · · ·Do you remember who?

  23· · A.· · · · ·No.

  24· · Q.· · · · ·Okay.· Do you remember getting a letter


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 110 of 302 PAGEID #: 1037

                                                                             110


  ·1· · from Sergeant Williams about it?

  ·2· · A.· · · · ·I don't know that I received a letter

  ·3· · directly from Sergeant Williams about it.

  ·4· · Q.· · · · ·Can we look at Exhibit 5?

  ·5· · · · · · · · · · · · ·- - - - -

  ·6· · · · · · ·Thereupon, Plaintiff's Exhibit 5 is marked

  ·7· · for purposes of identification.

  ·8· · · · · · · · · · · · - - - - -

  ·9· · Q.· · · · ·For the record, Chief, you've been

  10· · handed what's been marked for identification as

  11· · Plaintiff's Exhibit 5.· Would you take a moment

  12· · and look at that document and tell me if you

  13· · recognize it?

  14· · A.· · · · ·What was the question?

  15· · Q.· · · · ·Do you recognize that document?

  16· · A.· · · · ·I believe I've seen it before, yes.

  17· · Q.· · · · ·Okay.· Now, prior -- based on the

  18· · content of the letter, does this bring to mind to

  19· · you that you had already heard from some other

  20· · source about the overtime issue regarding Moore?

  21· · A.· · · · ·Yeah, I would say that's a good

  22· · possibility.

  23· · Q.· · · · ·Okay.· Did you -- what is -- where was

  24· · the AV tech unit?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 111 of 302 PAGEID #: 1038

                                                                             111


  ·1· · A.· · · · ·It was more than anything else located

  ·2· · in the SRB bureau, fairly unofficial, but had been

  ·3· · fairly longstanding.· They were the ones that

  ·4· · helped out with surveillance equipment.

  ·5· · Q.· · · · ·Okay.· And at this point in time, if

  ·6· · you -- best you can remember, was Quinlan the

  ·7· · deputy chief for SRB?

  ·8· · A.· · · · ·I believe so.

  ·9· · Q.· · · · ·Okay.· And at this point in time, was

  10· · Eric Moore, had he already left SRB and gone to

  11· · narcotics?

  12· · A.· · · · ·That's a good possibility.· I don't

  13· · know.

  14· · Q.· · · · ·Okay.

  15· · A.· · · · ·And I'm not even sure about Quinlan

  16· · being the deputy chief.· I can't remember when he

  17· · got promoted --

  18· · Q.· · · · ·Okay.

  19· · A.· · · · ·-- to deputy chief, so...

  20· · Q.· · · · ·What was your reaction when you saw

  21· · this letter from Sergeant Williams?

  22· · A.· · · · ·That it needed to be investigated.

  23· · Q.· · · · ·Okay.· Did you -- from the statement

  24· · attributed to Moore, did you think it was a -- did


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 112 of 302 PAGEID #: 1039

                                                                             112


  ·1· · it sound like a joke?

  ·2· · A.· · · · ·I wouldn't interpret it that way.

  ·3· · Q.· · · · ·And would it be acceptable under the

  ·4· · policies of the department to reference -- use

  ·5· · references like niggers and monkey?

  ·6· · A.· · · · ·No.

  ·7· · Q.· · · · ·What steps did you take after you got

  ·8· · that letter, if any?

  ·9· · A.· · · · ·I just know that it needed to be

  10· · investigated by internal affairs and making sure

  11· · that this was included in the file.

  12· · Q.· · · · ·I mean, did you -- did you communicate

  13· · with internal affairs?· Did you communicate with

  14· · Quinlan or whoever it was the deputy chief?

  15· · Exactly what do you do when you get a letter like

  16· · this?

  17· · A.· · · · ·Send it to internal affairs.

  18· · Q.· · · · ·Okay.· And at the time, who would have

  19· · been in charge of internal affairs in early

  20· · September 2014?

  21· · A.· · · · ·I don't know.

  22· · Q.· · · · ·Okay.· But whoever that person was,

  23· · that's what you would have done with this letter?

  24· · A.· · · · ·Correct.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 113 of 302 PAGEID #: 1040

                                                                             113


  ·1· · Q.· · · · ·All right.

  ·2· · A.· · · · ·I -- I don't know if I had possession

  ·3· · of it or if it was on a routing sheet.· My

  ·4· · secretary logged all of my correspondence in and

  ·5· · out, but oftentimes deputy chiefs would bring a

  ·6· · letter in, show it to me, I would give them some

  ·7· · kind of verbal direction --

  ·8· · Q.· · · · ·Okay.

  ·9· · A.· · · · ·-- and they would then forward it on

  10· · out.

  11· · Q.· · · · ·But at the time, is it reasonable to

  12· · believe that you knew there was already an IAB

  13· · investigation concerning Moore's -- the

  14· · allegations about Moore's false reporting work,

  15· · not showing up for work, overtime, that kind of

  16· · stuff?

  17· · A.· · · · ·I believe it's reasonable to believe

  18· · that, yes, there was already an investigation

  19· · underway.· I don't know all of the allegations

  20· · that were currently under investigation at that

  21· · time.· But as I said before, I remember that what

  22· · Officer Sorrell first told us wasn't everything

  23· · that we later found out were, you know, potential

  24· · allegations.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 114 of 302 PAGEID #: 1041

                                                                             114


  ·1· · Q.· · · · ·Okay.· Do you recall that within, oh,

  ·2· · about -- I'm sorry.

  ·3· · · · · · · ·You -- were you involved in relieving

  ·4· · Officer Sorrell of his duties in early

  ·5· · September 2014?

  ·6· · A.· · · · ·By "involved," what do you mean?

  ·7· · Q.· · · · ·Did you authorize it?

  ·8· · A.· · · · ·I don't recall specifically.· If I was

  ·9· · asked if I approved, I probably would have said

  10· · yes.

  11· · Q.· · · · ·Okay.· Do you sometimes initiate

  12· · officers being relieved of duty?

  13· · A.· · · · ·I have.

  14· · Q.· · · · ·Okay.· And what determines whether you

  15· · do it or not?

  16· · A.· · · · ·Depends on what knowledge I have of the

  17· · circumstances.· If it occurred in my presence or

  18· · something else, then -- or if it was brought

  19· · directly to me, then I could order it.· But the

  20· · chains of command also have the authority to

  21· · relieve somebody of duty without my approval.· And

  22· · I just don't recall if this was one that I was

  23· · consulted on prior to the actual relief of duty.

  24· · I might very well have.· I do recall that when he


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 115 of 302 PAGEID #: 1042

                                                                             115


  ·1· · came forward, he was making allegations of things

  ·2· · that had happened months and years prior to.

  ·3· · Q.· · · · ·Okay.· And how was that pertinent?

  ·4· · A.· · · · ·There's a statute of limitations on

  ·5· · some things, and, you know, we decide whether or

  ·6· · not we're going to investigate based on timeliness

  ·7· · for some allegations.· There's a directive that

  ·8· · actually addresses, you know, that if you're going

  ·9· · to make an internal allegation, that it should be

  10· · done within a more prompt period of time.

  11· · Q.· · · · ·Is there a time limit for a threat like

  12· · as reported here to take action on?

  13· · A.· · · · ·It's not specific to threats.· It's --

  14· · Q.· · · · ·Well, discrimination claim like --

  15· · A.· · · · ·Well, discrimination has its own EEO

  16· · laws, but the directive, I believe, is more

  17· · general just saying that internal investigations

  18· · should be made -- or allegations should be made

  19· · within a certain period of time.· I don't recall

  20· · what it is.· And that there will be a decision

  21· · made on whether or not it's going to be

  22· · investigated.· You know, if somebody said, three

  23· · years ago I didn't wear a hat, we wouldn't

  24· · investigate that.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 116 of 302 PAGEID #: 1043

                                                                             116


  ·1· · Q.· · · · ·Sure.· Did you consider ordering

  ·2· · Sergeant Moore relieved of duty when you learned

  ·3· · about this accusation?

  ·4· · A.· · · · ·I don't recall a specific conversation

  ·5· · about it, but --

  ·6· · Q.· · · · ·Well, just on your own did you think

  ·7· · about it when you got the letter?

  ·8· · A.· · · · ·Not that I recall a specific -- I

  ·9· · don't -- I don't even know what the state of that

  10· · was at that point in time.

  11· · · · · · · · · · · · ·- - - - -

  12· · · · · · ·Thereupon, Plaintiff's Exhibit 6 is marked

  13· · for purposes of identification.

  14· · · · · · · · · · · · ·- - - - -

  15· · Q.· · · · ·Okay.· For the record, Chief, you've

  16· · been handed what's been marked as Plaintiff's

  17· · Exhibit 6.· And my first question is:· Can you --

  18· · do you recognize that document?

  19· · A.· · · · ·There's no indication that it came to

  20· · me directly.· It was very potentially part of the

  21· · investigation of Eric Moore and/or of Wes Sorrell,

  22· · but I don't --

  23· · Q.· · · · ·On the second page of the document,

  24· · there appears to be something sent to you?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 117 of 302 PAGEID #: 1044

                                                                             117


  ·1· · A.· · · · ·All correspondence within the division

  ·2· · of police is addressed to the chief of police.

  ·3· · Q.· · · · ·Okay.

  ·4· · A.· · · · ·That never means that it was received

  ·5· · by me.· My correspondence log kept by my secretary

  ·6· · would be the best indicator whether or not it was

  ·7· · sent to my office directly.

  ·8· · Q.· · · · ·Okay.· So in order to know whether this

  ·9· · document that's from Echenrode to you on

  10· · September 10th actually got to you, we would need

  11· · to look at your log?

  12· · A.· · · · ·Correct.

  13· · Q.· · · · ·Okay.· It's just called the log?

  14· · A.· · · · ·Correspondence log or mail log.

  15· · Q.· · · · ·Okay.

  16· · A.· · · · ·Yes.

  17· · Q.· · · · ·Is it maintained or is it destroyed?

  18· · A.· · · · ·It's maintained in accordance with

  19· · public record law.

  20· · Q.· · · · ·Do you know what the requirement is for

  21· · your logs?

  22· · A.· · · · ·I would say it's probably at least

  23· · three years.

  24· · Q.· · · · ·Okay.· All right.· Thank you.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 118 of 302 PAGEID #: 1045

                                                                               118


  ·1· · A.· · · · ·Sure.

  ·2· · Q.· · · · ·I mean, if you didn't see it, that's

  ·3· · all I need to know.

  ·4· · A.· · · · ·I don't know if I --

  ·5· · Q.· · · · ·You just don't remember?

  ·6· · A.· · · · ·Correct.

  ·7· · Q.· · · · ·Okay.· I will represent to you that

  ·8· · Sergeant Williams was later interviewed in October

  ·9· · of 2014 as part of an internal affairs

  10· · investigation of Eric Moore.· Did you ever read

  11· · that interview or the interview summary as best

  12· · you recall?

  13· · A.· · · · ·I don't want to make an assumption.                     I

  14· · would -- I would assume that I did, but I --

  15· · that's an assumption.

  16· · Q.· · · · ·Okay.

  17· · A.· · · · ·I can't say with certainty whether I

  18· · did or not.

  19· · Q.· · · · ·Well, maybe this will help.· Do you

  20· · recall during the interview, Sergeant Williams

  21· · talking about over his career, he's experienced,

  22· · you know, racial slurs and racist comments being

  23· · made at the division, and that he wouldn't always

  24· · report them, you know, you just kind of get used


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 119 of 302 PAGEID #: 1046

                                                                             119


  ·1· · to it?

  ·2· · A.· · · · ·I do remember that.

  ·3· · Q.· · · · ·Okay.· What was your reaction when you

  ·4· · read that he said that?

  ·5· · A.· · · · ·I was disappointed that he had

  ·6· · experienced some of the same things, differently,

  ·7· · that I had, you know, that -- that feeling of

  ·8· · being excluded, the feeling of being treated

  ·9· · differently based on his race, rather than my

  10· · gender.· I don't -- I don't think a lot of people

  11· · understand what that feels like.· And so when I

  12· · hear that other people have experienced it, it

  13· · makes me disappointed and sad that they've had

  14· · that occur to them.

  15· · · · · · · ·I know that -- I believe that things

  16· · have gotten better with regard to at least

  17· · explicit messages like that.· I know it did for

  18· · me.· I just don't know if it was because I got

  19· · promoted and people wouldn't say those kinds of

  20· · things around me.· But it's just discouraging to

  21· · know that other people have been the subject of

  22· · derogatory comments based on, as you said before,

  23· · their difference, you know, whether it's race,

  24· · gender, sexual orientation, religion, anything.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 120 of 302 PAGEID #: 1047

                                                                             120


  ·1· · It just has no place in the workplace in my

  ·2· · opinion.

  ·3· · Q.· · · · ·I noticed you said you think it's

  ·4· · getting better.· I mean, have you got -- have you

  ·5· · done any study yourself or had somebody do it to

  ·6· · see whether it's really better, and how would you

  ·7· · do -- how would you determine that?

  ·8· · A.· · · · ·I listen to people.· I have meetings

  ·9· · with a lot of people, and I had a lot of meetings

  10· · with a lot of employees.· And I specifically had a

  11· · meeting with a significant sized group of

  12· · African-Americans, probably in 2015, and asked

  13· · what their experience was.· James Fuqua was

  14· · somebody that helped organize the meeting for me.

  15· · It was after I prepared a training program that I

  16· · thought was relevant to what was going on with

  17· · police-involved shootings at the time.· And I

  18· · wanted to hear what that focus group thought of

  19· · the training, whether it was far enough.

  20· · · · · · · ·I also sought feedback after we did

  21· · implicit bias training from African-Americans and

  22· · said, you know, did we -- how did we do?· Because

  23· · we did the implicit bias training.· I thought it

  24· · was decent training, but I didn't know if it had


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 121 of 302 PAGEID #: 1048

                                                                             121


  ·1· · actually, you know, accomplished everything that I

  ·2· · wanted it to.· So any number of times I sought

  ·3· · feedback from employees within the division of

  ·4· · police on how their experience was and how they

  ·5· · felt they were being treated.· And so based on the

  ·6· · feedback that I got, based on, you know, the types

  ·7· · of complaints that we have received, I believe

  ·8· · that explicit signs of racism or discrimination

  ·9· · had at least dropped during my career as compared

  10· · to where it was when I began.

  11· · Q.· · · · ·Did you go talk to Sergeant Williams

  12· · after you got that letter?

  13· · A.· · · · ·I don't believe that I did, no.

  14· · Q.· · · · ·How about after you read his interview

  15· · where he was talking about how he stopped

  16· · complaining about it or didn't report it?

  17· · A.· · · · ·I don't believe that I had a

  18· · conversation with him about it, no.

  19· · Q.· · · · ·Okay.· Did you -- and I -- I think you

  20· · sort of said this, but I want to focus on it.· You

  21· · don't -- you don't honestly expect that line

  22· · officers are going to feel totally open to talk to

  23· · the chief of police about every aspect of their

  24· · work, would you?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 122 of 302 PAGEID #: 1049

                                                                             122


  ·1· · A.· · · · ·I believe that some will tell me what

  ·2· · they're thinking and some won't.

  ·3· · Q.· · · · ·Okay.· And some people don't want to

  ·4· · bring up discrimination and some are willing to,

  ·5· · right?

  ·6· · · · · · · ·MR. COGLIANESE:· Objection.

  ·7· · A.· · · · ·Their perception of allegation -- of

  ·8· · discrimination, some will and some won't probably,

  ·9· · yes.

  10· · Q.· · · · ·When -- did you -- were you concerned

  11· · at all -- well, I guess I don't -- did you learn

  12· · at some point that Sorrell had been relieved of

  13· · duty?

  14· · A.· · · · ·Oh, I -- yeah, I was aware of that.

  15· · Q.· · · · ·Okay.· And you approved it?

  16· · A.· · · · ·Like I said, I don't know if I, you

  17· · know, weighed in on approving it or not, but I was

  18· · not opposed to it at all, that's for sure.                   I

  19· · don't know if I said you have my approval or I

  20· · agree or what, but it was -- based on what he had

  21· · admitted to, I believe it was the appropriate

  22· · thing, because we, at that point in time, thought

  23· · it was criminal behavior.

  24· · Q.· · · · ·Okay.· I just was going to ask you was


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 123 of 302 PAGEID #: 1050

                                                                             123


  ·1· · it based on him admitting --

  ·2· · A.· · · · ·Yes.

  ·3· · Q.· · · · ·-- that he kept the phone --

  ·4· · A.· · · · ·Correct.

  ·5· · Q.· · · · ·-- or whatever it was he did?

  ·6· · A.· · · · ·And --

  ·7· · Q.· · · · ·Okay.· All right.· Now, did you -- you

  ·8· · were being informed, were you not, about the

  ·9· · progress of the Moore investigation from time to

  10· · time after October, you know, into November, et

  11· · cetera, because it went on for a long time, right?

  12· · A.· · · · ·Yes.· I was being informed and I was

  13· · also asking about, you know, the investigation.

  14· · Q.· · · · ·So would it be -- wasn't it the case

  15· · that by December of 2014, this is, you know, going

  16· · on three months after the initial reports, you had

  17· · been informed that Sergeant Moore's racist

  18· · comments and the racist threat had been confirmed

  19· · during interviews by Sergeant Decker?

  20· · A.· · · · ·What's the question?

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · · · · · · ·MR. GITTES:· Want to read that back,

  23· · please?

  24· · · · · · · ·(The record is read as requested.)


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 124 of 302 PAGEID #: 1051

                                                                             124


  ·1· · A.· · · · ·I would have to answer no to that,

  ·2· · because, to my knowledge, the threats have never

  ·3· · been confirmed.· And the other part of that is is

  ·4· · I don't know the timing of which I found out that

  ·5· · there was a likelihood that the derogatory comment

  ·6· · was going to be sustained.

  ·7· · Q.· · · · ·Well, don't you know as you sit here

  ·8· · today that besides Officer Sorrell, another

  ·9· · officer confirmed that Moore made a threat of

  10· · violence against Eric Moore and Sergeant Williams?

  11· · · · · · · ·MR. COGLIANESE:· Objection.

  12· · Q.· · · · ·I'm sorry, Eric Cornett, yeah, sorry.

  13· · · · · · · ·MR. COGLIANESE:· Objection.· Fred, why

  14· · don't you repeat the question --

  15· · · · · · · ·MR. GITTES:· I'll repeat the question.

  16· · · · · · · ·MR. COGLIANESE:· -- because we've got a

  17· · bunch of names.

  18· · Q.· · · · ·Sitting here today, don't you know that

  19· · Sergeant Decker interviewed Sergeant Watkins that

  20· · confirmed that Sergeant Moore had made a threat of

  21· · violence toward Sergeant Williams and Eric

  22· · Cornett?

  23· · · · · · · ·MR. COGLIANESE:· Objection.

  24· · A.· · · · ·I don't recall the names of people or


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 125 of 302 PAGEID #: 1052

                                                                             125


  ·1· · what you say is confirmed, but I believe that that

  ·2· · allegation was not sustained.

  ·3· · Q.· · · · ·I understand it wasn't sustained,

  ·4· · that's why we're talking to you about it.

  ·5· · A.· · · · ·Okay.

  ·6· · Q.· · · · ·Did you look at the evidence when you

  ·7· · accepted a report that said it wasn't sustained?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·You mean this particular one?

  10· · Q.· · · · ·This particular one.

  11· · A.· · · · ·I would say that I probably did.

  12· · Q.· · · · ·Okay.· So then my question to you is:

  13· · On what basis would you not sustain that Sergeant

  14· · Moore didn't make or there was a lack of evidence

  15· · that Moore made the threat to take the two

  16· · monkeys -- basically a threat against two black

  17· · officers and do some violence to them out back?

  18· · · · · · · ·MR. COGLIANESE:· Objection.

  19· · Q.· · · · ·When you had -- you had an Officer

  20· · Sorrell confirm such a statement and then you had

  21· · a second officer, Watkins, who confirmed a -- not

  22· · exactly the identical words, but confirmed the

  23· · threat to do violence to Cornett.· Why is that not

  24· · enough evidence to sustain it?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 126 of 302 PAGEID #: 1053

                                                                             126


  ·1· · · · · · · ·MR. COGLIANESE:· Objection.

  ·2· · A.· · · · ·Without being able to point to the

  ·3· · actual testimony and review that, I can't respond

  ·4· · to that.· As you pointed out, it wasn't the same

  ·5· · exact confirmation that Officer Watkins provided.

  ·6· · And I don't recall what all of the other reviewers

  ·7· · had to say about their reasoning for not

  ·8· · sustaining that particular allegation.· Very

  ·9· · rarely is it left to me to decide whether or not

  10· · something is sustained or not.· Most of the time,

  11· · it is for me to decide whether or not something

  12· · that is sustained is going to result in a written

  13· · reprimand or a departmental charges.· So that's

  14· · the focus of my review most of the time.

  15· · · · · · · ·Certainly in this one, you know,

  16· · threats against officers are, in my opinion, very

  17· · serious, and we have to, you know, decide whether

  18· · or not we think that they are something that is

  19· · criminal, administrative, whether it requires

  20· · protection or whether it's not sustained.· And so

  21· · without the evidence before me, I can't explain to

  22· · you what my reasoning is, because I don't recall

  23· · all the specific interviews and justifications.

  24· · Q.· · · · ·If Officer Watkins confirmed that


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 127 of 302 PAGEID #: 1054

                                                                             127


  ·1· · Sergeant Moore had made violent -- a violent

  ·2· · threat towards Eric Cornett using racist language,

  ·3· · along with Sorrell's report, which you do remember

  ·4· · that, don't you?· It's reflected in the letter you

  ·5· · just read.

  ·6· · · · · · · ·MR. COGLIANESE:· Objection.

  ·7· · A.· · · · ·I remember reading about it, hearing

  ·8· · about it.

  ·9· · Q.· · · · ·Okay.

  10· · A.· · · · ·Yes.

  11· · Q.· · · · ·Do you remember also that there was

  12· · confirmation from several other officers that

  13· · Moore routinely made racial slurs, used the N word

  14· · and talked about taking people out back and

  15· · fighting with them?

  16· · · · · · · ·MR. COGLIANESE:· Objection.

  17· · Q.· · · · ·Do you remember that?

  18· · A.· · · · ·I believe that there were other

  19· · interviews that alluded to behavior of Sergeant

  20· · Moore's that was derogatory.· And then there were

  21· · others that said they never heard such a thing,

  22· · so -- and that included some African-Americans

  23· · that testified that he had always treated them

  24· · well or, you know, that they hadn't heard such


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 128 of 302 PAGEID #: 1055

                                                                             128


  ·1· · things.

  ·2· · · · · · · ·So, yes, I remember that there were

  ·3· · other statements that didn't necessarily

  ·4· · corroborate this particular threat, but other --

  ·5· · other people that said that Sergeant Moore had

  ·6· · some things, but I don't believe that they were

  ·7· · specific enough, dates, times, places for us to be

  ·8· · able to pin him down.

  ·9· · Q.· · · · ·So let me make sure I understand.

  10· · You -- you did have the authority to issue more

  11· · severe punishment, right?

  12· · A.· · · · ·Than what?

  13· · Q.· · · · ·Than -- well, first of all, you could

  14· · reverse the not sustained and sustained it?

  15· · A.· · · · ·I could have.

  16· · Q.· · · · ·Okay.· And you knew there were both

  17· · white and black officers who told Decker that they

  18· · had heard him use racist terms, told Decker that

  19· · he -- they believed he had racist attitudes based

  20· · on his comments.· One of them said with respect to

  21· · the threat, he didn't deny it when he asked Moore

  22· · about it.· You also had several officers, again,

  23· · black and white, who confirmed specific examples

  24· · of him threatening to take people out and fight


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 129 of 302 PAGEID #: 1056

                                                                             129


  ·1· · them or beat them up?

  ·2· · · · · · · ·MR. COGLIANESE:· Objection.

  ·3· · Q.· · · · ·And you're telling -- and I want to

  ·4· · make sure I understand.· You did not feel that was

  ·5· · enough evidence to corroborate either that Moore

  ·6· · made either version of the direct threat to

  ·7· · Cornett or Williams together -- despite Sorrell

  ·8· · and Watkins both supporting that as well?

  ·9· · · · · · · ·MR. COGLIANESE:· Objection.

  10· · A.· · · · ·The decision of that particular

  11· · allegation was not sustained, and so I have to say

  12· · that, yes, I wasn't convinced by the evidence,

  13· · whatever that is, and you're giving testimony as

  14· · to what some of that evidence was that I may or

  15· · may not recall parts of all or not.· But it was --

  16· · it was not my decision to override the

  17· · recommendation of not sustained, correct.

  18· · Q.· · · · ·And if I understood your answer was

  19· · that you -- part of the reason you didn't take --

  20· · or you accepted the not sustained charge is that

  21· · some other officers, white and black, according to

  22· · your recollection, said they hadn't personally

  23· · heard Moore make such racist statements or

  24· · threats; is that right?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 130 of 302 PAGEID #: 1057

                                                                             130


  ·1· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·2· · A.· · · · ·I don't believe that I testified that

  ·3· · that was relevant to the decision to over -- to

  ·4· · not override the not sustained.· Sounds like a

  ·5· · double negative.· The allegation of making a

  ·6· · derogatory comment was sustained.· The allegation

  ·7· · of making that particular threat was not

  ·8· · sustained.· And it was a particular threat of a

  ·9· · particular nature at a particular time.

  10· · · · · · · ·So the fact that other people might

  11· · have heard derogatory comments is significant, but

  12· · it's not necessarily overriding whether or not

  13· · this particular comment was made as described in

  14· · the allegation.· And that's the -- that's the

  15· · situation that we're in where we have a specific

  16· · allegation about a specific comment at a specific

  17· · time.· And you might believe that, you know,

  18· · there's circumstantial evidence, but you might not

  19· · be able to prove that there was enough evidence to

  20· · sustain an allegation.

  21· · Q.· · · · ·So just to make sure I understand.

  22· · Because two witnesses reported about the same

  23· · threat occurring at the same time, had slightly

  24· · different versions of the wording, and Sergeant


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 131 of 302 PAGEID #: 1058

                                                                             131


  ·1· · Moore denied making that threat, you felt

  ·2· · obligated to accept the denial?

  ·3· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·4· · A.· · · · ·I didn't say it that way.· I said that

  ·5· · based on all of --

  ·6· · Q.· · · · ·I'm saying it that way.· Isn't that

  ·7· · true?

  ·8· · · · · · · ·MR. COGLIANESE:· Fred, let her finish.

  ·9· · · · · · · ·MR. GITTES:· I want to make sure she

  10· · understands my question.

  11· · · · · · · ·THE WITNESS:· I said --

  12· · · · · · · ·MR. GITTES:· Want to read it back to

  13· · her?

  14· · · · · · · ·MR. COGLIANESE:· Chief, finish your

  15· · answer.

  16· · · · · · · ·MR. GITTES:· She can finish it when she

  17· · hears the question again.

  18· · · · · · · ·MR. COGLIANESE:· It depends on which

  19· · question you're asking her, because you cut her

  20· · off twice on questions here.

  21· · · · · · · ·MR. GITTES:· I hadn't finished my

  22· · question.· She can't answer a question until it's

  23· · finished.· So I'm giving her a chance to hear the

  24· · question I asked.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 132 of 302 PAGEID #: 1059

                                                                             132


  ·1· · · · · · · ·MR. COGLIANESE:· And, Chief, by all

  ·2· · means, give a full answer.

  ·3· · · · · · · ·(The record is read as requested.)

  ·4· · · · · · · ·MR. COGLIANESE:· Feel free to respond.

  ·5· · Q.· · · · ·Do you not understand the question?

  ·6· · · · · · · ·MR. COGLIANESE:· Feel free to respond.

  ·7· · Q.· · · · ·Do you understand what I'm asking you?

  ·8· · A.· · · · ·You -- you suggested that I did not

  ·9· · feel obligated.· That is not the terms that I

  10· · would use.· I said, based on the information that

  11· · I reviewed at that time, the evidence that had

  12· · been submitted, that I did not override the

  13· · decision.

  14· · Q.· · · · ·Okay.

  15· · A.· · · · ·And part of that is that the two

  16· · officers that said something happened and part of

  17· · it is all of the other information.· So it's based

  18· · on all of the evidence, not just a particular

  19· · subset.

  20· · Q.· · · · ·Okay.· What other information did you

  21· · have regarding that specific threat, other than

  22· · the two officers and Sergeant Moore's statements

  23· · about it?

  24· · A.· · · · ·Without re-reading the entire


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 133 of 302 PAGEID #: 1060

                                                                             133


  ·1· · investigation and trying to remember what I was

  ·2· · making a decision on four or five years ago, I

  ·3· · can't tell you.

  ·4· · Q.· · · · ·Well, I'll represent to you that no

  ·5· · other witness claimed to have heard the threat.

  ·6· · That the only people who specifically represented

  ·7· · they had heard it were Sorrell and Watkins,

  ·8· · although their wording was slightly different, and

  ·9· · Sergeant Moore denied it.· I'm unaware, I will

  10· · represent to you, and we have extensively reviewed

  11· · the IA packet, there's no documentation of a

  12· · threat, unlike other things that occurred later

  13· · that we're going to talk about.· It's just those

  14· · three who claimed one way or another to have

  15· · knowledge about whether it was or wasn't said.

  16· · · · · · · ·So if you have some thought of any kind

  17· · of other evidence that maybe we're not aware of, I

  18· · would sure like to hear it.

  19· · · · · · · ·MR. COGLIANESE:· Objection.

  20· · A.· · · · ·I've testified that it's based on the

  21· · information that I had before me and --

  22· · Q.· · · · ·Okay.

  23· · A.· · · · ·So --

  24· · Q.· · · · ·I'm representing to you had that before


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 134 of 302 PAGEID #: 1061

                                                                             134


  ·1· · you.

  ·2· · A.· · · · ·I already told you that I also had

  ·3· · people within the chain of command that had

  ·4· · weighed in on that particular allegation as well.

  ·5· · Q.· · · · ·Did someone in the chain of command

  ·6· · claim to be there when the statement was allegedly

  ·7· · made?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·Not to my knowledge.

  10· · Q.· · · · ·They would have been relying on the

  11· · same IAB investigation you were, wouldn't they?

  12· · A.· · · · ·Yes.

  13· · Q.· · · · ·You also knew, independent of that

  14· · specific threat, that there was a sustainable

  15· · conclusion that Sergeant Moore made racist

  16· · comments on multiple occasions, not just that

  17· · single occasion, right?

  18· · A.· · · · ·Not sustainable, no.

  19· · Q.· · · · ·No.· They found it was sustainable?

  20· · A.· · · · ·There was one allegation of a racist

  21· · comment, a derogatory comment.· There were other

  22· · people that had been interviewed that alleged

  23· · that, but they didn't allege it with dates, times,

  24· · places, you know, participants, all of those


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 135 of 302 PAGEID #: 1062

                                                                             135


  ·1· · things.· So I wouldn't describe those as

  ·2· · sustainable.· The one sustainable allegation we

  ·3· · had was in that investigation.

  ·4· · Q.· · · · ·So, in other words, you disregarded the

  ·5· · interviews by Sergeant Decker where a number of

  ·6· · other officers, black and white, confirmed that

  ·7· · they had heard Sergeant Moore saying things --

  ·8· · using the N word, talking about blacks being --

  ·9· · referring to them as monkeys, referring to blacks

  10· · as being lazy and also talking about taking

  11· · officers out and fighting them.· You just

  12· · disregarded that, because those people hadn't made

  13· · a specific complaint to the chain of command or to

  14· · IAB; is that right?

  15· · · · · · · ·MR. COGLIANESE:· Objection.

  16· · A.· · · · ·You're characterizing it as me

  17· · disregarding that information, and I would not.

  18· · Q.· · · · ·That's right, I am.

  19· · A.· · · · ·I would not.

  20· · · · · · · ·MR. COGLIANESE:· Let her finish.

  21· · Q.· · · · ·Well, how did you weigh that evidence?

  22· · · · · · · ·MR. COGLIANESE:· Fred, please let her

  23· · finish.

  24· · · · · · · ·MR. GITTES:· She was finished.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 136 of 302 PAGEID #: 1063

                                                                             136


  ·1· · · · · · · ·MR. COGLIANESE:· No, you cut her off

  ·2· · and she was finishing.

  ·3· · Q.· · · · ·Chief, let me make it clear so I don't

  ·4· · have to have continued interruptions by counsel

  ·5· · trying to direct your testimony.· If you feel I'm

  ·6· · cutting you off, just say it, okay?· He doesn't

  ·7· · have to say it.· You're answering the question.

  ·8· · Please tell me if you -- if you remember something

  ·9· · that you don't, interrupt me.· If you feel I'm

  10· · interrupting you, please tell me.· I don't mean to

  11· · interrupt you.· I really don't.· I really want to

  12· · hear what you have to say.

  13· · · · · · · ·MR. COGLIANESE:· And, Mr. Gittes, when

  14· · you talk over her, I'm going to tell you you're

  15· · interrupting her, and I'm going to tell her to

  16· · finish, which is what you keep doing.· So, Chief,

  17· · please finish.

  18· · Q.· · · · ·Are we clear that you can tell me if

  19· · you feel I'm interrupting you?

  20· · A.· · · · ·Sure.

  21· · Q.· · · · ·And will you do that?

  22· · A.· · · · ·I will.

  23· · Q.· · · · ·Okay.· Now, you --

  24· · · · · · · ·MR. COGLIANESE:· And, Chief, if you


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 137 of 302 PAGEID #: 1064

                                                                             137


  ·1· · haven't finished your previous answer, please

  ·2· · finish it.

  ·3· · Q.· · · · ·Were you finished?

  ·4· · A.· · · · ·No.

  ·5· · Q.· · · · ·Okay.· What else did you want to say?

  ·6· · A.· · · · ·You -- you characterized my review as

  ·7· · disregarding information, and I regarded all of

  ·8· · the information.

  ·9· · Q.· · · · ·Okay.· How did you weigh with respect

  10· · to the accusation about the violent threat

  11· · confirmed by Watkins and Sorrell, how did you

  12· · weigh the other testimony about racist comments,

  13· · comments about fighting, stupidity of black

  14· · officers, use of the N word, et cetera, how did

  15· · you weigh that with respect to whether or not the

  16· · charge about the specific threat to Cornett and

  17· · Williams should be sustained?· Explain your

  18· · thinking.

  19· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  20· · A.· · · · ·Well, first of all, that was years ago,

  21· · and I can't recall specific balancing of

  22· · percentages or anything, you're talking about

  23· · weighing and all that.· I can't remember what I

  24· · did years ago in that regard.· It boils down to I


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 138 of 302 PAGEID #: 1065

                                                                             138


  ·1· · wasn't convinced that I could prove that charge.

  ·2· · Q.· · · · ·Okay.· Now, you also said that with

  ·3· · respect to the other charge about using the

  ·4· · inappropriate racist language, you only had one

  ·5· · incident, is that what I understood you to say a

  ·6· · little bit ago?

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·8· · A.· · · · ·There was an allegation made in this

  ·9· · particular investigation that was investigated and

  10· · prepared about this remark being made.· That was

  11· · sustained.· Other people's testimony in their

  12· · interviews were not written up as other

  13· · allegations.

  14· · Q.· · · · ·And is it -- was it your policy while

  15· · you're the chief that when new incidents of

  16· · misconduct, including racist misconduct, racist

  17· · language that clearly violates the department's

  18· · policies and the law come up, that you are not

  19· · allowed to consider them and IAB is not allowed to

  20· · follow up on them?

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · Q.· · · · ·Is that your testimony?

  23· · A.· · · · ·That is not my policy.

  24· · Q.· · · · ·Okay.· Well, then explain to me why the


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 139 of 302 PAGEID #: 1066

                                                                             139


  ·1· · other officers who were reporting experiences with

  ·2· · Moore, both to them directly, but also him

  ·3· · discussing this kind of stuff with them regarding

  ·4· · black officers wasn't part of the charge that was

  ·5· · made?

  ·6· · A.· · · · ·That wasn't my decision.· That was the

  ·7· · decision made by the IAB investigator and that

  ·8· · chain of command to decide what the allegations

  ·9· · are.

  10· · Q.· · · · ·Okay.

  11· · A.· · · · ·And if they felt that it was an

  12· · allegation that needed to be further investigated,

  13· · they should have.

  14· · Q.· · · · ·You had the -- you're the chief at the

  15· · time, right?

  16· · A.· · · · ·Yes.

  17· · Q.· · · · ·Have you ever opened -- ordered them to

  18· · reopen or expand an investigation?

  19· · A.· · · · ·I don't know about reopening an

  20· · investigation, but I've certainly given them some

  21· · direction on what I thought were appropriate

  22· · allegations.

  23· · Q.· · · · ·Well, in cases where they were added to

  24· · the investigation?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 140 of 302 PAGEID #: 1067

                                                                             140


  ·1· · A.· · · · ·Yeah.

  ·2· · Q.· · · · ·Okay.· You didn't do that in this case?

  ·3· · A.· · · · ·No.· I -- I think that I did with

  ·4· · regard to some of the comments that were brought

  ·5· · up.· I believe that I talked to them about, you

  ·6· · know, Sorrell.· And to my recollection, he made

  ·7· · this allegation about the phone, and then he

  ·8· · didn't feel like he was getting enough attention

  ·9· · and so he made more allegations and he made more

  10· · allegations.· And the allegations kept coming in.

  11· · And so I believe that I did at least approve, if

  12· · not direct, adding other allegations.

  13· · Q.· · · · ·So, Chief, just to save time for the

  14· · rest of the afternoon, I'm only interested in the

  15· · discrimination allegations.· I have no -- I may

  16· · touch on them, but the focus of this case, you

  17· · know, is about your handling and the department's

  18· · handling of the discrimination issues related to

  19· · Sergeant Shaw, okay?

  20· · A.· · · · ·Okay.

  21· · Q.· · · · ·You did not order any expansion of the

  22· · investigation or follow up regarding these other

  23· · officers who reported other racist comments by

  24· · Sergeant Moore, did you?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 141 of 302 PAGEID #: 1068

                                                                             141


  ·1· · A.· · · · ·Not to my recollection, no.

  ·2· · Q.· · · · ·But you did order further follow up on

  ·3· · things about whether cell phones were taken and

  ·4· · whether overtime was done, but not on the racist

  ·5· · comments, right?

  ·6· · A.· · · · ·I don't recall the exact, you know,

  ·7· · process and chronology, but I might very well have

  ·8· · made sure that that allegation was investigated.

  ·9· · Q.· · · · ·I'm not -- okay.· I'm sorry, let's -- I

  10· · don't want to have a terminology problem here.

  11· · I'm not talking about that allegation.· I'm

  12· · talking about follow-up allegations, additional

  13· · specific allegations about these other comments,

  14· · racist comments that other officers were reporting

  15· · about Moore during Decker's investigation of the

  16· · particular racist comment that started this.· You

  17· · did not instruct IAB to follow up on them and

  18· · prepare new specifications or charges, did you?

  19· · · · · · · ·MR. COGLIANESE:· Objection.

  20· · A.· · · · ·The lack -- the lack thereof certainly

  21· · indicates that I did not give such an order.

  22· · Q.· · · · ·In contrast with -- regarding the money

  23· · issues, what I call the money issues, theft of

  24· · time, theft of property and so forth, you did make


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 142 of 302 PAGEID #: 1069

                                                                             142


  ·1· · instructions to expand certain things, correct?

  ·2· · A.· · · · ·I don't know what my role was in

  ·3· · initiating the allegations.· I just know that

  ·4· · Moore came in and we decided that there was going

  ·5· · to be more to investigate.

  ·6· · Q.· · · · ·Okay.· "We" includes you?· When you use

  ·7· · the word "we"?

  ·8· · A.· · · · ·I don't investigate things, I order

  ·9· · people to do it or --

  10· · Q.· · · · ·So "we" --

  11· · A.· · · · ·-- approve of that.

  12· · Q.· · · · ·-- including you approving of it?

  13· · · · · · · ·MR. COGLIANESE:· Okay.· You cut her off

  14· · again.· Please finish your answer, Chief.

  15· · Q.· · · · ·Did you get her answer?· Okay.· Thanks.

  16· · · · · · · ·Do you want to add anything else?

  17· · A.· · · · ·No.

  18· · Q.· · · · ·Now, at some point during the

  19· · investigation, do you recall becoming aware of

  20· · information about Sergeant Moore ordering a

  21· · lightning link?

  22· · A.· · · · ·I -- I don't recall that until actually

  23· · the OCRC thing when -- and Pam Gordon started

  24· · talking about it.· It might have been something


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 143 of 302 PAGEID #: 1070

                                                                             143


  ·1· · that I reviewed when I reviewed the investigation

  ·2· · or the summary.· But it did not -- it did not -- I

  ·3· · don't recall any such attention that I had prior

  ·4· · to it becoming an issue in the OCRC thing.· And

  ·5· · that was well after the investigation was closed.

  ·6· · Q.· · · · ·Well, let me see if I can -- let me

  ·7· · just ask you questions about it.· Do you recall

  ·8· · becoming aware during the course of this

  ·9· · investigation that -- that Officer Shaw had a

  10· · second interview with Decker?· He was interviewed

  11· · twice.· Do you remember that?

  12· · A.· · · · ·Not specifically.

  13· · Q.· · · · ·Okay.· Do you remember learning during

  14· · the investigation that from the -- from Sergeant

  15· · Decker or from reading the material, that someone

  16· · had made Karl Shaw aware of the fact that the --

  17· · what is it?· What's the agency?· Yeah, ATF had

  18· · been investigating or checking Sergeant Moore

  19· · because it was discovered he'd ordered a lightning

  20· · link.· Does that ring a bell with you?

  21· · A.· · · · ·Well, I'm aware of that now.

  22· · Q.· · · · ·No, I'm trying to put --

  23· · A.· · · · ·I don't know when I first became aware

  24· · of it.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 144 of 302 PAGEID #: 1071

                                                                             144


  ·1· · Q.· · · · ·Okay.· Do you recall that Sergeant

  ·2· · Decker, in the report, didn't -- determined, I

  ·3· · believe with the advice of Jennifer Knight, that

  ·4· · there would be no further inquiries about the

  ·5· · lightning link because ATF had not filed charges?

  ·6· · · · · · · ·MR. COGLIANESE:· And I'm just going to

  ·7· · object because you said didn't determine, and I

  ·8· · just wanted to make sure that you both are

  ·9· · answering the question that he asked.

  10· · · · · · · ·MR. GITTES:· Okay.· Thank you.

  11· · · · · · · ·MR. COGLIANESE:· So...

  12· · · · · · · ·MR. GITTES:· Let me -- let me make sure

  13· · I ask the question correctly.

  14· · Q.· · · · ·Do you recall becoming aware that

  15· · Jennifer Knight, in consultation with Sergeant

  16· · Decker, decided not to look into the lightning

  17· · link matter further, because ATF had not filed

  18· · criminal charges?

  19· · A.· · · · ·I am aware of that.· I don't know when

  20· · I became aware of that.

  21· · Q.· · · · ·Okay.

  22· · A.· · · · ·It might very well have been at the

  23· · conclusion of the investigation and when it was

  24· · sent to me for review, or it could have been even


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 145 of 302 PAGEID #: 1072

                                                                             145


  ·1· · later when it was brought up at OCRC.

  ·2· · Q.· · · · ·Is it -- was it your policy, I should

  ·3· · ask, while you were the chief that if another law

  ·4· · enforcement agency did not prosecute a potentially

  ·5· · criminal matter regarding one of your officers,

  ·6· · that IAB could not look into it further?

  ·7· · A.· · · · ·Could you state the question again?

  ·8· · Q.· · · · ·Sure.· Was it a policy while you were

  ·9· · the chief that if another law enforcement agency,

  10· · federal or state, decided not to prosecute one of

  11· · your officers about a potential criminal issue,

  12· · that meant IAB should not look into it further?

  13· · A.· · · · ·I had no such policy.

  14· · Q.· · · · ·Okay.· And I believe there have been

  15· · occasions during your tenure as chief when some

  16· · other law enforcement agency, for whatever reason,

  17· · decided not to do a prosecution, but the CPD and

  18· · the county prosecutors ended up doing one.· Hasn't

  19· · that happened?

  20· · A.· · · · ·The second part of that question, I'm

  21· · not sure I'm going to be able to answer.

  22· · · · · · · ·There are cases in both regards where

  23· · other agencies have criminally investigated our

  24· · personnel where internal affairs has been ordered


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 146 of 302 PAGEID #: 1073

                                                                             146


  ·1· · or does follow up with an administrative

  ·2· · investigation.· And there have been cases where a

  ·3· · criminal investigation has ensued from another

  ·4· · agency and we don't investigate.· There have been

  ·5· · both --

  ·6· · Q.· · · · ·Directions?

  ·7· · A.· · · · ·-- scenarios.

  ·8· · Q.· · · · ·But there's no automatic rule that you

  ·9· · don't touch something --

  10· · A.· · · · ·Correct.

  11· · Q.· · · · ·-- if another --

  12· · A.· · · · ·Correct.

  13· · Q.· · · · ·-- law enforcement agency doesn't

  14· · pursue it?

  15· · A.· · · · ·Correct.

  16· · · · · · · ·MR. GITTES:· Can we -- doesn't have to

  17· · be long, but I need to eat lunch.

  18· · · · · · · ·THE WITNESS:· Okay.

  19· · · · · · · ·MR. COGLIANESE:· That's fine.

  20· · · · · · · ·MR. GITTES:· Unless we can -- I can't

  21· · remember, is there food real close?

  22· · · · · · · ·MR. COGLIANESE:· Why don't we go off

  23· · the record.

  24· · · · · · · ·MR. GITTES:· Yeah.· Yeah.· Sure.· Sure.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 147 of 302 PAGEID #: 1074

                                                                             147


  ·1· · · · · · · ·THE VIDEOGRAPHER:· We're off the

  ·2· · record.· The time is 12:47.

  ·3· · · · · · · · · · · · ·- - - - -

  ·4· · · · · · ·Thereupon, a luncheon recess is taken

  ·5· · · · · · ·at 12:47 p.m.

  ·6· · · · · · · · · · · · ·- - - - -

  ·7

  ·8

  ·9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 148 of 302 PAGEID #: 1075

                                                                             148


  ·1· · · · · · · · · · · · Monday Afternoon Session

  ·2· · · · · · · · · · · · May 20, 2019, 1:27 p.m.

  ·3· · · · · · · · · · · · ·- - - - -

  ·4· · · · · · · ·THE VIDEOGRAPHER:· This marks the

  ·5· · beginning of media number three.· We're back on

  ·6· · the record.· The time is 1:27.

  ·7· · Q.· · · · ·Chief, let's start where I think I left

  ·8· · off sort of.· I was asking about a lightning link

  ·9· · and, you know, other law informant agencies.· But

  10· · I forgot to ask you:· Can you tell us for the

  11· · record what a lightning link is?

  12· · A.· · · · ·I don't know for sure.· I've been told

  13· · that it has something to do with like a bump

  14· · stock, I believe, making a weapon fire faster.

  15· · Q.· · · · ·Okay.· And are you aware or have you

  16· · been aware that it's illegal?

  17· · A.· · · · ·Through this investigation.· That's the

  18· · only place I've ever heard of it.

  19· · Q.· · · · ·Okay.· Switching totally now.

  20· · A.· · · · ·Okay.

  21· · Q.· · · · ·I want to talk to you about SRB.· And I

  22· · just -- just -- I want to make it clear to you,

  23· · we're going to be going back and forth.· I'm going

  24· · to come back to some things we've touched on, but


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 149 of 302 PAGEID #: 1076

                                                                             149


  ·1· · in light of subsequent things I'm going to ask you

  ·2· · about to see how that might affect or change what

  ·3· · you remember, okay?

  ·4· · A.· · · · ·Sure.

  ·5· · Q.· · · · ·Because I realize I said in the

  ·6· · beginning, and I guess I didn't make this clear, I

  ·7· · know no one's memory's perfect, so you understand

  ·8· · you can interrupt me at any time, I don't remember

  ·9· · if I said this or not in the beginning.· If you

  10· · remember something you forgot, interrupt me and

  11· · say, oh, by the way.

  12· · A.· · · · ·I do.

  13· · Q.· · · · ·Okay.· At some point, I believe it was

  14· · in the fall of 2014, but I -- it's not clear to us

  15· · exactly when, there started to be some discussion

  16· · about either reorganizing or disbanding portions

  17· · of SRB.· Do you recall at some point making a

  18· · decision about modifying or reorganizing SRB?

  19· · A.· · · · ·I do.

  20· · Q.· · · · ·Can you tell me about when that started

  21· · being discussed?

  22· · A.· · · · ·I think it's always been on the

  23· · discussion table.· SRB was created in 1999 as its

  24· · own basically community policing bureau.· And


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 150 of 302 PAGEID #: 1077

                                                                             150


  ·1· · there have been a lot of people that have

  ·2· · discussed over the years whether it needed to be

  ·3· · its own entity or not.· And so previous chiefs and

  ·4· · a lot of other command staff personnel have talked

  ·5· · about the necessity of having that bureau.· And if

  ·6· · there is going to be such a bureau, what should be

  ·7· · in it.

  ·8· · · · · · · ·I made adjustments to the entire

  ·9· · organizational chart after I became chief and

  10· · created some bureaus and moved entities within

  11· · bureaus around.· And that occurred for my whole

  12· · seven years as chief, making changes to the

  13· · organizational chart.

  14· · · · · · · ·And then in addition to that, I had set

  15· · up a procedure for us to -- for me to make

  16· · decisions three times a year on staffing requests.

  17· · I told everybody if they wanted to have new

  18· · assignments created, that they should send in

  19· · requests only three times a year.· Previous chiefs

  20· · had allowed people to walk into the office and

  21· · say, hey, I need a couple more officers here, and

  22· · the chief would consider it then.· But in my

  23· · opinion, I needed to have the big picture, look at

  24· · it on a more infrequent basis and then look at the


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 151 of 302 PAGEID #: 1078

                                                                             151


  ·1· · whole and decide.

  ·2· · · · · · · ·So I would get requests to create

  ·3· · positions or expand units throughout my tenure as

  ·4· · chief.· And I had to make decisions about whether

  ·5· · or not to approve such requests.· Typically I had

  ·6· · told them I would make them in February, June and

  ·7· · October.· And so I would like collect these

  ·8· · requests and then I would review them and we would

  ·9· · discuss them at executive staff, if not command

  10· · staff, and decide what to do about those.

  11· · · · · · · ·I believe it was during 2014 that I had

  12· · gotten a lot of requests to create a number of

  13· · assignments and positions that either didn't exist

  14· · or to expand them, and the number was quite high.

  15· · And I wanted to do a lot of those, but the

  16· · division was not hiring to add at that point in

  17· · time, we were just maintaining, if not sinking

  18· · lower in our total sworn ranks.· And so there

  19· · weren't any new people, you know, or new numbers

  20· · of people, it was just moving some here to fill

  21· · this hole over here, but you're basically just

  22· · taking -- you know, robbing Peter to pay Paul

  23· · basically.

  24· · · · · · · ·And so I wanted to create some of those


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 152 of 302 PAGEID #: 1079

                                                                             152


  ·1· · new requests or approve those, and I knew that I

  ·2· · had to find someplace else that I could take away

  ·3· · from.· So that was part of my consideration with

  ·4· · regard to looking at the organization and

  ·5· · determining where I could fill some holes and do

  ·6· · without.

  ·7· · · · · · · ·Because there had been advocates to

  ·8· · disband either all of SRB or parts of SRB, I

  ·9· · started looking at whether or not those were still

  10· · vital.· SRB enforcement section was one of those

  11· · areas that the original idea was to supplement the

  12· · community policing idea of some uniformed

  13· · officers, community liaison officers, and do some

  14· · of the detective work, if you will, that needed to

  15· · be done and street level work that needed to be

  16· · done, but it had morphed even prior to me becoming

  17· · a chief.

  18· · · · · · · ·There were a lot of successes that were

  19· · related to SRB enforcement, but there were also a

  20· · lot concerns related to SRB enforcement.· And some

  21· · of those concerns involved the use of overtime.

  22· · We did surveillance on a fairly regular basis, and

  23· · sometimes we would use SRB enforcement to do that

  24· · and sometimes we would use SWAT or others to do


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 153 of 302 PAGEID #: 1080

                                                                             153


  ·1· · it.· And somehow the other units managed to do it

  ·2· · without a lot of overtime, but SRB enforcement's

  ·3· · overtime was always quite significant.· And I made

  ·4· · a pledge basically to Mayor Coleman when I got

  ·5· · promoted that I was going to maintain our overtime

  ·6· · budget, and I did up until the very last year when

  ·7· · the circumstances didn't allow that.· But I was on

  ·8· · budget with overtime.· And to do that, you have to

  ·9· · make some hard decisions.

  10· · · · · · · ·And so for a lot of different reasons,

  11· · I decided that abolishing the SRB enforcement

  12· · section was going to be the way that I would be

  13· · able to create some of those other positions and

  14· · to address some of the concerns that had been

  15· · raised about overtime and just the mission of SRB

  16· · enforcement.

  17· · Q.· · · · ·So what -- do you recall whether that

  18· · happened late 2014, early 2015?

  19· · A.· · · · ·I think both.

  20· · Q.· · · · ·Okay.· Did you know Karl Shaw before

  21· · this lawsuit was filed?

  22· · A.· · · · ·I'm sure that we had, you know, some

  23· · knowledge of each other at some point in time, but

  24· · I don't think that I've ever worked with him or


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 154 of 302 PAGEID #: 1081

                                                                             154


  ·1· · supervised him directly.

  ·2· · Q.· · · · ·You -- did you know -- at the time you

  ·3· · eliminated SRB, did you know he was there?

  ·4· · A.· · · · ·I believe that he was in a meeting that

  ·5· · I had with SRB enforcement section.· You know, I

  ·6· · know a lot of people, and I know a lot of names

  ·7· · and I know a lot of faces, sometimes they match

  ·8· · and sometimes they don't.· But I believe that Karl

  ·9· · might have been at that meeting, and so I would

  10· · have been aware at that point in time that he was

  11· · in SRB enforcement.

  12· · Q.· · · · ·Was that an informational meeting or a

  13· · meeting to announce that you were going to change

  14· · SRB?

  15· · A.· · · · ·Both.

  16· · Q.· · · · ·Both?· Okay.

  17· · A.· · · · ·Yeah.· I know that -- I know that there

  18· · was an awful lot of rumors flying, but I wanted to

  19· · be involved in the discussion so that I could

  20· · answer questions.

  21· · Q.· · · · ·If you remember, at the point in time

  22· · you had that meeting, was Sergeant Moore

  23· · already -- had he already moved out of SRB and was

  24· · in narcotics?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 155 of 302 PAGEID #: 1082

                                                                             155


  ·1· · A.· · · · ·I have no idea.

  ·2· · Q.· · · · ·Okay.· Were you aware at the time you

  ·3· · met with Shaw, and not just him, but others at

  ·4· · SRB, were you aware of any accolades or awards

  ·5· · that Karl had received for work he had been doing

  ·6· · on hotels that were centers of drug trafficking

  ·7· · and other illegal activity?

  ·8· · A.· · · · ·I would say that I was just generally

  ·9· · aware of a lot of the recognitions that had been

  10· · given to many of our employees.

  11· · Q.· · · · ·Okay.

  12· · A.· · · · ·You know, I mean, we have award

  13· · ceremonies twice a year.· I read the newspaper, I

  14· · read Facebook, you know, the accolades about our

  15· · division employees.· So I certainly would think

  16· · that I was aware, but not in particular, but, you

  17· · know.

  18· · Q.· · · · ·Okay.

  19· · A.· · · · ·Not singling that particular thing out.

  20· · Q.· · · · ·So I want to talk a little bit about

  21· · Officer Shaw's efforts to find another job after

  22· · learning that SRB -- the unit, part of SRB he was

  23· · in was going to be disbanded.

  24· · A.· · · · ·Okay.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 156 of 302 PAGEID #: 1083

                                                                             156


  ·1· · Q.· · · · ·There's a time limit, right?· On how

  ·2· · long officers have to apply for open positions

  ·3· · before they can just be reassigned?

  ·4· · A.· · · · ·The contract describes in great detail

  ·5· · what the rules are as far as giving abolishment

  ·6· · notices and all that.· I specifically discussed

  ·7· · the process with the union and gave them far --

  ·8· · basically twice the amount of time that the

  ·9· · contract requires to start looking for other jobs

  10· · and the number of postings that would be available

  11· · to them.

  12· · Q.· · · · ·Okay.· I'm just trying to make sure

  13· · it's clear on the record that he did have some

  14· · time constraints, it wasn't that he could just

  15· · take forever, he was given the right to pick, if

  16· · available, open assignments based on his

  17· · qualifications, seniority for a period of time.

  18· · And then if he couldn't get a job after that, then

  19· · he was subject to being assigned through the chain

  20· · of command, is that --

  21· · A.· · · · ·Ultimately if an abolishment notice was

  22· · officially provided then, yes, there would be a

  23· · limited amount of time.

  24· · Q.· · · · ·Okay.· So going back to the


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 157 of 302 PAGEID #: 1084

                                                                             157


  ·1· · investigation and the charges.· When you

  ·2· · reviewed -- you understood at some point that

  ·3· · Officer Shaw felt he had been retaliated against

  ·4· · and discriminated against in his efforts to go to

  ·5· · narcotics?

  ·6· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·7· · A.· · · · ·Are you saying that I learned that from

  ·8· · the investigation?

  ·9· · Q.· · · · ·Yes.· I'm asking whether you became

  10· · aware that one of the issues that Karl Shaw had

  11· · was -- that he discussed and reported about,

  12· · whether or not it became a charge is a separate

  13· · question, did you become aware at any point during

  14· · the investigation that he had complaints about the

  15· · process related to him seeking a narcotics

  16· · assignment?

  17· · A.· · · · ·Well, I know very -- very -- I know

  18· · that I knew about complaints about his attempt to

  19· · get into narcotics.· I just don't know if I

  20· · learned about it as a result of the investigation

  21· · of Sergeant Moore.· I don't know if that was a

  22· · separate thing that was brought to my attention

  23· · and that I dealt with or if I learned about it

  24· · from there and then we dealt with it.· But I do


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 158 of 302 PAGEID #: 1085

                                                                             158


  ·1· · know that I'm aware that he had complained about

  ·2· · the process of being selected in narcotics.

  ·3· · Q.· · · · ·Hang on one second.· I want the chain

  ·4· · of command stuff on Moore.

  ·5· · · · · · · ·MR. VARDARO:· It's 41.· It's either 39

  ·6· · or 41, depends on what version you want.

  ·7· · · · · · · ·MR. GITTES:· Hang on, I'm looking.                    I

  ·8· · think we want -- I'm sorry, give me a second here.

  ·9· · Okay.· I'm going to use -- let's use 41.

  10· · · · · · · ·MR. VARDARO:· I know, I'm just

  11· · wondering whether we already used it.

  12· · · · · · · ·MR. GITTES:· Oh, do you have a list?

  13· · · · · · · ·MR. VARDARO:· No, I have the list.· We

  14· · didn't already use it, but just --

  15· · · · · · · ·MR. GITTES:· I see it right here, 41.

  16· · · · · · · ·MR. VARDARO:· Oh, it is?· Oh, okay.

  17· · Then it's in this.

  18· · · · · · · ·MR. GITTES:· Okay.

  19· · · · · · · ·MR. VARDARO:· They're in numerical

  20· · order.

  21· · · · · · · ·MR. COGLIANESE:· Before you do, let me

  22· · just double check it against what I got.· Thank

  23· · you.

  24· · · · · · · ·THE WITNESS:· Uh-huh.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 159 of 302 PAGEID #: 1086

                                                                             159


  ·1· · Q.· · · · ·For the record, Chief, you've been

  ·2· · handed an exhibit that was previously identified

  ·3· · in this case as Plaintiff's Exhibit 41.· And the

  ·4· · part of it that I want to draw your attention to,

  ·5· · but obviously you can look at other parts as you

  ·6· · feel necessary, is -- it is paginated 014417 at

  ·7· · the bottom dated December 29th, 2015.· And it's

  ·8· · from Lieutenant Brust addressed to you.· I've now

  ·9· · learned today that everything is addressed to you,

  10· · so -- but I would like to know if you recall

  11· · seeing this?· Jeff's pointing out the next page

  12· · after that is also related.

  13· · · · · · · ·MR. COGLIANESE:· So you're talking

  14· · 14419 also?

  15· · · · · · · ·MR. GITTES:· Yes.

  16· · · · · · · ·MR. COGLIANESE:· So let me just make

  17· · sure that you've got two sided.

  18· · · · · · · ·THE WITNESS:· There's 19.

  19· · · · · · · ·MR. COGLIANESE:· Yeah.· So they're

  20· · talking about this page, that page and that page

  21· · and I assume 20 also?· That's the last page.

  22· · Q.· · · · ·Yeah.· They all concern.· I'm just

  23· · asking you to look at them and see if you remember

  24· · to try to remind you of an issue related to job


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 160 of 302 PAGEID #: 1087

                                                                             160


  ·1· · openings in narcotics.

  ·2· · A.· · · · ·If this was part of the package of the

  ·3· · investigation, which it should have been because

  ·4· · it's listed in the allegations package, then there

  ·5· · is a possibility that I've seen them before.

  ·6· · Q.· · · · ·Okay.· Sitting here today, you don't

  ·7· · have a specific recollection of looking at them?

  ·8· · A.· · · · ·I don't specifically recall that, no.

  ·9· · The --

  10· · Q.· · · · ·When --

  11· · A.· · · · ·The outcome of those two allegations

  12· · was a DCC.· So in my review of the investigation,

  13· · I'm looking for evidence in support of those that

  14· · have been sustained and recommended for charges or

  15· · written reprimands.· So I could have seen them and

  16· · decided that they weren't relevant, or I could

  17· · have just reviewed them and not taken any further

  18· · action on reading that.· But I do know that I was

  19· · involved in decision-making on how to handle a

  20· · posting in narcotics.

  21· · Q.· · · · ·Okay.· Well, let me -- let me just try

  22· · to go over some pieces of information that I will

  23· · represent to you come out of the IAB investigative

  24· · report --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 161 of 302 PAGEID #: 1088

                                                                             161


  ·1· · A.· · · · ·Okay.

  ·2· · Q.· · · · ·-- and see if they bring to mind

  ·3· · anything.

  ·4· · · · · · · ·Did you -- do you recall that it came

  ·5· · to your attention that Sergeant Moore, with

  ·6· · Commander Cameron's consent, had a preferred

  ·7· · candidate for an initial opening in narcotics?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · Q.· · · · ·His name -- his name was Ehrenborg?

  10· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  11· · A.· · · · ·I believe that I know that at this

  12· · point in time, yes.

  13· · Q.· · · · ·Okay.· You don't remember whether you

  14· · knew it back then?

  15· · A.· · · · ·I'm going to say that I believe I did.

  16· · I just don't know when I got knowledge of that.

  17· · Q.· · · · ·Do you recall that Sergeant Moore

  18· · conducted -- sent an invitation to bid to a

  19· · certain list of officers to let them know about

  20· · the opening?

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · A.· · · · ·I would say I don't remember

  23· · specific -- that particular part of this.

  24· · Q.· · · · ·Is that something that's customarily


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 162 of 302 PAGEID #: 1089

                                                                             162


  ·1· · done when there's an opening?

  ·2· · A.· · · · ·I can't say what's customarily done,

  ·3· · because I'm not aware of what the 200-plus

  ·4· · supervisors --

  ·5· · Q.· · · · ·Okay.

  ·6· · A.· · · · ·-- do --

  ·7· · Q.· · · · ·Okay.

  ·8· · A.· · · · ·-- with regard to advertising their own

  ·9· · openings.

  10· · Q.· · · · ·All right.· Were you aware that at the

  11· · time that Sergeant Moore was pursuing the opening,

  12· · you know, for candidates and preparing to make a

  13· · recommendation for selection, he was already under

  14· · investigation?· In other words, the complaints

  15· · about him had been made and an IAB file had been

  16· · opened, investigation had been opened?

  17· · A.· · · · ·I'm not sure I understand the question

  18· · as far as the chronology that you're asking.

  19· · Q.· · · · ·I'm asking you if you were aware that

  20· · Sergeant Moore was permitted to conduct the

  21· · process of considering candidates for the initial

  22· · opening in vice while he was being investigated by

  23· · IAB?

  24· · A.· · · · ·Oh, I'm certainly aware of that now.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 163 of 302 PAGEID #: 1090

                                                                             163


  ·1· · That would -- unless you're relieved of duty, you

  ·2· · do the responsibilities of the job, so there was

  ·3· · no particular notice that I would have taken of

  ·4· · any supervisor trying to fill an assignment unless

  ·5· · I was somehow asked to be involved in the posting

  ·6· · of it or something else, which, you know, for some

  ·7· · jobs, they had to ask for my permission to post,

  ·8· · but others they didn't.

  ·9· · Q.· · · · ·Do you now remember that Sergeant Moore

  10· · was engaging in this inter -- selection process --

  11· · hang on one second.

  12· · · · · · · ·Do you recall that during the process

  13· · where Moore was doing -- you know, overseeing and

  14· · conducting the selection process, initial phase of

  15· · it, complaints had already been made about him

  16· · making racist comments and threats?

  17· · A.· · · · ·Well, I was aware that Sergeant Moore

  18· · was under investigation until the investigation

  19· · was over.· And that's -- that's it.· I mean, I

  20· · don't recall that there was any connection between

  21· · the two until it became an issue that there was an

  22· · allegation that he had probably not done it under

  23· · the most desirable circumstances.

  24· · Q.· · · · ·Well, you knew -- you had already


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 164 of 302 PAGEID #: 1091

                                                                             164


  ·1· · received Sergeant Williams' letter, had you not?

  ·2· · By the time that this vice squad hiring process

  ·3· · had started or selection process?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·5· · A.· · · · ·Like I said before, I believe.· I don't

  ·6· · know when I got that letter --

  ·7· · Q.· · · · ·Okay.

  ·8· · A.· · · · ·-- but --

  ·9· · Q.· · · · ·What date is this?

  10· · A.· · · · ·-- I know it was earlier than this.

  11· · And I don't know when that selection process was,

  12· · so that's --

  13· · Q.· · · · ·All right.

  14· · A.· · · · ·-- my -- I -- if -- I'm not sure what

  15· · you're asking.· I knew that he was under

  16· · investigation and I knew that at some point in

  17· · time there was a question about the manner in

  18· · which he sought candidates or disregarded

  19· · candidates for that particular opening in

  20· · narcotics.

  21· · Q.· · · · ·I'm just trying to see whether you will

  22· · agree with me that you knew he was under

  23· · investigation not just for theft of time and other

  24· · things, but for alleged racism?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 165 of 302 PAGEID #: 1092

                                                                             165


  ·1· · A.· · · · ·Yeah, I knew what he was under

  ·2· · investigation for.

  ·3· · Q.· · · · ·Okay.· So --

  ·4· · A.· · · · ·To some degree.

  ·5· · Q.· · · · ·And during -- at a certain point in the

  ·6· · narcotics job selection process, you became aware

  ·7· · there were issues about it because you ordered

  ·8· · them to redo the selection process, right?

  ·9· · A.· · · · ·That is correct.

  10· · Q.· · · · ·And the reason that you ordered them to

  11· · redo the selection process is that you found out

  12· · that Officer Ehrenborg had been given the

  13· · assignment that Sergeant Moore, with Commander

  14· · Cameron's permission, had made him the -- started

  15· · the process with him as a preferred candidate,

  16· · right?

  17· · · · · · · ·MR. COGLIANESE:· Objection.

  18· · A.· · · · ·I -- I know that what I was told was

  19· · that he wanted Ehrenborg and that he had found a

  20· · way to get to Ehrenborg.· And when it was

  21· · described how he got there and I understood it,

  22· · that I did not agree with that method.

  23· · Q.· · · · ·Okay.· Now, the how he got there -- and

  24· · so after he recommended Ehrenborg, and I don't


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 166 of 302 PAGEID #: 1093

                                                                             166


  ·1· · know if you remember the details, it came to your

  ·2· · attention, you considered it and you said redo it?

  ·3· · A.· · · · ·Right.

  ·4· · Q.· · · · ·Rebid it?

  ·5· · A.· · · · ·Yes.

  ·6· · Q.· · · · ·Okay.· Now, the process by which

  ·7· · Sergeant Moore did this came to your attention,

  ·8· · did it not?

  ·9· · A.· · · · ·Yeah.· I mean, at least some parts of

  10· · the process came to my attention or else I

  11· · wouldn't have made the change.

  12· · Q.· · · · ·And he wrote a letter to you about it?

  13· · A.· · · · ·Sergeant Moore?

  14· · Q.· · · · ·Yeah.

  15· · A.· · · · ·He could have.

  16· · Q.· · · · ·Okay.· Let me find --

  17· · A.· · · · ·Was that prior to him posting the job?

  18· · Q.· · · · ·No.· No, it wasn't.· Let me get you the

  19· · letter.· I'm just trying to --

  20· · · · · · · ·MR. VARDARO:· It's 18.

  21· · · · · · · ·MR. GITTES:· Has that been marked?

  22· · · · · · · ·MR. VARDARO:· It's previously marked.

  23· · · · · · · ·MR. VARDARO:· 19.

  24· · Q.· · · · ·May I?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 167 of 302 PAGEID #: 1094

                                                                             167


  ·1· · A.· · · · ·You want to touch it?

  ·2· · Q.· · · · ·So for the record, Chief, you've been

  ·3· · handed what was previously identified as

  ·4· · Exhibit 19.

  ·5· · A.· · · · ·Okay.

  ·6· · Q.· · · · ·So do you recall getting that -- or

  ·7· · seeing it?

  ·8· · A.· · · · ·Not specifically, no.

  ·9· · Q.· · · · ·Okay.· In hindsight, do you now recall

  10· · that Sergeant Moore lied to you in this document?

  11· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  12· · A.· · · · ·Where are you talking about?

  13· · Q.· · · · ·Well, he says in this letter addressed

  14· · to you at least, "Without exception, all the

  15· · candidates passed with the agreement that they

  16· · would be considered if a less senior candidate

  17· · would accept the position."

  18· · · · · · · ·See that sentence?

  19· · A.· · · · ·Uh-huh.

  20· · Q.· · · · ·You know now from the investigation

  21· · that that's simply not true, don't you?

  22· · · · · · · ·MR. COGLIANESE:· Objection.

  23· · A.· · · · ·I believe that the information that I

  24· · received indicated that some people had not


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 168 of 302 PAGEID #: 1095

                                                                             168


  ·1· · actually passed or agreed to that particular

  ·2· · statement, yes.

  ·3· · Q.· · · · ·And other people verified that he had

  ·4· · misled them about a Spanish speaking requirement.

  ·5· · Do you recall that also came out of Decker's

  ·6· · interviews?

  ·7· · A.· · · · ·Something to that effect, yes.

  ·8· · Q.· · · · ·But he was never charged with lying,

  ·9· · was he?· Not about this?

  10· · A.· · · · ·Correct.· Correct.

  11· · Q.· · · · ·And he -- in addition, a number of the

  12· · individuals who he had falsely claimed had passed

  13· · were black officers, you also learned that, didn't

  14· · you?

  15· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  16· · A.· · · · ·I don't recall the race or ethnicity or

  17· · gender of all of the people that he might have

  18· · passed, but I do know that there were some of --

  19· · Q.· · · · ·And as far as I can tell from the

  20· · records -- and as far as I can determine, and

  21· · please tell me if you have reason to believe I'm

  22· · wrong, you did not make any specific inquiries

  23· · about that to Sergeant Decker?

  24· · A.· · · · ·About what?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 169 of 302 PAGEID #: 1096

                                                                             169


  ·1· · Q.· · · · ·About the race -- racial make-up of the

  ·2· · people he misled or falsely claimed they had

  ·3· · passed?

  ·4· · A.· · · · ·To Sergeant Decker?

  ·5· · Q.· · · · ·Or to anybody.

  ·6· · · · · · · ·MR. COGLIANESE:· Objection.

  ·7· · A.· · · · ·I can't say that I did or did not.

  ·8· · Q.· · · · ·Okay.· Was it the practice when you

  ·9· · were supervisor of IAB that if an investigating

  10· · sergeant were contacted, asked questions or asked

  11· · to do something, they put it in their notes?                    I

  12· · think there's a part of the file that lists all of

  13· · the investigator's contacts and communications?

  14· · A.· · · · ·You mean for internal affairs?

  15· · Q.· · · · ·Yeah.

  16· · A.· · · · ·There is a notes -- like a chronology

  17· · of -- of what the investigators are doing.

  18· · Q.· · · · ·And that would include when they're

  19· · given instructions or contacted by their

  20· · supervisors?

  21· · A.· · · · ·In general it should, yes.

  22· · Q.· · · · ·Now, as I understand it -- and this is

  23· · in exhibit previously marked -- I'm just going to

  24· · give it to her unless it's a --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 170 of 302 PAGEID #: 1097

                                                                             170


  ·1· · · · · · · ·MR. COGLIANESE:· What's the number?

  ·2· · · · · · · ·MR. GITTES:· 20, sorry.

  ·3· · · · · · · ·MR. COGLIANESE:· That's okay.

  ·4· · Q.· · · · ·There -- I've handed you what's been

  ·5· · previously identified by a different witness

  ·6· · Exhibit 20.

  ·7· · A.· · · · ·Uh-huh.

  ·8· · Q.· · · · ·Can you take a moment to look at it?

  ·9· · Have you seen that before?

  10· · A.· · · · ·This is a routing sheet that doesn't

  11· · have my name on it.

  12· · Q.· · · · ·Well, doesn't it refer to an

  13· · instruction from you?

  14· · A.· · · · ·It does.

  15· · Q.· · · · ·Okay.· Do you remember giving that

  16· · instruction?

  17· · A.· · · · ·Absolutely.

  18· · Q.· · · · ·Does that suggest to you when your

  19· · decision about rebidding the job or your order

  20· · about it occurred?

  21· · A.· · · · ·It appears that that decision was --

  22· · would have been made in January of '15.

  23· · Q.· · · · ·Okay.· Now, let's talk a little bit

  24· · about after -- so at the point you gave that


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 171 of 302 PAGEID #: 1098

                                                                             171


  ·1· · order, let me see if I understand -- or let me ask

  ·2· · you to confirm what you did or didn't know.· You

  ·3· · knew there was a preferred white candidate that

  ·4· · Sergeant Moore, with Commander Cameron's

  ·5· · permission, was the preferred candidate they were

  ·6· · trying to get to, right?

  ·7· · A.· · · · ·That Sergeant Moore was trying to get

  ·8· · to and/or Commander Cameron was trying to get to?

  ·9· · Q.· · · · ·Well, Sergeant Moore with Cameron's

  10· · consent.

  11· · A.· · · · ·Yes.

  12· · Q.· · · · ·That there were some black officers who

  13· · were candidates for the job who had more seniority

  14· · than Ehrenborg?

  15· · A.· · · · ·Everyone above Officer Ehrenborg had

  16· · more seniority.

  17· · Q.· · · · ·Okay.· Many -- some of them were black?

  18· · A.· · · · ·I believe so, yes.

  19· · Q.· · · · ·And some of the most senior people, in

  20· · fact, at this time, were a couple of black

  21· · officers, including Whitney Lancaster and Karl

  22· · Shaw?

  23· · A.· · · · ·I would have to see the list to be able

  24· · to affirm that, but everybody above Ehrenborg was


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 172 of 302 PAGEID #: 1099

                                                                             172


  ·1· · more senior to him.· So it doesn't matter if

  ·2· · they're one day more senior or lots more senior.

  ·3· · Q.· · · · ·Do you know Whitney Lancaster?

  ·4· · A.· · · · ·I know of him and I know who he is,

  ·5· · yes.

  ·6· · Q.· · · · ·You've met him?

  ·7· · A.· · · · ·Yes.

  ·8· · Q.· · · · ·Okay.· But never supervised him or did

  ·9· · you?

  10· · A.· · · · ·Never directly supervised him.

  11· · Q.· · · · ·I mean, you -- did you have more

  12· · familiarity or the same as you had with Karl Shaw,

  13· · just in passing or did you actually have more

  14· · knowledge of him?

  15· · A.· · · · ·I think Officer Lancaster's more well

  16· · known to me because his name has come up in more

  17· · circumstances that would come to my attention.

  18· · Q.· · · · ·Okay.· Some of them more recent?

  19· · A.· · · · ·Oh, absolutely.

  20· · Q.· · · · ·Yeah.· Okay.· I don't want to get

  21· · involved with things that I'm not involved with.

  22· · · · · · · ·MR. COGLIANESE:· Yeah, and I would

  23· · instruct you not to talk about --

  24· · · · · · · ·THE WITNESS:· I'm not going to.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 173 of 302 PAGEID #: 1100

                                                                             173


  ·1· · · · · · · ·MR. COGLIANESE:· Thank you.

  ·2· · Q.· · · · ·So when you -- you also -- and I take

  ·3· · it at the point you had the job rebid, someone,

  ·4· · and I don't know whether it was at your request or

  ·5· · not, asked Sergeant Moore to explain what he had

  ·6· · done and why.· I'm referring to 19, I'm trying to

  ·7· · understand --

  ·8· · A.· · · · ·Why that letter was written?

  ·9· · Q.· · · · ·-- why that letter was written?

  10· · A.· · · · ·Someone might have asked him for it or

  11· · he might have volunteered to do it to try to

  12· · justify his position.· I know that sometimes when

  13· · they hear that I'm going to make a decision, they

  14· · try to override my decision by more justification.

  15· · So I don't know if it was specifically requested

  16· · or directed, so I can't answer what originated

  17· · this particular letter.

  18· · Q.· · · · ·Well, let me ask you this:· Would you

  19· · have seen the letter or at least have been told of

  20· · its contents before you made the decision?

  21· · · · · · · ·MR. COGLIANESE:· Which letter are we

  22· · talking about?· Exhibit --

  23· · · · · · · ·MR. GITTES:· 19.

  24· · · · · · · ·MR. COGLIANESE:· -- 19?· Okay.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 174 of 302 PAGEID #: 1101

                                                                             174


  ·1· · A.· · · · ·I would need more information before I

  ·2· · could answer that.

  ·3· · Q.· · · · ·Well --

  ·4· · A.· · · · ·Because I don't know when the job was

  ·5· · posted and I don't know when it was reposted.

  ·6· · This letter was written on the 23rd.· Cameron's

  ·7· · routing sheet indicates that I made a decision by

  ·8· · the 28th, but I don't know if I had made the

  ·9· · decision even prior to the 23rd and he responded

  10· · to that.· So I -- I cannot give you a timeline.                     I

  11· · don't know when the job got posted the first time

  12· · and when it got posted -- reposted again

  13· · subsequent to that.· We sometimes have a schedule

  14· · for when postings occur, and so I don't know the

  15· · timeline without more information.· This isn't

  16· · enough for me to be able to give you an answer --

  17· · Q.· · · · ·Well, I mean --

  18· · A.· · · · ·-- to how this originated.

  19· · Q.· · · · ·-- Plaintiff's 20 was forwarded to you

  20· · and it has an attachment which refers to the

  21· · issues.· Wasn't this letter part of what's being

  22· · forwarded to you about all of this?

  23· · · · · · · ·MR. COGLIANESE:· Objection.

  24· · A.· · · · ·This does not indicate it was forwarded


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 175 of 302 PAGEID #: 1102

                                                                             175


  ·1· · to me.

  ·2· · Q.· · · · ·Okay.

  ·3· · A.· · · · ·As I said before, all correspondence is

  ·4· · addressed to me.

  ·5· · Q.· · · · ·Okay.

  ·6· · A.· · · · ·And this is -- there's no indication

  ·7· · that this letter was forwarded to me.· It might

  ·8· · have been shown to me, but this routing sheet does

  ·9· · not indicate that at all.

  10· · Q.· · · · ·After -- so after -- after you had

  11· · rebid, were you made aware of the process that was

  12· · to be followed?

  13· · A.· · · · ·I'm not sure what you're referring to.

  14· · The process to be followed is follow the contract.

  15· · Q.· · · · ·Okay.· Did you become aware that

  16· · Sergeant Moore was ordered not to interview

  17· · certain individuals for the position because of

  18· · the pending complaints against him?

  19· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  20· · A.· · · · ·I don't recall specifically.· That

  21· · might very well have happened, I just don't recall

  22· · the discussion.

  23· · Q.· · · · ·Okay.· And when I say, "complaint," I'm

  24· · talking about the IAB investigation that was


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 176 of 302 PAGEID #: 1103

                                                                             176


  ·1· · ongoing.

  ·2· · A.· · · · ·I understand.

  ·3· · Q.· · · · ·Okay.· Were -- did you become aware of

  ·4· · who would -- did you know that Commander Cameron

  ·5· · and Lieutenant Brust decided to interview the two

  ·6· · most senior candidates who were black officers,

  ·7· · Whitney Lancaster and Karl Shaw, in person?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·9· · A.· · · · ·Are you asking me if I'm aware that

  10· · that occurred?

  11· · Q.· · · · ·I'm asking if you were aware of it at

  12· · the time?

  13· · A.· · · · ·I don't believe that I was aware of

  14· · that at the time.

  15· · Q.· · · · ·Hang on one second.

  16· · · · · · · ·So is it -- in your experience in the

  17· · department, normal for a commander and a

  18· · lieutenant to interview in person a couple of --

  19· · from -- two officers from among other officers who

  20· · are seeking an assignment?

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · A.· · · · ·Well, I would say again that I don't

  23· · know the practices of all the commanders with

  24· · regard to filling assignments.· There may be some


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 177 of 302 PAGEID #: 1104

                                                                             177


  ·1· · that do it with regularity.· Certainly if it's a

  ·2· · commander interviewing a lieutenant for a

  ·3· · position, that would happen with regularity.· If

  ·4· · you mean specifically a commander interviewing an

  ·5· · officer rank for a position, I would think that

  ·6· · that doesn't occur very often, but I can't say

  ·7· · with any knowledge how often that may or may not

  ·8· · occur.

  ·9· · Q.· · · · ·Okay.· Have you -- were you ever

  10· · interviewed as an officer by a commander for a bid

  11· · on an assignment?

  12· · A.· · · · ·The job description manual and the

  13· · assignment process did not occur in the same way

  14· · when I was an officer.· It was, who do you know.

  15· · Q.· · · · ·Okay.

  16· · A.· · · · ·And I was offered that first shift job

  17· · by a captain at the time, so an officer was

  18· · asked --

  19· · Q.· · · · ·Okay.

  20· · A.· · · · ·-- by the captain at the time if I

  21· · wanted that job on first shift.· But that's not

  22· · the process that was in place when I was an

  23· · officer on the street or of the officer rank.

  24· · Q.· · · · ·Okay.· After -- so you don't know just


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 178 of 302 PAGEID #: 1105

                                                                             178


  ·1· · how unusual -- I'm gathering from what you told me

  ·2· · it is -- you -- at least as far as you knew, it's

  ·3· · unusual for a commander and a lieutenant to pick

  ·4· · two applicants for an opening out of a list of

  ·5· · many other applicants to interview them in person?

  ·6· · A.· · · · ·What I think I testified to is that

  ·7· · I -- I don't know how frequently it happens.                    I

  ·8· · don't know if there's some commanders that do it

  ·9· · all the time for, you know, particular

  10· · assignments.· I know when I was the internal

  11· · affairs commander and I was bringing in 15 more

  12· · sergeants, I personally interviewed all of those

  13· · 15 positions, and the 40 or 50 plus sergeants that

  14· · applied.· So even though there wasn't a direct

  15· · report to me, my rank, I did interviews.· So for

  16· · me in internal affairs, it was very common for the

  17· · commander to be involved in interviews.

  18· · · · · · · ·But I can't say for other commanders

  19· · what their practice is.· You know, for patrol, I

  20· · wouldn't think that it happens very often, because

  21· · it's seniority based, it has nothing to do with,

  22· · you know, exceptional skills.· But a commander

  23· · over SWAT or something else might very well sit

  24· · down with you and want to know more about your


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 179 of 302 PAGEID #: 1106

                                                                             179


  ·1· · skills and, you know, thought process on why you

  ·2· · want to be a SWAT officer or a K-9 officer or

  ·3· · something like that.

  ·4· · Q.· · · · ·Yeah.

  ·5· · A.· · · · ·So I just can't answer that for

  ·6· · everyone else.

  ·7· · Q.· · · · ·Did you ever -- did you become aware at

  ·8· · some point before this lawsuit was filed, before

  ·9· · charges were filed, that Officer Shaw had reported

  10· · to Sergeant Decker and had complained about the

  11· · manner in which he was interviewed by the -- by

  12· · Commander Cameron and Lieutenant Brust?

  13· · A.· · · · ·Well, I am aware of that because it's

  14· · part of this, but I don't have any recollection of

  15· · knowing it before the investigation took place.

  16· · Q.· · · · ·Okay.· Do you -- I'm not asking you

  17· · about before an investigation took place.

  18· · A.· · · · ·I thought you did.

  19· · Q.· · · · ·I'm talking about while the

  20· · investigation was going on.· At some point, did

  21· · you become aware that Cameron and Brust had done a

  22· · personal interview with Lancaster -- separate

  23· · personal interviews with Lancaster and Shaw?

  24· · A.· · · · ·I might very well have.· I don't


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 180 of 302 PAGEID #: 1107

                                                                             180


  ·1· · recall.· The investigation of Moore was quite

  ·2· · lengthy.· And somebody might have brought that to

  ·3· · my attention as a bit of information, but I think

  ·4· · you're saying that that occurred after I had

  ·5· · ordered it to be reposted.

  ·6· · Q.· · · · ·No, actually it didn't.· It occurred

  ·7· · before.· That was my mistake.· I misinformed you.

  ·8· · A.· · · · ·Okay.

  ·9· · Q.· · · · ·It -- just to make it clear, before you

  10· · re -- ordered the rebid after Sergeant Moore

  11· · recommended Ehrenborg, I will represent to you,

  12· · and your counsel can confirm it, but that Sergeant

  13· · Moore had been prohibited or ordered not to make

  14· · contact with certain people and Cameron and Brust

  15· · conducted the personal interviews with Lancaster

  16· · and Shaw.

  17· · A.· · · · ·Okay.

  18· · Q.· · · · ·Do you remember whether you learned

  19· · that either before you vacated the -- you know,

  20· · the selection or immediately after or --

  21· · A.· · · · ·I was probably told that with the

  22· · entire -- you know, here's what happened and what

  23· · should we do about it.· And then I ordered the

  24· · rebid.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 181 of 302 PAGEID #: 1108

                                                                             181


  ·1· · Q.· · · · ·Okay.· So here's one question that we

  ·2· · hope you can answer for us.

  ·3· · A.· · · · ·Okay.

  ·4· · Q.· · · · ·And there's -- just put it in question

  ·5· · form:· Did you know that Officer Shaw recorded his

  ·6· · interview with Brust and Cameron?· And that he

  ·7· · submitted -- he told Sergeant Decker that he had

  ·8· · and the information related to the interview were

  ·9· · provided to Decker?

  10· · A.· · · · ·I don't recall that specific

  11· · information.

  12· · Q.· · · · ·So sitting here today, this is the

  13· · first you've heard of it?

  14· · A.· · · · ·I can't say that --

  15· · Q.· · · · ·Okay.

  16· · A.· · · · ·-- with any certainty.

  17· · Q.· · · · ·Okay.· I will represent to you that on

  18· · that recording, which we've been through with

  19· · Lieutenant Brust, among others, on the record,

  20· · Officer Shaw made it clear to both Cameron and

  21· · Brust that he would take the narcotics position

  22· · even though Moore was the sergeant?

  23· · · · · · · ·MR. COGLIANESE:· Objection.

  24· · Q.· · · · ·And if -- and then after the interview,


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 182 of 302 PAGEID #: 1109

                                                                             182


  ·1· · Ehrenborg was recommended for the position, not

  ·2· · Officer Shaw, and in no documents we've seen, nor

  ·3· · in any testimony we've gotten, is there any

  ·4· · indication that Officer Shaw ever withdrew or ever

  ·5· · changed his mind before Ehrenborg was announced as

  ·6· · the preferred -- as the recommended candidate.

  ·7· · · · · · · ·My question to you is:· When you

  ·8· · ordered the rebid, was there some reason you

  ·9· · didn't order that the position go to Karl Shaw,

  10· · who is the most senior person who was considered

  11· · and had indicated he would take the job?

  12· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  13· · A.· · · · ·I don't recall what the -- what I knew

  14· · at that time.· I don't recall if I felt that he

  15· · was entitled to it based on his statement of

  16· · wanting that job, if I knew that everybody more

  17· · senior than him had turned it down.· I just knew

  18· · that it did not sound like it had been done

  19· · appropriately and that it should be redone.

  20· · · · · · · ·I have no idea what all I knew about

  21· · that.· I don't know if anybody even suggested that

  22· · we just take Officer Shaw.

  23· · Q.· · · · ·Okay.· So at least as far as you can

  24· · recall sitting here today, Commander -- neither


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 183 of 302 PAGEID #: 1110

                                                                               183


  ·1· · Commander Cameron or Lieutenant Brust indicated to

  ·2· · you that they had interviewed Karl Shaw and he had

  ·3· · indicated he was interested in the position?

  ·4· · A.· · · · ·I can't say with any certainty if they

  ·5· · -- if I was aware of that at that time or not.                     I

  ·6· · don't believe that the information that I received

  ·7· · was directly from them.

  ·8· · Q.· · · · ·Okay.

  ·9· · A.· · · · ·I believe it came from their deputy

  10· · chief.

  11· · Q.· · · · ·That was Gray at the time?

  12· · A.· · · · ·That doesn't sound right to me.

  13· · Q.· · · · ·Okay.

  14· · A.· · · · ·I -- I don't know.

  15· · Q.· · · · ·Quinlan?

  16· · A.· · · · ·It was narcotics, that would have been

  17· · in Homeland Security, so, yes, it probably would

  18· · have been Gray.

  19· · Q.· · · · ·Now, I want to ask a few questions, but

  20· · I don't want to -- I'm trying to be as efficient

  21· · as I can here.

  22· · A.· · · · ·Okay.

  23· · Q.· · · · ·And we don't know that I want to use up

  24· · your time or ours playing recordings of things


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 184 of 302 PAGEID #: 1111

                                                                             184


  ·1· · that you've never heard before or read before.

  ·2· · · · · · · ·There were a number of issues brought

  ·3· · up during the investigation about the kinds of

  ·4· · questions and statements that Commander Cameron

  ·5· · made during his interviews of both Lancaster and

  ·6· · Shaw.· Have you -- have you read the transcript of

  ·7· · that interview?

  ·8· · A.· · · · ·Which particular interview?· Of

  ·9· · Commander Cameron?

  10· · Q.· · · · ·Cameron's interview of Shaw and

  11· · Cameron's -- let's just say Shaw.· Cameron's

  12· · interview of Shaw for the narcotics position?

  13· · A.· · · · ·I don't recall reading a transcript of

  14· · that particular interview.

  15· · Q.· · · · ·Let me mention a few things to see if

  16· · it brings something to mind.· Do you recall

  17· · reading or hearing an interview involving

  18· · Commander Cameron in which he brought up the

  19· · Ramparts controversy in LA and talked to the

  20· · candidate, in this case Shaw, about productivity

  21· · and being worried about ethics?

  22· · A.· · · · ·Those words sound familiar to me.                    I

  23· · don't know if they're part of the summary that I

  24· · read, but I don't think I read a transcript.· But


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 185 of 302 PAGEID #: 1112

                                                                             185


  ·1· · I do believe I've heard something along those

  ·2· · lines being mentioned.

  ·3· · Q.· · · · ·Do you recall reading or hearing there

  ·4· · was conversation of -- from Cameron with Karl Shaw

  ·5· · in the interview about how he hadn't done any work

  ·6· · in 2011 and 2012?· Of course this interview was

  ·7· · happening in 2015.· Does that ring a bell?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·If it's included in the summary, then

  10· · that might be where I have seen it.

  11· · Q.· · · · ·And do you recall hearing Officer Shaw

  12· · say, that's not true, I've made a lot -- I was

  13· · very productive at the time, and there's some

  14· · disagreement about it.· Does that sound familiar?

  15· · A.· · · · ·It sounds a little familiar, yes.

  16· · Q.· · · · ·Do you recall learning, either from the

  17· · summary or other sources, that similarly, when

  18· · Lancaster was interviewed, again, both by Cameron

  19· · and Brust, that he -- the Ramparts thing was

  20· · brought up with him, there were questions about

  21· · him not being -- I haven't memorized it, we have

  22· · the transcript if you really want to see it, but

  23· · words to the effect, you know, this is -- I don't

  24· · remember whether they actually used the word, but


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 186 of 302 PAGEID #: 1113

                                                                             186


  ·1· · implying he was lazy and didn't do enough work.

  ·2· · Do you recall something like that?

  ·3· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·4· · A.· · · · ·If that was included in the summary,

  ·5· · then that would have been probably where I read it

  ·6· · or --

  ·7· · Q.· · · · ·Would it -- to your knowledge, isn't it

  ·8· · the case that none of the other candidates at the

  ·9· · time that these interviews were being conducted

  10· · had been told anything about Ramparts or asked

  11· · about their ethics, anything remotely like that?

  12· · A.· · · · ·If that's what was submitted --

  13· · · · · · · ·MR. COGLIANESE:· Objection.

  14· · A.· · · · ·-- into the investigation, then, you

  15· · know, I would trust the investigation to explain

  16· · if that -- if similar comments were made.· But I

  17· · don't even know if they were asked, so I --

  18· · Q.· · · · ·Do you -- do you remember -- would it

  19· · concern you as chief if only two black senior

  20· · officers were interviewed in person off a list of

  21· · potential candidates for an opening while all

  22· · other candidates, many, if not -- well, most of

  23· · whom are white, were simply called and contacted

  24· · by a sergeant?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 187 of 302 PAGEID #: 1114

                                                                             187


  ·1· · · · · · · ·MR. COGLIANESE:· Objection.

  ·2· · A.· · · · ·Well, it would concern me if it was

  ·3· · done for discriminatory reasons.· It would not

  ·4· · concern me if it was done based on separating

  ·5· · people from, you know, people that are making

  ·6· · allegations against each other or one side or vice

  ·7· · versa.· If it was a decision that was made in the

  ·8· · best interest of the division of police, the

  ·9· · interview should -- should take place in that way

  10· · to protect, you know, any conflict of interest,

  11· · not necessarily asking some questions of some

  12· · people and not questions of other people.· If it

  13· · was done for discriminatory reasons, then

  14· · absolutely, it would -- it would concern me.

  15· · Q.· · · · ·Well, why wouldn't the commander make

  16· · sure that Sergeant Moore asked the same kind of

  17· · questions and bring up the same kinds of issues

  18· · with people he talked to?

  19· · · · · · · ·MR. COGLIANESE:· Objection.

  20· · A.· · · · ·You would have to ask Commander Moore.

  21· · Q.· · · · ·Did you ask him?

  22· · A.· · · · ·I don't think that I knew enough about

  23· · that particular aspect of things to have that

  24· · conversation.· And it's not my job to supervise


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 188 of 302 PAGEID #: 1115

                                                                             188


  ·1· · Commander Cameron as much as it is the deputy

  ·2· · chief that oversees that person who would have

  ·3· · been the one telling me about the circumstance in

  ·4· · the first place, but --

  ·5· · · · · · · ·(Mr. Vardaro left the room.)

  ·6· · Q.· · · · ·Well, let me just put it this way:

  ·7· · Whatever you read in the summary and other

  ·8· · documents that came to your attention that led you

  ·9· · to have it rebid, you didn't make any inquiries of

  10· · the Commander or Lieutenant Brust about what they

  11· · asked Shaw and Lancaster, why they asked it,

  12· · whether they had made sure that the other people

  13· · being contacted were submitted to the same kinds

  14· · of questions?

  15· · · · · · · ·MR. COGLIANESE:· Objection.

  16· · A.· · · · ·You asked if I made any inquiries into

  17· · that?· Not to my knowledge, no.· Other than

  18· · telling Deputy Chief Gray, because the more that

  19· · we talk about it, the more I remember, I think it

  20· · was him that told me about this and feeling that

  21· · he had a grasp of what was going on and would

  22· · address it.

  23· · Q.· · · · ·You -- you also, as I understand it,

  24· · became aware of the fact that Commander -- either


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 189 of 302 PAGEID #: 1116

                                                                             189


  ·1· · Lieutenant Brust or Commander Cameron, I'm not

  ·2· · sure which, it may have been both of them, ordered

  ·3· · Moore not to talk to Whitney Lancaster.· Do you

  ·4· · recall that?

  ·5· · · · · · · ·MR. COGLIANESE:· Objection.

  ·6· · A.· · · · ·I know that I'm aware of it now.

  ·7· · Q.· · · · ·You don't believe you knew that there

  ·8· · was an instruction -- is it -- in the

  ·9· · specifications, there is an issue that came

  10· · through a routing sheet about insubordination as

  11· · to the order given to Moore not to communicate

  12· · with Lancaster.· Do you recall that?

  13· · A.· · · · ·Right.· He got a DCC for it.

  14· · Q.· · · · ·Yeah, got a DCC for it.

  15· · · · · · · ·And were you aware that from the

  16· · documents in this case, Moore not only spoke to

  17· · Lancaster right after he was interviewed by the

  18· · Commander and Brust, but he e-mailed him to come

  19· · into his office before he made any decision about

  20· · whether to take the job, did you --

  21· · A.· · · · ·What was the question?

  22· · Q.· · · · ·Were you aware of that?

  23· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  24· · A.· · · · ·Well, I might have been aware of that


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 190 of 302 PAGEID #: 1117

                                                                             190


  ·1· · at some point in time, but I don't know when.

  ·2· · Q.· · · · ·Okay.· And do you believe you were

  ·3· · aware of the fact that not only did Moore e-mail

  ·4· · Lancaster in violation of his order not to have

  ·5· · contact with him, then had him come to his office

  ·6· · and spoke with him about the position, and that

  ·7· · afterwards, I don't recall, it may have been the

  ·8· · same day or the day after, Lancaster said -- sent

  ·9· · a letter to the Commander and Brust saying he

  10· · decided not to take the position, this is like

  11· · shortly after this conversation with Moore?

  12· · · · · · · ·(Mr. Vardaro entered the room.)

  13· · · · · · · ·MR. COGLIANESE:· Objection.

  14· · Q.· · · · ·Do you recall becoming aware of that?

  15· · A.· · · · ·Perhaps as part of reading this summary

  16· · or the investigation, but no -- no idea of when I

  17· · became aware of it.

  18· · Q.· · · · ·Okay.· Do you recall that in his

  19· · interviews, or in the interview -- in the

  20· · investigation summary, Lancaster described his

  21· · meeting with Moore in ways which indicated that

  22· · he -- he felt -- not only Moore, but also

  23· · Commander Cameron was trying to push him not to

  24· · take the position?· Does that ring a bell?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 191 of 302 PAGEID #: 1118

                                                                             191


  ·1· · · · · · · ·MR. COGLIANESE:· Objection.

  ·2· · A.· · · · ·Overall, the recollection that I have

  ·3· · is is that they wanted Officer Ehrenborg and that

  ·4· · was their goal.· And so alternatively, they would

  ·5· · not want somebody else to take the job and they

  ·6· · would use whatever means, you know, to do that

  ·7· · that they could accomplish it hopefully within the

  ·8· · rules.· But -- so that's my take on it was that

  ·9· · they wanted Ehrenborg and they made efforts to get

  10· · to Ehrenborg.

  11· · Q.· · · · ·And that's the reason you think -- you

  12· · would agree with me that Sergeant Moore was

  13· · flagrantly insubordinate as I've described it?

  14· · · · · · · ·MR. COGLIANESE:· Objection.

  15· · A.· · · · ·Well, he was -- he was charged with

  16· · misconduct and got a DCC for failing to follow an

  17· · order.· I think it's in here somewhere, but you're

  18· · describing it as insubordination, and it was found

  19· · to be, I believe, failure to follow an order.

  20· · Q.· · · · ·So -- okay.

  21· · A.· · · · ·Well, the contract addresses that.· You

  22· · can read the FOP contract.

  23· · Q.· · · · ·Okay.

  24· · A.· · · · ·It says, insubordination should be


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 192 of 302 PAGEID #: 1119

                                                                             192


  ·1· · reserved for the most egregious cases and lower --

  ·2· · lower charges should be used prior to the charge

  ·3· · of insubordination.

  ·4· · Q.· · · · ·Okay.· So when he was told not to

  ·5· · contact -- contact or communicate with Lancaster,

  ·6· · a person who has made a -- there's an issue about

  ·7· · whether he's discriminating against him, it's

  ·8· · pending investigation, he not only e-mails him, he

  ·9· · talks to him, and that talk is part of an effort

  10· · to prevent him from coming to the bureau where

  11· · that sergeant, who's accused of racism, worked.

  12· · And you think that's not critical misconduct?

  13· · · · · · · ·MR. COGLIANESE:· Objection.

  14· · A.· · · · ·I didn't say that.

  15· · Q.· · · · ·I'm asking you.· Isn't that critical

  16· · misconduct?

  17· · · · · · · ·MR. COGLIANESE:· Objection.

  18· · A.· · · · ·That he -- that he spoke to Officer

  19· · Lancaster?

  20· · Q.· · · · ·That he did all of those things.· He

  21· · e-mailed him, he spoke to him, he actively

  22· · discouraged him from coming to the bureau where he

  23· · works, he -- and by the way, Moore admitted he had

  24· · a very angry conversation with Lancaster in his


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 193 of 302 PAGEID #: 1120

                                                                             193


  ·1· · interview.

  ·2· · · · · · · ·MR. COGLIANESE:· Objection.

  ·3· · Q.· · · · ·But as far as you're -- I'm sorry.

  ·4· · Were you going to say something?

  ·5· · A.· · · · ·It might have been.· I -- I don't have

  ·6· · all of the information in front of me to be able

  ·7· · to properly assess all of that.· And you're

  ·8· · telling me stuff that may or may not be written

  ·9· · down, and I'm not sure if I reviewed it all in

  10· · that light or if it was even addressed as an

  11· · allegation for insubordination, other than just

  12· · failing to follow an order.

  13· · Q.· · · · ·Well, in the investigation, do you

  14· · recall that Sergeant Moore admitted to Sergeant

  15· · Decker -- well, let me back this up.

  16· · · · · · · ·You do recall, do you not, that

  17· · Sergeant Moore had sent a text message to Officer

  18· · John Ever -- Evans saying that Lancaster and Shaw

  19· · better not take the job in vice or I'm going to

  20· · get them?· Do you remember that?

  21· · A.· · · · ·I didn't have any recollection of it

  22· · before you just mentioned that, but I think that

  23· · might have been part of the investigation.

  24· · Q.· · · · ·Well, if you had become aware of that


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 194 of 302 PAGEID #: 1121

                                                                             194


  ·1· · in the investigation, isn't that quite striking

  ·2· · that he would send a text message threatening two

  ·3· · people who are trying to get an assignment where

  ·4· · he's the sergeant and he's selecting -- he's

  ·5· · involved in the selection process?

  ·6· · A.· · · · ·Well, you are saying threatening them,

  ·7· · but you said that the actual terms were get them

  ·8· · and --

  ·9· · Q.· · · · ·You don't consider that a threat from a

  10· · sergeant about if somebody takes a job?

  11· · · · · · · ·MR. COGLIANESE:· Objection.· Finish

  12· · your thought if you wanted to.

  13· · A.· · · · ·I would -- I would just say that that's

  14· · unspecific.

  15· · Q.· · · · ·I see.

  16· · A.· · · · ·"Get them" can be interpreted a lot of

  17· · different ways.· I don't know what his intent was.

  18· · Q.· · · · ·Which way do you interpret it?

  19· · A.· · · · ·I'm not going to --

  20· · · · · · · ·MR. COGLIANESE:· Finish your thought.

  21· · A.· · · · ·I'm not going to interpret it without

  22· · more information.

  23· · Q.· · · · ·Okay.· Well, you knew that -- you knew,

  24· · if you read the summary, which I believe you had


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 195 of 302 PAGEID #: 1122

                                                                             195


  ·1· · indicated you think you did, you knew that there

  ·2· · were multiple witnesses who confirmed that

  ·3· · Sergeant Moore was making racist statements using

  ·4· · the N word, calling black officers monkeys,

  ·5· · threatening to take people out and fight them or

  ·6· · beat them, and in two officer's cases, indicated

  ·7· · that he actually threatened to take two individual

  ·8· · black officers out and kill them.· So you had that

  ·9· · background, right?

  10· · · · · · · ·MR. COGLIANESE:· Objection.

  11· · A.· · · · ·You're indicating that I knew all of

  12· · that.

  13· · Q.· · · · ·Well, did --

  14· · A.· · · · ·I --

  15· · Q.· · · · ·If you read --

  16· · A.· · · · ·I will say that there was information

  17· · in the investigation.· I don't have any personal

  18· · knowledge of Sergeant Moore doing that.· And just

  19· · because somebody says something happened doesn't

  20· · mean that it did.· Some of it got investigated

  21· · allegations and some of it didn't as we previously

  22· · discussed.

  23· · · · · · · ·You know, if -- if you said that

  24· · somebody made a racist comment five years ago and


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 196 of 302 PAGEID #: 1123

                                                                             196


  ·1· · you can't say who was there, all that kind of

  ·2· · stuff, it's not going to get investigated without

  ·3· · more information in general, so...

  ·4· · Q.· · · · ·But you didn't order it to be

  ·5· · investigated more, did you?

  ·6· · A.· · · · ·I -- you'll have to be more clear about

  ·7· · what I didn't do.· You're -- what are you talking

  ·8· · about?· Because I just gave a hypothetical.

  ·9· · Q.· · · · ·Just -- you -- if you read the summary

  10· · and you read the routing sheet, you knew that

  11· · there were multiple officers, it wasn't one, it

  12· · wasn't two, it was three, it was more who

  13· · testified to having heard Moore make

  14· · discriminatory, racist comments?

  15· · · · · · · ·MR. COGLIANESE:· Objection.

  16· · Q.· · · · ·You did not -- if you had concerns that

  17· · you wanted more specifics, you did not direct

  18· · Sergeant Decker or anybody else to get the more

  19· · specifics, did you?· About those statements?

  20· · A.· · · · ·Correct.

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · Q.· · · · ·Okay.· In addition, you had information

  23· · from the summary that Moore -- in addition to that

  24· · information, that Moore sent a text message


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 197 of 302 PAGEID #: 1124

                                                                             197


  ·1· · indicating that he would get Karl Shaw and Whitney

  ·2· · Lancaster if they took the position in narcotics?

  ·3· · A.· · · · ·If it was included in the

  ·4· · investigation, then, yes, I had that information.

  ·5· · Q.· · · · ·Okay.· And your reaction was oh, well,

  ·6· · who knows what he means; is that --

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.

  ·8· · A.· · · · ·I did not say that.

  ·9· · Q.· · · · ·That was your testimony a moment ago,

  10· · but if you want to change your testimony, go right

  11· · ahead.

  12· · · · · · · ·MR. COGLIANESE:· Objection.· You're

  13· · mischaracterizing.

  14· · A.· · · · ·That is correct.

  15· · Q.· · · · ·Okay.· Well, then how did you --

  16· · A.· · · · ·I did not say, oh, well, we're just

  17· · going to leave it alone.

  18· · Q.· · · · ·Okay.· Well, then what did you do?

  19· · A.· · · · ·I took the investigation that we had

  20· · and I made rulings upon that.· I had a

  21· · disciplinary hearing with Sergeant Moore, and I

  22· · made a recommendation to the Director of Public

  23· · Safety.

  24· · Q.· · · · ·With respect to the discrimination


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 198 of 302 PAGEID #: 1125

                                                                             198


  ·1· · claim that Officer Shaw was unable to take a

  ·2· · position in narcotics because of Sergeant Moore's

  ·3· · behavior and his text threat, what did you rule?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.

  ·5· · Q.· · · · ·Did you recommend his termination?

  ·6· · A.· · · · ·You're talking about a lawsuit.

  ·7· · Q.· · · · ·No.· I'm talking about the IAB

  ·8· · investigation.· You keep referring to the portion

  ·9· · of the investigation regarding overtime and other

  10· · financial issues.· I told you I would like to

  11· · focus today on the discrimination, race issues.

  12· · · · · · · ·With respect to this information I just

  13· · reviewed with you that you indicate that if it was

  14· · in the report, you would have been aware of it,

  15· · I'm asking you:· Did you recommend charges against

  16· · Sergeant Moore?

  17· · · · · · · ·MR. COGLIANESE:· Objection.

  18· · A.· · · · ·For what?

  19· · Q.· · · · ·For sending a text that threatened to

  20· · get two officers if they took a job where he was

  21· · working in narcotics?· For him making racial slurs

  22· · not to one, not to two, but more officers using

  23· · the N word, calling back officers monkeys,

  24· · threatening to take them out back and fight them,


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 199 of 302 PAGEID #: 1126

                                                                             199


  ·1· · for lying to you about whether or not he had

  ·2· · actually interviewed and gotten agreements from

  ·3· · officers to pass on the job when, in fact, he

  ·4· · hadn't.· Did you ever consider charges for any of

  ·5· · those?

  ·6· · · · · · · ·MR. COGLIANESE:· Objection.

  ·7· · A.· · · · ·Those were never presented to me as

  ·8· · potential charges to my knowledge.· And, no, I did

  ·9· · not initiate any departmental charges for things

  10· · that he wasn't charged with.

  11· · Q.· · · · ·Okay.· You also became -- I think we

  12· · mentioned earlier that he had ordered a lightning

  13· · link.· Do you recall that?

  14· · · · · · · ·MR. COGLIANESE:· Objection.

  15· · A.· · · · ·What was the question?

  16· · Q.· · · · ·As I recall, you became aware at some

  17· · point during the investigation, that Sergeant

  18· · Moore had ordered a lightning link?

  19· · A.· · · · ·I became aware of it at some point in

  20· · the investigation or far after the investigation.

  21· · I'm not sure which.

  22· · Q.· · · · ·Okay.· Well, if -- as the chief,

  23· · putting yourself in Karl Shaw's shoes as an

  24· · officer, if you've become aware that the sergeant


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 200 of 302 PAGEID #: 1127

                                                                             200


  ·1· · where you're trying to get a job is texting people

  ·2· · that he's going to get you if you take it, he has

  ·3· · ordered an illegal device to make a weapon

  ·4· · automatic despite the law, he has made numerous

  ·5· · racist comments about black officers, including,

  ·6· · according to two people, a threat to violently

  ·7· · hurt or kill two particular black officers.

  ·8· · Wouldn't you feel a little uncomfortable about

  ·9· · taking a job where he's your boss?

  10· · · · · · · ·MR. COGLIANESE:· Objection.

  11· · A.· · · · ·You're asking me to think like Officer

  12· · Karl Shaw does?

  13· · Q.· · · · ·Yes.

  14· · A.· · · · ·And I'm not sure that I'm able to do

  15· · that, because I haven't had the same experiences

  16· · that he has.

  17· · Q.· · · · ·Okay.

  18· · A.· · · · ·But if he were to be uncomfortable

  19· · about that, certainly those things would be

  20· · something that could cause that.

  21· · Q.· · · · ·And based on your training in EEO, is

  22· · it your claim that sending on e-mail like that and

  23· · engaging in that kind of behavior would not deter

  24· · people for having raised concerns about a


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 201 of 302 PAGEID #: 1128

                                                                             201


  ·1· · sergeant's racism or discriminatory behavior?

  ·2· · · · · · · ·MR. COGLIANESE:· Objection.

  ·3· · A.· · · · ·I'm trying to make sure I understand

  ·4· · the question.· Do I understand how an e-mail or

  ·5· · text message could deter somebody from --

  ·6· · Q.· · · · ·Well, let's take that first.

  ·7· · A.· · · · ·Okay.· What's the question?

  ·8· · Q.· · · · ·Can you -- do you agree that an e-mail

  ·9· · from somebody who will be your boss in a

  10· · prospective position saying, if you take it, I

  11· · will get you, would deter many people, many

  12· · reasonable people from taking the job?

  13· · · · · · · ·MR. COGLIANESE:· Objection.

  14· · A.· · · · ·It could.

  15· · Q.· · · · ·Okay.· In your -- in your training of

  16· · EEO, is it your understanding that a sergeant who

  17· · says, I sent the text because I was upset that

  18· · they claimed I was a racist or discriminating,

  19· · that that's not retaliation?

  20· · · · · · · ·MR. COGLIANESE:· Objection.

  21· · A.· · · · ·So he -- you're telling me that he sent

  22· · that message retaliating against them because they

  23· · had called him a racist?

  24· · Q.· · · · ·I'm telling -- I'm saying to you that


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 202 of 302 PAGEID #: 1129

                                                                             202


  ·1· · in his interview with Sergeant Decker, which was

  ·2· · summarized, he admitted that he sent the text

  ·3· · because Shaw had -- not just Shaw, but Shaw was

  ·4· · included, had accused him of being a racist?

  ·5· · · · · · · ·MR. COGLIANESE:· Objection.

  ·6· · Q.· · · · ·Is -- according to you as chief, is

  ·7· · that a retaliatory act under your policies or the

  ·8· · law?

  ·9· · · · · · · ·MR. COGLIANESE:· Objection.

  10· · A.· · · · ·We certainly think it's worth

  11· · investigating, you know.· If we have information

  12· · of that sort, then I would certainly be interested

  13· · in a better understanding, you know, that.

  14· · Q.· · · · ·Would you have expected your chain of

  15· · command, if they knew the sequence of events about

  16· · the text message, as well as the other information

  17· · in the interviews about people saying he made

  18· · racist comments and all the other stuff we've been

  19· · through, should have asked for further

  20· · investigation as you just suggested?

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · A.· · · · ·I will -- I will address that in the

  23· · sense that there are points in time in a number of

  24· · lengthy or very complicated investigations where


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 203 of 302 PAGEID #: 1130

                                                                             203


  ·1· · you have to decide how much longer you want to

  ·2· · make the investigation.· In the past we've very

  ·3· · rarely bifurcated investigations and taken little

  ·4· · bits out of it at a time and so at some point in

  ·5· · time when allegations continued to stream in or

  ·6· · things keep arising, it is often best to say,

  ·7· · let's -- let's move forward with what we have and

  ·8· · then see if we need to go back and do more.

  ·9· · · · · · · ·And sometimes the allegations don't --

  10· · don't stop, because sometimes once they start

  11· · happening, they steamroll.· And so there are times

  12· · when you have to say, let's move forward with what

  13· · we have and wrap that up, because this

  14· · investigation is taking too long as it is.· And so

  15· · when you think that you have a terminable case,

  16· · sometimes you say, we have a termination case,

  17· · let's move forward with that.· And there might be

  18· · a lot of other miscellaneous things that get set

  19· · aside thinking that we don't need that at that

  20· · point in time to make our case and to make a

  21· · recommendation of termination.

  22· · · · · · · ·When you have allegations of

  23· · untruthfulness, you often think that that person's

  24· · not going to be an employee very long.· And so we


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 204 of 302 PAGEID #: 1131

                                                                             204


  ·1· · have, on any number of occasions, set aside some

  ·2· · serious allegations as, you know, pending,

  ·3· · thinking that we have enough to move forward and

  ·4· · not necessarily ever gone back, because that

  ·5· · person was separated from employment or whatever

  ·6· · else.

  ·7· · · · · · · ·Sometimes the chain of command is aware

  ·8· · of those decisions, sometimes they're not.

  ·9· · Sometimes I'm aware of those decisions, sometimes

  10· · I'm not.· So it's a complicated process,

  11· · especially when we have very lengthy

  12· · investigations.· And what things we think are the

  13· · strongest evidence that we can make a case for are

  14· · decisions that are taken into consideration.

  15· · · · · · · ·When we think that we have a

  16· · termination case, sometimes it's best to move

  17· · forward on the termination and get that done.· And

  18· · so some things don't continue to make it lengthier

  19· · and lengthier and lengthier.

  20· · Q.· · · · ·And more could there need -- what more

  21· · would you need to understand whether or not

  22· · Sergeant Moore sending out a text saying, Karl

  23· · Shaw better not take this job and Sergeant Moore

  24· · telling IAB that he did that because Shaw accused


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 205 of 302 PAGEID #: 1132

                                                                             205


  ·1· · him of being a racist?· What more would you need

  ·2· · to understand what was happening?

  ·3· · · · · · · ·MR. COGLIANESE:· Objection.

  ·4· · Q.· · · · ·His purpose?

  ·5· · A.· · · · ·A formal investigation.

  ·6· · Q.· · · · ·Okay.

  ·7· · A.· · · · ·You know, a -- a -- it being added as

  ·8· · an allegation.

  ·9· · Q.· · · · ·This had been an issue for six months

  10· · already, the whole issue about whether he was

  11· · discriminating.· So why wouldn't it be appropriate

  12· · to include it since they're already investigating

  13· · whether he threatened black officers and they had

  14· · already learned during the course of the

  15· · investigation that he -- witnesses were reporting,

  16· · both white and black, that he was making racist

  17· · comments?

  18· · A.· · · · ·I don't have any knowledge --

  19· · · · · · · ·MR. COGLIANESE:· Objection.

  20· · A.· · · · ·-- that I was aware of making a

  21· · decision not to include it.

  22· · Q.· · · · ·I'm sorry, what?

  23· · A.· · · · ·I'm not aware of me making a decision

  24· · not to include that as an allegation.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 206 of 302 PAGEID #: 1133

                                                                             206


  ·1· · Q.· · · · ·Well, it wasn't included, was it?

  ·2· · A.· · · · ·Correct.· That doesn't mean that I made

  ·3· · a decision not to.

  ·4· · Q.· · · · ·Well, you had the authority -- the

  ·5· · routing sheets that came up to you concluded that

  ·6· · the selection process for the narcotics position

  ·7· · wasn't fair.· Do you remember that?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·I believe that I've established that I

  10· · was told about the selection process not being the

  11· · way that it should have been and that I ordered it

  12· · to be redone.

  13· · Q.· · · · ·Okay.

  14· · A.· · · · ·That doesn't mean that I was aware of

  15· · all of that information that was even in this

  16· · letter, let alone what we've been discussing as

  17· · far as the interviews and the text messages and

  18· · all of that.· There was nothing stopping me, other

  19· · than I can't think of everything all the time.

  20· · And if it's brought to my attention and given to

  21· · me in the form of an investigation with an

  22· · allegation that I can review, then I address it.

  23· · · · · · · ·Very rarely have I initiated

  24· · investigation of more information upon reading a


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 207 of 302 PAGEID #: 1134

                                                                             207


  ·1· · completed investigation.

  ·2· · Q.· · · · ·Okay.

  ·3· · A.· · · · ·Do you understand what I mean?

  ·4· · Q.· · · · ·I understand what you're saying.· My --

  ·5· · my confusion, Chief, is:· I believe, if not every

  ·6· · single detail, most of what I've gone over with

  ·7· · you today is in the investigative report.· But let

  ·8· · me move on, okay?

  ·9· · · · · · · ·Did you -- did you become -- did you

  10· · become aware that Karl Shaw was very upset and

  11· · fearful about what he was learning about Moore's

  12· · threats, one was the text, because Officer Evans

  13· · came to him and gave it to him.· I don't think

  14· · there's any dispute about that in this case, it's

  15· · in the interviews.· He also became aware of the

  16· · lightning link.

  17· · · · · · · ·He also became aware of a prior

  18· · instance of Sergeant Moore threatening another

  19· · black officer by reaching down toward his gun as

  20· · he passed him in the hall, only within a few weeks

  21· · of this, okay?· He brought it all up with Sergeant

  22· · Decker and -- because he was still debating, can I

  23· · take this position with Moore being there, and he

  24· · asked for a meeting with Lieutenant Brust to


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 208 of 302 PAGEID #: 1135

                                                                             208


  ·1· · discuss it.· They discussed it.· The conversation

  ·2· · is recorded.· Are you aware of anything I just

  ·3· · described to you?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.

  ·5· · A.· · · · ·Well, obviously parts of it.

  ·6· · Q.· · · · ·Okay.

  ·7· · A.· · · · ·We've been talking about it most of the

  ·8· · day.

  ·9· · Q.· · · · ·I'm not asking about -- I'm not -- I

  10· · don't --

  11· · A.· · · · ·I --

  12· · Q.· · · · ·-- want to ask you whether you know

  13· · about it because we've talked about it today.

  14· · Before today, were you aware that Officer Shaw

  15· · talked to Decker and went over those three issues

  16· · I just mentioned, the lightning link, the Elias

  17· · incident that he'd become aware of since the last

  18· · conversation he had with him and the text message?

  19· · A.· · · · ·Well, I'm aware --

  20· · · · · · · ·MR. COGLIANESE:· Objection.

  21· · A.· · · · ·I'm aware of those things, but I don't

  22· · know when I became aware of them --

  23· · Q.· · · · ·Okay.

  24· · A.· · · · ·-- or his -- when he became --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 209 of 302 PAGEID #: 1136

                                                                             209


  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·-- aware of them.

  ·3· · Q.· · · · ·Well, we know that he became aware of

  ·4· · them before his second interview, because he

  ·5· · brings them up, okay?

  ·6· · A.· · · · ·Sure.

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.

  ·8· · Q.· · · · ·All right.· So I understand you don't

  ·9· · remember when you may have first learned of those

  10· · things or if you ever did before -- before you

  11· · made the decision on the package, is that what

  12· · you're telling me?· You don't -- you don't --

  13· · that's what I'm trying to understand.· Before you

  14· · made the decision on whether to charge Eric Moore

  15· · related to the discrimination complaints, the

  16· · hiring process, the racist commentary, the racist

  17· · threat, were you aware of what I just talked

  18· · about?

  19· · · · · · · ·MR. COGLIANESE:· Objection.

  20· · A.· · · · ·I was aware of the gist of the summary

  21· · of the investigation, so the contents of that I

  22· · had a level of awareness of.

  23· · Q.· · · · ·Okay.· What -- I'm just, if you don't

  24· · remember, it's okay, you can tell me.· Sitting


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 210 of 302 PAGEID #: 1137

                                                                             210


  ·1· · here today, do you believe at some point when you

  ·2· · read the summary and anything else you looked at,

  ·3· · you were aware, for example, that the lightning

  ·4· · link issue had come up?

  ·5· · · · · · · ·MR. COGLIANESE:· Objection.

  ·6· · A.· · · · ·Like I said, that didn't really reach

  ·7· · any level of consciousness until the OCRC

  ·8· · complaint.

  ·9· · Q.· · · · ·Okay.· How about the text message that

  10· · Moore sent to John Evans and that later came to

  11· · Decker's attention?

  12· · A.· · · · ·I don't know how much attention I gave

  13· · to it at the time of reading the investigation.

  14· · Q.· · · · ·All right.· Now I'm going to -- now I

  15· · want to talk a little -- a minute about Lieutenant

  16· · Brust's meeting with Karl Shaw.

  17· · A.· · · · ·Okay.

  18· · Q.· · · · ·During this meeting -- it's recorded,

  19· · your counsel has the transcript of the

  20· · recording -- Officer Shaw tells Lieutenant Brust

  21· · that he's struggling about the issue of whether to

  22· · take the narcotics job.· He tells him, I'm running

  23· · out of time because of that time limit.· My family

  24· · and other people, friends, are saying, don't do


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 211 of 302 PAGEID #: 1138

                                                                             211


  ·1· · it, don't do it, because he's shared with them

  ·2· · some of the information about Moore we're talking

  ·3· · about today.· He asks Lieutenant Brust and he

  ·4· · tells Lieutenant Brust about the text.· He tells

  ·5· · him that Moore said in a text to John Evans that

  ·6· · he's going to do something, I think -- I think he

  ·7· · -- he didn't actually mention text, but he told

  ·8· · him, I'm being told that Moore is saying he's

  ·9· · going to do something to me if I take the job.

  10· · We -- separately, Decker actually has the text.

  11· · A.· · · · ·Okay.

  12· · Q.· · · · ·Lieutenant Brust doesn't ask him any

  13· · questions about, well, what did you hear and what

  14· · do you mean?· You know, what did you mean?· And

  15· · how do you know that?· He asks nothing about it.

  16· · And he indicates to him, look, I'm not going to

  17· · let him do something to you, but, you know, I'm

  18· · not there all the time.· After which -- and by the

  19· · way, Lieutenant Brust doesn't go to Decker,

  20· · doesn't bring this up with Decker, he doesn't

  21· · report it to Cameron, doesn't report it to you.

  22· · And after that conversation, Karl Shaw decides he

  23· · better not take the position given all of these

  24· · circumstances and what Lieutenant Brust says.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 212 of 302 PAGEID #: 1139

                                                                             212


  ·1· · · · · · · ·Now, as chief, would you -- would you

  ·2· · expect Lieutenant Brust to do some follow up after

  ·3· · being told about this by Karl Shaw?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.

  ·5· · A.· · · · ·Not having listened to the exact nature

  ·6· · of the discussion, but based on what you have told

  ·7· · me, and I don't know that the timing of

  ·8· · everything, certainly I would think that if

  ·9· · Officer Shaw expressed concerns about his own

  10· · safety, that that information should have been

  11· · shared.

  12· · · · · · · ·If it was about whether he was going to

  13· · be retaliated against in some way for taking the

  14· · job, then I would express that that would be

  15· · something that Lieutenant Brust should have

  16· · shared, at least with Commander Cameron, to make

  17· · sure that they were watching for adverse, you

  18· · know, evaluations or adverse assignments, or, you

  19· · know, some type of other action, employment action

  20· · that the sergeant could or would take against

  21· · Officer Shaw for taking that.

  22· · · · · · · ·If it was related to the investigation

  23· · and he provided new information that the

  24· · lieutenant felt was relevant to the ongoing


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 213 of 302 PAGEID #: 1140

                                                                             213


  ·1· · investigation of Sergeant Moore, then, yes, he

  ·2· · should have contacted internal affairs.· So there

  ·3· · are a number of things that I think could have

  ·4· · been done differently if all he said was, I can't

  ·5· · help you.

  ·6· · Q.· · · · ·Well, when he said, I'm not there all

  ·7· · the time, what kind -- what message do you think

  ·8· · he's sending to Karl Shaw when he's asking for --

  ·9· · · · · · · ·MR. COGLIANESE:· Objection.

  10· · A.· · · · ·You would have to ask him directly.

  11· · Q.· · · · ·I'm asking how you would take that

  12· · response --

  13· · · · · · · ·MR. COGLIANESE:· Objection.

  14· · Q.· · · · ·-- as his chief?

  15· · A.· · · · ·I understand that you said that

  16· · Lieutenant Brust said, I'll do what I can when I

  17· · am able to, but acknowledging that he's not able

  18· · to, you know, guard his house or guard his person

  19· · when he's off duty or something along that line.

  20· · · · · · · ·So it does not sound very reassuring to

  21· · me, but it sounds realistic in the sense that,

  22· · hey, I'm not going to be around all the time, you

  23· · know, that's -- that's true of everyone.· So --

  24· · Q.· · · · ·Well --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 214 of 302 PAGEID #: 1141

                                                                             214


  ·1· · A.· · · · ·-- that certainly could be taken in a

  ·2· · number of different ways, but I don't know what

  ·3· · way Lieutenant Brust took it or intended.

  ·4· · Q.· · · · ·Well, one of -- but he could have said

  ·5· · that I'm going to look into this and if necessary,

  ·6· · we will consider ordering that Sergeant Moore be

  ·7· · relieved of his duty, as has been done for other

  ·8· · people and as was already done for Officer

  ·9· · Sorrell, right?

  10· · · · · · · ·MR. COGLIANESE:· Objection.

  11· · A.· · · · ·He could have said a hundred different

  12· · things.

  13· · Q.· · · · ·Okay.· Yeah, well, that was certainly

  14· · one of them, right?

  15· · · · · · · ·MR. COGLIANESE:· Well, objection.                    I

  16· · mean, can we move on?

  17· · A.· · · · ·What's the question?

  18· · Q.· · · · ·That's one of the things he could have

  19· · said to Karl Shaw?

  20· · A.· · · · ·If he felt that there was a --

  21· · something that was said that needed to be relieved

  22· · of duty, then I would expect him to say, I would

  23· · relieve him of duty.· But, I mean, he could have

  24· · said a whole bunch of different things.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 215 of 302 PAGEID #: 1142

                                                                             215


  ·1· · Q.· · · · ·Right.· But he didn't?

  ·2· · · · · · · ·MR. COGLIANESE:· Objection.

  ·3· · A.· · · · ·I don't know.· I haven't seen or read

  ·4· · that transcript --

  ·5· · Q.· · · · ·Okay.

  ·6· · A.· · · · ·-- so I --

  ·7· · Q.· · · · ·I encourage you to read it.· I believe

  ·8· · I've accurately described it to you.

  ·9· · A.· · · · ·Okay.

  10· · Q.· · · · ·Assuming --

  11· · · · · · · ·MR. COGLIANESE.· Form.

  12· · Q.· · · · ·-- I've accurately described it, he did

  13· · nothing to reassure Karl Shaw when he -- by adding

  14· · to his statement, I'm not around all the time, and

  15· · leaving it at that?

  16· · · · · · · ·MR. COGLIANESE:· Objection.· Asked and

  17· · answered.· Can we please --

  18· · · · · · · ·MR. GITTES:· That's not an objection

  19· · and this is cross-examination.

  20· · · · · · · ·MR. COGLIANESE:· This is the fifth time

  21· · you've asked this question, move on.

  22· · · · · · · ·MR. GITTES:· Rich, if you want to

  23· · instruct her not to answer this question, you

  24· · feel -- you do so.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 216 of 302 PAGEID #: 1143

                                                                             216


  ·1· · · · · · · ·MR. COGLIANESE:· I have told --

  ·2· · · · · · · ·MR. GITTES:· And we can act

  ·3· · accordingly.· I believe I'm conducting this

  ·4· · deposition appropriately.

  ·5· · · · · · · ·MR. COGLIANESE:· And I doubt it very

  ·6· · much.

  ·7· · · · · · · ·MR. GITTES:· You've made your

  ·8· · objection.

  ·9· · · · · · · ·MR. COGLIANESE:· Let's take a break.

  10· · · · · · · ·MR. GITTES:· I'm not ready to take a

  11· · break.

  12· · · · · · · ·MR. COGLIANESE:· Let's take a break.

  13· · We're off the record.

  14· · · · · · · ·MR. GITTES:· Do you need a break?

  15· · · · · · · ·THE WITNESS:· I'm ready.

  16· · · · · · · ·MR. GITTES:· Okay.

  17· · · · · · · ·THE VIDEOGRAPHER:· We're off the

  18· · record.· The time is 3:02.

  19· · · · · · · ·(A recess is taken.)

  20· · · · · · · ·THE VIDEOGRAPHER:· This marks the

  21· · beginning of media number four.· We're back on the

  22· · record.· The time is 3:15.

  23· · Q.· · · · ·Ready?

  24· · A.· · · · ·Yep.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 217 of 302 PAGEID #: 1144

                                                                             217


  ·1· · Q.· · · · ·Okay.· I wasn't quite finished asking

  ·2· · you about the meeting between Lieutenant Brust and

  ·3· · Karl Shaw.· One of the other aspects of their

  ·4· · conversation is that Officer Shaw, who I think we

  ·5· · discussed earlier, had complained about the manner

  ·6· · of that interview by Cameron where Brust was

  ·7· · there, too?

  ·8· · A.· · · · ·Yes.

  ·9· · Q.· · · · ·Did you know or have you learned that

  10· · during this recorded conversation with Officer

  11· · Shaw, Lieutenant Brust told Shaw that Cameron was

  12· · a bully in reference to that interview?

  13· · · · · · · ·MR. COGLIANESE:· Objection.

  14· · A.· · · · ·That doesn't sound familiar to me.

  15· · Q.· · · · ·Okay.· Would you agree that if

  16· · Lieutenant Brust felt Cameron was bullying Shaw or

  17· · trying to bully him not to take the job, and in

  18· · combination with being told that Moore had been

  19· · issuing warnings against taking the job, that

  20· · Lieutenant Brust should have followed up on it

  21· · either with the commander or IAB?

  22· · · · · · · ·MR. COGLIANESE:· Objection.

  23· · A.· · · · ·I'm not sure I'm clear on the actual

  24· · question.· Are you saying, Lieutenant Brust should


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 218 of 302 PAGEID #: 1145

                                                                             218


  ·1· · have followed up with IAB if he alleged Commander

  ·2· · Cameron is a bully or what?

  ·3· · Q.· · · · ·If he felt that Commander Cameron was

  ·4· · bullying Karl Shaw with respect to that interview

  ·5· · that was conducted, and it was in the context of

  ·6· · whether he should take that position, and in light

  ·7· · of Shaw's being upset about the interview,

  ·8· · shouldn't he have reported it, or at least talked

  ·9· · to Cameron about it?

  10· · A.· · · · ·I think he --

  11· · · · · · · ·MR. COGLIANESE:· Objection.

  12· · A.· · · · ·-- could have talked to Officer Shaw

  13· · about what he wanted to see happen.· You know, if

  14· · he wanted to make an allegation against Commander

  15· · Cameron or Lieutenant Brust and explain the

  16· · process if he was unaware.· If he felt that there

  17· · was enough information there that needed to be

  18· · investigated, he certainly could have made a

  19· · decision to either go to internal affairs or go to

  20· · Commander Cameron's deputy chief to, you know,

  21· · share his concerns.

  22· · Q.· · · · ·Now, let's take a look -- let's do

  23· · those two exhibits here right now.

  24· · · · · · · ·MR. VARDARO:· 38, it's too big to


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 219 of 302 PAGEID #: 1146

                                                                             219


  ·1· · staple, so we need to be careful to keep that

  ·2· · together as best we can.

  ·3· · · · · · · · · · · · ·- - - - -

  ·4· · · · · · ·Thereupon, Plaintiff's Exhibit 38 is

  ·5· · marked for purposes of identification.

  ·6· · · · · · · · · · · · - - - - -

  ·7· · Q.· · · · ·First, for the record, you've been

  ·8· · handed what's been marked as Plaintiff's Exhibit

  ·9· · 38.· And I would ask you if you can flip through

  10· · that and see if that is the investigative summary

  11· · regarding Eric Moore's investigation?

  12· · A.· · · · ·It certainly appears to be.

  13· · Q.· · · · ·Okay.· And did you read some or all of

  14· · this investigative report?

  15· · A.· · · · ·I believe so.

  16· · Q.· · · · ·And then if you would go to page 147 of

  17· · the report.· It's up here in the left-hand corner,

  18· · the page numbers.· You can take the clip off as

  19· · long as you're careful.· I think it is actually

  20· · easier, at least it was for me.· There's also page

  21· · numbers at the bottom and the Bates stamp number

  22· · is --

  23· · A.· · · · ·I got it.

  24· · Q.· · · · ·You got it?· Okay.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 220 of 302 PAGEID #: 1147

                                                                             220


  ·1· · · · · · · ·So I will represent to you, as it

  ·2· · should be obvious when you flip through, this is

  ·3· · the portion of the investigation, a much smaller

  ·4· · portion, regarding allegations involving Moore's

  ·5· · alleged racism and other misconduct of that

  ·6· · nature.

  ·7· · · · · · · ·Did you read all or a portion of this

  ·8· · section of the investigation?

  ·9· · A.· · · · ·I believe so.

  10· · · · · · · · · · · · ·- - - - -

  11· · · · · · ·Thereupon, Plaintiff's Exhibit 35 is

  12· · marked for purposes of identification.

  13· · · · · · · · · · · · ·- - - - -

  14· · Q.· · · · ·Okay.· Then I would also like to hand

  15· · you what's been identified as Exhibit 35.· And I

  16· · will represent to you that this is the actual

  17· · interview summary of the interview of Sergeant

  18· · Moore by Sergeant Decker.· And I would like to

  19· · know whether you read that interview?

  20· · A.· · · · ·Without reading it again, I would have

  21· · to guess.· I don't -- I don't -- I don't know for

  22· · sure, but --

  23· · Q.· · · · ·Well, would -- take your time and look

  24· · at it.· I need to know whether you read it.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 221 of 302 PAGEID #: 1148

                                                                             221


  ·1· · A.· · · · ·I would have to say that some of this

  ·2· · content looks familiar to me, but whether I read

  ·3· · it word for word, I can't tell you.

  ·4· · Q.· · · · ·Chief, let me ask you:· Would it --

  ·5· · would there be some reason when you are in a case

  ·6· · involving charges that you wouldn't read the

  ·7· · officer's interviews who was being charged?

  ·8· · A.· · · · ·No, I would say it was very typical of

  ·9· · me to do that.

  10· · Q.· · · · ·Okay.· Now, I would like to ask a -- or

  11· · share with you some information to see if you knew

  12· · about it at any time before today.

  13· · A.· · · · ·Okay.

  14· · Q.· · · · ·There -- did you -- were you made aware

  15· · at any time that Officer Dick Elias had made a

  16· · complaint to Lieutenant Brust about Officer Moore

  17· · passing him in the hall and putting his hand on

  18· · his weapon as if to draw it out and Officer Elias

  19· · complaining about it to Lieutenant Brust?

  20· · · · · · · ·MR. COGLIANESE:· Objection.

  21· · A.· · · · ·I'm aware of -- of some incident

  22· · involving Officer Elias and Sergeant Moore

  23· · occurring.

  24· · Q.· · · · ·Okay.· And were you aware that Sergeant


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 222 of 302 PAGEID #: 1149

                                                                             222


  ·1· · Moore acknowledged to Brust, according to Brust,

  ·2· · that he had done it and it was poor judgment?

  ·3· · · · · · · ·MR. COGLIANESE:· Objection.

  ·4· · A.· · · · ·I might be.

  ·5· · Q.· · · · ·Okay.· Given what lieutenant -- what

  ·6· · Karl Shaw was telling Brust in that meeting I --

  ·7· · we discussed earlier before the break?

  ·8· · A.· · · · ·(Indicates affirmatively.)

  ·9· · Q.· · · · ·Do you think it was appropriate -- and

  10· · I'll represent to you this is what Lieutenant

  11· · Brust told us -- that he did not follow up

  12· · regarding the Elias situation or make Sergeant

  13· · Decker aware of it after Karl Shaw shared with him

  14· · his concerns about threats being made by Moore?

  15· · · · · · · ·MR. COGLIANESE:· Objection.

  16· · A.· · · · ·I don't know what reasoning Lieutenant

  17· · Brust would have had for the decision-making that

  18· · he used.· I don't know what he knew about Officer

  19· · Elias's situation involving that.· So it's hard

  20· · for me to say what rationale Lieutenant Brust used

  21· · for his decision-making and whether or not that

  22· · was appropriate.

  23· · Q.· · · · ·Okay.· Well, I guess I'm asking you as

  24· · a supervisor, as an experienced command officer,


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 223 of 302 PAGEID #: 1150

                                                                             223


  ·1· · if you have a black officer come to you and report

  ·2· · that a white officer made a gesture of grabbing,

  ·3· · reaching for a gun and -- as if to pull it out as

  ·4· · passing you in the hall, and that officer was

  ·5· · upset enough that they came to you and said this

  ·6· · happened and reported it, and you checked with the

  ·7· · person involved, the white officer involved who

  ·8· · confirmed it but said and acknowledged it was poor

  ·9· · judgment.· And then later, a couple of weeks later

  10· · you find out that at least allegedly that that

  11· · same person, and it's a ranking officer, a

  12· · sergeant, is now being accused of and involved

  13· · with other racist discriminatory remarks and

  14· · threats.· Wouldn't what happened with Officer

  15· · Elias at least be appropriate for the investigator

  16· · to know about?

  17· · · · · · · ·MR. COGLIANESE:· Objection.

  18· · A.· · · · ·I certainly think that it could have

  19· · been shared and appropriately been shared.

  20· · Q.· · · · ·Now -- I'm now moving on to another

  21· · completely different event.

  22· · · · · · · ·Are you familiar with an Officer

  23· · Christopher Smith-Hughes?

  24· · A.· · · · ·I am.· Sergeant.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 224 of 302 PAGEID #: 1151

                                                                             224


  ·1· · Q.· · · · ·Sergeant.· No, I'm going to put this

  ·2· · off to save time, because it doesn't -- I'm

  ·3· · worried about time, so I'm just going to drop that

  ·4· · for the moment.

  ·5· · · · · · · ·The narcotics bureau -- part of your

  ·6· · job as chief, as you mentioned earlier, you keep

  ·7· · track of overtime, or that's an important

  ·8· · financial issue?

  ·9· · A.· · · · ·Well, I -- I ask many other people

  10· · within the division of police --

  11· · Q.· · · · ·Right.

  12· · A.· · · · ·-- to help me stay within the overtime

  13· · budget.· It's their job to keep track of it.

  14· · Q.· · · · ·Right.· I didn't mean that you had to

  15· · do the accounting.

  16· · · · · · · ·Based on your own experience as chief

  17· · and just general awareness as a commanding

  18· · officer, the narcotics bureau is among the

  19· · highest, if not the highest unit with need for

  20· · officers to work overtime; is that not true?

  21· · A.· · · · ·It's one of them.

  22· · Q.· · · · ·When -- there obviously was a

  23· · progression during the course of this

  24· · investigation which occurred over a year --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 225 of 302 PAGEID #: 1152

                                                                             225


  ·1· · ongoing over a year.· In hindsight, I'm asking you

  ·2· · in hindsight, would you agree that there were

  ·3· · several points in time when a decision to relieve

  ·4· · Sergeant Moore of his duties would have been

  ·5· · appropriate?

  ·6· · · · · · · ·MR. COGLIANESE:· Objection.

  ·7· · A.· · · · ·A decision to relieve him of duty was

  ·8· · enacted.

  ·9· · Q.· · · · ·Yeah, but it was like almost a year

  10· · after the investigation, wasn't it?

  11· · A.· · · · ·So what's the question?

  12· · Q.· · · · ·Well, I'm asking you, you have a

  13· · sergeant who is involved in ongoing work at a unit

  14· · where individuals who have reported he engaged in

  15· · black -- black individuals who have reported he

  16· · has made racist statements, sent a threatening

  17· · text message, corroborated, to some extent, by

  18· · other officers and not just one or two, but more

  19· · than that, and these officers are interested in

  20· · the narcotics bureau, given all of those

  21· · circumstances -- and he's admitted it, the

  22· · sergeant has admitted to the text message.· Why

  23· · would he remain on duty?

  24· · · · · · · ·MR. COGLIANESE:· Objection.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 226 of 302 PAGEID #: 1153

                                                                             226


  ·1· · A.· · · · ·Somebody would need to advise the chain

  ·2· · of command or me that they have information that

  ·3· · leads us to believe that there's a charge perhaps

  ·4· · that could reach termination level, that is likely

  ·5· · to be sustained or of the nature that we can't

  ·6· · trust that individual to perform their duties

  ·7· · without the potential of causing harm or, you

  ·8· · know, making a decision that could impact either

  ·9· · employees or the public.

  10· · · · · · · ·So depending on the information that we

  11· · know during the investigation, or think that we

  12· · can prove and is -- is then discussed to the point

  13· · where there's a conversation about relief of duty,

  14· · is usually the factors that determine that.· Going

  15· · into an investigation, allegations that come in,

  16· · sometimes they sound egregious, like I mentioned

  17· · before, you know, people have accused officers of

  18· · rape, but based on the information that we have,

  19· · we're like, there's no evidence to indicate such

  20· · and we wouldn't relieve them.

  21· · · · · · · ·But in another case, based on the

  22· · evidence that we have initially, we might very

  23· · well relieve them of duty.· So it all depends on

  24· · the amount of evidence that we have, whether the


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 227 of 302 PAGEID #: 1154

                                                                             227


  ·1· · case might result in sustained departmental

  ·2· · charges for a terminational -- terminational, you

  ·3· · know, type of a recommendation.· Or whether or not

  ·4· · we feel that we can trust that person to do their

  ·5· · job in the way that we expect it to be done.

  ·6· · Q.· · · · ·Well, let's see if we can put timing on

  ·7· · it.· By the time of Sergeant Moore's interview, at

  ·8· · least the April 14th interview of 2015, he

  ·9· · admitted sending the text message, and the reason

  10· · he sent it, shouldn't he have been relieved at

  11· · that point?

  12· · A.· · · · ·That -- I would -- I would say that --

  13· · I can't say that "should have" is necessarily part

  14· · of the equation.· I don't think that we've ever

  15· · fired anybody for such a text message before.· The

  16· · retaliation issue is probably the strongest,

  17· · because despite what the words are, "get them,"

  18· · it's still unclear if he meant I'll get them

  19· · through my evaluation of them --

  20· · Q.· · · · ·No, I don't want to be misled.· And I'm

  21· · sorry to interrupt you.· I think I used "get

  22· · them," but the other phrase I used, which is

  23· · actually the actual words, is "better not."

  24· · Better not take the job, okay?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 228 of 302 PAGEID #: 1155

                                                                             228


  ·1· · A.· · · · ·So the part that you said earlier that

  ·2· · says, "or I'll get them" is not there?

  ·3· · Q.· · · · ·That's not the words that were in the

  ·4· · text.

  ·5· · A.· · · · ·Oh, well, then do we go back and relive

  ·6· · my former testimony based on my understanding of

  ·7· · what that was?

  ·8· · · · · · · ·MR. COGLIANESE:· Yeah, and by all

  ·9· · means -- go ahead.· "Get them" was not in the

  10· · text.

  11· · A.· · · · ·Well, then what I've responded to

  12· · earlier needs to be taken into consideration that

  13· · I was misled as to what that text message said.

  14· · Q.· · · · ·Okay.· Well, let's go over the text

  15· · message.

  16· · A.· · · · ·Okay.

  17· · Q.· · · · ·He's sending an e-mail saying that

  18· · Lancaster and Shaw better not take the job.

  19· · A.· · · · ·Period?

  20· · Q.· · · · ·Yeah.· Well, there's -- but that's the

  21· · essence of the -- of the message.· You do not

  22· · consider that a threat?

  23· · · · · · · ·MR. COGLIANESE:· Objection.

  24· · A.· · · · ·I've already testified that I didn't


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 229 of 302 PAGEID #: 1156

                                                                             229


  ·1· · consider that to be a direct threat of violence.

  ·2· · Q.· · · · ·Okay.· I didn't ask if you if it was a

  ·3· · threat of violence.

  ·4· · A.· · · · ·I just responded to you.· I didn't

  ·5· · consider it to be a threat of violence.

  ·6· · Q.· · · · ·Okay.· Do you consider it to be a

  ·7· · job-related threat?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·It certainly could be taken that way.

  10· · I don't know what his intentions were, so that's,

  11· · again, something that you have to find out what he

  12· · means by that particular thing.

  13· · Q.· · · · ·Would sending a message like that

  14· · reasonably be viewed as deterring or trying to

  15· · deter -- deter someone from taking a job when the

  16· · person who sent it admits he did it because they

  17· · called him a racist?

  18· · · · · · · ·MR. COGLIANESE:· Objection.

  19· · A.· · · · ·I believe that that certainly could be

  20· · taken as a deterrent.

  21· · Q.· · · · ·Okay.· And would you not agree it would

  22· · be an attempt to prevent them from taking it

  23· · because of their assertion about him?

  24· · · · · · · ·MR. COGLIANESE:· Objection.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 230 of 302 PAGEID #: 1157

                                                                             230


  ·1· · A.· · · · ·Well, I think that the testimony has

  ·2· · already indicated that he wanted to get to

  ·3· · somebody else, so certainly preventing somebody

  ·4· · from taking it would have been part of getting to

  ·5· · somebody else.

  ·6· · Q.· · · · ·Chief, in his interview, he didn't say

  ·7· · he sent it because he wanted to get to Ehrenborg.

  ·8· · He said he sent it because they called him a

  ·9· · racist.· Why would he say it if his only reason

  10· · was to get to Ehrenborg?

  11· · · · · · · ·MR. COGLIANESE:· Objection.

  12· · A.· · · · ·I didn't say that that was his only

  13· · reason.

  14· · Q.· · · · ·Maybe I'm misunderstanding you, and

  15· · tell me if I'm misreading you.· You seem to be

  16· · trying to come up with explanations for Sergeant

  17· · Moore's conduct here, and I'm a little confused

  18· · why you're doing that.

  19· · · · · · · ·MR. COGLIANESE:· Objection.

  20· · A.· · · · ·I am not.· I'm trying not to guess at

  21· · anybody's intentions.· You've asked me in a number

  22· · of times to put myself in other people's shoes or

  23· · to explain why somebody did or did not do

  24· · something.· So I'm not trying to explain why


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 231 of 302 PAGEID #: 1158

                                                                             231


  ·1· · Sergeant Moore did something.· I am trying to

  ·2· · explain, when I can, what I think of a particular

  ·3· · thing.· You asked me why he wasn't relieved about

  ·4· · a text message that I now find out isn't exactly

  ·5· · what you had said was -- it was earlier.

  ·6· · · · · · · ·So in clarifying why he wasn't relieved

  ·7· · after finding out about a particular message that

  ·8· · was sent, I think that's how we got back into this

  ·9· · discussion, but I'm not trying to read anyone's

  10· · mind.

  11· · · · · · · ·We've discussed the fact that Sergeant

  12· · Moore wanted to get to sergeant -- or Officer

  13· · Ehrenborg.· So the means in which he accomplished

  14· · that is -- sounds like a variety of things,

  15· · preventing people, deterring people, talking to

  16· · people, passing people, you know, not waiting for

  17· · an answer, whatever it might have been, all seem

  18· · to have been at play.

  19· · Q.· · · · ·Okay.· So in your analysis when

  20· · Sergeant Moore told Sergeant Decker that he sent

  21· · the e-mail warning them they better not take the

  22· · job, and that he did it because they called him a

  23· · racist, you can't tell why he did it?

  24· · · · · · · ·MR. COGLIANESE:· Objection.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 232 of 302 PAGEID #: 1159

                                                                             232


  ·1· · A.· · · · ·I didn't say that.

  ·2· · Q.· · · · ·Okay.· Well, fine.

  ·3· · · · · · · ·So you -- you -- do you think it's

  ·4· · reasonable for Sergeant Decker and others who read

  ·5· · that portion of the interview to take Sergeant

  ·6· · Moore at his word when he says he did it because

  ·7· · they called him a racist?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·If somebody explains their

  10· · justification for that, then generally we're going

  11· · to believe that that is their justification.

  12· · Q.· · · · ·And in terms of considering what the

  13· · officers who were cautioned not to take the job,

  14· · isn't it part of your responsibility as a chief or

  15· · as a command officer who is to enforce the

  16· · retaliation prohibitions to consider whether that

  17· · text under those circumstances would deter people

  18· · from making complaints, raising issues of racism?

  19· · Isn't that part of what you have to do to evaluate

  20· · a retaliation claim?

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · A.· · · · ·You're asking if I as the chief need to

  23· · decide if that message was going to deter people

  24· · from taking the job?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 233 of 302 PAGEID #: 1160

                                                                             233


  ·1· · Q.· · · · ·Could deter people?

  ·2· · · · · · · ·MR. COGLIANESE:· Objection.

  ·3· · A.· · · · ·I think I established that I felt

  ·4· · strongly enough about the methods used that I

  ·5· · asked and ordered it to be reposted.· So I think

  ·6· · it's definitely shown that I did not approve of

  ·7· · the way that that posting was handled.

  ·8· · · · · · · ·And as far as retaliatory behavior,

  ·9· · certainly that is something that concerns me, and

  10· · its impact upon our personnel is another concern.

  11· · So I'm not sure what parts of that question I

  12· · didn't respond to.

  13· · Q.· · · · ·Okay.· I'm just trying to find out

  14· · whether you, considering all the facts that you're

  15· · aware of, concluded that Sergeant Moore's text

  16· · message, along with his other behavior, would

  17· · deter a reasonable person from raising

  18· · discrimination complaints?

  19· · · · · · · ·MR. COGLIANESE:· Objection.

  20· · Q.· · · · ·If that was -- that's a risk of his

  21· · behavior?

  22· · · · · · · ·MR. COGLIANESE:· Objection.

  23· · A.· · · · ·I can't speak for what other people use

  24· · as their rationale, but certainly retaliation is


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 234 of 302 PAGEID #: 1161

                                                                             234


  ·1· · something that could deter people from reporting

  ·2· · something and/or taking an assignment.

  ·3· · Q.· · · · ·I want to switch gears here for a few

  ·4· · minutes.· And I would like you to take a look

  ·5· · at --

  ·6· · · · · · · ·MR. VARDARO:· 58.

  ·7· · · · · · · ·MR. GITTES:· Yeah, was it 58?· I had it

  ·8· · marked.

  ·9· · · · · · · ·MR. COGLIANESE:· Chief, just make sure

  10· · you put the clip on that.

  11· · · · · · · ·THE WITNESS:· Yeah, I am.

  12· · · · · · · ·MR. COGLIANESE:· Thanks.

  13· · · · · · · · · · · · ·- - - - -

  14· · · · · · ·Thereupon, Plaintiff's Exhibit 58 is

  15· · marked for purposes of identification.

  16· · · · · · · · · · · · - - - - -

  17· · Q.· · · · ·What I've -- what you've been handed,

  18· · Chief, is a print of a newspaper article in which

  19· · you're quoted, Plaintiff's Exhibit 58.· And I

  20· · would like you to take a moment and read the

  21· · article, because I just want to confirm whether

  22· · you made the statements attributed to you in the

  23· · article.

  24· · A.· · · · ·Okay.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 235 of 302 PAGEID #: 1162

                                                                             235


  ·1· · Q.· · · · ·Okay.· Were there any statements

  ·2· · attributed to you in this article that you believe

  ·3· · are inaccurate or that you didn't say?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.

  ·5· · A.· · · · ·I can't say that word for word the

  ·6· · quotes are exactly what I said, but I don't

  ·7· · dispute that I might have said words to these

  ·8· · effect.

  ·9· · Q.· · · · ·Okay.· Okay.· Now, I would like to give

  10· · you -- I want 54 and 55.

  11· · · · · · · ·MR. VARDARO:· Here's 54.

  12· · Q.· · · · ·I'm going to give you two exhibits,

  13· · Chief.

  14· · A.· · · · ·Okay.

  15· · · · · · · · · · · · ·- - - - -

  16· · · · · · ·Thereupon, Plaintiff's Exhibits 54 and 55

  17· · are marked for purposes of identification.

  18· · · · · · · · · · · · - - - - -

  19· · Q.· · · · ·For the record, Chief, you've been

  20· · handed what have been marked as Plaintiff's

  21· · Exhibit 54 and 55.· And first of all, do you

  22· · recognize these documents?

  23· · A.· · · · ·I don't know that I've seen the routing

  24· · sheet before, which is 54.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 236 of 302 PAGEID #: 1163

                                                                             236


  ·1· · Q.· · · · ·Okay.· And what about 55?

  ·2· · A.· · · · ·Are you asking if I've seen it before?

  ·3· · Q.· · · · ·Yes, if you recognize it?

  ·4· · A.· · · · ·Yes.

  ·5· · Q.· · · · ·Okay.· And what is it?

  ·6· · A.· · · · ·This is a summary of an investigation

  ·7· · that was conducted by internal affairs.· It's not

  ·8· · everything that was investigated, but it's part of

  ·9· · an investigation that was conducted by internal

  10· · affairs of Lieutenant Melissa McFadden.

  11· · Q.· · · · ·Okay.· And the investigative report is

  12· · dated February 9th, 2018, correct?

  13· · A.· · · · ·Yes.

  14· · Q.· · · · ·Didn't you order Lieutenant McFadden

  15· · relieved of duty in March of '17?· Actually,

  16· · March 10th of 2017?

  17· · A.· · · · ·I don't believe that that is what

  18· · happened.· I see that the routing sheet says to be

  19· · relieved of her assignment, but she was

  20· · reassigned.· But I don't believe she was relieved

  21· · of duty at that time.

  22· · Q.· · · · ·Okay.· So, I mean, this is -- first of

  23· · all, did you talk to Deputy Chief -- do you

  24· · pronounce his name Kuebler, is that --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 237 of 302 PAGEID #: 1164

                                                                             237


  ·1· · A.· · · · ·Kuebler.

  ·2· · Q.· · · · ·Like the cookies?

  ·3· · A.· · · · ·Yeah.

  ·4· · Q.· · · · ·Okay.

  ·5· · A.· · · · ·But it's spelled differently.

  ·6· · Q.· · · · ·Did you discuss McFadden with him?

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.

  ·8· · A.· · · · ·I am sure that I have.

  ·9· · Q.· · · · ·Okay.· As best you recall, what -- what

  10· · did you order about her?

  11· · · · · · · ·MR. COGLIANESE:· Objection.

  12· · A.· · · · ·I don't know if I ordered, approved or

  13· · what, but based on the information that we

  14· · received, an investigation was to ensue and she

  15· · was to be reassigned during the pendency of that

  16· · investigation, because she was the accused in an

  17· · EEO allegation.· And per the recommendations of

  18· · federal EEO law, you remove the accused rather

  19· · than the accuser if they are going to remain in

  20· · contact.

  21· · · · · · · ·And so that was the decision or part of

  22· · the decision-making with regard to not letting her

  23· · continue to act as the lieutenant in the patrol

  24· · zone that she was.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 238 of 302 PAGEID #: 1165

                                                                             238


  ·1· · Q.· · · · ·Because -- so you -- as I recall, you

  ·2· · reassigned her -- when I say you --

  ·3· · A.· · · · ·She was.

  ·4· · Q.· · · · ·-- with your consent, she was

  ·5· · reassigned to a non-supervisory position -- no?

  ·6· · A.· · · · ·I wouldn't say that at all.

  ·7· · Q.· · · · ·Okay.· Where was she reassigned?

  ·8· · A.· · · · ·No authority was taken away from her

  ·9· · with regard to her supervisory rank.· She was

  10· · assigned to a place that didn't have the same

  11· · direct reports or responsibilities, but I didn't

  12· · take away any of her supervisory authority.

  13· · Q.· · · · ·She was assigned to the property room,

  14· · right?

  15· · A.· · · · ·Yes.

  16· · Q.· · · · ·Who -- who was there that she was

  17· · supervising?

  18· · A.· · · · ·I don't believe that she was put in

  19· · charge of anybody to supervise.

  20· · Q.· · · · ·Okay.

  21· · A.· · · · ·They already have a chain of command

  22· · there.

  23· · Q.· · · · ·Had she admitted to -- had she --

  24· · according to the charges against her, had she made


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 239 of 302 PAGEID #: 1166

                                                                             239


  ·1· · any threats of violence to anybody?

  ·2· · A.· · · · ·Not that I'm aware of.

  ·3· · Q.· · · · ·Had she sent any -- verbally or in

  ·4· · writing, communicated any messages warning someone

  ·5· · not to seek a position under her authority related

  ·6· · to a complaint about her?

  ·7· · A.· · · · ·I don't believe that we had that type

  ·8· · of information.

  ·9· · Q.· · · · ·Okay.· You, as I recall, according to

  10· · the records, you ordered her put into the property

  11· · room one day after, is it Commander Grizzell, I

  12· · believe, sent you a letter about her concerns

  13· · about Lieutenant McFadden; isn't that correct?

  14· · · · · · · ·MR. COGLIANESE:· Objection.

  15· · A.· · · · ·I don't recall the exact timing.

  16· · Q.· · · · ·Okay.· You wouldn't dispute that she

  17· · sent the letter to you on the 9th and you

  18· · confirmed that she should be put into the --

  19· · reassigned to the property room, that is McFadden,

  20· · on the 10th?

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · A.· · · · ·What you characterize is after I had

  23· · discussed concerns I believe.· I don't know that

  24· · there weren't discussions prior to the actual


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 240 of 302 PAGEID #: 1167

                                                                             240


  ·1· · letter being sent up, so --

  ·2· · Q.· · · · ·Okay.

  ·3· · A.· · · · ·-- I --

  ·4· · Q.· · · · ·Well, can we agree that one day after

  ·5· · the letter was sent up, regardless of whether

  ·6· · there were prior discussions, you moved McFadden,

  ·7· · reassigned her to the property room?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·Well, that information's not before me.

  10· · This is dated -- discussed with me on the 10th of

  11· · March.· It's forwarded on the 13th of March.

  12· · Q.· · · · ·Okay.

  13· · A.· · · · ·And I don't know -- well -- it says it

  14· · was originated on the 9th, so -- but there's no

  15· · letter here, so I --

  16· · Q.· · · · ·Okay.· Do you need me to show you the

  17· · letter?· Do you dispute that it happened very

  18· · quickly?

  19· · · · · · · ·MR. COGLIANESE:· Objection.

  20· · A.· · · · ·No.

  21· · Q.· · · · ·Okay.· So with respect to McFadden, she

  22· · hadn't admitted anything, which is something you

  23· · stress with Sorrell earlier today, she was charged

  24· · with EEO violations, as was Sergeant Moore, but at


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 241 of 302 PAGEID #: 1168

                                                                             241


  ·1· · no time did you or anybody under your command seek

  ·2· · to relieve Sergeant Moore, though it became clear

  ·3· · early on that he was going to be involved as an

  ·4· · officer in a bureau where black officers who had

  ·5· · expressed complaints, along with others, about his

  ·6· · discriminatory racist conduct.· Why wasn't he

  ·7· · relieved?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·You're equating, I think, what happened

  10· · to Lieutenant McFadden with what didn't happen to

  11· · Sergeant Moore.

  12· · Q.· · · · ·Absolutely.· That's exactly what I'm

  13· · doing.

  14· · A.· · · · ·And they are not the same.

  15· · Q.· · · · ·Tell me how they're not the same.

  16· · A.· · · · ·Lieutenant McFadden was given a new

  17· · place to report to work because she still had

  18· · people within her chain of command that were, I

  19· · believe, accusers of hers, and we wanted to make

  20· · sure that separation happened.· She wasn't

  21· · relieved of duty.· Her gun wasn't taken away.· Her

  22· · badge wasn't taken away.· She still had police

  23· · powers.· Relieving somebody of duty is taking away

  24· · their badge and gun and saying, don't perform


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 242 of 302 PAGEID #: 1169

                                                                             242


  ·1· · police powers.

  ·2· · · · · · · ·In Sergeant Moore's case, he, at some

  ·3· · point in time, had already received a new

  ·4· · assignment, wasn't working with the people that

  ·5· · had accused him of the racist remarks, to my

  ·6· · knowledge.

  ·7· · Q.· · · · ·So the fact that he actually ordered,

  ·8· · using his powers as sergeant, Whitney Lancaster to

  ·9· · come and talk to him when he was prohibited to do

  10· · so, and Officer Lancaster later was interviewed

  11· · and said he felt it was discriminatory the way

  12· · both the commander and -- and Moore talked to him

  13· · and pushed him out of the job, that didn't matter?

  14· · · · · · · ·MR. COGLIANESE:· Objection.

  15· · A.· · · · ·I didn't say that at all.· I'm just

  16· · saying, you asked why he wasn't relieved of duty.

  17· · Q.· · · · ·Okay.· Why wasn't he relieved of duty

  18· · at the point in time he disobeyed the order not to

  19· · talk to people who were witnesses in an ongoing

  20· · discrimination investigation?

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · A.· · · · ·I don't know that anybody made that

  23· · recommendation.

  24· · Q.· · · · ·Why didn't you make that


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 243 of 302 PAGEID #: 1170

                                                                             243


  ·1· · recommendation?

  ·2· · A.· · · · ·I don't know how much information I had

  ·3· · at that time to be able to make that decision.

  ·4· · Q.· · · · ·Okay.· Why didn't -- you understood at

  ·5· · a certain point, didn't you, that he had ordered

  ·6· · an illegal weapon?

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.

  ·8· · Q.· · · · ·Moore, I'm talking about Eric Moore.

  ·9· · · · · · · ·MR. COGLIANESE:· Yeah, objection.

  10· · A.· · · · ·As I stated before, I have no idea when

  11· · I first became aware of that.· The fact that the

  12· · ATF, who would be the investigating agency on

  13· · that, declined to prosecute is an indication that

  14· · there's not enough evidence or it's not

  15· · prosecutable.· If it's not prosecutable, it is

  16· · probably not going to result in a termination

  17· · case.· And that is one of the leading reasons why

  18· · you would relieve somebody of duty upon learning

  19· · of -- of criminal behavior.

  20· · Q.· · · · ·Chief, is it your representation here

  21· · that the FBI, ATF, even the Columbus -- I'm sorry,

  22· · the Columbus and county prosecutors don't decide

  23· · not to prosecute for reasons other than the merits

  24· · of a case?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 244 of 302 PAGEID #: 1171

                                                                             244


  ·1· · · · · · · ·MR. COGLIANESE:· Objection.

  ·2· · A.· · · · ·I didn't say anything like that.

  ·3· · Q.· · · · ·Sometimes they do it because it's not a

  ·4· · priority case, right?

  ·5· · · · · · · ·MR. COGLIANESE:· Objection.

  ·6· · A.· · · · ·They have a variety of reasons for not

  ·7· · charging people.

  ·8· · Q.· · · · ·I mean, no law enforcement agency that

  ·9· · you know of prosecutes every single criminal case

  10· · of any kind; isn't that true?

  11· · A.· · · · ·I have no knowledge --

  12· · · · · · · ·MR. COGLIANESE:· Objection.

  13· · A.· · · · ·-- of everybody -- of what you said,

  14· · yeah.

  15· · Q.· · · · ·Okay.· I mean, there's limits on

  16· · resources, among other things?

  17· · · · · · · ·MR. COGLIANESE:· Objection.

  18· · A.· · · · ·Correct.

  19· · Q.· · · · ·Okay.· I mean, you recently in this

  20· · depo were talking about resource problems because

  21· · at one point you were running short of people and

  22· · you used SRB -- a reorganization that may have

  23· · been perfectly necessary, but it happened to help

  24· · out because you needed people at another -- other


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 245 of 302 PAGEID #: 1172

                                                                             245


  ·1· · assignments.

  ·2· · · · · · · ·MR. COGLIANESE:· Objection.

  ·3· · A.· · · · ·If that was a question, yes.

  ·4· · Q.· · · · ·Yeah, it was a question.

  ·5· · A.· · · · ·Okay.

  ·6· · Q.· · · · ·Sorry.

  ·7· · · · · · · ·I mean, it's -- I mean, it's a problem

  ·8· · for all law enforcement, I think everybody here in

  ·9· · this room understands that.

  10· · A.· · · · ·Resources are.

  11· · Q.· · · · ·Okay.· But that's not a reason to think

  12· · that the fact that they have -- they've indicated

  13· · to Sergeant Decker, not just to Karl Shaw, that

  14· · they had proof he ordered a lightning link,

  15· · doesn't mean it's pertinent to the Columbus Police

  16· · Department, does it?

  17· · · · · · · ·MR. COGLIANESE:· Objection.

  18· · A.· · · · ·I'm not understanding what the question

  19· · is.

  20· · Q.· · · · ·Because the ATF didn't prosecute

  21· · doesn't mean they didn't have evidence to verify

  22· · that the sergeant ordered an illegal device?

  23· · A.· · · · ·Correct.

  24· · · · · · · ·MR. COGLIANESE:· Objection.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 246 of 302 PAGEID #: 1173

                                                                             246


  ·1· · Q.· · · · ·But Sergeant -- Sergeant Decker was

  ·2· · told not to pursue that, wasn't he?

  ·3· · A.· · · · ·I believe you testified to that.

  ·4· · Q.· · · · ·No, I'm asking you.· Wasn't he?

  ·5· · · · · · · ·MR. COGLIANESE:· Objection.

  ·6· · A.· · · · ·I -- Sergeant Moore was not --

  ·7· · Q.· · · · ·Sergeant Decker -- oh, I'm sorry, maybe

  ·8· · you meant Sergeant Moore.

  ·9· · A.· · · · ·Sergeant Moore was not investigated by

  10· · internal affairs for that attempt to purchase.

  11· · Q.· · · · ·And didn't Sergeant Decker, in his

  12· · report, say that he wasn't investigating him about

  13· · the lightning link because ATF didn't prosecute

  14· · him?

  15· · · · · · · ·MR. COGLIANESE:· Objection.

  16· · A.· · · · ·You're asking me to recall details

  17· · about the investigation that I would have to read,

  18· · but I believe that you earlier testified that --

  19· · or stated that Commander Moore gave him that

  20· · direction.

  21· · Q.· · · · ·Okay.· I haven't testified and I'm not

  22· · under oath.

  23· · A.· · · · ·You've stated.

  24· · Q.· · · · ·I've stated it's in the report.· And we


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 247 of 302 PAGEID #: 1174

                                                                             247


  ·1· · have it here if you want -- you and your counsel

  ·2· · can correct me when I'm wrong, and I've already

  ·3· · corrected myself on one occasion when I made

  ·4· · one --

  ·5· · A.· · · · ·Correct.

  ·6· · Q.· · · · ·-- misstatement.

  ·7· · A.· · · · ·Correct.

  ·8· · · · · · · ·MR. COGLIANESE:· There's been more than

  ·9· · one, but that's fine.

  10· · · · · · · ·MR. GITTES:· Okay.· You can put them

  11· · all on the record.

  12· · · · · · · ·MR. COGLIANESE:· I've been objecting to

  13· · lots of them.

  14· · · · · · · ·MR. GITTES:· Okay.

  15· · Q.· · · · ·You -- my question was:· Do you recall

  16· · that in his report, he indicated that he -- he,

  17· · Decker, didn't pursue it because ATF hadn't

  18· · charged him or pursued the case?

  19· · A.· · · · ·I believe that I read that in the

  20· · summary of the report.

  21· · Q.· · · · ·Okay.· And my understanding that by

  22· · itself is not a reason to look into a situation

  23· · like that.· The mere fact that another law

  24· · enforcement agency hasn't prosecuted a Columbus


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 248 of 302 PAGEID #: 1175

                                                                             248


  ·1· · police officer isn't -- it's not a policy of the

  ·2· · department that that means it's not to be

  ·3· · investigated?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.

  ·5· · A.· · · · ·I've already testified to that.

  ·6· · Q.· · · · ·So it's not a policy?

  ·7· · · · · · · ·MR. COGLIANESE:· Asked and answered.

  ·8· · A.· · · · ·We don't have a policy.

  ·9· · Q.· · · · ·Okay.· Did you -- did you or did

  10· · yourself ask Sergeant Decker why he didn't look

  11· · into it further?

  12· · · · · · · ·MR. COGLIANESE:· Objection.· Can you

  13· · read that question back?· I just want to make sure

  14· · I heard it.

  15· · · · · · · ·(The record is read as requested.)

  16· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  17· · Q.· · · · ·Let me clarify the question in case --

  18· · since Rich doesn't understand it.

  19· · · · · · · ·Did you ask Sergeant Decker why he

  20· · didn't investigate it further?

  21· · A.· · · · ·I don't recall.

  22· · Q.· · · · ·Okay.· Did you instruct anybody else to

  23· · talk to Sergeant Decker about investigating the

  24· · lightning link?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 249 of 302 PAGEID #: 1176

                                                                             249


  ·1· · A.· · · · ·Not that I recall.

  ·2· · Q.· · · · ·Okay.· At the time that you became

  ·3· · aware that there were multiple witnesses

  ·4· · confirming racist statements or slurs by Sergeant

  ·5· · Moore, why wasn't he relieved at that point?

  ·6· · · · · · · ·MR. COGLIANESE:· Objection.

  ·7· · Q.· · · · ·Or -- or reassigned to a position where

  ·8· · you would have no -- he would not be with people

  ·9· · who might be seeking or working with him?

  10· · · · · · · ·MR. COGLIANESE:· Objection.

  11· · A.· · · · ·Well, again, I don't recall anybody

  12· · making that suggestion based on the information

  13· · that we had at that point in time, making racist,

  14· · derogatory comments.· We -- we don't have a

  15· · precedent for termination for such comments within

  16· · the division of police, so it wouldn't jump out as

  17· · this is a termination case, we have to relieve him

  18· · of duty that it would necessarily be brought to my

  19· · attention for consideration.· And that doesn't

  20· · stop anybody else from making that decision.

  21· · · · · · · ·And I don't know if Sergeant Decker

  22· · brought it to somebody's attention, recommended

  23· · that he be relieved of duty, if that was

  24· · discussed.· I don't know how many times we


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 250 of 302 PAGEID #: 1177

                                                                             250


  ·1· · discussed when would be an appropriate time to

  ·2· · relieve him of duty.· It certainly wasn't any

  ·3· · desire to protect Sergeant Moore, and it certainly

  ·4· · wasn't any desire to upset any of our employees.

  ·5· · It's just a decision that isn't taken lightly.

  ·6· · · · · · · ·I have been accused by the FOP and

  ·7· · talked to by the FOP and pleaded to by the FOP to

  ·8· · be very careful about our relief of duty

  ·9· · situations.· And I made changes to the policy and

  10· · then discussed with our command staff when

  11· · relieving of duty might be appropriate and when

  12· · it's not and then how long that should last.· And

  13· · I've made it clear to them, as I've tried to make

  14· · it clear here, that if we don't trust you to do

  15· · the job the way that it's supposed to be done and

  16· · can't trust you around other employees or

  17· · public -- or the public, you should be relieved

  18· · until we know more.· And if I think I have enough

  19· · evidence of an allegation that would result in

  20· · termination, that would be another reason to

  21· · recommend relief of duty.

  22· · Q.· · · · ·Well, first of all, let me make it

  23· · clear.· I'm not just asking about relief of duty

  24· · in light of your absolutely appropriate point that


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 251 of 302 PAGEID #: 1178

                                                                             251


  ·1· · the McFadden case, she was reassigned.· Why didn't

  ·2· · you reassign the sergeant?

  ·3· · A.· · · · ·I'm not aware of a situation where he

  ·4· · was directly supervising the accusers.

  ·5· · Q.· · · · ·You were aware that individuals were --

  ·6· · wanted to work in the bureau in which he would be

  ·7· · supervising him and were being deterred because of

  ·8· · comments witnesses were saying he made and

  ·9· · statements he texted; isn't that correct?

  10· · · · · · · ·MR. COGLIANESE:· Objection.

  11· · A.· · · · ·It's a lot easier for me to leave him

  12· · in an assignment where he's not directly

  13· · supervising those accused than to move him

  14· · someplace where he might come into contact with

  15· · people that are the accusers.· So if there's

  16· · multiple accusers, that would be -- make it even

  17· · more difficult for me to find a place to reassign

  18· · him.

  19· · · · · · · ·And like I said, I'm just not aware of

  20· · a situation where he was supervising those people

  21· · that had accused him of discriminatory behavior.

  22· · Q.· · · · ·So did you actually make a decision

  23· · that it was better that someone like Officer Shaw

  24· · be prevented from seeking to work in narcotics


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 252 of 302 PAGEID #: 1179

                                                                             252


  ·1· · than it would be to have Sergeant Moore reassigned

  ·2· · somewhere?

  ·3· · · · · · · ·MR. COGLIANESE:· Objection.

  ·4· · A.· · · · ·Not at all.

  ·5· · Q.· · · · ·Did you actually even consider

  ·6· · reassigning him?

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.

  ·8· · A.· · · · ·I would say that at various points in

  ·9· · time, there was discussion of either relieving him

  10· · of duty or -- or reassigning him.· And I can't

  11· · tell you when those discussions occurred, whether

  12· · they were repeated or whether they were only at

  13· · the beginning or what, but I know that there was

  14· · certainly thought about whether or not he should

  15· · be relieved of duty.· I just can't tell you how

  16· · often that was discussed or who it was discussed

  17· · with or where it stood with regard to the evidence

  18· · that we had.

  19· · Q.· · · · ·Were those -- did those discussions

  20· · occur with Commander Cameron?

  21· · A.· · · · ·I generally wouldn't be doing that kind

  22· · of conversation with the commanders.

  23· · Q.· · · · ·So it would have been -- would have

  24· · been with Quinlan and/or Gray?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 253 of 302 PAGEID #: 1180

                                                                             253


  ·1· · A.· · · · ·And/or all of the executive staff, yes.

  ·2· · Q.· · · · ·Okay.

  ·3· · A.· · · · ·And it might have been internal affairs

  ·4· · as well.

  ·5· · Q.· · · · ·And when you use the phrase "executive

  ·6· · staff," who are you including?

  ·7· · A.· · · · ·The six deputy chiefs and the commander

  ·8· · from the professional standards bureau are the

  ·9· · members of the executive staff.· And the chief.

  10· · Q.· · · · ·Are those -- have the deputy chiefs --

  11· · how many of those deputy chiefs are still in the

  12· · department to the best of your knowledge, of the

  13· · ones that would have been involved in the

  14· · discussions about Moore?

  15· · A.· · · · ·Well, Gray --

  16· · · · · · · ·MR. COGLIANESE:· Objection.

  17· · A.· · · · ·-- has retired and Gary Dunlap has

  18· · retired just in the last month.

  19· · Q.· · · · ·Okay.· And who are the other four?

  20· · A.· · · · ·Currently there's Tom Quinlan who's --

  21· · Q.· · · · ·Right.

  22· · A.· · · · ·-- acting -- acting chief.· Richard

  23· · Bash, Tim Becker, Ken Kuebler and Michael Woods.

  24· · Q.· · · · ·Okay.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 254 of 302 PAGEID #: 1181

                                                                             254


  ·1· · A.· · · · ·And then like I said, Gary Dunlap just

  ·2· · retired, so they're in the process of selecting

  ·3· · somebody for his position.· And Knight is the

  ·4· · acting deputy chief for Quinlan's position.

  ·5· · Q.· · · · ·So if I understand it, when you

  ·6· · fired -- or recommended the termination of Melissa

  ·7· · McFadden, that's the first time, to your

  ·8· · knowledge, anyone has been fired for making racist

  ·9· · comments?

  10· · · · · · · ·MR. COGLIANESE:· Objection.

  11· · Q.· · · · ·Alleged racist comments?

  12· · · · · · · ·MR. COGLIANESE:· Objection.

  13· · A.· · · · ·Well, Melissa McFadden wasn't fired.

  14· · Q.· · · · ·Recommended termination.· I'm sorry,

  15· · you demote -- you recommended demotion, you're

  16· · right, I'm sorry.

  17· · · · · · · ·MR. COGLIANESE:· Objection.

  18· · A.· · · · ·So what's -- what's the question?

  19· · Q.· · · · ·Okay.· Did you recommend termination

  20· · for her?

  21· · A.· · · · ·I did.

  22· · Q.· · · · ·Okay.

  23· · A.· · · · ·But not for that.

  24· · Q.· · · · ·What did you recommend termination for?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 255 of 302 PAGEID #: 1182

                                                                             255


  ·1· · A.· · · · ·Untruthfulness.

  ·2· · Q.· · · · ·Okay.· And what was --

  ·3· · A.· · · · ·And -- and possibly discriminatory

  ·4· · actions.

  ·5· · Q.· · · · ·Okay.

  ·6· · A.· · · · ·I would have to review the charges

  ·7· · again.

  ·8· · Q.· · · · ·Do you remember what she was allegedly

  ·9· · untruthful about?

  10· · A.· · · · ·Her testimony in my hearing, I felt

  11· · that she was untruthful to me --

  12· · Q.· · · · ·Okay.

  13· · A.· · · · ·-- and untruthful in her statements to

  14· · internal affairs, but --

  15· · · · · · · ·MR. GITTES:· Can we have a short break?

  16· · I think I'm almost done.

  17· · · · · · · ·THE VIDEOGRAPHER:· We're off the

  18· · record.· The time is 4:18.

  19· · · · · · · ·(A recess is taken.)

  20· · · · · · · ·THE VIDEOGRAPHER:· We are back on the

  21· · record.· The time is 4:27.

  22· · Q.· · · · ·Okay?

  23· · A.· · · · ·Uh-huh.

  24· · Q.· · · · ·Chief, I would like you to look at


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 256 of 302 PAGEID #: 1183

                                                                             256


  ·1· · Exhibit -- Exhibit 57 again.

  ·2· · · · · · · ·MR. VARDARO:· No, you haven't given it

  ·3· · to her yet.

  ·4· · · · · · · ·MR. GITTES:· Oh, that's right.

  ·5· · · · · · · · · · · · ·- - - - -

  ·6· · · · · · ·Thereupon, Plaintiff's Exhibit 57 is

  ·7· · marked for purposes of identification.

  ·8· · · · · · · · · · · · - - - - -

  ·9· · Q.· · · · ·And after you've had a chance to look

  10· · at the exhibit, can you tell me what it is?

  11· · A.· · · · ·First page is my recommendation of the

  12· · charges to Lieutenant McFadden, and the next one

  13· · is my recommendation, the finding and discipline

  14· · to the Director of Public Safety.· The one labeled

  15· · 000006 is a routing sheet that I signed off on at

  16· · the conclusion of the investigation and prior to

  17· · the departmental charge hearing.· And the one that

  18· · ends with 07 is Deputy Chief Bash's comments with

  19· · regard to the investigation, and there are also

  20· · e-mails here.· And the last one are the charges

  21· · that were filed against her prior to the hearing.

  22· · Q.· · · · ·Okay.· Let me make sure I understand.

  23· · So going from reverse direction, the last two

  24· · pages were the charges you had decided to file?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 257 of 302 PAGEID #: 1184

                                                                             257


  ·1· · A.· · · · ·There's one, two, three --

  ·2· · Q.· · · · ·Three pages, yeah?

  ·3· · A.· · · · ·-- so 11, 12 and 13 are the charges

  ·4· · that I signed off on charging her departmentally

  ·5· · with violations of our rules.

  ·6· · Q.· · · · ·And that's dated the 18th and that's

  ·7· · your signature above your name?

  ·8· · A.· · · · ·Correct.

  ·9· · Q.· · · · ·And in this specific -- in the charges,

  10· · I don't see anything about lying.· Am I missing

  11· · something?

  12· · A.· · · · ·No, you're right.· I -- I was thinking

  13· · of something else.

  14· · Q.· · · · ·So it's all EEO-related charges?

  15· · A.· · · · ·Correct.

  16· · Q.· · · · ·And as I think you indicated, this

  17· · document at the end came before the hearing, the

  18· · charges come out --

  19· · A.· · · · ·This is her notice that she's being

  20· · departmentally charged with those violations,

  21· · correct.

  22· · Q.· · · · ·And she signs it, because I think

  23· · that's her signature?

  24· · A.· · · · ·This is, yes, her receipt --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 258 of 302 PAGEID #: 1185

                                                                             258


  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·-- to say that she understands that she

  ·3· · needs to appear.

  ·4· · Q.· · · · ·Okay.· And then I guess now I

  ·5· · understand my confusion about termination,

  ·6· · demotion.· In this letter, the first page, there

  ·7· · were different penalties assigned to different

  ·8· · specifications, is that why there's three

  ·9· · different things?· It says level of discipline,

  10· · 240 hours suspension/termination/demotion?

  11· · A.· · · · ·I -- I grouped them all together, and

  12· · that was my recommendation for that combination of

  13· · charges.

  14· · Q.· · · · ·Okay.

  15· · A.· · · · ·I did not separate out what the

  16· · different --

  17· · Q.· · · · ·Well, how does that work?· I mean, in

  18· · practice, if you've done three different levels of

  19· · discipline, how does it -- how is that handled?

  20· · Obviously if you're terminated, you're not -- you

  21· · can't be demoted.· I mean, so how does it work?

  22· · A.· · · · ·How does that work if that was to be

  23· · upheld by the Director of Public Safety?

  24· · Q.· · · · ·So you're -- you're recommending three


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 259 of 302 PAGEID #: 1186

                                                                             259


  ·1· · different levels of punishment for the purpose of

  ·2· · giving the director choices?· I'm just trying to

  ·3· · understand how the system works.

  ·4· · A.· · · · ·This is a very different kind of a

  ·5· · case, because she was a supervisor, and all of the

  ·6· · aspects involved in that.· But it's the Director

  ·7· · of Public Safety's decision on the recommendation

  ·8· · that gets to him.· And it gets to him if I'm

  ·9· · recommending something that involves a suspension

  10· · or worse.

  11· · · · · · · ·There are some discipline cases where I

  12· · can offer the officer a leave forfeiture.· And if

  13· · they accept that, it doesn't go to the Director of

  14· · Public Safety.· Otherwise if I recommend

  15· · suspension, then it always goes to the Director of

  16· · Public Safety to make the final decision.

  17· · · · · · · ·In this particular case, I made that

  18· · recommendation thinking that if termination isn't

  19· · the decision, that it's worthy of a six-week

  20· · suspension and a demotion, because I thought that

  21· · the supervisory issues were very relevant to the

  22· · situation and the charges.· You know, if it was --

  23· · it could have been, you know, just a termination

  24· · case and sometimes that's all I recommend.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 260 of 302 PAGEID #: 1187

                                                                             260


  ·1· · Q.· · · · ·Okay.· That's what I was trying to

  ·2· · understand.

  ·3· · A.· · · · ·Yeah.

  ·4· · Q.· · · · ·Okay.

  ·5· · A.· · · · ·This is an unusual recommendation for

  ·6· · me, but I have seen it done before in my previous

  ·7· · years as a supervisor.· I've been a supervisor

  ·8· · since 1987, so in my years in internal affairs and

  ·9· · just documents that I've reviewed, I've seen this

  10· · type of a recommendation before.· It's very rare.

  11· · Q.· · · · ·Okay.· Now, just one other area, I

  12· · believe, not promising, but I believe just one

  13· · other area.

  14· · · · · · · ·In a situation where you have one

  15· · officer saying another officer made a threat and

  16· · the accused officer says, no, I didn't, what do

  17· · you do?· You just write it off?· Do you

  18· · investigate further?· What is the -- what is the

  19· · process?

  20· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  21· · A.· · · · ·Well, first of all, you're asking what

  22· · I do.

  23· · Q.· · · · ·Well, I'm -- as chief, I mean, you've

  24· · investigated cases before, right?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 261 of 302 PAGEID #: 1188

                                                                             261


  ·1· · · · · · · ·MR. COGLIANESE:· Objection.

  ·2· · A.· · · · ·I have never investigated as an

  ·3· · internal affairs investigator.· As a sergeant, I

  ·4· · did do some chain of command investigations, but

  ·5· · they were generally like a use of force

  ·6· · investigation.· You know, did you use force and

  ·7· · how did you use it?· I know that I investigated

  ·8· · some citizen complaints, a few when I was a

  ·9· · sergeant, but this is in the 1980s and early '90,

  10· · maybe.· No, probably not.

  11· · Q.· · · · ·I thought you supervised IAB for a

  12· · while?

  13· · A.· · · · ·Well, I was the commander.· I didn't

  14· · conduct the investigations.

  15· · Q.· · · · ·But you were consulted about ongoing

  16· · investigations?

  17· · A.· · · · ·Absolutely.

  18· · Q.· · · · ·And you supervised their investigations

  19· · as needed, right?

  20· · A.· · · · ·Correct.

  21· · Q.· · · · ·Okay.· Well, based on your experience

  22· · as an IAB commander, when you have, you know, a he

  23· · said/he said kind of situation, do you just not

  24· · pursue it?· Or do you -- do you do polygraphs?· Do


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 262 of 302 PAGEID #: 1189

                                                                               262


  ·1· · you do some other -- take other steps to see if

  ·2· · you can cooperate?

  ·3· · A.· · · · ·There are --

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.

  ·5· · A.· · · · ·There are a variety of -- of directions

  ·6· · that you can go with an allegation that involves

  ·7· · he said/he said.· Most often if they are committed

  ·8· · to a complaint, it's going to go for an

  ·9· · investigation.· Sometimes that's chain of command,

  10· · sometimes that's going to be internal affairs.                     I

  11· · wouldn't say that writing it off is ever like a

  12· · given or even a policy.

  13· · · · · · · ·It depends on the he said/he said

  14· · content, you know, whatever that might be.· A lot

  15· · of those situations, you know, going into it you

  16· · think, well, it might be not sustained, but we

  17· · have the gamut from sustained to unfounded when

  18· · it's he said/he said or she said/he said or

  19· · whatever.· And that depends on the evidence that

  20· · we're able to uncover.

  21· · · · · · · ·You know, a video makes a huge

  22· · difference obviously.· An admission makes a huge

  23· · difference, obviously.· So it just all depends on

  24· · what the situation is, but --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 263 of 302 PAGEID #: 1190

                                                                             263


  ·1· · Q.· · · · ·What about polygraphs?

  ·2· · A.· · · · ·Polygraphs are written into the

  ·3· · contract with regard to when they can be

  ·4· · undertaken.· So -- and that's with regard to sworn

  ·5· · personnel.· And I've kind of been talking about

  ·6· · sworn personnel.· Civilian investigations are --

  ·7· · have different rules.· But with regard to the FOP

  ·8· · contract, the contract comes right out and says

  ·9· · when you can do a polygraph.· And that's if

  10· · there's a criminal aspect to the allegations, and

  11· · whether or not the accuser or the person making

  12· · the complaint is willing to take a polygraph and

  13· · passes, I believe, before we would then make a

  14· · decision on ordering the involved officer to take

  15· · a polygraph.

  16· · Q.· · · · ·In this case, did Sorrell take -- I

  17· · mean, accusations -- some of the accusations that

  18· · Sorrell was making were of a criminal nature,

  19· · right?· Theft of money essentially?

  20· · A.· · · · ·Certainly some of the allegations

  21· · involved, theft of time or overtime.· I can't

  22· · recall whether we had a discussion about ordering

  23· · a polygraph for Sorrell or not.· Some people see

  24· · value in that.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 264 of 302 PAGEID #: 1191

                                                                             264


  ·1· · · · · · · ·My -- my history with polygraphs and

  ·2· · how it's used and all that is that I often don't

  ·3· · find that it's going to create a lot of value to

  ·4· · the investigation, and the FOP sometimes turns

  ·5· · that around and says, well, you're relying on

  ·6· · that, and if you're relying on that, then we have

  ·7· · to throw the whole thing out, so...

  ·8· · Q.· · · · ·So the rule -- the contract rule is

  ·9· · it's got to be criminal and the accuser has to --

  10· · A.· · · · ·Of a criminal nature, I believe it

  11· · says.

  12· · Q.· · · · ·Criminal nature?

  13· · A.· · · · ·Yeah.

  14· · Q.· · · · ·I'm sorry.· Has to be of a criminal

  15· · nature or at least potentially --

  16· · A.· · · · ·Correct.

  17· · Q.· · · · ·-- a criminal act?

  18· · · · · · · ·And the accuser has to agree to it --

  19· · to take it?

  20· · A.· · · · ·I'm pretty sure it says accuser or, you

  21· · know, the person making the complaint.

  22· · Q.· · · · ·Complainant or something --

  23· · A.· · · · ·Yeah.· Exactly.

  24· · Q.· · · · ·-- like that?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 265 of 302 PAGEID #: 1192

                                                                             265


  ·1· · A.· · · · ·I mean, it's in the contract.· It would

  ·2· · be better to just go word for word than --

  ·3· · Q.· · · · ·The reason I'm asking you this --

  ·4· · A.· · · · ·Yeah.

  ·5· · Q.· · · · ·-- is there's a document that I've seen

  ·6· · where it looks like Sergeant Decker suggested or

  ·7· · requested polygraphs, but we can't figure out

  ·8· · whether they actually ever happened.· Do you know?

  ·9· · A.· · · · ·If they happened --

  10· · Q.· · · · ·Yeah, in this case?

  11· · A.· · · · ·-- the records should be in the record.

  12· · Q.· · · · ·Okay.· All right.

  13· · A.· · · · ·Because it would have been a public

  14· · record and it would have been part of the

  15· · investigation.

  16· · Q.· · · · ·Okay.· Okay.· If you would take a look

  17· · at Exhibit 38, the big giant one.

  18· · A.· · · · ·Uh-huh.

  19· · Q.· · · · ·And look at page 138 --

  20· · · · · · · ·MR. VARDARO:· 163.

  21· · Q.· · · · ·163.· And that's the page --

  22· · A.· · · · ·Up at the top?

  23· · Q.· · · · ·-- up at the top, yeah.

  24· · · · · · · ·I would like to point your attention


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 266 of 302 PAGEID #: 1193

                                                                             266


  ·1· · down to the last paragraph on the page.

  ·2· · A.· · · · ·Okay.

  ·3· · Q.· · · · ·And I'm just going to read it out loud

  ·4· · to be -- since it's the basis of a question.

  ·5· · · · · · · ·Although it is a very close call, and I

  ·6· · do not find Sergeant Moore credible, I am

  ·7· · unwilling to sustain this allegation without some

  ·8· · form of corroboration of Officer Sorrell -- of

  ·9· · Officer Sorrell's statement.· Therefore I find

  10· · that the alleged conduct could not be supported or

  11· · refuted by a preponderance of the evidence.· And

  12· · he recommends not sustained.

  13· · · · · · · ·My question is that:· As chief and as a

  14· · former commander of IAB, is that the general rule

  15· · that we're -- that you need -- if it's just one

  16· · witness, and for this purpose since assuming there

  17· · was only one witness, did you -- is it the rule

  18· · you have to have other corroboration to sustain a

  19· · charge?

  20· · · · · · · ·MR. COGLIANESE:· Objection.

  21· · A.· · · · ·There's no rule.· I mean, everything is

  22· · taken based on the information that we have for

  23· · that thing.· I would say when -- when we don't

  24· · have something that tips the scales, then it's


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 267 of 302 PAGEID #: 1194

                                                                             267


  ·1· · going to be not sustained.· It's -- it's just --

  ·2· · you can't get there and say that the evidence is

  ·3· · sufficient to make it sustained.· It's a fine

  ·4· · line.

  ·5· · · · · · · ·And sometimes that just depends on what

  ·6· · you think you can prove.· Just like, you know,

  ·7· · prosecutors don't take all their cases even though

  ·8· · probable cause might be there, they might not take

  ·9· · it because they don't think they can get to beyond

  10· · a reasonable doubt.· So, you know, it's all about

  11· · what we think the evidence tells us, and there's

  12· · always differing opinions about what the evidence

  13· · says.

  14· · Q.· · · · ·So the fact that Moore was not credible

  15· · as Sergeant Decker describes it, and there is

  16· · someone accusing him, that's not enough without

  17· · additional corroboration?

  18· · A.· · · · ·That was Sergeant Decker's decision --

  19· · Q.· · · · ·Right.

  20· · A.· · · · ·-- to go that route.

  21· · Q.· · · · ·Well, but this is just a

  22· · recommendation, right?

  23· · A.· · · · ·He makes a recommendation of finding

  24· · and that's what -- how he --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 268 of 302 PAGEID #: 1195

                                                                             268


  ·1· · Q.· · · · ·Right.

  ·2· · A.· · · · ·-- justified his decision.

  ·3· · Q.· · · · ·I'm asking you:· Do you view situations

  ·4· · like he's describing here the same, that even if

  ·5· · you have somebody you don't believe is credible,

  ·6· · but you don't feel you have corroboration of some

  ·7· · kind, you don't think there should be a charge?

  ·8· · A.· · · · ·A finding of sustained.

  ·9· · Q.· · · · ·A finding of sustained?

  10· · A.· · · · ·There's a difference there.

  11· · Q.· · · · ·Okay.· You're right.· A finding of

  12· · sustained.

  13· · A.· · · · ·Yes, I have to agree that I've been in

  14· · that same -- same reasoning situation where even

  15· · though I don't believe necessarily the officer, I

  16· · don't have enough.· I -- I can very clearly

  17· · remember a case where I thought the officers were

  18· · very guilty, but I didn't have enough

  19· · corroboration.· They weren't credible, but I

  20· · didn't have enough corroboration to make a

  21· · sustained finding.· And that's just one case, you

  22· · know, there's --

  23· · Q.· · · · ·And -- and in a situation like this

  24· · where another officer specifically asked Moore


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 269 of 302 PAGEID #: 1196

                                                                             269


  ·1· · about whether he had made this statement and Moore

  ·2· · did not deny it, that's not enough to tip the --

  ·3· · to tip the scales?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.

  ·5· · A.· · · · ·Well, it wasn't for Sergeant Decker or

  ·6· · anyone else that reviewed the information.

  ·7· · Q.· · · · ·And you understand that -- let me make

  ·8· · it clear, there's a different witness that's not

  ·9· · referenced in this little section who in a

  10· · conversation with Sergeant Decker told him that he

  11· · had asked him about the allegations, and Moore did

  12· · not deny it, he just didn't respond?

  13· · A.· · · · ·Is that included --

  14· · · · · · · ·MR. COGLIANESE:· Objection.

  15· · A.· · · · ·-- in the rest of this?

  16· · Q.· · · · ·It is included elsewhere in the

  17· · investigation.· Do you think that is pertinent?

  18· · A.· · · · ·All of it is.

  19· · Q.· · · · ·Okay.· As someone who has investigated

  20· · some cases, would that have tipped the scale for

  21· · you had it been discussed in connection with

  22· · Sorrell and Watkins in this section?

  23· · · · · · · ·MR. COGLIANESE:· Objection.

  24· · A.· · · · ·Well, I didn't change the ruling, so I


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 270 of 302 PAGEID #: 1197

                                                                             270


  ·1· · think that it's clear that I didn't feel that I

  ·2· · could sustain the charge.

  ·3· · Q.· · · · ·But as far as you recall, you

  ·4· · considered this other -- the other witness about

  ·5· · Moore --

  ·6· · A.· · · · ·I considered --

  ·7· · Q.· · · · ·-- not the whole thing?

  ·8· · A.· · · · ·-- the information, yeah.

  ·9· · Q.· · · · ·Okay.· Okay.· I think I am finished

  10· · with my questions.· I just want to give you an

  11· · opportunity if you have anything that you believe

  12· · sitting here at the moment you need to correct or

  13· · add to a prior answer, please let us know.

  14· · A.· · · · ·I can't think of anything in

  15· · particular.

  16· · Q.· · · · ·Okay.

  17· · A.· · · · ·It was a long day.

  18· · · · · · · ·MR. GITTES:· I am requesting that you

  19· · review and read the transcript when it's done up.

  20· · · · · · · ·MR. COGLIANESE:· And she'll read.

  21· · · · · · · ·THE WITNESS:· I understand.

  22· · · · · · · ·THE VIDEOGRAPHER:· This concludes the

  23· · deposition.· We are off the record.· The time is

  24· · 4:48.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 271 of 302 PAGEID #: 1198

                                                                             271


  ·1· · · · · · · ·(Signature not waived.)

  ·2· · · · · · · · · · · · ·- - - - -

  ·3· · · · · · ·Thereupon, the foregoing proceedings

  ·4· · · · · · ·concluded at 4:47 p.m.

  ·5· · · · · · · · · · · · ·- - - - -

  ·6

  ·7

  ·8

  ·9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 272 of 302 PAGEID #: 1199

                                                                             272


  ·1·   ·State of Ohio· · ·:· · · ·C E R T I F I C A T E
  · ·   ·County of Franklin: SS
  ·2
  · ·   · · ·I, Mary Bradley, RPR, a Notary Public in and
  ·3·   ·for the State of Ohio, certify that Kimberley K.
  · ·   ·Jacobs was by me duly sworn to testify to the whole
  ·4·   ·truth in the cause aforesaid; testimony then given
  · ·   ·was reduced to stenotype in the presence of said
  ·5·   ·witness, afterwards transcribed by me; the
  · ·   ·foregoing is a true record of the testimony so
  ·6·   ·given; and this deposition was taken at the time
  · ·   ·and place specified on the title page.
  ·7
  · ·   · · ·Pursuant to Rule 30(e) of the Federal Rules of
  ·8·   ·Civil Procedure, the witness and/or the parties
  · ·   ·have not waived review of the deposition
  ·9·   ·transcript.

  10·   · · ·I certify I am not a relative, employee,
  · ·   ·attorney or counsel of any of the parties hereto,
  11·   ·and further I am not a relative or employee of any
  · ·   ·attorney or counsel employed by the parties hereto,
  12·   ·or financially interested in the action.

  13· · · ·IN WITNESS WHEREOF, I have hereunto set my hand
  · · ·and affixed my seal of office at Columbus, Ohio, on
  14· ·June 4, 2019.

  15

  16

  17

  18

  19

  20· ·___________________________________________________
  · · ·Mary Bradley, Notary Public - State of Ohio
  21· ·My commission expires September 19, 2019.

  22

  23

  24


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 273 of 302 PAGEID #: 1200

                                                                             273




             ·   · · · Witness Errata and Signature Sheet
             ·   · · · ·Correction or Change Reason Code
             ·   ·1-Misspelling· 2-Word Omitted· 3-Wrong Word
             ·   · ·4-Clarification· 5-Other (Please explain)

             Page/Line· · ·Correction or Change· · ·Reason Code

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________


             I, Kimberley K. Jacobs, have read the entire
             transcript of my deposition taken in this matter,
             or the same has been read to me.· I request that
             the changes noted on my errata sheet(s) be entered
             into the record for the reasons indicated.

             Date__________Signature___________________________

             The witness has failed to sign the deposition
             within the time allowed.

             Date__________Signature___________________________

             · · · · · · · · · · · · · ·Ref: Mb30921kj· S-mb P-bw


                 Realtime - Videoconferencing - Trial Presentation - Video
                           Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 274 of 302 PAGEID #: 1201




                           12 24:6 257:3    201 5:4                           172:19
          Exhibits         12:47 147:2,     2011 53:7,12       5              187:14
                             5                185:6                           241:12
           30921 Exhibit                                    5 110:4,6,11      250:24
                           13 24:6 257:3    2012 9:11,12,                     261:17
            005 4:5                                         50 178:13
                           138 265:19         17 12:7
             110:4,6,11                                                      abuse 108:2
                                              79:11 185:6   54 235:10,11,
           30921 Exhibit   13th 240:11                                       academy
                                            2013 49:23       16,21,24
            006 4:7        14 108:6                                           50:9 53:16
             116:12,17                      2014 108:14,    55 235:10,16,     54:22 56:18,
                           14419 159:14       23,24          21 236:1         23 63:22
           30216 Exhibit
                           147 219:16         112:20        57 256:1,6        98:4,10
            019 4:8
                                              114:5 118:9
             167:4         14th 227:8                       58 234:6,7,      accept 28:14
                                              123:15
           30921 Exhibit                      149:14         14,19            131:2
                           15 81:15                                           167:17
            020 4:10         170:22           151:11
             170:6                            153:18                          259:13
                             178:11,13                         6
           30921 Exhibit                    2015 120:12                      acceptable
                           163 265:20,                                        112:3
            035 4:11         21               153:18        6 116:12,17
             220:11,15                        159:7 185:7                    accepted
                           17 236:15          227:8                           125:7
           30921 Exhibit                                       7
            038 4:12       18 166:20        2017 236:16                       129:20
             219:4,8,9     18th 257:6                                        access 41:9,
                                            2018 236:12     70s 9:14
             265:17                                                           11
                           19 94:23         2019 5:3
           30216 Exhibit                                    79 9:10 50:7
                             159:18           148:2                          accident
            041 4:14                                         63:9
                             166:23                                           18:18
             159:3           167:4 173:6,   20th 5:3
                                                                             accidental
           30921 Exhibit     23,24          23rd 174:6,9       8              36:17
            054 4:15       1979 9:15        24 74:20
                                                            8 32:15          accidentally
             235:21
                           1980s 261:9      240 258:10                        36:19
           30921 Exhibit                                    80s 55:12
                           1987 50:13       28th 174:8       57:14           accolades
            055 4:17
                             61:18 260:8                                      155:4,14
             235:16                         29th 159:7      87 55:19
                           1989 58:3                                         accomplish
           30921 Exhibit                    2:18-cv-483     88 50:17
                           1990 76:13,                                        191:7
            057 4:18                          5:7
             256:1,6         14                                              accomplishe
                                            2aware 9:7         9             d 121:1
           30921 Exhibit   1990s 17:1
                                                                              231:13
            058 4:19       1991 50:20
             234:14,19                        3             9 32:15          accordance
                           1993 51:18                       90 36:24          117:18
                           1995 51:23       30 55:18          261:9          accountable
              $                               66:8,9
                             92:12                          90s 63:10         37:11
           $30,000         1996 80:1        310 32:14         70:16 76:10    accounting
            14:16                           35 220:11,15      79:7,9 80:11    224:15
                           1996ish
                             75:23          38 218:24       91 76:15,16      accreditation
              0            1999 75:20         219:4,9       92 77:3           75:19
                             79:24            265:17                         accredited
                                                            93 77:3
           000006            149:23         39 7:15 158:5                     75:19 79:23
            256:15                                          96 92:12
                           1:27 148:2,6     3:02 216:18                      accurately
           014417 159:6                                     97 80:1           21:12,16,20
                                            3:15 216:22
           05 98:23           2                             9:34 5:11         25:7 215:8,
                                                                              12
           07 256:18                                        9th 236:12
                                              4               239:17         accusation
                           20 6:16 18:7
                            148:2                             240:14          116:3
              1             159:21          40 17:5,6                         137:10
                            170:2,6           67:9 80:22
                                              178:13           A             accusations
           10 6:16 18:7     174:19                                            263:17
            19:4                            400 5:3
                           200-plus                         abide 84:4       accused
           10-3 68:8        162:3           41 158:5,6,9,                     7:18 10:13
                                              15 159:3      ability 21:11,
           100 37:1        2000 51:17                        15 36:8          13:4 14:9
                                            45 81:13                          94:14
           10ish 93:11     2000s 79:8                       abolishing        105:24
           10th 117:10     2001 52:3        4:18 255:18      153:11           106:2,4,5
            236:16          94:24 95:5      4:27 255:21     abolishment       192:11
            239:20                                           156:5,21         202:4
                           2005 52:5,17     4:47 271:4
            240:10                                                            204:24
                           2006 52:21       4:48 270:24     absolutely        223:12
           11 257:3                                          34:21 37:18
                            98:6                                              226:17
           11:13 81:20                                       82:24 92:10      237:16,18
                           2009 52:23                        101:19
           11:22 81:24      53:1                                              242:5 250:6
                                                             103:18           251:13,21
                                                             170:17



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 275 of 302 PAGEID #: 1202




            260:16           153:14           145:24          83:6 85:21     allegedly
           accuser           188:22           169:14          88:24 89:9       134:6
            237:19           202:22           178:11,16       90:5 104:5       223:10
            263:11           206:22           213:2           130:1 131:3      255:8
            264:9,18,20    addressed          218:19          137:19         alleging
                             74:3 117:2       236:7,10        138:7 157:6      104:16
           accusers                           246:10          161:10
            241:19           159:8,9                                         allowed 34:2
                             167:13           253:3           164:4
            251:4,15,16                       255:14          167:11           74:12,14,21
                             175:4                                             81:10
           accusing          193:10           260:8 261:3     168:15
            267:16                            262:10          175:19           138:19
                           addresses                          176:8            150:20
           acknowledge       115:8          affect 21:11,
                                              15 66:14        182:12         alluded
           d 222:1           191:21                           186:3
            223:8                             149:2                            127:19
                           adjustments                        189:23
           acknowledgi                      affirm 171:24     197:11         alternatively
                             150:8                                             191:4
           ng 213:17                        affirmatively     228:9
                           administrativ                      248:16         amazingly
           act 38:18,24    e 28:21,23         20:3 222:8
                                                              260:20           77:13
            202:7 216:2      29:9,24        African
            237:23           34:8,9           47:13         allegation       American
            264:17           50:19,23                         10:10 14:10      47:14
                                            African-          27:1 29:11,
           acting 35:13      51:20 53:11,   american                         amount
                             12 126:19                        19 86:20
            253:22                            47:13           115:9 122:7      102:8 156:8,
            254:4            146:1                                             23 226:24
                                            African-          125:2 126:8
           action 7:18     admission        americans         129:11         analysis
            10:12 30:22      262:22           54:19 55:6,     130:5,6,14,      90:2 231:19
            33:2 42:14     admits             18 64:8         16,20 134:4,   analysts
            44:6 83:10       229:16           120:12,21       20 135:2         93:7
            87:12 105:1                       127:22          138:8
            115:12         admitted                           139:12         and/or 30:2
            160:18           107:15,16      afternoon         140:7 141:8,     35:19 91:5
            212:19           122:21           140:14          11 163:22        116:21
                             192:23           148:1           193:11           171:8 234:2
           actions           193:14                                            252:24
            255:4                           age 17:4          205:8,24
                             202:2                            206:22           253:1
           actively          225:21,22      age-based
                                              17:7            218:14         angry 192:24
            192:21           227:9                            237:17
                             238:23         ageist 45:10,     250:19         announce
           activities        240:22                                            5:12 154:13
            61:3                              13 46:1         262:6 266:7
                           admitting        agencies        allegations      announced
           activity          123:1                                             182:5
            155:7                             75:20           7:6,8 8:18
                           advantage          145:23          9:5 16:19      answering
           actual 78:19      60:9,10          148:9           26:8 52:12       39:10 136:7
            86:16,20                                          54:13 55:10      144:9
            87:7 88:10,    adverse          agency
                             212:17,18        143:17          56:6 57:8
            15 114:23                                         64:23 107:8,   anticipate
            126:3 194:7                       145:4,9,16                       29:6,24
                           advertising        146:4,13        11,19,21
            217:23           162:8                            108:3,6        anybody's
            220:16                            243:12
                           advice 144:3       244:8           109:16           230:21
            227:23                                            113:14,19,
            239:24         advise 226:1       247:24                         anymore
                                                              24 115:1,7,      92:6
           add 65:12       advised          agree 20:12       18 138:13
            142:16           35:12            21:9 103:11     139:8,22       anyone's
            151:16                            122:20          140:9,10,12,     231:9
                           advisers           164:22          15 141:12,
            270:13           30:2                                            apologized
                                              165:22          13 142:3
           added 61:15                        191:12                           78:13
                           advocates                          160:4,11
            66:3,4           152:7            201:8           187:6          apparently
            107:19                            217:15          195:21           56:19 71:6
            139:23         affairs 13:6       225:2
                             24:16 25:11,                     203:5,9,22     appearing
            205:7                             229:21          204:2 220:4
                             20,23 26:2,                                       105:14
           adding                             240:4           226:15
                             3,7,13 27:16     264:18                         appears
            140:12           29:3,21 31:1                     263:10,20
            215:13                            268:13          269:11           105:6
                             32:3,7 33:4                                       116:24
           addition 16:5     34:16,24       agreed 168:1    allege             170:21
            26:22 80:9       52:4,8 56:22   agreement         134:23           219:12
            150:14           64:23 80:20      59:1 167:15   alleged 8:21
            168:11           90:19 94:17,                                    Apple 58:19
                                            agreements        31:7 56:21       76:7,18 79:3
            196:22,23        21 95:4                          102:18
                             100:18,21        199:2                          applicants
           additional                                         105:10
            141:12           102:15,24      ahead 10:7        134:22           178:4,5
            267:17           103:7,9          37:24 39:12     164:24         applied
                             105:12           41:21 43:20     218:1 220:5      178:14
           address           112:10,13,       59:12 63:12
            44:20                                             254:11         applies 45:1
                             17,19 118:9      67:2,8,14       266:10



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 276 of 302 PAGEID #: 1203




           apply 156:2       194:3 234:2     108:6,13        50:21 52:24     150:24
           appropriately     236:19         authority        53:1 54:24      152:22
            104:7            242:4           9:22 114:20     61:15 65:16     266:4
            182:19           251:12          128:10          70:22 76:7     Bates 219:21
            216:4          assignments       206:4 238:8,    79:21 81:23
                                                             86:9 89:5      bathrooms
            223:19           57:7,15         12 239:5                        63:21
                             58:1,13 73:1                    92:16 94:23
           approval                         authorize        95:5 123:22    bear 28:17
            32:24 33:5,      96:13           114:7
                             150:18                          125:17
            13,17,21                                         127:14         beat 31:7
                             151:13         automatic                        41:18 129:1
            34:4,17                          146:8 200:4     131:12
            114:21           156:16                                          195:6
                             176:24                          148:5,23,24
            122:19                          AV 110:24        156:24         Becker
                             178:10
           approve           212:18         award            161:14          100:15
            27:13 28:3       245:1           155:12          193:15          253:23
            34:16                                            198:23,24
                           assist 91:2      awards           203:8 204:4    began
            140:11                           155:4                           121:10
            142:11         assume 6:17                       216:21
            151:5 152:1      8:1 20:9       aware 9:2        228:5 231:8    beginning
            233:6            50:8 108:20     17:24 34:22     248:13          23:20 81:23
                             118:14          35:2 57:5       255:20          148:5 149:6,
           approved                          85:8,10,22                      9 216:21
            114:9            159:21                         background
                                             107:8           195:9           252:13
            122:15         assuming          108:13
            237:12           215:10                         backseat        behalf 5:20
                                             109:13,20
           approving         266:16          122:14          68:2,3,11      behavior
            122:17         assumption        133:17         badge            9:21 10:1,2,
            142:12           118:13,15       142:19          241:22,24       10,13 36:7
                                             143:8,16,21,                    37:12 44:14,
           April 52:5      ATF 143:17        23 144:14,     balancing        18 72:8 78:5
            227:8            144:5,17        19,20           137:21          107:15,16
           arbitration       243:12,21       148:15,16                       122:23
                             245:20                         band 101:9
            37:2 97:24                       154:10                          127:19
                             246:13          155:2,4,9,16   based 8:18,      198:3
           arbitrations      247:17                          21 16:19        200:23
            16:6,7 36:4                      157:10,13
                           attachment        158:1 162:3,    17:4 24:20      201:1 233:8,
           area 14:8         174:20          10,19,24        33:19 43:13     16,21
            94:16                            163:17          56:7 57:16      243:19
            260:11,13      attempt 89:6                      87:18 90:3      251:21
                             157:18          165:6
                                             175:11,15       95:8 108:7
           areas 152:11      229:22                          110:17         believed
                             246:10          176:3,9,11,                     128:19
           argue 103:2                       13 179:7,13,    115:6 119:9,
                           attend 76:6       21 183:5        22 121:5,6     believes
           arising 203:6                                     122:20
                             89:13 91:13     188:24                          26:10 37:7
           arrests 66:24     92:6            189:6,15,22,    123:1
                                                             128:19         bell 104:3
           article         attended          24 190:3,14,                    143:20
            234:18,21,                       17 193:24       131:5
                             61:2 75:24                      132:10,17       185:7
            23 235:2         80:14 83:2      198:14                          190:24
                                             199:16,19,      133:20
           asks 211:3,       99:6                            156:16         benefits 93:8
            15                               24 204:7,9
                           attention         205:20,23       178:21         bias 120:21,
           aspect            42:12 140:8     206:14          182:15          23
            121:23           143:3           207:10,15,      187:4
            187:23           157:22                          200:21         bid 161:18
                                             17 208:2,14,                    177:10
            263:10           159:4 161:5     17,19,21,22     212:6
                             166:2,7,10      209:2,3,17,     224:16         biennial
           aspects           172:17                          226:18,21
            217:3 259:6                      20 210:3                        75:22
                             180:3 188:8     221:14,21,      228:6
           assertion         206:20                          237:13         bifurcated
                                             24 222:13                       203:3
            229:23           210:11,12       233:15          249:12
                             249:19,22       239:2           261:21         big 51:7
           assess 193:7                                      266:22
                             265:24          243:11                          56:14 61:9
           assigned                          249:3 251:3,   Bash 253:23      68:12 75:9
            50:18 51:11,   attitude 62:8
                                             5,19                            150:23
            21 52:4,17,    attitudes                        Bash's           218:24
            21 53:3,4        128:19         awareness        256:18          265:17
            109:4                            43:17          basically
                           attorney          209:22                         biggest
            156:19           89:18                           28:12 37:9
            238:10,13                        224:17                          103:12
                                                             69:12 78:6
            258:7          attorney's       awful 154:18     103:2          bit 48:1
                             13:21 21:24                     125:16          53:15 65:17
           assignment        22:1           awhile 59:4
            62:21 95:19                                      149:24          138:6
            157:16         attributed                        151:21,23       155:20
            163:4            111:24           B              153:4 156:8     170:23
            165:13           234:22                                          180:3
                                                            basis 75:18
            176:20           235:2          back 14:19       103:8          bits 203:4
            177:11,13      August            17:1 40:17      125:13



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 277 of 302 PAGEID #: 1204




           black 55:5      brought         buying 47:8     captain          cell 141:3
            57:8 64:5       24:1,19                         105:18          center 47:22
            65:4,6 71:23    42:12 88:6                      177:17,20
            73:15 75:1      108:7            C                              centers
                                                           card 60:9         155:6
            90:3,9,15       114:18
            125:16          140:4 145:1    call 86:18      care 44:1        ceremonies
            128:17,23       157:22          101:14
                                                           career 42:11      155:13
            129:21          180:2 184:2,    102:9
                                                            70:15 74:5      ceremony
            135:6           18 185:20       106:13,16,
                                                            95:15            66:10
            137:13          206:20          17 141:23
                                                            118:21
            139:4           207:21          266:5                           certainty
                                                            121:9
            168:13          249:18,22      called 22:23,                     118:17
            171:12,17,                                     careful           181:16
                           Brust 96:2,      24 23:4
            20 176:6                                        219:1,19         183:4
                            11 159:8        25:18 28:20
            186:19                                          250:8
                            176:5           29:9 32:10                      cetera
            195:4,8         179:12,21       36:22 37:1     case 5:4,7
            200:5,7                                                          123:11
                            180:14          56:22 86:19     6:8 7:12 8:3,    137:14
            205:13,16       181:6,19,21     102:10          11,17,20,23
            207:19          183:1           117:13          9:1,4,17        chain 25:18
            223:1           185:19          186:23          10:5,17          26:16,19,24
            225:15          188:10          201:23          13:1,7           27:8 28:22
            241:4           189:1,18        229:17          14:11,21         29:4,5 30:9
           blacks 60:8      190:9           230:8           15:4 21:24       31:9,22
            72:21 135:8,    207:24          231:22          22:6,7 31:16     32:24 34:11
            9               210:20          232:7           34:21 53:20      35:1 90:4
                            211:3,4,12,                     54:1,5 55:9,     107:12
           blanket 44:4                    calling 195:4                     108:9 134:3,
                            19,24 212:2,                    16,17 56:6
                                            198:23                           5 135:13
           board 48:3       15 213:16                       57:6 58:11
            49:2            214:3 217:2,   calls 25:24      59:10,11,19      139:8
                            6,11,16,20,     60:17           68:4 87:2,       156:19
           body 29:15                                       11,22 88:3,      158:3
            36:13           24 218:15      camera
                            221:16,19                       6,16 104:21      202:14
                                            29:15
           boils 73:22      222:1,6,11,                     106:12           204:7 226:1
            137:24                         Cameron          123:14           238:21
                            17,20
                                            98:1 171:8      140:2,16         241:18
           books 35:24     Brust's          176:4                            261:4 262:9
                                                            159:3
           boss 70:11,      210:16          179:12,21       184:20          chains 32:5
            13 200:9       budget           180:14          186:8            114:20
            201:9           153:6,8         181:6,20        189:16
                            224:13          183:1 184:4,    203:15,16,      chance
           bottom                                                            21:22 61:20
                                            9,18 185:4,     20 204:13,
            159:7          building                                          131:23
                                            18 188:1        16 207:14
            219:21          92:21                                            256:9
                                            189:1           221:5
           bought          bully 217:12,    190:23          226:21          change
            47:20           17 218:2        211:21          227:1 242:2      52:11,15
           box 23:19                        212:16          243:17,24        149:2
                           bullying         217:6,11,16
                            217:16                          244:4,9          154:13
           boxes 23:19                      218:2,3,9,15    247:18
                            218:4                                            166:11
           Bradley 5:8                      252:20          248:17           197:10
                           bump 148:13     Cameron's        249:17           269:24
           break 8:16
            21:6 41:6      bunch 78:21      161:6           251:1 259:5,
                                                            17,24           changed
            78:13 81:9      124:17          165:14                           32:11 74:7,
            216:9,11,12,    214:24          171:4,9         263:16
                                                            265:10           8,19,23
            14 222:7                        174:6                            182:5
                           bureau 17:2                      268:17,21
            255:15                          184:10,11
                            25:21 28:6                                      chapter
                                            218:20         cases 6:18
           breaks 81:11     52:2,22 57:9                                     32:15
                            79:12 90:20    campus 14:8      11:4 12:8,12
           bribe 26:2       92:15 93:1      52:19           13:16,17        characterize
           briefly 46:12    94:17 96:18                     15:8,24 16:2     239:22
                                           candidate        37:20 41:15
            94:19           100:18          161:7                           characterize
            106:24          111:2                           56:4 87:17      d 137:6
                                            165:15          105:8,14
           bright 37:5      149:24          167:16
                            150:5,6                         106:12          characterizin
                                            171:3,5         139:23          g 135:16
           bring 28:11      192:10,22       182:6           145:22
            110:18          224:5,18                                        charge 17:2,
                                            184:20          146:2 192:1
            113:5 122:4     225:20                                           7 29:7 51:20
            161:2           241:4 251:6    candidates       195:6            58:21
            187:17          253:8           162:12,21       259:11           112:19
            211:20                          164:18,19       260:24           129:20
                           bureaus          167:15          267:7
           bringing         150:10,11                                        137:16
                                            171:13          269:20           138:1,3
            178:11
                           bus 47:10        176:6 186:8,   caused 66:8       139:4
           brings                           21,22                            157:12
            184:16         business                        causing
                            93:14          capacity                          192:2
            209:5                                           226:7            209:14
                                            11:6
           broke 14:22     butt 69:14                      cautioned         226:3
                                                            232:13           238:19


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 278 of 302 PAGEID #: 1205




            256:17           90:1,8,15        211:24         close 146:21      197:7,12
            266:19           93:5 95:2        225:21           266:5           198:4,17
            268:7 270:2      98:17            232:17         closed 35:19      199:6,14
           charged           108:21         circumstanti       143:5           200:10
            29:21 41:23      109:5 110:9    al 130:18                          201:2,13,20
                             111:7,16,19                     closely 86:1      202:5,9,21
            90:24 106:1                     citizen 25:24
            168:8            112:14                          co-workers        205:3,19
                             116:15           26:4,5 34:22     69:13           206:8 208:4,
            191:15                            51:4,5 52:13
            199:10           117:2                                             20 209:7,19
                             121:23           261:8          coach             210:5 212:4
            221:7                                              101:15
            240:23           131:14         city 5:5,20                        213:9,13
            247:18           132:1 136:3,     9:4 13:21      coached           214:10,15
            257:20           16,24            14:3,16,18       54:22           215:2,11,16,
                             138:15           15:3,9 21:24                     20 216:1,5,
           charges           139:14                          Coglianese        9,12 217:13,
                                              22:1 46:19       5:19 10:7
            16:17 17:18      140:13           54:19,21                         22 218:11
            23:22,24         142:14                            18:12 34:20     221:20
                                              61:11 75:16      37:24 39:1,9
            24:16,18         145:3,9,15       76:1,4,21                        222:3,15
            25:10,12         148:7 150:9,                      41:21 43:20     223:17
                                              79:4 82:17       45:21 59:12,
            28:1,4,9         12,22 151:4      89:18 95:7                       225:6,24
            30:13,14,16,     152:17                            20 63:12,24     228:8,23
                                              107:13           65:9 67:2,8,
            17 33:8,16       159:1 167:2      108:8                            229:8,18,24
            126:13           183:10                            14 73:2,8,18    230:11,19
            141:18           186:19         city's 76:7        75:4 81:8,      231:24
            144:5,18         188:2,18                          12,15 82:6      232:8,21
                                            civil 16:18        83:6,14
            157:1            199:22           18:15,17,24                      233:2,19,22
            160:14           202:6 207:5                       85:21,24        234:9,12
                                              88:22 89:16      86:14,23
            179:9 192:2      212:1                                             235:4 237:7,
            198:15           213:14         civilian 26:6      87:5 88:24      11 239:14,
            199:4,8,9        218:20           94:4 263:6       90:5 104:5      21 240:8,19
            221:6 227:2      221:4 224:6,   claim 7:3          109:15          241:8
            238:24           16 230:6         12:18 39:16      122:6           242:14,21
            255:6            232:14,22        115:14           123:21          243:7,9
            256:12,20,       234:9,18         134:6 198:1      124:11,13,      244:1,5,12,
            24 257:3,9,      235:13,19        200:22           16,23 125:8,    17 245:2,17,
            14,18            236:23           232:20           18 126:1        24 246:5,15
            258:13           243:20                            127:6,16        247:8,12
            259:22                          claimed            129:2,9
                             253:9,22         105:21                           248:4,7,12,
                             254:4                             130:1 131:3,    16 249:6,10
           charging                           133:5,14         8,14,18
            244:7 257:4      255:24           168:12                           251:10
                             256:18                            132:1,4,6       252:3,7
           charitable                         169:2            133:19
                             260:23           201:18                           253:16
            47:6             266:13                            134:8           254:10,12,
                                            claims 9:17        135:15,20,      17 260:20
           chart 77:18     chief's 33:17                       22 136:1,13,
            150:9,13                          12:14 38:22                      261:1 262:4
                           chiefs 35:12                        24 137:19       266:20
           charter                          clarify 19:21      138:7,21
                             100:12           248:17                           269:4,14,23
            47:10            113:5 150:3,                      141:19          270:20
           check 87:19       19 253:7,10,   clarifying         142:13
                             11               231:6            144:6,11       Coleman
            158:22                                                             153:4
                                                               146:19,22
           checked         choices          class 44:15        157:6
                             259:2            55:7 69:10                      collect 151:7
            88:2 223:6                                         158:21
                                              76:19 77:1       159:13,16,     college
           checking        chose 35:8
                             42:17 61:21    classes            19 161:8,10,    80:12
            143:18
                                              44:11            21 164:4       Columbus
           chief 5:20      chosen 62:7                         165:17
                                            classify 10:4                      5:4,5,20
            6:9,11 7:7,    Christopher                         167:11,22       8:14,19
            23 8:7,12,       223:23         clear 16:1         168:15          17:18 46:20
            20,24 9:3,9,                      39:21 72:16      169:6 170:1,    47:3,4
            16,21,22       chronology         103:15
                             141:7                             3 172:22        49:18,19
            10:3,20 11:4                      136:3,18         173:1,21,24     52:20 63:11
            13:16 14:2,6     162:18           148:22
                             169:16                            174:23          243:21,22
            15:4,9 17:19                      149:6,14         175:19          245:15
            23:9 24:7,8,   church             156:13           176:8,21        247:24
            11 27:11,12,     91:13,14         180:9            181:23
            18,23 33:3       92:6             181:20           182:12         combination
            34:14,15                          196:6            185:8 186:3,    217:18
            37:6 39:9      circumstanc                                         258:12
                           e 188:3            217:23           13 187:1,19
            43:6,14                           241:2            188:15         command
            44:22 51:19    circumstanc        250:13,14,       189:5,23        15:10 25:18
            52:24 53:12,   es 38:2,23         23 269:8         190:13          26:17,19,24
            13 70:14,20      39:6 43:3        270:1            191:1,14        27:8 28:22
            71:6 74:5        44:7 46:5                         192:13,17       29:4,5 30:9
            75:18 76:1       114:17         Clintonville
                                              52:19            193:2           31:10 32:5
            79:1,2,11,14     153:7                             194:11,20       33:1 35:1
            82:1 84:14       163:23         clip 219:18        195:10          90:4 107:12
            86:15 87:10      172:17           234:10           196:15,21       108:9



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 279 of 302 PAGEID #: 1206




            114:20          77:12          complaints       161:18         consultation
            134:3,5         103:22          25:24 34:22     180:15          144:15
            135:13          104:3           35:5 44:12      186:9 218:5    consulted
            139:8 150:4     118:22          52:13 71:16,    236:7,9         91:4 94:9
            151:9           119:22          21,24 86:19    conducting       114:23
            156:20          123:18          90:8,16,21,     163:14          261:15
            158:4           128:20          23 104:20       216:3
            202:15          130:11          121:7                          contact
            204:7           134:16          157:14,18      confidence       180:14
            222:24          137:12,13       162:14          71:5            190:5 192:5
            226:2           140:4,23        163:15         confidentiall    237:20
            232:15          141:5,13,14     175:18         y 105:13         251:14
            238:21          163:16          209:15                         contacted
            241:1,18        186:16          232:18         confirm
                                                            125:20          169:10,19
            250:10          196:14          233:18                          186:23
            261:4 262:9     200:5           241:5 261:8     171:2
                                                            180:12          188:13
           commander        202:18         complete                         213:2
                            205:17                          234:21
            17:1 52:1,7,                    102:23                         contacts
            18,22 64:23     249:14,15                      confirmation
                            251:8 254:9,   completed        126:5           169:13
            85:11 92:14                     207:1
            98:23           11 256:18                       127:12         content
            102:24         commission      completely      confirmed        110:18
            103:10          16:19 75:19     223:21          123:18          221:2
            104:20          88:22 89:16,                    124:3,9,20      262:14
                                           complicated
            105:6,12,19,    22              202:24          125:1,21,22    contents
            20,21 106:8    committed        204:10          126:24          173:20
            161:6           27:20 262:7                     128:23          209:21
            165:13                         compliment       135:6
            171:4,8        common           17:6                           contest
                                                            137:11          20:13
            176:4,17        178:16         concern 73:6     195:2 223:8
            177:2,4,10     communicat       159:22          239:18         context
            178:3,11,17,   e 112:12,13      186:19                          38:20 39:13,
            22 179:12                                      confirming       18 99:21
                            189:11          187:2,4,14      249:4
            182:24          192:5           233:10                          101:9 218:5
            183:1 184:4,                                   conflict        continue
            9,18 187:15,   communicat      concerned        187:10
                           ed 239:4         45:12 62:7                      48:1 204:18
            20 188:1,10,                                   confused         237:23
            24 189:1,18                     122:10
                           communicati                      20:8 230:17
            190:9,23       ons 17:2        concerns                        continued
            212:16          52:2 92:14      62:17          confusion        136:4 203:5
            217:21          169:13          152:20,21       95:1 207:5     contract
            218:1,3,14,                     153:14          258:5           27:23 102:4,
            20 239:11      community        196:16
                            47:19,23                       connection       13 103:2,7,
            242:12                          200:24          98:10           10 156:4,9
            246:19          149:24          212:9
                            152:12,13                       163:20          175:14
            252:20                          218:21          269:21          191:21,22
            253:7          compared         222:14                          263:3,8
            261:13,22       121:9           233:9          consciousne
                                                           ss 210:7         264:8 265:1
            266:14         complain         239:12,23
                                                           consent         contractor
           commanders       73:21 78:22    concluded                        48:17
            30:9 31:12,                     206:5           161:6
                           complainant                      171:10         contractors
            13 76:6         94:13           233:15
            84:15                           271:4           238:4           80:22
                            264:22
            176:23                         concludes       consequence     contractual
            178:8,18       complained                      s 72:11,12       103:8
                            45:20 158:1     270:22
            252:22
                            179:10         conclusion      consideratio    contrast
           commanding       217:5           134:15         n 152:3          141:22
            224:17                          144:23          204:14
                           complaining                                     contravened
           comment                          256:16          228:12          62:16
                            121:16                          249:19
            42:16 44:5      221:19         conduct
            45:13 124:5                                                    control 68:6,
                                            8:18,21,22     consideratio     8 76:24
            130:6,13,16    complaint                       ns 73:10
                            26:4 51:3,4,    9:5 10:19
            134:21                          16:20 29:16,                   controversy
            141:16          5 69:23                        considered       184:19
                            72:22 74:22     18 30:19        30:24 41:20
            195:24                          36:4 42:8                      conversation
                            75:3,12                         45:13 166:2
           commentary       78:23 88:15     45:10 80:24     167:16          92:5 116:4
            209:16          103:23,24       93:22           182:10          121:18
           comments         104:12          162:20          270:4,6         185:4
            42:11 43:8,     135:13          230:17                          187:24
                                            241:6          constraints      190:11
            16,17 45:18     175:23                          156:14
            46:1 59:10      210:8           261:14                          192:24
            60:8 69:4       221:16          266:10         constructive     208:1,18
            70:1,2,3        239:6 262:8    conducted        36:5            211:22
            71:3,9,14       263:12          26:18,19       consultant       217:4,10
            72:1,23         264:21          29:2 80:24      48:10,12,16     226:13



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 280 of 302 PAGEID #: 1207




            252:22          247:1            45:13 46:10    dealings        decision-
            269:10         counseled         192:12,15       96:11          making 41:7
           conversation     105:11          criticize       deals 103:7      62:11
           s 60:24                           101:15                          160:19
                           counseling                       dealt 74:1       222:17,21
           convinced        36:5,15         criticizing      157:23,24       237:22
            129:12         count 61:15       59:16,22       debate 37:4
            138:1                                                           decisions
                           county           cross-           65:12,24        30:18 35:14
           cookies          145:18          examination     debating         60:4 77:15
            237:2           243:22           6:4 215:19      207:22          84:22 97:23
           cooperate                        crossed                          150:16
                           couple                           December         151:4 153:9
            262:2           150:21           96:12           123:15
                                             100:11                          204:8,9,14
           coordinating     171:20                           159:7
            97:3            176:18          cultural                        Decker
                                                            decent           100:23
           corner           223:9            78:18           120:24          123:19
            219:17         courses          Culture         decide 24:11     124:19
           Cornett          80:14,17         47:14           28:8 30:10,     128:17,18
            124:12,22      court 5:6,7      cunt 78:10       11 33:3         135:5
            125:23          11:14 12:1                       61:19 72:11     143:10,15
                                            curious                          144:2,16
            127:2 129:7     14:11,12,17,     18:20           115:5 126:9,
            137:16          23 15:2                          11,17 139:8     168:23
                            55:21 62:16,    customarily      151:1,10        169:4
           correct 8:9                       161:24                          179:10
            20:5 25:7       20 63:1 65:4                     203:1
                                             162:2           232:23          181:7,9
            32:19 33:24    cover 24:23                                       193:15
            41:24 42:2      25:1            cut 12:13        243:22
                                             131:19                          196:18
            71:18 85:6,    covering                         decided          202:1
            16 86:6 97:4                     136:1           23:22 27:3
                            20:16            142:13                          207:22
            99:10,22,24                                      62:20 65:16     208:15
            112:24         CPD 83:24        cutting 136:6    102:6 106:9
                            93:4 145:17                                      211:10,19,
            117:12                                           142:4           20 220:18
            118:6 123:4    create 151:2,                     144:16          222:13
            129:17          12,24             D              145:10,17       231:20
            142:1           153:13                           153:11          232:4
            146:10,12,      264:3           D.C. 47:11       160:16          245:13
            15 165:9                                         176:5           246:1,7,11
                           created          damage 36:8
            168:10                                           190:10          247:17
            196:20          57:13 65:5      dangerous        256:24
                            149:23                                           248:10,19,
            197:14                           73:1
                            150:10,18                       decides          23 249:21
            206:2                           dangers          211:22          265:6
            236:12         creating          36:21                           267:15
            239:13          58:11                           deciding
                                            date 164:9       46:9            269:5,10
            244:18
            245:23         credible                                         Decker's
                            266:6           dated 159:7     decision
            247:2,5,7                        236:12          13:7 14:23      141:15
            251:9 257:8,    267:14                                           168:5
                            268:5,19         240:10          17:8 24:22
            15,21                            257:6           41:6 45:24      210:11
            261:20         crew 69:12                        55:21 87:12     267:18
            264:16                          dates 128:7
                           criminal          134:23          89:21          declined
            270:12          18:15,24                         106:10,21       107:1
           corrected        28:24 29:6,     day 19:10        115:20          243:13
            247:3           17,18,22,23      21:4 38:13      129:10,16
                                             51:6 76:7                      deeply 72:6
                            41:15                            130:3
           correctly                         77:5 80:4,5     132:13         defendants
            25:3,9          122:23
                            126:19           82:14,17        133:2 139:6,    5:20
            144:13                           172:2 190:8     7 149:18
                            144:18                                          defending
           corresponde      145:5,11         208:8           170:19,21       78:17
           nce 113:4        146:3            239:11          173:13,14,
            117:1,5,14      243:19           240:4           20 174:7,9     defense
            175:3           244:9            270:17          187:7           28:12
           corroborate      263:10,18       days 51:6        189:19         definition
            128:4 129:5     264:9,10,12,     77:5 82:14      205:21,23       26:6
                            14,17                            206:3
           corroborated                     DCC 33:12,       209:11,14      degree 165:4
            225:17         criminally        24 34:2         218:19         delay 66:6,7
                            41:23            36:15           225:3,7
           corroboratio     145:23           160:12                         delayed
           n 266:8,18                                        226:8           61:14 65:3,
                           critical 27:22    189:13,14       237:21
            267:17                           191:16                          20,23
            268:6,19,20     30:6,20,24                       243:3
                            31:19 32:21     deadly 12:4,     249:20         delved 72:5
           costs 14:17      34:11 36:1,      9,19            250:5          demanded
           counsel 5:12     11,18,20,23                      251:22          74:6
                                            deal 75:9
            21:23 105:3     37:1,4,17,21                     259:7,16,19
            136:4           38:4,16         dealing          263:14         demote
            180:12          42:5,8 43:1,     92:15           267:18          254:15
            210:19          8,19 44:6,23                     268:2



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 281 of 302 PAGEID #: 1208




           demoted           52:24 53:11,   deterred          15              242:20
             258:21          12 70:14        251:7          disagreemen      discriminator
           demotion          100:12         deterrent       t 185:14         y 42:24 43:7
             254:15          108:21          229:20                           44:5,14,18
                             109:5 111:7,                   disagreemen
             258:6                          deterring       ts 97:19          72:7 187:3,
             259:20          16,19                                            13 196:14
                             112:14          229:14         disappointed
           denial 131:2                      231:15                           201:1
                             113:5 183:9                      119:5,13        223:13
           denied 131:1      188:1,18       device 200:3                      241:6
                             218:20                         disband
             133:9                           245:22           152:8           242:11
                             236:23                                           251:21
           deny 128:21       253:7,10,11    dialogue        disbanded
             269:2,12                        47:19                            255:3
                             254:4                            155:23
           department        256:18         Dick 221:15                      discuss
                                                            disbanding        151:9 208:1
             17:18 23:9     derogatory      difference        149:16
             50:6 53:19                                                       237:6
                             64:9 77:19,     25:22 29:23
             54:10 63:11     21 119:22                      discharge        discussed
                                             119:23           36:17
             69:5 78:21      124:5           262:22,23                        49:10 72:3
             80:17 91:4      127:20          268:10         disciplinary      83:7 149:21
             92:21,23        130:6,11                         30:22 42:14     150:2 156:6
             95:10 98:11     134:21         differences       105:1           157:11
             99:21 112:4     249:14          75:2             197:21          195:22
             176:17                         differently                       208:1 217:5
             245:16         describe                        discipline        222:7
                             102:23          62:18 119:6,     23:23 27:16
             248:2                           9 213:4                          226:12
             253:12          135:1                            28:13 33:13,    231:11
                                             237:5            20,22 35:22
           department's     describes                                         239:23
                             156:4          differing         36:6 42:19      240:10
             138:17                          267:12           90:3,10,11,
             140:17          267:15                                           249:24
                                            difficult         16 97:17,20     250:1,10
           departmental     describing                        100:17
                             191:18          251:17                           252:16
             23:22 24:15,                                     101:14          269:21
             18 25:12        268:4          direct 95:21,     104:19
             28:1,4,9       description      24 99:1          256:13         discussing
             30:14,16,17     57:13 58:2      100:20           258:9,19        48:20 49:1
             33:8,16         177:12          129:6 136:5      259:11          139:3
             126:13                          140:12                           206:16
                            desirable        178:14         disciplined
             199:9 227:1                                      13:19          discussion
             256:17          163:23          196:17
                                                              100:16,22       61:7,11 81:2
                            desire 250:3,    229:1                            86:10 107:3
           departmental                      238:11           104:18
           ly 257:4,20       4                                                149:15,23
                                            directed        discouraged       154:19
           depend           destroyed                         72:17
                             117:17          45:19 102:3                      175:22
             86:18                           173:16           192:22          212:6 231:9
           depending        detail 156:4                    discouraging      252:9
                             207:6          direction
             27:1 29:14                      113:7            119:20          263:22
             30:5 42:15     details 166:1    139:21         discovered       discussions
             82:4 226:10     246:16          246:20           85:5 143:19     15:18 30:20
           depends          detective        256:23         discretion        48:9,11
             38:1,20         29:20 57:9     directions        32:5            239:24
             39:17 43:2      152:14          146:6 262:5                      240:6
             44:7 46:4                                      discriminate      252:11,19
                            deter 200:23    directive       d 70:6 157:4      253:14
             114:16          201:5,11
             131:18                          32:9 115:7,    discriminatin
                             229:15          16                              dismissed
             158:6           232:17,23                      g 85:12           17:10
             226:23          233:1,17       directives        192:7
             262:13,19,                      32:1,2           201:18         dismissive
                             234:1                                            103:22
             23 267:5                                         205:11
                            determinant     directly                          104:2
           depo 25:17        27:2            71:13 96:24    discriminatio
             244:20                          99:18 100:7    n 7:3 12:14,     disobeyed
                            determine        101:4 110:3      19 13:10        242:18
           deposed           24:3 90:2
             7:24 18:5                       114:19           14:10 16:18    disparate
                             94:12 120:7     116:20           37:19,21        90:10,11,16
             19:13           144:7           117:7 139:2      42:4,7,15      disparities
           deposition        168:20          154:1            47:16 54:14,
             5:2,9 19:9      226:14                                           90:2
                                             172:10           21 55:11
             216:4          determined       183:7            83:23 84:1,    dispatchers
             270:23          34:10 68:19     213:10           17 85:8,19      92:13
           depositions       74:7 144:2      251:4,12         104:16         dispute
             6:13 11:8                      director          115:14,15       207:14
                            determines                        121:8 122:4,
             18:2,3          25:21           28:16 48:22                      235:7
                                             49:8 91:5        8 140:15,18     239:16
           deputy            114:14                           197:24
             27:10,12,18,                    197:22                           240:17
                            determining      256:14           198:11
             23 33:3         103:13                           209:15         disregarded
             34:14,15                        258:23                           135:4,12
                             152:5           259:2,6,13,      233:18
             35:12 51:19


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 282 of 302 PAGEID #: 1209




            164:18         duly 6:2           17,23 76:4,     22 204:5         57:3
           disregarding    Duncan             17 78:18        212:19         epithets
            135:17          58:5,10           79:12,15,17    enact 43:10       63:10 66:23
            137:7                             80:1,9,15,24
                           Dunlap             81:2 82:2      enacted         Equal 53:23
           distance         253:17            90:22 91:7      225:8            54:4
            41:4            254:1             93:21          encourage       equates 37:4
           District 5:6    duties 114:4       115:15          215:7
                                              200:21                         equating
           division 5:7     225:4 226:6                      encouraged        241:9
                                              201:16
            9:15 26:5,9    duty 13:5          237:17,18       44:18          equation
            36:22 47:7,     96:14             240:24         encouraging       227:14
            9,11 49:17,     106:15,18                         78:5
            18,19 54:4,     114:12,21,      EEO-                             equipment
            16 63:13        23 116:2        RELATED          end 23:20         111:4
            64:9 71:3       122:13            257:14          27:14 39:17    Eric 22:19
            76:3 79:23      163:1           EEOC 16:19        257:17           87:22 95:14
            82:9,18         213:19            94:15          ended             107:10
            90:22 98:12     214:7,22,23                       145:18           109:14
            117:1           225:7,23        effect 64:24
                                              68:18 78:20    ends 256:18       111:10
            118:23          226:13,23                                          116:21
            121:3           236:15,21         168:7
                                              185:23         enforce           118:10
            151:16          241:21,23                         84:16            124:10,12,
            155:15          242:16,17         235:8
                                                              232:15           21 127:2
            187:8           243:18          efficient                          209:14
            224:10          249:18,23         183:20         enforced
                                                              85:3             219:11
            249:16          250:2,8,11,     effort 192:9                       243:8
           document         21,23                            enforcement
                            252:10,15       efforts           7:15 8:14      essence
            110:12,15                         155:21                           228:21
            116:18,23                                         49:12 50:1
                                              157:4 191:9     75:20 99:11    essentially
            117:9             E
            167:10                          egregious         145:4,9,16       263:19
            257:17                            36:7 37:7       146:13
                           e-mail 190:3                       152:10,19,     established
            265:5                             73:24 192:1                      206:9 233:3
                             200:22                           20,23
                                              226:16
           documentati       201:4,8                          153:11,16      estimate
           on 133:11         228:17         Ehrenborg         154:5,11         18:23
                             231:21           161:9           244:8 245:8
           documented                         165:12,19,                     et al 5:5
            36:5           e-mailed                           247:24
                                              20,24                          ethics
                             189:18                          enforcement'
           documents                          171:14,15,                       184:21
                             192:21                          s 153:2
            82:7 108:7                        24 180:11                        186:11
            182:2 188:8    e-mails            182:1,5        enforcing
            189:16           192:8            191:3,9,10                     ethnicity
                                                              84:22            77:19
            235:22           256:20           230:7,10
            260:9                             231:13         engaged           168:16
                           earlier 50:7                       225:14
           dogs 92:3         86:10 88:21    Elias 208:16                     evaluate
                             164:10           221:15,18,     engagement        232:19
           donors 48:2                                        47:22
                             199:12           22 222:12                      evaluation
           door 106:24       217:5 222:7      223:15         engaging          227:19
            107:2            224:6 228:1,                     163:10
                                            Elias's                          evaluations
           double 130:5      12 231:5                         200:23
                                              222:19                           212:18
            158:22           240:23
                                            eliminated       ensue           Evans
                             246:18
           doubt 216:5                        154:3           237:14           193:18
            267:10         earliest 7:12
                                            emphasis         ensued            207:12
           Doug 97:8,9     early 51:17,                       35:10 146:3      210:10
                                              78:9
                             18 52:3 53:7                                      211:5
           downtown                         employed         entered
                             112:19
            52:19                             46:17,19,21     190:12         event 223:21
                             114:4
           dragging          153:18           49:17 91:11,   entire 23:11    events
            68:10            241:3 261:9      16              24:3 69:12       47:18,19
                                            employee          88:4 132:24      51:8 99:6,13
           Dragin 104:9    earned 61:22
                                              48:17 93:8      150:8            104:12
           draw 159:4      easier                             180:22           202:15
                                              103:23,24
            221:18           219:20
                                              203:24         entirety        evidence
                             251:11
           drop 224:3                       employees         23:14            13:6,8,10
                           east 12:7                                           29:14 35:10
           dropped                            26:6 94:5      entities
                             53:5                                              36:13 39:18
            121:9                             120:10          150:10
                           Eastern 5:7        121:3                            41:20 125:6,
           drug 155:6                                        entitled          14,24
                           eat 146:17         155:10,15       182:15
           drugs 21:11                        226:9 250:4,                     126:21
                           Echenrode          16             entity 150:3      129:5,12,14
           drums 101:9       99:16 117:9                                       130:18,19
                                            employment       entry 55:4        132:11,18
           drunk 78:3      EEO 44:10          13:17 16:2     environment       133:17
           due 51:1          58:11,18,21      17:20 54:3                       135:21
                                                              38:5 56:7,15
                             71:20 75:14,     83:10 90:21,


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 283 of 302 PAGEID #: 1210




            160:13         experience        231:11         feel 19:22       files 25:4
            204:13          35:3 42:10       242:7            21:6 31:17     fill 50:24
            226:19,22,      43:14 84:8       243:11           33:8 44:17       151:20
            24 243:14       120:13           245:12           104:24           152:5 163:4
            245:21          121:4            247:23           121:22
            250:19          176:16           267:14           129:4 132:4,   filled 23:19
            252:17          224:16         factor 45:11       6,9 136:5,9,   filling 176:24
            262:19          261:21           61:9 103:13      19 140:8
            266:11                                            159:6 200:8    final 61:14
                           experienced     factored                            66:1 259:16
            267:2,11,12     43:15 59:18                       215:24
                                             46:8             227:4 268:6    financial
           exact 126:5      118:21
            141:6 212:5     119:6,12       factors 40:16      270:1            198:10
            239:15          222:24           56:14          feeling 37:6       224:8
                                             226:14           61:8 78:20     find 29:16
           examples        experiences
            128:23          47:15 139:1    facts 233:14       119:7,8          79:13 152:2
                            200:15                            188:20           155:21
           exception                       fail 46:2                           166:16
            167:14         explain                          feelings 60:6
                                           failed 36:11                        223:10
           exceptional      25:16,22                        feels 85:11        229:11
                            36:1 45:23     failing            119:11
            178:22                           191:16                            231:4
                            71:22                           fellow 61:2        233:13
           excessive        126:21           193:12
                                                              106:6            251:17
            14:9,13,15      137:17         fails 26:15                         264:3 266:6,
            27:20 45:2      138:24                          felt 13:5          9
                            173:5          failure 10:11      24:21 27:19
           exclude                           45:9,24                         finding 14:14
            13:16           186:15                            57:24 83:19
                            218:15           191:19           94:12 121:5      17:12 88:21
           excluded         230:23,24      fair 9:8 10:24     131:1            89:2,5 231:7
            57:8 119:8      231:2            20:10 206:7      139:11           256:13
           excluding                                          157:3            267:23
                           explained       fairly 111:2,3     182:14           268:8,9,11,
            9:18 17:21      69:2 105:8       152:22           190:22           21
           executive       explains        faking 107:9       212:24
            48:22 49:7                                                       fine 39:23
                            232:9          Falacia            214:20           81:18
            80:11 151:9                                       217:16
            253:1,5,9      explanations      104:8,14                          146:19
                            230:16                            218:3,16         232:2 247:9
           exempt 42:6                     fall 32:4          233:3            267:3
                           explicit          149:14           242:11
           exercises        119:17                            255:10         finish 87:6
            77:7                           false 106:13,                       131:8,14,16
                            121:8            16,17          female 62:1        135:20,23
           exhibit 87:19   express           113:14           74:10 77:9,
            110:4,6,11                                                         136:16,17
                            59:21          falsely            12 78:7          137:2
            116:12,17       212:14
            159:2,3                          168:12         fess 56:1          142:14
            167:4          expressed         169:2                             194:11,20
                            212:9 241:5                     fight 14:18
            169:23                         familiar 58:7      128:24         finished
            170:6          expressing        184:22           195:5            39:23
            173:22          59:16,23         185:14,15        198:24           131:21,23
            219:4,8                          217:14                            135:24
            220:11,15      extended                         fighting
                            50:1             221:2                             137:1,3
            234:14,19                        223:22           127:15           217:1 270:9
            235:21         extensive                          135:11
            256:1,6,10      23:2,18        familiarity        137:13         finishing
            265:17                           172:12                            136:2
                           extensively                      figure 43:24
           exhibits         133:10         families 99:9      100:10         fire 77:1
            218:23                         family 12:5,6      265:7            78:12,20
                           extent                                              148:14
            235:12,16       225:17           49:11 50:1     file 22:23
           exist 151:13                      210:23           23:3 28:4      firearm
                                           faster 148:14      71:21,24         36:19
           existed 66:5      F                                74:7 75:3
                                           FBI 243:21                        fired 227:15
           expand                                             108:8            254:6,8,13
            139:18         face 14:22      fearful            112:11
            142:1 151:3,     62:8 68:12,     207:11           162:15         firefighters'
            14               15                               169:12           78:13
                                           February           256:24
           expansion       Facebook          22:12 151:6                     fit 75:7
            140:21           155:14          236:12         filed 11:22      flagrantly
                                                              12:3 13:20       191:13
           expect 40:7     faces 154:7     federal 11:16      16:18 17:3
            84:3,11,15     fact 41:16        83:22 84:4       22:4 59:5,11   flip 219:9
            121:21           46:8 55:3       85:19            89:10 95:8       220:2
            212:2            66:8 71:8       145:10           104:14,18      flying 154:18
            214:22           130:10          237:18           144:5,17
            227:5                                                            focus 9:8
                             143:16        feedback           153:21           76:9 87:1
           expected          171:20          120:20           179:8,9          120:18
            66:16            188:24          121:3,6          256:21           121:20
            202:14           190:3 199:3
                                                                               126:14



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 284 of 302 PAGEID #: 1211




             140:16           113:23          23:12 24:19    gotcha 63:2     27:4
             198:11           124:4           115:17         grabbing       handcuffs
           focusing           134:19          169:21          223:2          45:4
             8:19 16:1        165:11,19       196:3
                              191:18          224:17         graffiti       handed
           follow 20:8                        266:14          63:21,22       110:10
             25:14 31:21    foundation                                       116:16
                              47:3,5 48:21   generally       Graham
             36:12 86:2                                       58:10          159:2 167:3
             94:14            49:7            23:19 25:11                    170:4 219:8
             103:10         Fred 5:13         26:20 30:19    grasp 188:21    234:17
             138:20           81:8 124:13     87:7 155:8                     235:20
                                              232:10         Gray 108:23
             140:22           131:8                           183:11,18     handful 22:8
             141:2,17         135:22          252:21
                                              261:5           188:18
             146:1                                            252:24        handle 75:8
                            free 21:6                                        160:19
             175:14           78:3 132:4,6   gesture          253:15
             191:16,19                        223:2                         handled
             193:12         frequently                       great 78:10
                                             giant 265:17     156:4          13:21 233:7
             212:2            76:2 82:12                                     258:19
             222:11           178:7          gigs 49:3,5     Green 12:5
                                                                            handling
           follow-up        Friday 51:15     girlfriend      grievance       140:17,18
             141:12         friend 91:21      106:11,15,      104:14,19
                                              17,23                         hands 29:20
           food 146:21        97:14 98:19                    Grizzell
                              99:4,23        girlfriend's     239:11        hang 158:3,7
           football                           106:24                         163:11
             96:15          friends 93:16                    group 47:6      176:15
                              210:24         gist 209:20      54:3 60:4
           FOP 71:4                                                         hanging
             102:5 103:8    front 68:1       Gittes 5:13,     65:18 66:20
                                                              120:11,18      61:4,5
             191:22           69:12 82:8      22 6:5
             250:6,7          193:6           81:10,14,17    grouped        happen
             263:7 264:4                      123:22          258:11         38:11 41:4
                            full 21:4                                        42:21,22
                              82:17 132:2     124:15
           force 12:5,9,                      131:9,12,16,   grumbling       44:16 70:19
             19 13:16       fulls 47:10       21 135:24       59:14          71:7 82:3
             14:9,13,15                       136:13                         177:3
             16:2 26:23     fully 28:18                      guard 213:18
                                              144:10,12                      218:13
             27:3,5,20      fundraising       146:16,20,     guess 73:20     241:10
             45:2 67:22       48:1            24 158:7,12,    101:15
             261:5,6                                          105:17        happened
                            funds 47:9,       15,18                          17:11 29:16
           foregoing                          159:15          122:11
                              20                              149:6          31:5 44:16
             271:3                            166:21                         51:24 52:16
                            Fuqua             170:2           220:21
           forever            120:13                          222:23         61:17 64:10,
             156:15                           173:23                         12 66:15
                                              215:18,22       230:20
                                                              258:4          68:19 70:13
           forfeiture          G              216:2,7,10,                    74:1,4 83:19
             28:14                            14,16 234:7    guesstimate     101:24
             259:12                           247:10,14       18:4 19:4      115:2
                            game 96:15
           forgot 20:19                       255:15          22:5           132:16
                            games 61:1        256:4
             148:10                                          guilty 14:15    145:19
             149:10         gamut             270:18          268:18         153:18
                             262:17          give 18:4                       175:21
           form 7:3                                          gun 68:4
             42:7,14        Gary 98:1         42:6 46:6,11                   180:22
                                                              207:19         195:19
             181:5           253:17           73:10 79:17     223:3
             206:21          254:1            113:6 132:2                    223:6,14
                                                              241:21,24      236:18
             215:11                           141:21
                            gather 38:21      158:8          guy 67:24       240:17
             266:8           71:19            169:24          68:10,15,21    241:9,20
           formal 25:10,    gathering         174:10,16                      244:23
             12 33:12                                        guys 78:12,
                             84:7 178:1       235:9,12        15             265:8,9
             71:16 72:22                      270:10
             74:22 75:11    gave 68:17                       Guyton 92:7    happening
             105:1 205:5     74:9 156:7      giving           93:15          59:24 82:12
                             170:24           129:13                         185:7
           forms 42:6        196:8            131:23                         203:11
             43:7            207:13           156:5            H             205:2
           forward           210:12           170:15                        harassing
             34:12 113:9     246:19           259:2          half 80:5       106:2,6
             115:1 203:7,   gay 71:3,6,8     goal 191:4      hall 207:20
             12,17 204:3,                                                   harassment
                             72:20           good 13:4        221:17         44:10 69:11
             17                                               223:4
                            gears 234:3       39:4 60:20                     81:3
           forwarded                          110:21         hand 38:8
             174:19,22,     gender 13:12                                    hard 153:9
                                              111:12          220:14         222:19
             24 175:7        63:6,7 71:10
                             77:20           goody 61:5       221:17
             240:11                                                         harm 40:21
                             119:10,24       Gordon          handcuffed      226:7
           found 14:15       168:17                           68:5,22
             17:21 35:10                      89:17                         hat 26:15
             105:4          general           142:23         handcuffing     31:6 115:23



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 285 of 302 PAGEID #: 1212




           hate 7:10       hire 48:21         52:7 67:18     implementin     individuals
           head 16:12       79:4              86:11,12       g 94:20,22        59:17 61:8
                           hired 55:1,3       90:4 93:21,    implicit          85:10
           health 21:14                       23 104:1                         168:12
                           hiring 54:19,                       120:21,23
           hear 38:12                         108:8                            175:17
            59:2,8,14       21 56:13          113:12         implying          225:14,15
            60:21 63:10     91:18             134:11           186:1           251:5
            66:23 67:13     151:16            135:14         importance
                            164:2                                            industrial
            90:14                             138:19           105:12          93:10
            119:12          209:16            139:7
                                              141:17         important       inequities
            120:18         historically                        61:23 224:7
            131:23          82:5              145:6,12                         57:14,24
            133:18                            160:23         impression      informant
                           history 47:14      162:15,23        82:2
            136:12          264:1                                              148:9
            173:13                            169:9
                                              175:24         inaccurate      information
            211:13         hold 37:10                          235:3
                            86:23             198:7                            43:3 46:4
           heard 28:16                        204:24         inappropriate     94:11 105:1
            42:16 56:24    hole 151:21        217:21           70:1 106:7      107:23
            60:14 63:17    holes 50:24        218:1            138:4           132:10,17,
            64:20 67:7      152:5             261:11,22                        20 133:21
            69:4 83:9,11                                     incident          135:17
                           Holocaust          266:14           67:13 138:5
            90:7 104:23                                                        137:7,8
            110:19          47:12           IACP 80:22         208:17          142:20
            127:21,24      Homeland         idea 6:22          221:21          160:22
            128:18          183:17             88:11         incidents         167:23
            129:23                             152:11,12       67:11 69:24     174:1,15
            130:11         honestly                                            180:3 181:8,
                            121:21             155:1           101:5
            133:5,7                            182:20          138:15          11 183:6
            135:7          hope 181:2          190:16                          193:6
            148:18                                           include 13:8      194:22
                           hoping 16:10        243:10          35:4 73:6
            181:13                                                             195:16
            184:1 185:1    hostile 56:7,    identical          169:18          196:3,22,24
            196:13          14 57:2            125:22          205:12,21,      197:4
            248:14                          identification     24              198:12
                           hotels 155:6
           hearing                             110:7,10      included          202:11,16
                           hour 20:18          116:13          64:14           206:15,24
            28:11 54:9      37:1 80:6
            67:15 127:7                        219:5           112:11          211:2
                            81:13              220:12          127:22          212:10,23
            184:17
            185:3,11       hour- 82:14         234:15          185:9 186:4     218:17
            197:21                             235:17          197:3 202:4     221:11
                           hours 51:5          256:7           206:1           226:2,10,18
            255:10          74:20 80:22
            256:17,21                       identified         269:13,16       237:13
                            82:18,19                                           239:8 243:2
            257:17          258:10             159:2 167:3   includes
                                               170:5           12:18 142:6     249:12
           hearings        house                                               266:22
            101:6,7                            220:15        including
                            213:18                                             269:6 270:8
           hears 131:17                     ignore 42:17       21:6 30:12
                           HR 91:6,7           44:9            58:8 70:3     information's
           held 30:21       92:20,24                           138:16          240:9
                            93:4,6,7,20     illegal
           helped 111:4                        148:16          142:12        informational
            120:14         hubbub              155:7 200:3     171:21          154:12
                            68:12              243:6           200:5 253:6   informed
           helpful 7:11
            8:4            huge 262:21,        245:22        income            123:8,12,17
                            22              imagination        46:22         infrequent
           helping
            47:20          human 91:2,         6:12          independent       150:24
                            4 92:24         imagine 6:11       48:16 83:22   initial 31:3,9
           Henry 12:5                                          134:13
                           hundred             77:14                           89:1 108:3
           hesitant         18:10,13                         indicating        123:16
            71:24 72:3,                     immediately
                            214:11             29:16 54:23     195:11          161:7
            21 73:4                                            197:1           162:21
                           hurt 200:7          180:20
           hey 69:14                                         indication        163:14
            81:8 150:21    hygienist        imminent
                            93:10              38:11           116:19        initially
            213:22                                             175:6 182:4     51:13 53:5
           high 151:14     hypothetical     impact 226:8       243:13          226:22
                            196:8              233:10
           higher 27:7                                       indicator       initiate
            33:11 65:15                     impacted           117:6           114:11
            70:4,7            I                15:19                           199:9
                                                             indirectly
           highest                          impartial          71:14         initiated
            224:19         IA 105:6            105:6,15                        35:17,18
                             133:11                          individual
                                            imperative         88:2 195:7      206:23
           hindsight
            167:9 225:1,   IAB 22:22           105:5           226:6         initiating
            2                23:8,12 24:2                                      142:3
                                            implemented      individually
                             25:3 32:18
           Hines 14:11                         52:15           74:18         injury 27:4
                             34:12,19



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 286 of 302 PAGEID #: 1213




           inquiries          32:1,3,7         189:17           37:14 48:10      203:3
             144:4            33:4 34:16,      199:2            57:2 86:17,      204:12
             168:22           24 52:4,8        242:10           18 87:7 88:2     261:4,14,16,
             188:9,16         56:22 64:23    interviewing       95:11            18 263:6
           inside 50:18       80:20 90:19      177:2,4          105:22         investigative
                              94:17,21                          107:17           160:23
           insisted           95:4 100:18,   interviews         113:13,18,
             44:14                             93:22,23                          207:7
                              20 102:14,                        20 116:21        219:10,14
           instance           24 103:7,9       94:8 106:10,     118:10
                                               22 107:24                         236:11
             207:18           105:12                            123:9,13
                              112:10,13,       123:19           133:1          investigator
           instances          17,19 115:9,     126:23           134:11           101:6,7
             64:7 71:15       17 118:9         127:19           135:3 138:9      139:7
           instituted         145:24           135:5            139:18,20,       223:15
             75:17 76:4       169:14           138:12           24 140:22        261:3
                              178:10,16        168:6            141:15         investigator'
           instruct           213:2            178:15,17        142:19
             141:17                                                            s 169:13
                              218:19           179:23           143:1,5,9,14
             172:23           236:7,9          180:15           144:23         investigators
             215:23           246:10           184:5 186:9      146:2,3          169:17
             248:22           253:3            190:19           148:17         invitation
           instruction        255:14           202:17           157:1,8,14,      161:18
             170:13,16        260:8 261:3      206:17           20 160:3,12
             189:8            262:10           207:15           162:14,16      invited 61:1,
                                               221:7            163:18           2
           instructions     interpret
             142:1            112:2          investigate        164:16,23      involve 7:2
             169:19           194:18,21        30:10 32:6       165:2            31:21
                                               90:22 115:6,     167:20         involved
           instructor       interpreted        24 142:5,8       175:24
             76:24 77:6       194:16                                             8:17 9:4
                                               146:4            179:15,17,       12:13 13:12
             78:5 106:3     interrupt          248:20           20 180:1         15:3,9,13,17
           instructors        20:20 39:11,     260:18           184:3            27:11 31:11
             80:21            22 82:21                          186:14,15        34:11 39:13
                                             investigated       190:16,20
           insubordinat       86:22 136:9,     26:3,23 32:3                      41:16 48:9
                              11 149:8,10                       192:8            56:2,6,17
           e 191:13                            34:18,24         193:13,23
                              227:21           35:15,19,22                       91:17 93:21
           insubordinati                                        194:1            94:1 100:17
           on 36:10         interrupting       64:21,22         195:17
                              136:10,15,       107:22                            103:21
             37:13                                              197:4,19         106:9 114:3,
             189:10           19               111:22           198:8,9
                                               112:10                            6 152:21
             191:18,24      interruptions                       199:17,20        154:19
             192:3            136:4            115:22           202:20
                                               138:9                             160:19
             193:11                                             203:2,14         163:5
                            interview          139:12           205:5,15
           insulting          87:20 102:5,     141:8                             172:21
                                                                206:21,24        178:17
             76:22            7 105:16,20,     145:23           207:1
                              21 107:1         162:22                            194:5 223:7,
           intended                                             209:21           12 225:13
             41:17 214:3      118:11,20        195:20           210:13
                              121:14           196:2,5                           241:3
           intent 41:20                                         212:22           253:13
                              143:10           218:18           213:1
             194:17           175:16           236:8 246:9                       259:6
                                                                219:11           263:14,21
           intention          176:5,18         248:3            220:3,8
             21:5             178:5            260:24           224:24         involves
                              179:22           261:2,7          225:10           13:9 259:9
           intentions         181:6,8,24       269:19
             229:10                                             226:11,15        262:6
                              184:7,8,10,                       236:6,9
             230:21           12,14,17       investigates                      involving
                                               25:23 26:7       237:14,16        6:18 7:13
           inter 163:10       185:5,6                           242:20
                              187:9          investigating                       12:4,9 17:18
           interaction                                          246:17           104:12
                              190:19           52:12,13         256:16,19
             47:23            193:1 202:1      84:23 90:21,                      184:17
                                                                261:6 262:9      220:4 221:6,
           interactions       209:4 217:6,     24 143:18        264:4
             100:24           12 218:4,7       169:9                             22 222:19
                                                                265:15
           interest           220:17,19        202:11           269:17         Irish 78:2
             187:8,10         227:7,8          205:12
                              230:6 232:5      243:12         investigation    isolated
           interested                          246:12         's 27:2            57:11
             13:17          interviewed
                              118:8            248:23         investigation    issue 30:22
             140:14                                           s 23:13,20         31:8 33:7,11
             183:3            124:19         investigation
                              134:22           22:19 23:1,      24:17 25:12,     57:7 103:12
             202:12                                             18,21 27:9       110:20
             225:19           143:10           7,11,18 25:1
                              177:10           26:13,17,18      28:24 81:1       128:10
           internal 13:6      178:12           27:14,15         86:11,13         143:4
             24:16 25:11,     179:11           28:21 29:10,     90:4 91:3,7      145:11
             20,23 26:2,      183:2            17,18,22         93:21 94:2,4     159:24
             3,7,9,13,17      185:18           30:1 31:2        105:7            163:21
             27:16 29:3,      186:20           33:1 35:9        115:17           189:9 192:6
             21 31:1                                            202:24           205:9,10



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 287 of 302 PAGEID #: 1214




             210:4,21         229:15           245:13         knocked          law 7:14 8:13
             224:8            231:22         Ken 100:23        106:23            49:12 50:1
             227:16           232:13,24        253:23         knowing            75:20 83:23
           issued 27:17       242:13                           179:15            84:4,5 86:3,
                              250:15         Kent 12:2                           5 99:11
             28:3 58:7,9,                                     knowingly
             11 89:21       job-related      Kerins 74:13                        117:19
                                                               103:6             138:18
             90:3             229:7          kicked
                                                              knowledge          145:3,9,16
           issues 80:15     jobs 156:9         68:11,15                          146:13
                                                               35:15,19,24
             103:8            163:7          kill 41:19        56:16 97:2        148:9 200:4
             140:18         John 193:18        195:8 200:7     100:24            202:8
             141:23           210:10                           114:16            237:18
             157:10                          killed 68:14                        244:8 245:8
                              211:5                            124:2
             165:7                           killing 45:3      133:15            247:23
             174:21         joined 9:15
                                             Kim 69:14         134:9           laws 84:9,16
             184:2          joke 38:7                          153:23
             187:17                          Kimberley                           85:20 86:2
                              112:1                            161:16            115:16
             198:10,11                         5:2 6:1,7       172:14
             208:15         jokes 72:23                                        lawsuit 8:8,9
                                             kind 13:11        177:7 186:7
             232:18         joking 38:22       19:8 25:15      188:17            9:19 10:14
             259:21           39:5,14,16       46:14 57:11     195:18            11:22 55:19
           issuing            40:16            63:22 67:7,     199:8             56:17 57:4
             217:19                            16 76:9         205:18            58:5,24 59:3
                            Joseph                                               65:19 66:8
           Italian 77:24      70:22            87:11           242:6
                                               104:11          244:11            88:16 89:10
                            judge 58:5,        113:7,15        253:12            95:8 153:21
              J               10               118:24          254:8             179:8 198:6
                            judged 44:24       133:16         Kuebler          lawsuits
           Jackson          judgment           139:3           236:24            9:24 11:11
             70:23,24         9:1 14:3         187:16          237:1             12:9 13:21
                              31:9 222:2       196:1           253:23            16:3,5,8
           Jacobs 5:2,                         200:23                            61:17
             21 6:1,7         223:9
                                               213:7                           lawyer's
           James            July 55:19         244:10            L               14:17
             120:13         jump 249:16        252:21
                                               259:4          LA 184:19        Lazar 11:19
           January          June 151:6                                           13:2
                                               261:23
             49:23                                            labeled
                            jungle 77:17       263:5 268:7                     lazy 135:10
             170:22                                             256:14
                            Justice          kinds 45:10                         186:1
           jaw 14:22                                          lack 125:14
                              95:10            48:15 64:16,                    lead 38:10
           Jeff 5:15                           19 119:19        141:20
                            justification      184:3                           leadership
           Jeff's 159:11                                      Lanata 51:19
                              173:14           187:17                            77:8 80:12
                                                                70:14
           Jennifer           232:10,11        188:13
                                                              Lancaster        leading
             100:1,16       justifications                                       243:17
             101:20                          King 12:6          171:21
                              126:23
             144:3,15                        knew 56:10         172:3 176:7    leads 48:24
                            justified          60:23 91:12      179:22,23        226:3
           job 50:17          268:2                             180:15
             51:18 57:13,                      113:12                          learn 122:11
                            justify            128:16           184:5
             17,19 58:2                                         185:18         learned
             62:2 155:21      173:12           134:13
                                               152:1            188:11           116:2 157:7,
             156:18                                             189:3,12,17      20,23 159:9
             159:24                            157:18
                               K               161:14           190:4,8,20       168:13
             163:2 165:6                                        192:5,19,24      180:18
             166:17                            163:24
                            K-9 179:2          164:15,16,       193:18           205:14
             170:19                                             197:2            209:9 217:9
             171:13         Karl 5:4           22 165:1
                                               171:3 178:2      228:18         learning
             173:3 174:4,    143:16                             242:8,10
             11 177:12,      153:20            182:13,16,                        47:15
             16,21           154:8 155:5       17,20          Lancaster's        143:13
             182:11,16       157:10            187:22           172:15           155:22
             187:24          171:21            189:7                             185:16
                                                              Lane 5:9
             189:20          172:12            194:23                            207:11
             191:5           176:7 182:9       195:1,11       language           243:18
             193:19          183:2 185:4       196:10           67:7,16
                                                                               leave 28:14
             194:10          197:1             202:15           127:2 138:4,
                                                                                 197:17
             198:20          199:23            221:11           17
                                                                                 251:11
             199:3 200:1,    200:12            222:18         large 66:20        259:12
             9 201:12        204:22          Knight
                             207:10                           late 26:16       leaving
             204:23                            100:1,17         50:19 51:23
                             210:16                                              94:16
             210:22                            101:21           52:23 57:14
                             211:22                                              215:15
             211:9                             104:12,21        80:11
             212:14          212:3 213:8       105:17,21                       led 188:8
                             214:19                             108:23
             217:17,19                         106:8 144:3,     153:18         left 78:20
             224:6,13        215:13            15 254:3                          111:10
             227:5,24        217:3 218:4                      laundry
                                                                                 126:9 148:7
             228:18          222:6,13                           32:16


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 288 of 302 PAGEID #: 1215




             188:5            19,24 212:2,   listed 32:8        192:1,2        269:1
           left-hand          15,24             160:4         lunch 146:17    mail 117:14
             219:17           213:16         listen 120:8
                              214:3 217:2,                    luncheon        maintain
           legal 30:2         11,16,20,24    listened           147:4          68:6 153:5
             83:15            218:15            212:5         lying 37:14     maintained
           legally 83:5       221:16,19      lists 65:5         168:8 199:1    117:17,18
                              222:5,10,16,      169:12          257:10
           length 24:2,4      20 236:10,                                      maintaining
           lengthier          14 237:23      litigated 57:7                    151:17
             204:18,19        239:13         lives 92:1         M             make 16:1
                              241:10,16                                        19:12 24:22
           lengthy            256:12         LLC 5:10
                                                              made 9:18        25:8 28:12
             23:21 180:2                     located
                            lieutenants                        13:7 17:7       30:4,11,21
             202:24                             111:1
                              28:6 31:11                       20:18 30:19     35:13 39:21
             204:11
                              84:15          log 117:5,11,     31:10 41:22     40:6 41:4,5
           lesser 23:22                         13,14          42:11 45:19     44:4,12 68:7
                            light 30:23                        51:8 52:10      71:16 74:22
           let alone          46:12 149:1    logged 113:4
             206:16                                            56:20,21        75:11 78:23
                              193:10         logs 117:21       60:5 68:17      84:21
           letter 109:24      218:6                            69:22 70:3      103:15
             110:2,18         250:24         long 21:4         71:3 94:18,     105:23
             111:21                             49:21 50:11    19 95:7         106:17
                            lightly 250:5       77:7 80:8
             112:8,15,23                                       106:13,16       115:9
             113:6 116:7    lightning           91:10 92:11    107:11          118:13
             121:12           142:21            98:1 99:19     108:13          125:14
             127:4 164:1,     143:19            100:13         109:13          128:9 129:4,
             6 166:12,19      144:5,16          102:8 107:2    115:18,21       23 130:21
             167:13           148:8,11          123:11         118:23          131:9 136:3
             173:8,9,17,      199:12,18         146:17         124:9,20        141:24
             19,21 174:6,     207:16            156:2          125:15          144:8,12
             21 175:7         208:16            203:14,24      127:1,13        148:22
             190:9            210:3             219:19         129:6           149:6
             206:16           245:14            250:12         130:13          150:15
             239:12,17        246:13            270:17         134:7,15        151:4,6
             240:1,5,15,      248:24         longer 203:1      135:12          153:9
             17 258:6       likelihood                         138:8,10        156:12
                                             longstanding
           letting            124:5                            139:5,7         159:16
                                                111:3
             237:22                                            140:6,9         162:12
                            limit 115:11     lookback          141:8           168:22
           level 27:6,7,      156:1             34:5 79:24     143:16          173:13
             21 32:23         210:23
                                             looked 22:22      150:8 153:3     180:9,13
             33:6,12,23     limitations                        162:15          187:15
             35:8,22 36:6                       30:1 74:11
                              115:4             102:9 104:2    163:15          188:9
             42:18 45:5                                        165:14          196:13
             152:15         limited             210:2
                              156:23                           166:11          200:3 201:3
             209:22                          losing 69:15      170:22          203:2,20
             210:7 226:4    limits 244:15                      173:20          204:13,18
             258:9                           lost 14:19
                            lines 29:13                        174:7,8         212:16
           leveled 26:9                      lot 13:19,20      175:11          218:14
                              36:12 60:12       39:13 42:10
                              107:14                           181:20          222:12
           levels 258:18                        60:17,24
                              185:2                            184:5           234:9
             259:1                              61:3,6,10      185:12          241:19
           liaison          link 142:21         79:17 84:22    186:16          242:24
             152:13           143:20            95:7 96:13     187:7           243:3
                              144:5,17          107:24         188:12,16       248:13
           lied 167:10        148:8,11          119:10         189:19          250:13,22
           lieutenant         199:13,18         120:9,10       191:9 192:6     251:16,22
             11:22 12:15      207:16            150:1,4        195:24          256:22
             30:8 50:21       208:16            151:12,15      197:20,22       259:16
             51:12,20         210:4             152:18,20      200:4           263:13
             74:5,10,13       245:14            153:2,10       202:17          267:3
             76:15 77:2       246:13            154:6,7,18     206:2           268:20
             78:16 85:11,     248:24            155:9          209:11,14       269:7
             13 96:2,11     list 16:8           185:12         216:7
             98:24 99:16                        194:16                        make-up
                              18:19 32:16,                     218:18
             105:17                             203:18                         169:1
                              20 55:4,5,6,                     221:14,15
             159:8 176:5,     15 61:14          251:11         222:14         makes
             18 177:2         65:13,14,15       262:14         223:2           119:13
             178:3            66:1,3,4,18,      264:3          225:16          262:21,22
             179:12           21 77:7,21     lots 36:3         234:22          267:23
             181:19           102:6             172:2          238:24
             183:1                                                            making 59:9
                              158:12,13         247:13         242:22          66:24 72:22
             188:10           161:19                           247:3 250:9,
             189:1                           loud 266:3                        77:15
                              171:23                           13 251:8        103:22,24
             207:24           178:4          lower 33:22       259:17
             210:15,20                                                         104:2
                              186:20            151:18         260:15          112:10
             211:3,4,12,


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 289 of 302 PAGEID #: 1216




            115:1 130:5,   matter 31:10     20:13          minute            198:23
            7 131:1         43:21 46:2      103:20           210:15         month
            133:2           144:17         memory's        minutes 41:2      253:18
            148:14          145:5 172:1     149:7            234:4
            149:17          242:13                                          months
            150:12                         menacing        miscellaneou      22:16 34:3,7
                           matters          41:24          s 203:18          37:9 66:10
            163:16          92:16 93:21
            187:5 195:3                    mention         mischaracter      115:2
            198:21         Mayor 153:4      184:15         izing 197:13      123:16
            205:16,20,     Mcfadden         211:7                            205:9
            23 226:8                                       misconduct
                            11:23 12:16    mentioned         13:5 26:8      Moore 22:19
            232:18          236:10,14                                        87:22,23
            249:12,13,                      12:24 18:3       27:10,21,22
                            237:6           37:13 40:15,     30:6,24         95:14
            20 254:8        239:13,19                                        107:10,13,
            263:11,18                       16 42:4          31:19 32:21
                            240:6,21        53:16 58:9       34:12 35:5      19 109:14
            264:21          241:10,16                                        110:20
                                            65:2 185:2       36:2,11,18,
           male 62:8        251:1 254:7,    193:22           20,23 37:2,     111:10,24
            74:11 77:8,     13 256:12       199:12           4,17,21         116:2,21
            11             meals 47:18      208:16           38:4,17 42:5    118:10
                                            224:6            43:1,9,19       123:9 124:9,
           man 12:6        means 38:9                                        10,20
                            39:8 40:18,     226:16           44:6,23
           managed                                           45:14 46:10     125:14,15
            153:1           20 83:5,13     mere 247:23                       127:1,13
                            84:22 87:6                       52:12 67:20
           management                      merit 104:22      86:20           128:5,21
                            109:21                                           129:5,23
            42:13           117:4 132:2    merits 44:24      102:18
                                                             105:11          131:1 133:9
           manager          191:6 197:6     243:23                           134:15
            91:6 92:24      228:9                            138:16
                                           message           191:16          135:7 139:2
            93:6            229:12          193:17                           140:24
                            231:13                           192:12,16
           managers                         194:2            220:5           141:15
            76:5,20         248:2           196:24                           142:4,20
                           meant 10:16      201:5,22       mishandled        143:18
           managing                         202:16           13:6            154:22
            43:18           40:22
                            145:12          208:18         misinformed       157:21
           mandate          227:18          210:9 213:7      180:7           158:4 161:5,
            80:8            246:8           225:17,22                        17 162:11,
                                            227:9,15       misled 168:4      20 163:9,13,
           mandated        media 81:23                       169:2           17 165:13
            79:1                            228:13,15,
                            148:5           21 229:13        227:20          166:7,13
           mandatory        216:21          231:4,7          228:13          167:10
            83:3           mediation        232:23         misreading        171:4,7,9
           manner           89:7,13         233:16           230:15          173:5
            164:17                                                           175:16
                           mediator        messages        missed 18:8       180:1,10,13
            179:11          89:17           119:17
            217:5                                          missing           181:22
                           medications      206:17           257:10          187:16,20
           manual           21:10           239:4                            189:3,11,16
            57:13 58:2                                     mission
                           meet 21:22      met 22:1,3,       153:15          190:3,11,21,
            177:12                          10 91:14                         22 191:12
                            75:21 95:13,                   misstatemen
           March            14 98:18        92:17 96:10                      192:23
            236:15,16                       98:21 155:3    t 247:6           193:14,17
            240:11         meeting          172:6          mistake           195:3,18
                            120:11,14                        20:18 180:7     196:13,23,
           marked           154:4,9,12,    method
                                            165:22                           24 197:21
            110:6,10        13,22                          misundersta       198:16
            116:12,16       190:21         methods         nding 230:14      199:18
            166:21,22       207:24          233:4          modifying         204:22,23
            169:23          210:16,18                        149:18          207:18,23
            219:5,8                        Michael 5:9
                            217:2 222:6     253:23                           209:14
            220:12                                         moment            210:10
            234:8,15       meetings        mid 52:21         48:14
                            120:8,9                                          211:2,5,8
            235:17,20                       55:12 76:5,      110:11          213:1 214:6
            256:7          Melissa          20               170:8 197:9     217:18
                            236:10                           224:4           220:18
           marks 81:22                     middle 20:21      234:20
            148:4           254:6,13        21:8                             221:16,22
                                                             270:12          222:1,14
            216:20         members         miles 36:24
                            26:9 47:9,24                   Monday            225:4 231:1,
           married                          37:1             51:16 148:1     12,20 232:6
            106:19          49:11 253:9
                                           mind 38:4       money 31:8        240:24
           Mary 5:8        membership       89:9 110:18                      241:2,11
                            49:2                             141:22,23
           match 86:1                       161:2 182:5      263:19          242:12
            154:7          memories         184:16                           243:8 246:6,
                            20:14 40:7      231:10         monkey            8,9,19 249:5
           material                                          112:5           250:3 252:1
            143:15         memorized       mine 10:11
                            185:21                         monkeys           253:14
           materials                       minor 26:15       125:16          266:6
            80:16          memory           27:4             135:9 195:4     267:14



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 290 of 302 PAGEID #: 1217




            268:24         National       number           185:8 186:3,   occur 119:14
            269:1,11        47:13          11:10 12:4,8    13 187:1,19     174:14
            270:5          nature 30:20    15:11 32:11     188:15          177:6,8,13
           Moore's          42:24 43:11    43:2 58:8       189:5,23        252:20
            113:13,14       130:9 212:5    78:12 81:23     190:13         occurred
            123:17          220:6 226:5    82:10 91:1      191:1,14        42:24 67:11
            127:20          263:18         101:5,8         192:13,17       71:12 85:16
            132:22          264:10,12,     107:20          193:2           114:17
            198:2           15             121:2 135:5     194:11          133:12
            207:11                         148:5           195:10          150:11
                           necessarily     151:12,14       196:15,21
            219:11          16:16 19:15                                    170:20
            220:4 227:7                    156:10          197:7,12        176:10
                            62:11 128:3    168:11          198:4,17
            230:17          130:12                                         180:4,6
            233:15                         170:1 184:2     199:6,14        224:24
                            187:11         202:23          200:10
            242:2           204:4                                          252:11
                                           204:1 213:3     201:2,13,20
           morphed          227:13         214:2           202:5,9,21     occurring
            152:16          249:18         216:21          205:3,19        130:23
           move 27:17       268:15         219:21          206:8 208:4,    221:23
            203:7,12,17    necessity       230:21          20 209:7,19    OCRC
            204:3,16        150:5         numbers          210:5 212:4     142:23
            207:8                          32:12           213:9,13        143:4 145:1
                           necklace                        214:10,15
            214:16          29:13          151:19                          210:7
            215:21                         219:18,21       215:2,16,18
                           needed                          216:8          October 9:15
            251:13                                                         118:8
                            24:21 51:9    numerical        217:13,22
           moved            103:9          158:19          218:11          123:10
            150:10          111:22                         221:20          151:7
            154:23                        numerous
                            112:9          200:4           222:3,15       offended
            240:6           139:12                         223:17          69:16
           moving           150:2,23                       225:6,24
                                            O              228:23         offending
            151:20          152:14,15                                      70:20
            223:20          214:21                         229:8,18,24
                            218:17        oath 246:22      230:11,19      offense
           multiple                                        231:24          78:10
            82:14           244:24        object 144:7
                            261:19                         232:8,21       offer 259:12
            134:16                        objecting        233:2,19,22
            195:2          needing         247:12          235:4 237:7,   offered 62:5
            196:11          77:17                          11 239:14,      76:7 82:8,18
            249:3                         objection
                           negative                        21 240:8,19     177:16
            251:16                         10:7 18:12
                            59:9 64:5      34:20 37:24     241:8          offering
           multiplying      130:5          39:1 41:21      242:14,21       48:24
            107:20         neighborhoo     43:20 45:21     243:7,9
                                                           244:1,5,12,    offerings
           multitude       d 92:1          59:12,20                        83:8
            12:10                          63:12,24        17 245:2,17,
                           newspaper                       24 246:5,15    office 13:21
                                           65:9 67:2,8,
           Museum           155:13                         248:4,12,16     21:24 22:2
                                           14 73:2,8,18
            47:12,14        234:18                         249:6,10        30:2,3
                                           75:4 82:6
                           niggers         83:6,14         251:10          50:19,23
             N              112:5          85:21,24        252:3,7         51:21,22
                                           86:14 88:24     253:16          58:12,18
                           nights 51:14                    254:10,12,      89:15,16
           named 8:8,9,                    90:5 104:5
                           non-            109:15          17 260:20       90:14 93:9,
            11 9:23 12:3                                   261:1 262:4
                           supervisory     122:6                           14 117:7
            13:15 14:1                                     266:20
                            238:5          123:21                          150:20
            15:13,14,22                                    269:4,14,23
                           normal 31:20    124:11,13,                      189:19
            104:8
                            176:17         23 125:8,18    obligated        190:5
           names                           126:1 127:6,    85:13 131:2
                           North 52:19                                    officer 5:23
            124:17,24                      16 129:2,9      132:9           6:24 8:19,22
            154:6          northwest       130:1 131:3
                                                          observe          9:6,13 14:21
           narcotics        52:20          133:19                          17:23 18:17
                                                           63:10
            111:11                         134:8                           26:1,10,14,
                           notes                          obvious
            154:24                         135:15                          22 27:11,12,
                            169:11,16                      220:2
            157:5,15,19                    137:19                          19,24 28:11,
            158:2 160:1,   notice          138:7,21       occasion         13 29:12
            20 161:7        156:21         141:19          97:16           31:6 35:4
            164:20          163:3          157:6 161:8,    101:24          36:8 37:10,
            165:6           257:19         10,21 164:4     134:17          15 38:17,18,
            181:21         noticed         165:17          247:3           21,24 43:18
            183:16          120:3          167:11,22                       49:22 50:13
            184:12                         168:15         occasionally     54:6 56:16
            197:2 198:2,   notices         169:6           29:21           57:11 62:1,
            21 206:6        156:6          174:23         occasions        2,15 67:19,
            210:22         November        175:19          67:7 101:8      20,23 68:8,
            224:5,18        50:20 76:15    176:8,21        134:16          9,11,15
            225:20          123:10         181:23          145:15          73:17 91:6,7
            251:24                         182:12          204:1           92:20 104:8



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 291 of 302 PAGEID #: 1218




            105:16,23,      139:1,4           270:11          103:21          174:21
            24 106:11       140:23          opposed          override         179:14
            107:9,11,18,    141:14            71:8 75:14      129:16          184:23
            21 108:7        145:5,11          122:18          130:4           190:15
            109:19          150:21                            132:12          192:9
            113:22          152:13          opposite                          193:23
                                              78:19           173:14
            114:4 124:8,    156:2                                             224:5
            9 125:19,21     161:19          order 36:12      overriding       227:13
            126:5,24        168:13            62:16,20        130:12          228:1 230:4
            143:9           171:12,21         74:9,16,20,    oversaw          232:14,19
            155:21          176:6,19          23 89:12        100:19          236:8
            157:3           186:20            90:1 114:19                     237:21
            165:12          195:4,8                          overseeing       265:14
                                              117:8           163:13
            171:15          196:11            140:21                         part-time
            172:15          198:20,22,        141:2,21       oversees         48:22
            177:5,10,14,    23 199:3          142:8           188:2
            17,23 179:2,    200:5,7           158:20                         participants
            9 181:5,20      205:13                           overtime         134:24
                                              170:19          107:8,9
            182:2,4,22      224:20            171:1 182:9                    participated
            185:11          225:18,19                         108:2,6
                                              189:11          110:20          94:7
            191:3           226:17            190:4
            192:18          232:13                            113:15         partner
                                              191:17,19       141:4           68:13
            193:17          241:4             193:12
            198:1           268:17                            152:21
                                              196:4           153:2,3,5,8,   partner's
            199:24         officers' 72:1     236:14                          68:4,5
            200:11                                            15 198:9
                                              237:10          224:7,12,20    partners
            207:12,19      offices 91:6       242:18
            208:14                                            263:21          68:2
                           official 11:5    ordered 65:4
            210:20          69:22 74:8                       owed 14:16      parts 23:23
            212:9,21                          106:14                          88:2 129:15
                            78:23             139:17
            214:8 217:4,                                                      152:8 159:5
            10 218:12      officially         143:19           P              166:9 208:5
            221:15,16,      69:8 100:22       145:24                          233:11
            18,22           156:22            165:7,10       p.m. 147:5
                                              175:16          148:2 271:4    pass 199:3
            222:18,24      oftentimes
            223:1,2,4,7,    36:9 113:5        180:5,10,13,                   passed
                                                             package
            11,14,22                          23 182:8                        167:15
                           Ohio 5:4,6                         160:2,4
            224:18                            189:2                           168:1,12,18
                            16:18 88:22                       209:11
            231:12                            199:12,18                       169:3
            232:15          89:16             200:3          packet 23:8      207:20
            241:4          oldest 7:12        206:11          24:2,3
                                              233:5           133:11         passes
            242:10         omitted                                            263:13
            248:1                             237:12         pages 23:2
                            20:22             239:10                         passing
            251:23                                            256:24
            259:12         one's 149:7        242:7 243:5     257:2           172:13
            260:15,16                         245:14,22                       221:17
                           ongoing                           paginated        223:4
            263:14          176:1           ordering          159:6           231:16
            266:8,9         212:24            116:1
            268:15,24       225:1,13          142:20         paid 49:3,5     past 203:2
                            242:19            214:6           76:21 80:20
           officer's                                                         paths 96:12
            195:6 221:7     261:15            263:14,22      Pam 89:17        100:10
                           open 121:22      orders 58:8,      142:23
           officers                                                          patrol 50:4,8,
            11:19 12:24     156:2,16          9,11 63:1      paper 28:3       11,12,16,18,
            13:19 14:8,                       106:5                           21,23 51:12,
                           opened                            paperwork
            13,14 35:6      139:17          organization      11:1            13,21,22
            38:12,14        162:16            47:1 152:4                      52:17,24
            40:19 41:8                                       paragraph        53:1,2,3,5,6
            45:11 50:24    opening          organization      266:1
                                            al 48:5 150:9,                    66:22 67:19
            51:6 53:22      161:7,20                                          72:24 98:22
                                              13             part 7:7 8:21
            54:4 57:8       162:1,11,22                                       178:19
                                                              9:5 35:15
            59:8,16 61:2    164:19          organize                          237:23
                                                              41:6 56:14,
            62:9,14 65:4    178:4             120:14          15 62:11       Paul 151:22
            66:23 71:23     186:21
                                            orientation       75:20 76:23
            72:24 75:2     openings           71:10           90:20 101:8    pay 151:22
            84:3,11 85:7    160:1 162:9       119:24          108:3          payroll 93:13
            90:9,15                                           116:20
            94:2,3,6       opinion          original                         peer 97:11,
                            15:21 70:7                        118:9 124:3
            114:12                            152:11          129:19          12
            121:22          74:2 103:1
                            107:4 120:2     originated        132:15,16      Pelt 91:8
            125:17                            173:16          139:4           93:2
            126:16          126:16
                            150:23            174:18          145:20
            127:12                                                           penalties
                                              240:14          152:3
            128:17,22      opinions                                           258:7
                                                              155:22
            129:21          267:12          outcome                          pendency
                                                              159:4 160:2
            132:16,22                         160:11                          57:6 237:15
                           opportunity                        161:23
            135:6,11        38:9 48:13      overheard         169:12
            137:14


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 292 of 302 PAGEID #: 1219




           pending         period 14:7     phones              126:2           248:1,6,8
            11:12,21        34:2 82:5       141:3              142:18          250:9
            13:1 59:3       94:24          phrase 83:9,        149:13,17       262:12
            175:18          115:10,19       11 227:22          151:16         polygraph
            192:8 204:2     156:17          253:5              153:23          263:9,12,15,
           pension          228:19                             154:10,21       23
                                           physically          157:2,13
            46:23          periphery        41:1                              polygraphs
                            81:2                               161:12
           people 20:14                    pick 156:15         164:16          261:24
            34:10 36:10    permission       178:3              165:5           263:1,2
            42:20 43:6      107:13                             170:24          264:1 265:7
            44:18 51:8      163:7          picture             173:3 179:8,
                                            150:23                            poor 222:2
            56:5 57:15,     165:14                             20 190:1        223:8
            24 59:10,14,    171:5          piece 28:3          199:17,19
            15,21 60:16,                                       203:4,20       portion
                           permitted       pieces                              22:22 198:8
            21,22 61:24     162:20                             210:1
            64:8 66:8,20                    160:22             226:12          220:3,4,7
            70:4,7 71:20   person 37:8     pin 128:8           227:11          232:5
            72:17,20        40:23 42:15                        242:3,18       portions
            73:3,10,13,     43:15 45:18    pinched
                                            69:14              243:5           149:16
            20 75:11        70:20 72:20                        244:21
            77:10,22        73:15 92:9     pipes 101:9         249:5,13       position
            78:24 93:4      94:13                              250:24          62:5,15
                            112:22         place 55:3,                         92:22
            94:16                           13 69:17           265:24
            102:22          176:7,18                                           167:17
                            178:5           99:7 120:1       pointed           173:12
            119:10,12,                      148:18
            19,21 120:8,    182:10                             126:4           175:17
                            186:20          177:22                             177:3,5
            9 122:3                         179:15,17        pointing
            124:24          188:2 192:6                        159:11          181:21
                            204:5           187:9 188:4                        182:1,9
            127:14                          238:10           points 61:12
            128:5,24        213:18                                             183:3
                            223:7,11        241:17             65:13,15,16     184:12
            130:10                          251:17             66:3 202:23
            133:6 134:3,    227:4                                              190:6,10,24
                            229:16         places 128:7        225:3 252:8     197:2 198:2
            22 135:12
            142:9 150:1,    233:17          134:24           poker 61:1        201:10
            20 151:19,      263:11                                             206:6
                                           plaintiff 5:14,   police 6:24       207:23
            20 154:6        264:21          16,18              8:18,22 9:13
            167:24                                                             211:23
                           person's        Plaintiff's         17:18 18:17     218:6 238:5
            168:3,17        203:23                             23:9 26:10
            169:2                           110:6,11                           239:5 249:7
                           personal         116:12,16          36:24 47:3,     254:3,4
            171:19                                             4,7 48:10
            180:14          10:5 21:18,     159:3                             positions
                            23 42:10        174:19             49:18,19,22
            187:5,12,18                                        53:14,22        151:3,13
            188:12          97:14 99:23     219:4,8                            153:13
                            179:22,23       220:11             54:4,17 59:8
            194:3 195:5                                        62:1,15         156:2
            200:1,6,24      180:15          234:14,19                          178:13
                            195:17          235:16,20          63:11 70:21
            201:11,12                                          73:17 74:6
            202:17                          256:6                             possession
                           personally                          77:1 78:14      113:2
            210:24          6:19 7:16,     plan 77:16          79:2 80:11
            214:8 224:9     17,19 9:18,                        117:2 121:4,   possibility
            226:17                         plans 48:8,                         35:9 49:8
                            24 11:6 14:2    15                 23 187:8
            231:15,16       15:3 64:21                         224:10          91:14
            232:17,23       91:19 95:14    play 231:18         241:22          109:18
            233:1,23        129:22         playing             242:1           110:22
            234:1           178:12          183:24             245:15          111:12
            241:18                                             248:1           160:5
            242:4,19       personnel       pleaded
                            47:11 63:13                        249:16         possibly 7:5
            244:7,21,24                     250:7
                            64:5,10 71:4                     police-           255:3
            249:8                          pledge 153:4
            251:15,20       91:2,5 93:9                      involved         post 163:7
            263:23          145:24         PMS 77:15           120:17
                            150:4                                             posted
           people's         233:10         POE 53:19         policies          174:5,11,12
            60:5 138:11     263:5,6         56:6               15:20 83:24
                                                               84:9,16 86:1   posting
            230:22                         POER 53:21,                         160:20
                           pertinent                           112:4
           percentages      23:24 115:3     22 54:3                            163:5
                                            55:9,17 56:6       138:18
            137:22          245:15                             202:7           166:17
                            269:17          60:4                               233:7
           perception                                        policing
            122:7          Peter 49:15     point 25:9                         postings
                                            43:1 47:24         149:24
                            151:22                             152:12          156:10
           perfect 40:8                     49:4 81:9,14                       174:14
            149:7          phase            96:23            policy 36:16
                            163:14          107:18             43:5,10        potential
           perfectly                                                           8:10 67:3
            244:23         phone 43:23      108:1              44:8,22
                                            109:12             68:20 84:4      68:13
           perform          107:14                                             113:23
                            123:3 140:7     111:5,9            86:2,7
            226:6                           116:10             138:14,23       145:11
            241:24                          122:12,22          145:2,8,13      186:21



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 293 of 302 PAGEID #: 1220




            199:8 226:7    print 234:18    professional    prosecutor's    push 190:23
           potentially     prior 8:12,24    28:5 253:8      30:2,3         pushed
            63:15 83:12     9:3 33:22      professionall   prosecutors      242:13
            116:20          55:6,14        y 9:24           145:18         put 12:21
            145:4           66:5,10        program          243:22          29:19 47:21
            264:15          67:18 88:4      120:15          267:7           65:13,16
           power 84:18      98:21                          prospective      68:8 72:7
                            110:17         programs
           powers                           47:7 82:15      201:10          77:17
                            114:23                                          143:22
            241:23          115:2 143:3    progress        protect
            242:1,8                                         187:10          169:11
                            152:16          34:2,3 123:9                    181:4 188:6
           practically      166:17                          250:3
                                           progression                      224:1 227:6
            45:1            174:9 192:2                    protection       230:22
                            207:17          224:23
           practice                                         126:20          234:10
                            239:24         progressive                      238:18
            31:20 87:9      240:6           33:19          prove 130:19
            169:8                                           138:1           239:10,18
                            256:16,21                                       247:10
            178:19          270:13         prohibited       226:12
            258:18                          180:13          267:6          putting
                           priorities       242:9                           17:21 45:3
           practices        103:14                         provided
            75:21 86:10                    prohibiting      102:11          199:23
            176:23         priority 85:7    83:23,24        126:5           221:17
                            244:4                           156:22
           precedent                       prohibitions
            249:15         private 69:17    232:16          181:9            Q
                                                            212:23
           preferred       privileges      promising
            161:6           62:3            260:12         providing       qualification
            165:15                                          47:9 102:5     s 156:17
                           privy 60:24     promoted
            171:3,5                         50:15 52:1,    public 16:11,   question
            182:6          pro 72:13                        14,17 28:16
                                            23 55:14,18                     13:4,8 15:5
           prepare         probable         59:17,22        38:15 91:6      19:19,21
            141:18          17:13,20        65:17 66:9,     117:19          20:7,9,21
                            88:21 89:2,5    14,17,18        197:22          21:8 37:16
           prepared         267:8           71:6,9 76:15    226:9           39:10 66:1
            120:15                          83:20           250:17          72:2 74:24
            138:10         problem
                            141:10          111:17          256:14          82:22 87:24
           preparing        245:7           119:19          258:23          92:8 96:3
            66:1 162:12                     153:5           259:7,14,16     110:14
                           problems                         265:13          116:17
           preponderan      21:14          promotion                        123:20
           ce 266:11        244:20          17:9 56:14     pull 29:15
                                                            223:3           124:14,15
           presence                         58:8 65:3,6,                    125:12
                           procedure        20 66:10
            5:12 63:19      150:15                         punched          131:10,17,
            64:10                          promotions       14:21           19,22,24
            114:17         procedures       55:11,13                        132:5 136:7
                            19:9                           punishment
                                            56:8 61:17      33:7 45:5       144:9,13
           present 5:23
                           proceedings                      128:11          145:7,20
            48:14 89:19                    prompt
                            271:3                           259:1           157:13
           presented                        115:10
                                                                            162:17
            199:7          process         pronounce       purchase         164:17
                            25:22 41:7      236:24          246:10
           president                                                        181:1,4
                            141:7 156:7
            71:4                           proof 105:10    purpose          182:7
                            157:15
                                            245:14          205:4 259:1     189:21
           pretty 99:3      158:2
                                                            266:16          199:15
            264:20          162:21         properly                         201:4,7
                            163:10,12,      193:7          purposes
           prevent                                                          214:17
                            14 164:2,3,                     51:7 54:20
            47:15                          property                         215:21,23
                            11 165:6,8,                     110:7
            192:10                          26:11                           217:24
                            11,15 166:6,                    116:13
            229:22                          141:24                          225:11
                            10 175:11,                      219:5
                                            238:13                          233:11
           prevented        14 177:13,                      220:12
                                            239:10,19                       245:3,4,18
            251:24          22 179:1                        234:15
                                            240:7                           247:15
                            194:5                           235:17
           preventing                                                       248:13,17
                            204:10         prosecutable     256:7
            230:3                                                           254:18
                            206:6,10        243:15         pursue
            231:15                                                          266:4,13
                            209:16                          146:14
           previous         218:16         prosecute                       questions
                                            145:4,10        246:2
            137:1 150:3,    254:2                                           19:8,16
                                            243:13,23       247:17
            19 260:6        260:19                                          94:10 98:20
                                            245:20          261:24
                                                                            100:2
           previously      productive       246:13         pursued          104:23
            18:6 159:2      185:13                          247:18
                                           prosecuted                       131:20
            166:22         productivity     247:24         pursuing         143:7
            167:3           184:20                          162:11          154:20
            169:23                         prosecutes
                           profanity                                        169:10
            170:5                           244:9          pursuits
                            60:22                                           183:19
            195:21                         prosecution      36:24           184:4
                                            145:17                          185:20


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 294 of 302 PAGEID #: 1221




            187:11,12,        13 254:8,11      234:20          238:2,5,7      receipt
            17 188:14       raise 47:20        246:17          239:19           257:24
            211:13            97:19            247:19          240:7 249:7    receive
            270:10                             248:13,15       251:1 252:1      27:24 34:23
                            raised             266:3
           quickly            153:15                         reassigning        45:5 46:23
            46:16                              270:19,20       252:6,10
                              200:24                                          received
            240:18                           reading         reassigns          33:24 110:2
                            raising            24:24 25:9
           Quinlan            232:18                           102:21           117:4 121:7
            98:17 109:6                        54:9 87:18                       155:5 164:1
                              233:17           127:7         reassure
            111:6,15                                           215:13           167:24
            112:14          Ramparts           143:15                           183:6
            183:15            184:19           160:18        reassuring         237:14
            252:24            185:19           184:13,17       213:20           242:3
            253:20            186:10           185:3
                                               190:15        rebid 166:4      recent 82:13
           Quinlan's        ran 100:3          206:24          173:3            172:18
            254:4           rank 76:10         210:13          175:11
                                                               180:10,24      recently
           quoted             177:5,23         220:20                           88:5,7
                              178:15                           182:8 188:9
            234:19                           ready                              244:19
                              238:9            216:10,15,    rebidding
           quotes 235:6                                        170:19         recess 81:21
                            ranked 66:13       23                               147:4
                            ranking 70:4,    real 46:16      recall 7:5,8,      216:19
              R                                                13 8:10,16,      255:19
                              7 223:11         105:10
                                               146:21          23 10:9,12
           race 56:7        rankings                           11:3 13:14,    recipient
             57:16 60:8,9     65:14          realistic         24 15:24         71:13
             64:4 77:20                        213:21          16:4,6,24      recognitions
                            ranks 151:18
             90:3 109:13                     realize 20:18     24:24 56:1,5     155:9
             119:9,23       rape 226:18        149:5           57:10 58:4,    recognize
             168:16         raped 29:13                        13,14,22
                                             realized                           110:13,15
             169:1                                             60:15 64:1,
                            rare 260:10        20:22                            116:18
             198:11                                            3,11,24          235:22
           racial 63:10     rarely 18:16     realm 41:2        67:15 69:1,3     236:3
             66:23 72:1       126:9 203:3    reason 8:1        88:8 89:23
                              206:23                           90:6 95:19,    recollection
             118:22                            19:20 21:18
                                                               23 96:10         24:24 57:10
             127:13         rationale          62:4 66:6
                                                               100:7            129:22
             169:1            222:20           129:19
                                                               104:11           140:6 141:1
             198:21           233:24           145:16
                                                               114:1,8,22,      160:7
           racially 64:9    re-reading         165:10                           179:14
                                               168:21          24 115:19
           racism 121:8       132:24                           116:4,8          191:2
                                               182:8                            193:21
             164:24         reach 24:17        191:11          118:12,20
             192:11           43:1 210:6       221:5 227:9     124:24         recommend
             201:1 220:5      226:4            230:9,13        126:6,22         27:23 28:15
             232:18                            245:11          129:15           30:11 198:5,
                            reaching                           137:21
           racist 43:7,       207:19           247:22                           15 250:21
                                               250:20          141:6            254:19,24
             16 45:9,12       223:3                            142:19,22
             46:1,7,8                          265:3                            259:14,24
                            reaction                           143:3,7
             63:21,22                        reasonable        144:1,14       recommenda
                              111:20
             72:23                             113:11,17       149:17         tion 28:13
                              119:3 197:5
             109:14,16,                        201:12          153:17           31:23
             18 118:22      read 23:8,10,      232:4           159:10           129:17
             123:17,18        13 24:3,12,      233:17          160:8 161:4,     162:13
             127:2            13,19,22         267:10          17 163:12,       197:22
             128:18,19        25:4 87:10,                      20 167:6,9       203:21
             129:23           15,17 88:1,    reasoning                          227:3
                                               102:22          168:5,16
             134:15,20        4,15 89:20                       175:20,21        242:23
             137:12           118:10           126:7,22                         243:1
                                               222:16          180:1
             138:4,16         119:4                            181:10           256:11,13
             140:23           121:14           268:14                           258:12
                                                               182:13,14,
             141:4,14,16      123:22,24      reasons 43:2      24 184:13,       259:7,18
             163:16           127:5            58:2 73:5       16 185:3,11,     260:5,10
             195:3,24         131:12           75:1,6,11       16 186:2         267:22,23
             196:14           132:3            153:10          189:4,12
                              155:13,14                                       recommenda
             200:5                             187:3,13        190:7,14,18
                              184:1,6,24                                      tions 17:8
             201:18,23                         243:17,23       193:14,16
                              186:5 188:7                                       94:15
             202:4,18                          244:6           199:13,16
                              191:22                                            237:17
             205:1,16                                          237:9 238:1
                              194:24         reassign                         recommende
             209:16                                            239:9,15
                              195:15           251:2,17                       d 24:18
             223:13                                            246:16
             225:16           196:9,10       reassigned        247:15           25:10,13
             229:17           210:2 215:3,     102:16,19       248:21           160:14
             230:9            7 219:13         103:13          249:1,11         165:24
             231:23           220:7,19,24      156:3           263:22           180:11
             232:7 241:6      221:2,6          236:20          270:3            182:1,6
             242:5 249:4,     231:9 232:4      237:15                           249:22



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 295 of 302 PAGEID #: 1222




             254:6,14,15      64:8 90:12      116:2            24 255:8       reporter 5:8
           recommendi         135:9 173:6     122:12           268:17         reporting
           ng 258:24          175:13          163:1 214:7,   remembered         5:10 44:17
             259:9            198:8           21 227:10        20:23            67:15 73:10
                            refers 174:20     231:3,6                           84:23
           recommends                         236:15,19,     remind
             266:12         reflected                          159:24           113:14
                                              20 241:7,21                       139:1
           reconsiderati      127:4           242:16,17      remotely           141:14
           on 89:4,21       refused           249:5,23         186:11           205:15
                              104:17          250:17                            234:1
           record 5:11,                       252:15         remove
             22 16:11,14,   refuted                            237:18         reports 85:4
             17 35:24         266:11        relieving                           123:16
                                              114:3          removed
             37:9 81:20,    regard 57:24                       102:14           238:11
             24 102:5,9,                      241:23
                              94:16 96:13     250:11         reopen           reposted
             10 107:4         107:15
             110:9                            252:9            139:18           174:5,12
                              119:16                                            180:5 233:5
             116:15           137:24        religion         reopening
             117:19           140:4 152:4     77:20            139:19         represent
             123:24           162:8           119:24                            108:5 118:7
             132:3                                           reorganizatio      133:4,10
                              176:24        relive 228:5     n 244:22
             146:23           237:22                                            160:23
             147:2 148:6,     238:9         rely 6:12        reorganizatio      180:11
             11 156:13        252:17        relying          nal 52:11          181:17
             159:1 167:2      256:19          134:10                            220:1,16
             181:19                                          reorganized        222:10
                              263:3,4,7       264:5,6          53:6 80:20
             216:13,18,                                                       representatio
             22 219:7       regarded        remain           reorganizing
                              137:7           225:23                          n 243:20
             235:19                                            95:4 149:16,
             247:11         regular           237:19           18             representativ
             248:15           75:18 103:8   remark                            e 12:2 92:13
                                                             repeat
             255:18,21        152:22          138:10           124:14,15      represented
             265:11,14                                                          133:6
             270:23         regularity      remarks          repeated
                              177:1,3         223:13           252:12         representing
           recorded 5:9                       242:5                             5:14 133:24
             107:3 181:5    related 6:23                     repeating
             208:2            7:3 9:5       remember           37:11 63:17,   reprimand
             210:18           10:19 17:20     7:11,21,22       20               27:13 28:1,2
             217:10           48:10 57:3      8:2,6 9:17                        30:13 33:10,
                              58:12 61:16     11:15 15:12    rephrase           15 34:4
           recording          62:20 64:4      16:22 17:17      19:22            36:18 37:7,8
             181:18           65:19 99:12     20:16 32:9     report 42:17,      126:13
             210:20           100:17          40:9,12          21 43:6,15,    reprimands
           recordings         101:3           54:1,2,5,9,      16 44:19         36:15
             183:24           104:12          12 55:23         45:9 46:2,7      160:15
                              140:18          56:4,12,13       67:19 69:7
           records            152:19,20       58:17 59:4,      70:8 72:8,9,   request
             22:13            157:15          5,21 60:1,11     11,13 73:4       173:4
             168:20           159:12,24       61:6 62:19       85:8,13,16
             239:10                                                           requested
                              181:8           64:7 67:10       118:24           123:24
             265:11           209:15          76:19 80:12      121:16           132:3
           recruit 44:15      212:22          88:14,18,19,     125:7 127:3      173:15
           recruiting         239:5           22 89:1          144:2            248:15
             47:18          relationship      96:17 102:2      160:24           265:7
                              101:2           103:6            178:15
           recruits                           108:18           198:14         requesting
             44:11 106:3    relevant          109:3,13,17,     207:7            270:18
           redo 165:8,        120:16          22,24 111:6,     211:21         requests
             11 166:2         130:3           16 113:21        219:14,17        150:16,19
                              160:16          118:5 119:2      223:1            151:2,5,8,12
           redone             212:24          127:3,7,11,      236:11           152:1
             182:19           259:21          17 128:2         241:17
             206:12                           133:1 136:8      246:12,24      required
                            relief 114:23                                       26:12 68:2
           refer 6:9          226:13          137:23           247:16,20
                                              143:11,13                         75:16,23,24
             90:10            250:8,21,23                    reported           76:1,5,19
             170:12                           146:21           45:16 46:9
                            relieve           149:3,8,10                        85:16
           reference          114:21                           67:12,22,23
                                              154:21           68:16,24       requirement
             46:13 112:4      214:23          159:23                            117:20
             217:12           225:3,7                          85:22
                                              161:13,22        115:12           168:4
           referenced         226:20,23       163:9 166:1
                              241:2                            130:22         requires
             88:10 95:4                       170:15           140:23           126:19
             269:9            243:18          180:18
                              249:17                           157:11           156:9
           references                         185:24           179:9 218:8
                              250:2           186:18                          resentment
             112:5                                             223:6            60:3 61:7
                            relieved          188:19           225:14,15
           referring          114:12          193:20                          reserved
             22:18 41:5                       206:7 209:9,


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 296 of 302 PAGEID #: 1223




             192:1          reverse            189:10         66:14          separate
           resolved           128:14           196:10        screens 68:1     157:12,22
             17:10 55:13      256:23           206:5                          179:22
                                               235:23        Sean 5:17        258:15
           resource         review 22:13
                              23:20 27:8       236:18        seat 68:1       separated
             244:20                            256:15
                              28:6,7 90:1                    secretary        94:14 204:5
           resources          94:11 126:3,   rude 26:1        113:4 117:5
             91:2,4 92:24                                                    separately
                              14 137:6         27:13                          211:10
             244:16           144:24                         section 23:3
             245:10                          rule 85:15,18    152:10         separating
                              151:8            146:8 198:3
                              160:12                          153:12          187:4
           respect                             264:8          154:5 220:8
             128:20           206:22           266:14,17,                    separation
                              255:6                           269:9,22
             137:9,15                          21                             241:20
             138:3            270:19                         Security
                                             rules 55:2       183:17         September
             197:24         reviewed                                          108:14
             198:12                            58:12
                              11:1 22:15       103:10        seek 33:16       112:20
             218:4            23:2,23                         239:5 241:1     114:5
             240:21                            156:5 191:8
                              27:10,18         257:5 263:7                    117:10
                              88:5 132:11                    seeking 34:4
           respond                                            157:15         sequence
             104:7 126:3      133:10         ruling 14:12,
                              143:1 157:2      16,19 15:2     176:20          202:15
             132:4,6                                          249:9
             233:12           160:17           269:24                        sergeant
                              193:9                           251:24
             269:12                          rulings                          26:10 27:5
                              198:13           197:20        sees 25:17       30:8 31:10,
           responded          260:9 269:6                                     21 50:15,16
             174:9                           rumors          segment
                            reviewers                         82:17           55:14 67:21,
             228:11                            154:18                         24 68:16,17
             229:4            126:6                          selected
                                             run 95:15                        69:20 76:14
           response         Rich 5:19          96:14          158:2           97:5,8
             213:12           39:23 81:5                     selecting        104:15
                              215:22         running
           responsibiliti                      210:22         194:4 254:2     107:12,19
                              248:18                                          110:1,3
           es 90:20                            244:21        selection
             163:2          Richard                                           111:21
                                                              162:13          116:2 118:8,
             238:11           253:22                          163:10,14
                                               S                              20 121:11
           responsibilit    ride 68:2                         164:3,11        123:17,19
           y 10:20            74:9,12,17,                     165:6,8,11      124:10,19,
                              21             sad 119:13       180:20
             232:14                                                           20,21
                            ride-along       safety 28:16     194:5 206:6,    125:13
           rest 19:10                         197:23          10
             140:14           56:18                                           127:1,19
                                              212:10         send 112:17      128:5
             269:15         Rights 16:18      256:14
                              53:23 54:5                      150:18          130:24
           result 55:15,                      258:23          194:2           132:22
             19 58:4,14,      88:22 89:16     259:14,16
                                                             sending          133:9
             23 102:17      ring 104:3       Safety's 91:6                    134:15
             126:12           143:20                          198:19
                                              259:7           200:22          135:5,7
             157:20           185:7                                           140:19,24
             227:1            190:24         said/he          204:22
                                                              213:8 227:9     142:20
             243:16                           261:23
                            rise 35:7                         228:17          143:14,18
             250:19                           262:7,13,18
                              42:18                           229:13          144:1,15
           resulted 14:3                     sank 65:17                       154:22
             24:15          risk 233:20                      senior           157:21
                                             Saturday
                            robbing                           167:16          161:5,17
           retaliated                         51:15
                              151:22                          171:19          162:11,20
             157:3                           save 80:16       172:1,2         163:9,17
             212:13         role 7:6          140:13          176:6           164:1
           retaliating        13:22 142:2     224:2           182:10,17       165:13
             201:22         roll 60:17       scale 269:20     186:19          166:7,13
           retaliation      room 77:15                       seniority        167:10
                                             scales                           168:23
             7:4 73:7         188:5           266:24          54:23,24
             75:6 83:4,24     190:12                          57:18,22        169:4,10
                                              269:3                           171:4,7,9
             84:17            238:13                          59:18 60:6
             201:19           239:11,19      scenarios        61:9,12,23      173:5
             227:16           240:7 245:9     146:7           62:17 65:13,    175:16
             232:16,20                                        14,16 66:2      179:10
                            rose 27:21       scenes
             233:24                                           156:17          180:10,12
                                              66:12
                            rotating                          171:13,16       181:7,22
           retaliatory        51:14          schedule         178:21          186:24
             202:7 233:8                      24:20 28:10                     187:16
                            route 267:20      174:13         sense            191:12
           retired 6:10                                       202:23
             22:11          routinely        scheduled                        192:11
                              127:13                          213:21          193:14,17
             253:17,18                        51:6,7,9
             254:2                                           sensitivity      194:4,10
                            routing          Scheduling                       195:3,18
                              113:3                           78:19
           retirement                         50:24                           196:18
             46:18            170:10                         sentence         197:21
                              174:7 175:8    scoring          167:18



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 297 of 302 PAGEID #: 1224




            198:2,16        221:11         shot 12:6       situation        Sorrell's
            199:17,24      shared 211:1    shout 77:11       29:14 43:22     127:3 266:9
            201:16          212:11,16                        44:24          sort 121:20
            202:1                          shouted 78:8      103:21
                            222:13                                           148:8
            204:22,23       223:19         shouting          130:15          202:12
            207:18,21                        77:23           222:12,19
            212:20         Shaw 5:4,23                       247:22         sought
            213:1 214:6     140:19         show 82:8         251:3,20        120:20
            220:17,18       143:9,16         113:6           259:22          121:2
            221:22,24       153:20           240:16          260:14          164:18
            222:12          155:3 157:3,   showed 68:9       261:23         sound 58:7
            223:12,24       10 171:22                        262:24          112:1
            224:1 225:4,    172:12         showing           268:14,23
                                             113:15                          182:18
            13,22 227:7     176:7 179:9,                                     183:12
                            23 180:16                      situations
            230:16                         shown 175:8       73:13 250:9     184:22
            231:1,11,12,    181:5,20         233:6                           185:14
                            182:2,4,9,22                     262:15
            20 232:4,5                     shut 107:2        268:3           213:20
            233:15          183:2 184:6,                                     217:14
            240:24          10,11,12,20    sickness        six-week          226:16
            241:2,11        185:4,11         51:1            259:19
            242:2,8         188:11                                          sounds
                                           side 12:7       sized 120:11      71:16 79:7
            245:13,22       193:18           187:6
            246:1,6,7,8,    197:1 198:1                    skills 178:22     130:4
            9,11 248:10,    200:12         sided 159:17      179:1           185:15
            19,23 249:4,    202:3          sidetracked     slightly          213:21
            21 250:3        204:23,24        87:1            130:23          231:14
            251:2 252:1     207:10                           133:8          source
            261:3,9         208:14         sign 27:5
                                                           slowness          110:20
            265:6 266:6     210:16,20      signature
            267:15,18       211:22           257:7,23        65:24          sources
            269:5,10        212:3,9,21       271:1         slur 46:8         185:17
                            213:8                                           south 5:3
           sergeant's       214:19         signed          slurs 72:22
            61:13 65:3                       256:15          118:22          53:6
                            215:13
            201:1           217:3,4,11,      257:4           127:13         Southern 5:6
           sergeants        16 218:4,12    significant       198:21         Spanish
            65:6 84:15      222:6,13         120:11          249:4           168:4
            93:23           228:18           130:11        smaller          speak 20:4
            178:12,13       245:13           153:3           220:3           233:23
           services         251:23         signs 121:8     Smith-           speaking
            92:21          Shaw's            257:22        hughes            42:9 168:4
           Session          17:23          similar           223:23
                            155:21                                          special 62:3
            148:1                            186:16        social 61:3       96:14
                            199:23                           99:6
           set 58:12        218:7          similarly                        specific
            150:14                           185:17        socialize         10:9,13 11:4
            203:18         she'll 270:20                     91:23 93:18
                                           simple 7:20                       13:24 15:24
            204:1          sheet 113:3                       96:6 98:14      16:4 48:15
                            170:10         simply            99:5
           settled 9:4                       167:21                          59:13 60:2,
            13:23 15:24     174:7 175:8                    somebody's        11,16 64:4
                            189:10           186:23
            59:7                                             249:22          65:1 104:6
                            196:10         simultaneou                       115:13
           settlement       235:24         s 106:10,22     someplace
            14:20,22                                         6:16 152:2      116:4,8
                            236:18                                           126:23
            15:18 55:16,    256:15         single 38:12      251:14
            20 58:24                         134:17                          128:7,23
                           sheets 206:5      207:6 244:9   something's       130:15,16
            89:7                                             31:4
                           shift 51:14,                                      132:21
           settlements                     singling                          134:14
                            15,17,18         74:18         son 49:15
            15:6,8,11                                        50:3            135:13
                            57:18,19,20      155:19
           severe           61:21 98:24                                      137:16,21
                                           sinking         Sorrell           141:13
            128:11          177:16,21                        107:9,11,14,
                                             151:17                          160:7
           sexes 77:9      shoes 61:5                        18,21 108:7     161:23
                            199:23         sister-in-law     113:22          168:22
           sexist 42:11                      100:12
            43:6,16         230:22                           114:4           181:10
            45:9,12 46:1                   sit 93:22         116:21          257:9
                           shooting                          122:12
            69:4 70:2,3     45:3             124:7                          specifically
            72:23 77:13                      178:23          124:8
                           shootings                         125:20          7:9 14:1
           sexists          120:17         sitting 8:5       129:7 133:7     15:14 16:8
            78:21                            13:14 54:8      137:11          58:23 64:1
                           short 33:7        67:5 124:18                     80:13 99:8
           sexual 44:10     52:19                            140:6 214:9
                                             160:6           240:23          102:2 114:8
            69:10 71:10     244:21           181:12                          120:10
            72:1 81:3       255:15                           263:16,18,
                                             182:24          23 266:8        133:6
            119:24                           209:24                          143:12
                           shortly                           269:22
           share 218:21     190:11           270:12                          156:6 160:8



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 298 of 302 PAGEID #: 1225




             167:8          state 11:16     strongly         summary           104:1
             173:15           12:1 83:23      44:17 71:8      22:15,17,21,     250:15
             175:20           84:4 85:19      74:1 233:4      23 23:2,6,7    surround
             177:4            89:15 116:9   struggling        86:17 87:8,      60:20
             268:24           145:7,10        68:5,7          18 88:1,4,7,
                                                              9 118:11       surveillance
           specification    stated            210:21                           111:4
           s 141:18           243:10                          143:2
                                            Stubblefield      184:23           152:22
             189:9 258:8      246:19,23,      56:17
                              24                              185:9,17       suspect
           specifics                        study 120:5       186:4 188:7      67:17 68:3,
             17:16 54:2     statement                         190:15,20        12
             56:13            44:4 68:18    stuff 60:17,      194:24
             196:17,19        111:23          21 81:2         196:9,23       suspects
                              125:20          113:16          209:20           67:1
           Spectrum                           139:3 158:4
             5:10             134:6 168:2                     210:2          suspended
                              182:15          193:8 196:2     219:10           40:20 41:10,
           speeches           215:14          202:18          220:17           13,14
             69:10            266:9 269:1   stupidity         236:6
                                                              247:20         suspension
           spelled          statements        137:13                           28:15 259:9,
             237:5            128:3         subdivision      Sunday            15,20
           spoke              129:23          53:5,7 96:22    51:16
                              132:22                                         suspension/
             189:16                           108:21         superior        termination/
             190:6            184:4 195:3     109:8,11
                              196:19                          37:15          demotion
             192:18,21                      subject 36:3                       258:10
                              225:16                         supervise
           spoken 38:6        234:22          119:21          187:24         sustain
           spontaneous        235:1 249:4     156:19          238:19           105:10
             102:7            251:9         submitted        supervised        125:13,24
                              255:13          132:12          96:24 99:19      130:20
           spot 87:19
             88:1           States 5:6        181:7           101:4 154:1      266:7,18
                                              186:12          172:8,10         270:2
           squad 164:2      status 10:19      188:13
                              92:19                           261:11,18      sustainable
           SRB 109:4                        subsequent       supervisee        134:14,18,
             111:2,7,10     statute 115:4     79:6 99:2                        19 135:2
                                                              97:1
             148:21         stay 48:2         149:1
             149:17,18,                                      supervising     sustained
                              224:12          174:13                           124:6 125:2,
             23 152:8,10,                                     98:9 238:17
             19,20,23       stayed 52:4     subset            251:4,7,13,      3,7 126:10,
             153:2,11,15                      132:19          20               12,20
                            steal 31:8                                         128:14
             154:3,5,11,                    substation       supervisor
             14,23 155:4,   steamroll         56:19 69:11                      129:11,17,
                              203:11                          26:20 29:20      20 130:4,6,8
             22 244:22                      successes         95:21,24
                            steps 112:7                                        137:17
           staff 15:10                        152:18          97:12 98:7       138:11
             150:4 151:9,     262:1                           99:1 100:5,
                                            sudden                             160:14
             10 250:10      stock 148:14                      20 163:4         226:5 227:1
                                              58:18           169:9
             253:1,6,9      stole 29:12                                        262:16,17
                                            sued 7:16,19      222:24           266:12
           staffing         stood 64:17       8:7 11:5,18     259:5 260:7
             150:16                                                            267:1,3
                              252:17          54:19,20       supervisors       268:8,9,12,
           stage 31:3       stop 92:2       suffer 44:13      74:12,21         21
           stamp              203:10        sufficient        77:2 162:4     sustaining
             219:21           249:20          267:3           169:20           126:8
           stand 73:23      stopped         suggest          supervisory     SWAT 57:9
           standard           121:15          170:18          238:9,12         152:24
             79:22          stopping                          259:21           178:23
                                            suggested                          179:2
           standards          206:18          79:4 132:8     supplement
             28:5 75:21     story 69:9        182:21          152:11         switch 46:15
             253:8                            202:20         support           53:17 234:3
                            strange
           standing           74:11           265:6           35:11          Switching
             36:16 69:13                    suggestion        160:13           148:19
                            stream 203:5
           staple 219:1                       249:12         supported       sworn 6:2
                            street 5:3                        47:17            151:18
           start 76:16        50:13,16      suit 10:18
                                              11:7,9 12:3     266:10           263:4,6
             148:7 156:9      152:15
             203:10           177:23          13:20,24       supporters      system
                                            Suite 5:3         47:8             259:3
           started 92:15    stress
             107:17           240:23        suits 12:4       supporting
             141:16                           14:1            129:8             T
                            striking
             142:23           194:1         summaries        supports
             149:15,20                        86:13 87:10     47:6           table 69:12
             152:9 164:3    strong 60:6                                        149:23
                                            summarized       suppose
             165:14         strongest                         67:3
                                              202:2                          takes 194:10
           starting 55:6      204:13
                              227:16                         supposed
             76:11


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 299 of 302 PAGEID #: 1226




           taking 55:4      target 42:1        246:3,18,21      141:3 142:1,     128:24
             60:9 62:15       45:24            248:5            8 148:24         194:2,6
             127:14         TASER            testifies 6:2      149:1            195:5
             135:10           26:23 27:7                        164:24           198:24
             151:22                          testify 21:12,     172:21           207:18
             200:9          task 104:17        15,19 25:7       183:24           225:16
             201:12         taught 44:10,    testifying         184:15         threats 37:22
             203:14           15               62:19            187:23           38:12
             212:13,21                                          192:20           115:13
             217:19         teach 69:10      testimony          199:9
                                               126:3                             124:2
             229:15,22      tech 110:24                         200:19           126:16
             230:4                             129:13           203:6,18
                            technically        136:5                             129:24
             232:24                                             204:12,18        163:16
             234:2            51:22            137:12           208:21
                                               138:11,22                         207:12
             241:23         telling 40:12                       209:10           222:14
                              43:13 60:14      182:3 197:9,     213:3
           talk 18:2                           10 228:6                          223:14
             53:15            129:3 188:3,                      214:12,18,       239:1
                              18 193:8         230:1            24 231:14
             121:11,22                         255:10                          three-day
             133:13           201:21,24                         244:16
                              204:24         text 193:17        258:9            47:12
             136:14
             148:21           209:12           194:2          thinking 75:9    three-year
             155:20           222:6            196:24           78:4 122:2       79:24
             170:23         tells 41:19        198:3,19         137:18
                                               201:5,17                        throw 264:7
             172:23           210:20,22                         203:19
             188:19           211:4            202:2,16         204:3          throwing
             189:3 192:9      267:11           204:22           257:12           19:7
             210:15                            206:17           259:18         Thursday
                            tenure 10:3        207:12
             236:23           44:22                           thought 17:6       51:15
             242:9,19                          208:18
                              145:15           210:9 211:4,     18:9 23:24     tight 45:4
             248:23           151:3                             41:4 62:13
                                               5,7,10                          till 52:23
           talked 18:1      term 31:18         225:17,22        64:15,18
             60:16,19                          227:9,15         73:14,24       Tim 100:15
             71:20 77:19    terminable         228:4,10,13,     78:24 95:1,2     253:23
             80:15 88:20      203:15           14 231:4         102:12         time 7:10,20
             104:21         terminated         232:17           120:16,18,       10:1 14:7
             106:24           258:20           233:15           23 122:22        17:19 19:13
             127:14                                             133:16           20:19 22:9
             140:5 150:4    termination      texted 251:9       139:21
                              198:5                                              34:2 36:23
             184:19                          texting 200:1      179:1,18         37:7 41:3
             187:18           203:16,21                         194:12,20
                              204:16,17      theft 141:23,                       47:24 51:19
             208:13,15                                          252:14           54:7 56:10
             209:17           226:4            24 164:23        259:20
                              243:16           263:19,21                         57:5 58:5
             218:8,12                                           261:11           66:17,24
             242:12           249:15,17      thereof            268:17
                              250:20                                             70:13 77:3
             250:7                             141:20         threat 38:3        79:14,22,23
                              254:6,14,19,
           talking 7:16,      24 258:5       thing 13:11,       41:13,22         81:3,20,24
             17 11:7 49:3     259:18,23        12 24:21         56:20,21         82:4 89:24
             59:3,15                           58:3 73:12,      68:21            94:24 95:17
             67:1,9 82:1,   terminational      21 78:11         109:14,16,       96:16,23
             5 89:14          227:2            86:12 90:18      18 115:11        98:5 99:2,7,
             94:23 95:2     terminology        97:5 105:2       123:18           20 100:11,
             105:7,14         141:10           122:22           124:9,20         13 106:2,4,
             118:21                            127:21           125:15,16,       5,20 108:1,
             121:15         terms 64:9,        142:23           23 127:2         23 109:4,10
             125:4 135:8,     17,19,20         143:4            128:4,21         111:5,9
             10 137:22        66:13 77:19,     155:19           129:6 130:7,     112:18
             141:11,12        21,23 83:15      157:22           8,23 131:1       113:11,21
             142:24           128:18           185:19           132:21           115:10,11,
             159:13,20        132:9 194:7      229:12           133:5,12         19 116:10
             167:12           232:12           231:3 264:7      134:14           120:17
             173:22         terrible           266:23           137:10,16        122:22
             175:24           78:24            270:7            194:9 198:3      123:9,10,11
             179:19         test 55:4        things 20:16       200:6            126:10,14
             196:7 198:6,     61:13            25:18 31:24      209:17           130:9,17,23
             7 208:7                           32:2 36:23       228:22           132:11
             211:2          testified                           229:1,3,5,7      139:15
                              18:3,11,15       39:20 42:23
             231:15                            58:13 60:19      260:15           140:13
             243:8            23:16 39:2                                         141:24
                              45:22 65:7,      63:23 64:15    threaten
             244:20                            73:23 77:22      38:17,23         147:2 148:6
             263:5            11 69:4                                            149:8
                              127:23           88:7,9         threatened
           talks 192:9                         105:13                            151:17
                              130:2                             195:7            153:23
           tampon             133:20           106:7 115:1,     198:19
                                               5 119:6,15,                       154:2,10,21
             77:18            178:6                             205:13           155:2 156:1,
                              196:13           20 128:1,6
           tangible                            133:12         threatening        8,14,17,23
             83:9,10,17       228:24                            40:23            161:12
                                               135:1,7



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 300 of 302 PAGEID #: 1227




             162:11           221:12           72:5,6           55:21 56:20   understandin
             164:2,17,23      240:23           75:13,15,17,     212:19        g 10:16 25:2
             171:20         told 35:23         23 76:4,8,       227:3 239:7    201:16
             174:11           38:7 44:11       17,22 78:18,     260:10         202:13
             176:12,14        63:18,20         19 79:12       types 121:6      228:6
             177:17,20        69:9,17          80:2,9,10,                      245:18
             178:9                             14,23,24       typical 221:8    247:21
                              71:4,7
             182:14           102:11           82:2,14        Typically       understands
             183:5,11,24      104:16,23        83:2,4 86:4      151:5          131:10
             185:13           105:5 108:1,     96:19 98:4,                     245:9 258:2
             186:9 190:1                       10 120:15,     Tyree 12:6
                              19 109:17                                       understood
             202:23           113:22           19,21,23,24
             203:4,5,20                        200:21           U              20:10 25:9
                              128:17,18                                        45:8 62:13
             206:19           134:2            201:15
             210:13,23                                                         129:18
                              148:12         trainings        U.S. 94:15       138:5 157:2
             211:18           150:17           75:24 79:6,
             213:7,22                                         Uh-huh           165:21
                              151:6            15,17 80:4                      243:4
             215:14,20                                         25:19 30:7
                              165:18         trait 77:9
             216:18,22                                         49:20 55:24    undertaken
                              173:19
             220:23                          traits 77:8       158:24          263:4
                              178:1
             221:12,15                                         167:19
                              180:21         tramping                         underway
             224:2,3                                           170:7
                              181:7            77:17                           113:19
             225:3 227:7                                       255:23
                              186:10
             236:21                          transcript        265:18         unfounded
                              188:20
             241:1 242:3,     192:4            88:10 184:6,   ultimately       262:17
             18 243:3         198:10           13,24           32:22 66:4
             249:2,13                                                         uniformed
                              206:10           185:22          156:21          103:24
             250:1 252:9      211:7,8          210:19
             254:7                                            unable 198:1     152:12
                              212:3,6          215:4
             255:18,21        216:1            270:19         unassigned      union 92:13,
             263:21           217:11,18                        51:16           16 156:7
             270:23                          transgressio
                              222:11         n 78:14          unaware         unit 95:20
           timeline           231:20                           133:9           96:17 97:11
             174:10,15        246:2          treated 119:8                     99:18
                                               121:5           218:16
           timeliness         269:10                                           100:10
                                               127:23         unclear          101:4
             115:6          tolerate                           90:19
                              103:16         treating                          110:24
           times 6:15                          105:13          227:18          155:22
             13:20 18:4,    Tom 253:20                        uncomfortabl     224:19
             10,14,22                        trial 14:2
                            Tony 70:14         18:11,15,17,   e 200:8,18       225:13
             19:4 22:3
             29:17 42:23    top 265:22,        24 19:1        uncover         United 5:5
             57:12 69:9       23               53:20           262:20         units 57:9
             76:17 82:9,    torture 21:5     trials 18:2,10   understand       151:3 153:1
             11 91:3,23                      triennial         10:23 12:23    unlike
             92:2 106:1     tossed 77:13                       15:16 19:18,
                                               75:22                           133:12
             121:2 128:7    total 151:18                       19,20 20:17,
             134:23                          trip 47:12        24 28:18       unnoticed
             150:16,19      totally 46:15                                      74:2
                                             trouble 68:8      31:4 39:6
             203:11           121:22
                                                               40:1,4,7,10,   unofficial
             230:22           148:19         true 131:7        14 72:20        111:2
             249:24         touch 48:2         167:21          73:3,13 75:1
                              69:18,19         185:12          86:3,12        unofficially
           timewise                            213:23                          101:14
             8:17             140:16                           90:11 99:14
                              146:9 167:1      224:20          119:11         unspecific
           timing 124:4                        244:10          125:3 128:9     194:14
             212:7 227:6    touched
                              72:10          trust 36:8        129:4
             239:15                                                           untruthful
                              148:24           102:24          130:21
                                                                               103:17
           tip 269:2,3                         103:4           132:5,7
                            touching                                           255:9,11,13
                                               186:15          149:7
           tipped             69:16 70:1       226:6 227:4     162:17         untruthfulne
             269:20                            250:14,16       169:22         ss 203:23
                            tourniquets
           tips 266:24        47:8                             171:1 173:7     255:1
                                             truthfully
                                                               176:2          unusual
           today 8:6        tower 89:16        21:12,15,20
                                                               188:23          178:1,3
             13:15 19:16                     turned 48:12
                            track 224:7,                       201:3,4         260:5
             20:2,17                           55:1 182:17
                              13                               204:21
             21:12,16,20                                                      unwilling
                                             turning           205:2 207:3,
             22:14 54:8     traffic 18:17                                      266:7
                                               26:11           4 209:8,13
             67:5 124:8,    trafficking                        213:15         upheld
             18 159:9         155:6          turns 264:4       248:18          258:23
             160:6
                            trainer 76:21    two-hour          254:5
             181:12                                                           upset 59:23
                                               82:15           256:22
             182:24         training                                           201:17
                                                               258:5 259:3
             198:11           46:13 51:2,7   type 27:9,20                      207:10
                                                               260:2 269:7
             207:7            52:21 53:17      37:11 44:13,                    218:7 223:5
                                                               270:21
             208:13,14        63:22 71:20      21 47:21                        250:4
             210:1 211:3


            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 301 of 302 PAGEID #: 1228




                              190:4         129:8 133:7   witnesses       153:24
              V             violations      137:11         39:18,19       192:11
                              240:24        269:22         103:22        worker 106:6
           vacancies          257:5,20     ways 72:9       130:22
                                                           195:2         working
             51:1                           190:21
                            violence                       205:15         51:19 59:9
           vacated            37:23 38:4    194:17                        72:24 96:17
                                            214:2          242:19
             180:19           124:10,21                    249:3 251:8    98:5 198:21
           vacation           125:17,23    weapon 38:8                    242:4 249:9
                              229:1,3,5     41:12 68:6    woman
             51:2                                          54:22 61:3    workplace
                              239:1         148:14                        120:1
           vacuum                           200:3          62:4,15,22
             30:19          violent                        72:19 73:15   works 25:17
                              38:18,24      221:18
                                            243:6          77:14          96:13
           Van 91:8           127:1
             93:2                                         women           103:15
                              137:10       weapons                        192:23
                                            41:10          54:20 57:20
           Vardaro 5:15     violently                      62:7 71:23     259:3
             158:5,10,13,     200:6        wear 26:15      72:21 74:19
             16,19                                                       worried
                            visit 47:12     115:23         75:1           184:21
             166:20,22,
             23 188:5       vital 152:10   wearing 31:5   won 54:20,      224:3
             190:12                        week 44:15      21            worse
                            volunteer
             218:24                         51:6          wondering       259:10
                              46:24 47:3
             234:6                                         158:11
                            volunteered    weeks 66:15                   worth 202:10
             235:11
                              173:11        207:20        Woods          worthy
             256:2
                                            223:9          253:23         259:19
             265:20         vote 71:5
                                           weigh          Wop 78:1,9     wow 17:3
           variety 73:4
                                            135:21
             75:5,10                                      word 127:13    wrap 203:13
                              W             137:9,12,15
             231:14                                        135:8
             244:6 262:5                   weighed         137:14        write 260:17
                            wait 57:21      122:17         142:7
           vehicle                                                       writing 239:4
                            waiting         134:4          185:24         262:11
             74:17
                             231:16        weighing        195:4
           verbal                                          198:23        written 28:1,
                            waived 271:1    137:23                        2 30:12
             109:21                                        221:3 232:6
             113:7          walk 150:20    weight 69:15    235:5 265:2    33:9,15 34:4
                                                                          36:15,17
           verbally         walked 69:14   Wes 116:21     wording         86:21
             239:3                         Wheeler         130:24         126:12
                            walking 92:3
           verified                         58:22          133:8          138:12
             168:3          Walton 5:17                                   160:15
                                           wheels 47:22   words 83:17
                            wanted                         125:22         173:8,9
           verify 245:21                   white 55:4
                             57:17                         135:4          174:6 193:8
           versa 187:7       120:18         66:23          162:14         263:2
                             121:2 144:8    128:17,23      184:22
           verse 5:5                                                     wrong 20:20
                             150:17         129:21         185:23
           version                          135:6 171:3                   103:2
                             151:15,24                     227:17,23      168:22
             129:6 158:6     154:18         186:23         228:3 235:7    247:2
           versions          165:19         205:16
                             177:21         223:2,7       work 6:23      wrote 166:12
             130:24
                             191:3,9                       8:14 26:16
           vice 162:22                     Whitney         46:24 47:3
                             194:12         171:21                         Y
             164:2 187:6     196:17                        48:5,16
             193:19                         172:3 176:7    49:16 56:7,
                             218:13,14      189:3 197:1
           victim 41:17      230:2,7                       15 57:2       year 53:13,
                                            242:8          91:15,24       24 79:7,12,
           video 29:15       231:12
                             241:19        wife 99:8       93:8,18        20 80:3
             262:21                                        95:18 97:7,    82:3,10
                             251:6         Williams
           view 10:17                                      14 98:11,15    150:16,19
                            wanting 75:7    97:5,8,9
             61:24 62:14                                   99:5 100:18    153:6
                             182:16         110:1,3
             268:3                                         101:3          155:13
                                            111:21
                            war 77:15,16                   106:20         224:24
           viewed 30:6                      118:8,20
                                                           113:14,15      225:1,9
             32:21 34:1     warning         121:11
                                            124:10,21      121:24        years 7:15,
             42:13 43:8      231:21                        152:14,15
             62:18 63:5      239:4          129:7                         24 8:2 9:9
                                            137:17         155:5 185:5    20:16 24:6,
             73:15          warnings                       186:1
             229:14                                                       10,11 35:4
                             217:19        Williams'       224:20         36:14,16
           violate 103:1                    164:1          225:13
                            Washington                                    37:12 44:11
                                           win 55:16       241:17         51:3,10
           violated          47:11
                                                           251:6,24       52:6,9,23
             15:20 103:6    watching       wise 98:11      258:17,21,     59:2 60:19
           violates          212:17        withdrew        22             63:9 66:22
             138:17         Watkins         182:4                         67:9 69:5
                                                          worked
           violation         124:19        witnessed       97:11 98:3,    80:2 82:4,
             85:15,18,19     125:21         69:20          19 99:17       11,13 87:10
             102:4,12        126:5,24                      100:9 101:3    88:6,12



            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-8 Filed: 08/15/19 Page: 302 of 302 PAGEID #: 1229




            90:8,15 91:1
            103:5 115:2,
            23 117:23
            133:2
            137:20,24
            150:2,12
            195:24
            260:7,8
           yell 78:1

             Z

           Zimmerman
            11:19 13:2
           zone 51:13
            52:17 98:23
            99:1 237:24
           zoning 92:21




            Realtime - Videoconferencing - Trial Presentation - Video
                      Spectrum Reporting LLC | 614-444-1000
